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THE UNIVERSITY                OF TEXAS AT AUSTIN                                                                 Dam 09042014



                     RECOMMENDATION                             FOR CHANGE                 IN ACADEMIC                   RANKSTATUS




Name Cox Brady R                                                             brcox
                                                                                                     Present     Rank     Assistant    Professor




Years     of Academic        Service        Include        AY 201415        in    each     count


At   UT   Austin since        09012012                   In   Present   Rank            300          In   Probationary      Status    TT only                3

                           monthdayyear                                                 of years                                                        of full   years or   NA
                                  civil   Architectural and Environmental         Engineering                               Cockrell    School   of Engineering
Primary     Department                                                                               CollegeSchool



Joint   Department                                                                                   CollegeSchool



Other Departments




          Recommendation              actions



           By Budget CouncilExecutive                          Committee Pr°1110te


           Vote2     for   promotion           23 Against                        Abstain
                                                                                                 1
                                                                                                          Absent
                                                                                                                     3
                                                                                                                           Ineligible       to vote
                                                                                                                                                        °



                               Promote
           By Department Chair


           Vote     for promotion                               Against                          Abstain                       Absent



           By CollegeSchool                 Advisory          Committee Promote


                                                    7                              0                                 u                           °
           Vote     for promotion                               Against                          Abstain                      Absent


                            Promote
           By Dean




                                          Promote to Associate Professor
Administrative       Action



Date    Action    Effective        September        L 2015
To be submitted           to the    Boyd of Regentsgonerof                   the        annual   budget




                                                                                                                             December            17 2014
By                                                                                                               Date
                                          For tle       President




See Chart         of Recommended               Actions          for   eligible    recommended              actions   applicable        to   specific     conditions

and administrative         levels

2Record    all    votes     for     and     against       promotion       abstentions         by      eligible   voting    members and            the    number     of

absent eligible     voting    members           The number of budget                councilexecutive             committee members ineligible                to vote

due to rank      should    also    be recorded           Enter   zero   where      it    would       otherwise be blank




EVPP1014
                                                                                                                                                                       P's 151
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                          THE UNIVERSITY                          OF TEXAS AT AUSTIN
                          COCKRELL SCHOOL OF ENGINEERING


                           Office of the      Dean           301£ Dean Keeton                Street   C 2100         Austin Texas 787122100




                                                                             Deans Assessment
                                                                                  Brady      R Cox
                                                   Civil Architectural               and Environmental           Engineering




Dr Brady Cox earned                  his BS in Civil            Engineering          in 2000   and his MS in Civil Engineering                   in 2001        both   at   Utah

State   University            He PhD in Civil Engineering at the University of Texas at Austin in 2006 Dr
                                     received          his

Kenneth H Stokoe II was his PhD advisor Dr Cox started his academic career as an assistant professor at the

University of Arkansas in 2006 He was considered for promotion at the University of Arkansas during the 2011
12    academic year and would                     have been appointed as an associate                    professor       in September          2012 had he not joined

the faculty         at   the University of Texas at Austin                     If successfully     promoted to associate            professor Dr Cox will have
been    in    the   rank of assistant professor for three years at the University of Texas at Austin                                            Technically        this     case

is   early but           Dr Cox will        have       served    a   total   of nine years in rank including                   his six years      at    the University          of

Arkansas



Ten     external          letters   were      received         with     five    reviewers       selected      by   the   budget     council       and      five   reviewers

recommended by the candidate                            No invitations         to be a reviewer       were     declined    or ignored The              letter   writers were

predominately              from US universities including                      the University         of California at Berkeley Rensselaer Polytechnic

Institute          Georgia     Tech         the   University         of   Illinois     at   Urbana Champaign              the   University        of Washington                the

University          of Michigan             and    Brigham Young               University        Letters       were also received from the University                           of

Auckland            the   US Army Corps of Engineers                         and ISTerre Grenoble              The     reviewers    are      renowned in the           field   of

geotechnical             engineering        and three are members of the National                       Academy of Engineering


Teaching
Dr Cox has taught distinct                    courses         in the   two years in rank as an assistant professor                      at   the University       of Texas

He has taught two required undergraduate courses                                      CE 311K Introduction               to Computer         Methods       one time and
CE 357 Geotechnical         Engineering two times He also taught two graduate courses CE 387R2                                                              Soil and Rock

Dynamics           one time and CE 397 Underground Openings one time


Across       all   his courses   Dr Coxs instructor ratings range from 40 to 47 with an average                                              of 44 His course           ratings

range from 31 to              42 with an average of 38 His instructor ratings are above average                                           as   compared with faculty
within the Cockrell             School of Engineering                     The somewhat low average                 course rating     is      partly due to a      low rating

in    CE 397         This course       is    outside         Dr Coxs primary area of expertise and he agreed                            to develop        a new course          to

expand        the    diversity       of graduate course                offerings      in    geotechnical      engineering          The       students     appreciated          the

technical          topics   addressed        in the      course        but expressed         concerns       that the   course was not well organized                        They
also felt      that the inclusion            of multiple guest lecturers exacerbated organizational                              issues        However          based on his

record    in other courses            at    the University of Texas and the University                         of Arkansas       CE 397 is not considered                   to be

representative            of his dedication to teaching



Student comments                in    the    other       courses       indicate      that   Dr Coxs teaching              has    been     well received           The       peer
evaluation          reports    provided           by   the    department       are consistent         and indicate the effectiveness               of the candidate in

engaging the students


Research

Dr Coxs research                focuses       on geotechnical             earthquake engineering                 He conducts       non intrusive           experiments          in

the   field    to characterize         the        properties     of soil and rock below               the    surface      He    frequently      travels     to the     sites    of

major earthquakes              around the world to collect perishable data develop subsurface profiles and assess liquefiable
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soils      Recently          he    has   made considerable                 progress     in    quantifying     uncertainty            associated        with surface wave

methods for subsurface imaging



While      in   rank    at   the    University     of Texas               Dr Cox has produced              five   peer reviewed journal papers                          and three

conference        proceedings             As a     basis       of comparison twelve                assistant       professors             in the    Department          of Civil

Architectural          and Environmental              Engineering            were successfully            promoted           in the past ten         years        The    average
number of journal papers published                       in rank          was 26year and the median was 22year                               Dr Coxs record at UT is
consistent       with these expectations



As an assistant professor he has 22 peer reviewed journal papers 33 career total and 26 conference                                                                 proceedings

33     career      total           His   publications           are       included     in    journals      such     as       the    Journal         of Geotechnical           and
Geoenvironmental              Engineering             Earthquake            Spectra     and    ASTM        Geotechnical             Testing    Journal            The primary
contributors       to his publications           are his graduate students                  and collaborators        at      other universities          In particular        Cox

participated       in field studies following             earthquakes             in Hawaii     2006        Haiti    2010 New Zealand 2010 and 2011
and Japan        2011         Papers documenting               these investigations             and the subsequent                 data    analyses represent 14 of his

journal papers in rank



While      in   rank as an assistant professor                 at    the    University of       Texas at Austin              Dr Cox has received $062 million
$37 million total as an assistant professor                                 in   research     funding      with    $041         million      $19 million total as an
assistant professor               being his share        He has had a total of 16 funded research projects with three since he arrived
at   the   University        of Texas      Dr Cox was the PI on eight                        50      of these projects                Funding        agencies       include      the

National        Science      Foundation        United Nations Development                       Programme US Department of Homeland Security
and the Arkansas State Highway                        and Transportation              Department           Of note Dr Cox received                     a National         Science

Foundation        CAREERPECASE grant in 2011

The review         letters    for    Dr Cox were outstanding                       They identified his contributions                       to the    field   and highlighted

him as having          outstanding        potential       For instance




      Dr Pierre Yves              Bard ISTerre Grenoble states                        My personal feeling               is   thus that      Dr B Cox has already
      made significant            contributions       to geotechnical            earthquake      engineering        either      by developing          or contributing
      to develop innovative              technologies          or by mastering          enough a wide variety of geophysical tools to put them

      together in an optimal             way     for a   broad variety of applications                    and to issue very welcome                    warnings on the
      limitations      of some of the presently used tools or engineering                             practice

      Dr Jonathan            D Bray University                 of California Berkeley                 states      Dr Cox has already made several
      significant      contributions       to the      field    of earthquake          engineering         and he possesses                outstanding       potential     for

      making future contributions                to   our profession


      Dr Ricardo          Dobry Rensselaer             Polytechnic           Institute       NAE states The impact of his work                               especially     in

      the area    of noninvasive          measurement of relevant ground properties using portable instruments                                                   that   can be

      deployed shortly after an earthquake                           is   really quite incredible          considering             his youth        and he is poised to

      make even        greater innovative          contributions             in the   near future

      Dr Steven         Kramer University                of Washington                states    He    is   certainly          the    top    untenured        geotechnical

      engineering faculty            member in the country and probably one of the top few that have                                         not yet    been promoted

      to full   Professor




I
    The department chair and budget council                    statements        refer to   six journal   papers   in   rank at      UT but Cox Wood and
Hazirbaba       2012      was submitted        for review       in   February      2011 while Dr Cox was as assistant professor                         at the    University of

Arkansas        Dr Cox attributes         this   work to the University of Arkansas                 in his description          of coauthored          works
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Only one letter from Dr David Frost                        at   Georgia Tech                 raised      concerns     with      Dr Coxs record         Dr Frost noted
that    Dr Coxs publication            record    was somewhat variable because                                50 of Dr Coxs journal papers as a faculty
member both Texas and Arkansas were published                                         in 2011       and that Dr Cox published extensively                    with his    first


PhD graduate Clint Wood                     but had   not written journal papers with other graduate students2                                     Dr Frost noted        that

                            of publications           2011
the concentration                               in
                                                                may be a result of delays                    in    publications      resulting from reconnaissance

efforts       in Haiti    Dr Frost recommended that Dr Cox develop a more consistent and                                                   stable research    portfolio3
which would

Overall
                    permit him to effectively
               Dr Coxs letter was positive
                                                               mentor graduate students

                                                          and he concluded by stating                        I
                                                                                                            through       all


                                                                                                                      believe
                                                                                                                                aspects

                                                                                                                                   that
                                                                                                                                          of the research    enterprise
                                                                                                                                          Dr Cox has developed the
necessary        dossier to deserve         promotion to the rank of Associate Professor with tenure



Advising and Student Mentoring
Dr Cox has been active              in advising      both graduate and undergraduate students                                    He has graduated one PhD student
at   the University         of Texas who followed him during his transition                                 from University of Arkansas                He     is   currently

supervising        four additional        PhD students              Dr Cox has also graduated one MS student at the University of Texas
at   Austin and six MS students from the University of Arkansas                                           With regard to undergraduate students                     Dr Cox
has mentored three undergraduate students in research while in rank                                           at   the University of Texas at Austin                Dr Cox
has placed one           PhD graduate as an assistant professor at the University of Arkansas


University        Service

Since     his arrival in      2012 Dr Cox has been                    a   member of two                 departmental        committees Curriculum Committee

and the Distinguished           Lecture       Series Committee                   While       at    University      of Arkansas        Dr Cox was a member of the
Graduate Student Committee the Scholarship Committee and Facilities and Grounds Committee



Professional        Service

Dr Cox has           extensive       public    service              He    is   an     Associate          Editor     for    ASCE Journal of Geotechnical and
Geoenvironmental              Engineering           He    is    a   member of four professional                       committees    NEES Data and Curation
Subcommittee             ASTM Committee             D18 on Soil and Rock                          ASCE GeoInstitute               Earthquake Engineering and Soil

Dynamics         Committee and            ASCE GeoInstitute Geophysical                              Engineering Committee


Other Evidence           of Merit or Recognition

Dr Cox received the Network                   for    Earthquake Engineering                         Simulation       NEES Outstanding              Contributor        Award
for the       most influential research report in geotechnical                              engineering      in 2014 the Presidential             Early Career Award

for Scientists       Engineers       PECASE in 2012 and the 2010 Hogentogler                                              Award from the American              Society       of

Testing       and Materials     for a paper of outstanding                     merit in the ASTM Geotechnical                       Testing Journal      The PECASE
award     is    a truly outstanding         distinction         given to only the top career award winners from various agencies                                         Dr
Cox was sponsored by NSF for the PECASE Approximately 100 junior faculty receive the PECASE in the entire

country in a year Dr Cox is also an Associate Editor for ASCE Journal of Geotechnical and Geoenvironmental

Engineering which shows recognition                        in his research field




Overall       Assessment

Dr Cox has          a strong research portfolio                with grants from a variety                    of funding          sources    and a suitable number of

publications       for an assistant professor                  He has graduated one PhD student and seven                                 MS students        He currently
is supervising       four    PhD students        Dr Cox has demonstrated a strong teaching record and a willingness to develop
new      courses to       enhance     the    educational            opportunities            for the      graduate        students        His professional         service   is




2
    Dr Frost also refers to one publication              with   an MS student at his former institution in his letter however Dr Cox has
not published journal papers with other graduate students                 in his group   The confusion arose because Dr Coxs CV contains
     related to Cox Wood and Hazirbaba
a typo                                     2012 Dr Hazirbabas name is underlined indicating that he was one of Dr
Coxs graduate students but he was a faculty member at the University of Alaska Fairbanks at the time that the research
documented        in this   paper   was conducted
3
    In this   case stability     refers   to research     funding         that   is   not   tied   to   earthquake reconnaissance
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outstanding              He   is     a recipient    of the    PECASE award              and the quality of his research has been                         recognized     by
ASTM and NEES

Whenever we hire a faculty member who received hisher PhD from the University of Texas at Austin I believe
that extra scrutiny             is   required    to ensure that the faculty            member has developed            a research     program that is distinct
from that of their advisor                    At first    glance   this   is   not clear with         Dr Cox because      his   PhD advisor Dr Stokoe                    is


the PI for two           of the three research grants that he received                     at   UT     In addition several      of the external referees refer

to   Dr Stokoe           in their letters       This issue is not addressed             by the Budget Council or the department chair but I was
the    department chair when                  Dr Cox was hired and               I   am quite familiar with his area of research                     I    am confident
that   Dr Cox has developed an independent and sustainable research program


I   can highlight two distinct areas where                     Dr Cox has extended his research beyond that of Dr Stokoe


                 Dr Stokoe         uses large geotechnical          shakers      viborseis to generate             surface   waves    for shear wave velocity

                 profiling      Dr Cox has also used               this   equipment        extensively      but as part      of his   CAREER             award he has
                 developed         techniques        to   obtain    deeper      profiles        using    passive    wavefields         This     is        a   significant

                 development          and holds great potential           for the future

                 Also as part of his          CAREER         award Dr Cox is               using probabilistic       methods to quantify         the          uncertainty

                 associated        with surface wave         testing       As noted in          the   Budget    Council   statement     Dr Cox organized                  a

                 session at the        2014    ASCE GeoCongress                and demonstrated convincingly                 the variability    of analyses of a

                 common       set of surface wave           data    His results were eyeopening



I
    agree    with the external reviewers that                  Dr Cox is at the forefront of geotechnical earthquake                          engineering               Dr
Frost       is    correct     that    Dr Coxs extensive              involvement           in   earthquake      reconnaissance        studies    has          limited   his

production                             own students
                    of journal papers with his            Dr Cox has established an independent
                                                                                     but                                                                 reputation     by

working  with leaders in geotechnical engineering at top universities in the US and abroad




I   believe       that   Dr Cox exceeds            all   expectations     for promotion          to associate    professor and support this case without
reservation




Sharon           L Wood Dean
1    November            2014
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Department of Civil Architectural                               and Environmental                 Engineering

Statement by Department Chair



Candidate        Brady Cox


Brady Cox joined the faculty of the Department of Civil Architectural                                             and Environmental               Engineering

CAEE         in September                 2012 after six years on the faculty of the Department of Civil                                Engineering       at   the

University of Arkansas                      Bradys     general area       of expertise        is   geotechnical       engineering          with a focus on

nearsurface investigations                    in relation       to amplification       and liquefaction2            of soil during seismic events


The USGS        defines    amplification       in terms   of increased   shaking   levels   by a    focusing   of seismic energy caused          by geometric
features   of the sediment       velocity     structure




2Liquefaction     refers   to a process       by which    sediment   temporarily loses      its
                                                                                                  strength   and acts as   a liquid    common     during major

earthquakes



Assessment Methodology



This assessment            is   based on a detailed analysis of                 1    candidate         curriculum vitae and statements                    2
Budget Council             statements          3      letters   from external reviewers               4      CIS evaluations           for all   courses taught

in rank      5    written student comments                      related to courses        taught in rank          6    peer teaching evaluations

completed during current academic rank                             7     publications        and citations and             8   Budget Council
discussions         and vote on whether the candidate should be promoted



All   members of the CAEE Budget Council had an opportunity                                          to review      candidate         statements       Budget
Council      statements and                letters   by external reviewers           prior to the           Budget Council meeting on promotions
held on 25 August 2014                       For each promotion case a Budget Council member made a formal presentation

to suimnarize        the    candidates           performance         in teaching       research service             and advising as well as honors

received      and    letters     by external reviewers               An open discussion then                   took place      until    a vote    by secret
ballot was called               Members of the Budget Council                      evaluated        promotion candidates               in terms of whether

their overall       performance              merits promotion         Yes No Abstain

A summary of the Budget Council discussion and vote is provided below along with the Chairs
assessment        of Bradys performance                    in teaching         research academic advising administrative                            and

committee        service        at UT and            in profession       as well as    honors and recognition                   A summary and Chairs
recommendation              on the promotion case is then presented


Budget Council Discussion and Vote


The Budget Council was strongly in support of Bradys promotion to associate                                                    professor         Overall
recommendation  23 Yes 0 No 1 Abstain



Following a presentation of his accomplishments                                 in rank there was             no discussion of Bradys case by the

Budget Council             as   it   was considered such             a strong      case     Since      the vote    on each promotion case was by

secret     ballot   and there was no discussion of Bradys case there                                   is   no way of definitively knowing why
one Budget Council member voted to abstain                                 However          in the specific        ballot for which          abstain was

checked       the    word early was written below                        the   word Abstain presumably                       referring to the fact that

Brady has only been                  at   UT for two years           But this is only speculation
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Teaching



Brady has taught four different courses                       2 undergraduate and 2 graduate                        to five different classes              of

students since          joining    the faculty    of CAEE two years ago                       One of these is a core second year

undergraduate course               CE311K         Introduction            to Computer           Methods taken by all undergraduate                         students

in the Civil       Engineering        and Architectural              Engineering           degree   programs         The   other three are

Geotechnical           Engineering      courses including              one base level undergraduate course                      CE357             Geotechnical

Engineering            that serves    as    an introduction          to the field      of geotechnical            engineering     and two graduate

courses    CE387R2                Soil and    Rock Dynamics CE397                          Design of Underground             Openings             A total of
150 students           76 undergraduate have                   enrolled        in these      five   courses       Class sizes have         ranged from 10

CE397 to 43 CE357                      The average           class sizes in his undergraduate                    and graduate courses            have been 38

and 18 respectively



Brady     is a    very good teacher and shows signs of becoming an excellent                                      teacher in the future              His

instructor       rating has been greater than or equal to 40 in all five courses                                  he has taught       at   UT      His average

instructor       and course ratings across             all    courses    taught       at   UT are 438 and 378 respectively                        His average

instructor       rating    is   significantly greater than the 5 year average                        and slightly greater than the median for

assistant professors in both                CAEE and the Cockrell                   School of Engineering            CSE Bradys average
instructor       and course ratings in undergraduate courses                           are   45 and     39 respectively           His instructor rating

in undergraduate courses               is   considerably        higher than the 5 year averagemedian                         instructor         ratings for

assistant professors in both                CAEE 407427                  and    CSE 401409                   Bradys average           instructor       and

course ratings in his two graduate courses are             420 and 360 respectively                                  His average           instructor      rating      in


these graduate courses              is greater than the CAEE and CSE 5 year averages                                 for assistant professors in

graduate courses               409 and 419 respectively but lower than the median values of 450 CAEE and 440
CSE

Many     students         in   his undergraduate       courses        comment         that    Brady    is   very prepared organized

entertaining and excited about the material he teaches                                     During    his first    offering   of CE357             Geotechnical

Engineering many                 students complained            about excessive             amounts of homework               This was not the case

the    second     time he taught the course                  From first        to second      offering his instructor         evaluation          in this    course
increased        from 43 to       45    and the course evaluation                   increased       from 35 to 40



Bradys best evaluations were in CE311K Introduction                                          to Computer         Methods     471       42        C during        the

spring    2014 semester             Importantly        Brady had never taught this course                         in his previous      eight years in

academia          Student comments were generally                       full    of praise for Bradys organizationpreparedness                               lecture

style and fairness



Bradys poorest evaluations were in CE397                               Design of Underground                  Openings       40   I        31    C   in the     fall


of 2013      This was a very challenging                     course for Brady to teach                 He had personally never taught                      a course

on this topic           More importantly he had never even had the subject matter in his own education Students

felt   that the course      was poorly organized course well organized = 295 in contrast to student comments
in his other courses              All other    sub topic ratings on CIS student evaluations                           were 40 or greater                Several

students     in   the   course     stated   that there were too many guest lecturers                          which appeared          to add to the lack               of

organization



Bradys average             course    evaluations       were largely skewed                  by the poor course         evaluation          in   CE397 and the
fact that his      undergraduate courses               have    all   been      in   required courses         as   opposed to upper division elective
courses that students             choose     to take   out of personal interest in the subject matter                         If the course           evaluation

for CE397         is   removed Bradys overall average                       course     evaluation       increases     from 378 to 395                 There was

no mention of teaching deficiencies                    during Budget Council                   discussions        of Bradys case
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Brady has had only two peer evaluations                             since    he joined the faculty of CAEE                              Both were in

undergraduate            courses     CE311K           and    CE357          and both reflected         that          Brady     is   a   very good teacher in the
classroom          I   reviewed one of his lectures in CE311K                          and found       it    to be      an outstanding              lecture        My only
negative comment was that on a couple of occasions                                  when he turned to write on the board his voice faded
a bit    At the end of lecture            I   met briefly with his entire class and in his absence                                        I   asked the class to rate

the lecture       on a scale of 1 to 10               10   being a great lecture for Brady                       1
                                                                                                                     being a poor lecture and 5 being an

average     lecture for Brady             The     students         felt    that the lecture    was a 5 almost unanimously                                  I   asked

whether he had given a poor lecture                         all   semester and the class was unanimous                               in   stating   no The               class

had glowing reviews of Brady as a teacher and had glowing comments about his preparedness for lectures

and his fairness These                comments are consistent with student evaluations                                    at    the      end of the term



Brady     is a   fairly    tough grader         in    his undergraduate           courses does not practice                         grade inflation              The

average     class       GPA in his three undergraduate courses                         at   UT is 291                He has been              consistent       in this

respect throughout            his career         In six years         at   the University      of Arkansas Brady taught 319 undergraduate

students with a           weighted      class    GPA of 2834


Brady also takes teaching very seriously                             During his eight years in academia he has completed                                          three

weeklong summer workshops                        including          the    ASCEs Excellence             in Civil         Engineering               Education

ExCEEd teaching workshop

Brady has performed                 well as a teacher             both at the University of Arkansas and the University of Texas

He has distinguished himself as someone who is willing to teach and develop new courses as well as

required     undergraduate courses for CAEE and the Geotechnical                                       Engineering                  Group        He is currently          a

very    good teacher         and has the potential to be an excellent                        teacher        in   the future




Research



In lay   terms one might think of Brady as an international                                  earthquake detective                        rushing    to the      scene of

seismic    crimes and collecting                data       in order to better      understand the nature of the crime and how to reduce

the   impacts of such crimes in the future                          He does considerable             research           in the       field     and has served on

Geotechnical            Extreme Events Reconnaissance                        GEER teams deployed immediately after major
earthquakes around the world                     He has emerged as a leader in the implementation                                             of surface wave

methods to collect            shear    wave     velocity          data which allows for greater knowledge of sub surface properties
and seismic responses                that can    be used for forecasting impacts of seismic events                                        and engineering design

parameters for protection               during future earthquakes                   There is a time element to collection                              of such data as

some features of the ground                   are perishable after a seismic                 event      Brady and his team need to mobilize and

get to the       field    quickly    to collect       their   measurements             sometimes        at   locations              half  way around the world
eg New Zealand                 Brady has also made major contributions                           toward development                           of accurate        methods

for quantifying           uncertainty     in shear         wave      velocity    measurements               thus      allowing an improved

understanding of uncertainties                   in seismic         performance of unimproved                         and improved ground                  sites    during

earthquakes            as well as safety factors that               need to be built into future designs for earthquake                                    protection




Brady has established a solid base of students                              who have constituted                 his research             teams at both the

University of Arkansas and the University of Texas                                  He has served as advisor                            to seven    students       who have

completed         the    MS degree six    at U of Arkansas and one student who completed    the PhD degree at

UT       He is currently        serving as advisor to four additional PhD students at UT three of whom have

passed their qualifying exams His research team has also included three undergraduate research
assistants during his two
                                       years     at   UT

To support        his research teams Brady                   has been able to secure            16   funded grants during his career                               eight as

PI and five of those            as sole PI           He has served as PI or CoPI on three sponsored grants since joining                                                   UT

                                                                                   3
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one as PI and two as Co PI                     His career eight year research funding                               is   $376 million $192             million as

his share           Of these     totals   $619 K $408                 K his share has been awarded since Brady joined UT                                  Brady
has proven that he can secure competitive                             funds         Approximately          65 of his            total   research   funding has
been awarded by              NSF with approximately                    25 from State agencies and 10 from industry                                    Funds from

the National           Science    Foundation have included                      a prestigious     CAREERPECASE totaling                           $422K and
entitled Revolutionizing             Surface Wave Methods for Engineering                              Analyses           from Deterministic and
Incoherent          to Probabilistic      and Standardized                 DIPS          Importantly         Brady has a clear vision of future
diversification          of research funding           with additional               sponsors such         as the    US Geological Survey US
Department of Energy Department of Homeland Security and industry



Brady     is   coauthor of 22 papers in some of the best peer reviewed journals in his field including                                                   six


papers    since joining          the faculty     of UT 3year at                 UT      He has two          additional          journal papers      under review

Bradys career totals far exceed                  what       is   typical       of journal publications              for faculty         who are successfully

promoted from assistant to associate                        professor          in   CAEE the 10 year median number of publications                             is


11   Furthermore only               three of his 22          papers are based            on his    PhD dissertation indicating that Brady has
developed an independent research program                                  He also has 33 conference                     papers a relatively large number
for an assistant professor            in civil    engineering



Bradys work             is   being well cited for someone at this stage of his career                                    His work        has been cited 234

times    Publish or Perish and 274 times Google Scholar                                         His hindex is 9 according to both Publish or

Perish and          Google Scholar        good for a faculty member in civil                        engineering            at   this stage in his career




Letters    by external reviewers underscore Bradys growing                                      stature within the          profession and the

importance of his work



            Bray UC Berkeley
     Jonathan

     He a tremendous talent
               is


     He on par or better than most young
               is                              professors in            full                       civil    engineering
     Dr Cox has already made several significant contributions                                         to the field         of earthquake         engineering

     Professor Cox is one of the best geotechnical earthquake                                       engineering           professors       at   this time in his

     career
     He        is   by far the youngest of the top people in his innovative                                area   of research



     Ricardo           Dobry Rensselaer
     has
                                                 Polytechnic             Institute

                       been remarkable by any measure

               at   the forefront    of earthquake           engineering
     The impact of his work                       is   really quite incredible              considering           his youth

     very              innovative    and high impact research which                        is   starting     to revolutionize             a very important area

     of earthquake            engineering



     YoussefHashash               U of    Illinois     at   Urbana Champaign

     He has developed a strong reputation in his field
     He amongst the top of his peers similar academic institutions
               is                                                at




     Steven         Kramer       U of Washington
     My        first    thought upon seeing the subject matter of the letter was that he was being considered for

     early      promotion to Professor
     He        is   certainly    the top untenured geotechnical                      engineering      faculty        member         in   the   country and

     probably          one of the top few that have not been promoted to full                                 professor
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      WF Marcuson US Army Corps of Engineers
      In summary           I   believe   Brady Cox to be one of the top 2 or 3 academics                              in   Civil    Engineering           in   the

      USA given his age and career stage

      Pierre Yves       Bard IS Terre Grenoble

      Despite      his relatively young              age only 8 years after his             PhD he has an impressive experience at the
      national    and international           levels



 Member of the National          Academy      of Engineering



Only one of the 10 external reviewers                          J David Frost of Georgia Tech was somewhat restrained                                      in   his

praise for Brady           He was confused about evidence                     of    BS students participating                in research activities

and the stage of four current              PhD students in their studies                    He also points          out that       Brady had       50 of his
publications      in 2011         However        that     is   not surprising given that the           fruits      of his experimental            efforts      at


the University         of Arkansas were just paying off in the one to two years prior to this and there is typically

a six month to one             year sometimes longer period from submission to publication                                     in the     civil   engineering

field    Furthermore Brady was working                          with primarily       MS students         at   the University          of Arkansas and

PhD students are often more productive                          with respect to publications             Bradys publication                rate in two

years    at   the University       of Texas has been 3year with two additional                          papers already             submitted for review

He is working with a much                larger base           of   PhD students      at   UT       Frost also suggests            that   Bradys
reconnaissance         efforts    following       the Haiti         and   New Zealand earthquakes               consume a lot of time in the

field   and can slow down publication                     rates




Brady has clearly         established         himself as an independent researcher who                        is   well    known and whose talents
                                              North America and abroad                     His research
are   recognized       by his                                                                                 program should be highly
                                         in
                                 peers

sustainable       Earthquakes are not going away and populations                              continue        to grow      in seismicallyactive

areas     Brady has developed a strong niche in the earthquake                              engineering         field      He has shown            that    he can

secure    funds in a highly competitive                   environment        NSF and also has a vision for continued
diversification of his funding                base   in   the    coming years



Academic         Advising



Brady has taken          an active    role in advising              and mentoring of both undergraduate and graduate students

He has graduated one PhD                   student      at     UT the student followed him to UT from the University of
Arkansas to complete his  PhD degree and now on the faculty of the University of Arkansas Brady
                                                                     is                                                                                              is


currently supervising                 PhD students He has supervised to completion seven MS
                                 four additional

students  six   the
                  atUniversity of Arkansas and one  UT By      accounts Brady genuinely enjoys
                                                                              at              all


mentoring       students       and watching        their       growth     as scholars      He believes        experiencing          different cultures

and international        networking        are    important and strives to have his students travel for professional

meetings and research as part of their educational experience                                 Based on his experiences as an

undergraduate student              Brady      is passionate          about providing       research opportunities             for undergraduate

students      and has mentored three undergraduate                        students    in research during            his two years at         UT

Administrative and Committee Service



Bradys        administrative       contributions          to the     department meet the expectations of someone in the rank of
assistant professor             He has served on the CAEE Curriculum Committee an important and often time

consuming committee and the                     CAEE Distinguished                 Lecture Series Committee




Since 2012 Brady has served                   as Associate          Editor of the    ASCE American                 Society    of Civil Engineers

Journal of Geotechnical              and Geoenvironmental                  Engineering       JGGE recognized as one of the top

                                                                                5
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journals in the        Geotechnical                Engineering        field   Unlike most journals the JGGE requires associate                          editors

to serve   as    one of the reviewers on every paper that the associate                             editor     shepherds             By his count    Brady
has reviewed 31 papers for JGGE since 2012                                 this    is a   remarkable number of paper reviews for an

assistant professor                Brady      is   also a member         of four professional       committees including                 the   Data and

Curation Subcommittee                    of the Network             for Earthquake         Engineering    Simulation           NEES ASTMs
Committee D18 on Soil and Rock                              and two separate         committees of the ASCE GeoInstitute                         Over the

past four years he           has helped to organize two conference                          sessions and chaired three conference                   sessions at

the   GeoInstitutes               annual GeoCongress



Brady also gives of himself to the local community speaking to K12 students about earthquakes                                                         in   an

attempt to interest bright young                      minds about         STEM fields

Honors


Bradys work has been                    highly       recognized         He received        a National   Science    Foundation            NSF CAREER
Award in 2011 and a Presidential                           Early Career Award for Scientists and Engineers                          PECASE in 2012
The PECASE             is   particularly notable                 as recipients    are selected   as a small percentage               of NSF CAREER

recipients      across      all    of NSF the crème de la crème of young investigators                               It    is   the highest     honor

bestowed by the federal government                               on outstanding      early career researchers             It   is   also notable that      Brady
has been PI or Co PI on eight successful                             NSF proposals during         his career




In 2012        Brady was the sole                  US representative invited to participate on the international technical
committee        related to a major benchmarlcing                        project    on seismic ground motion assessment                        initiated   by
Electricite     de France              This    attests     to his growing        international    reputation



Brady received the Hogentogler                         Award in 2010 an award given                 to the best     paper published in the              ASTM
Geotechnical          Testing Journal               during       the previous     year     He was also co recipient of the NEES

Outstanding       Contributor Award                        Most     Influential    Geotechnical     Research       Project           Brady has also been
an invited speaker            at   eight nationalinternational                   meetings    or conferences




Summary

In summary                                           his         year in academia and has proven himself as a scholar at two
                                                           9th
                      Brady       is   entering

different universities                 He is a very good teacher                 and has potential to be an excellent teacher                    He has
established      himself as an independent researcher and works in an important area of research that should

be sustainable in the future                       He is at least nationally recognized            now but a case can be made for Brady
being internationally recognized                       in   the    earthquake engineering         field    Letters    written by external

reviewers       are   very    strong       and reflect Bradys stature in his field He                     is   also very active         in his profession

My sense is that Brady is someone who peer programs in geotechnical engineering would like to have on
their faculty We should be conscious of the possibility of losing Brady to a peer institution if he is not
promoted


I
    strongly    endorse Bradys case for promotion and do so without qualification




Richard    L Corsi PhD PE
ECH Bantel Professor for Professional Practice and Department Chair
5   September 2014
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                                                            THE UNIVERSITY OF TEXAS
                                                           Cockrell School         of   Engineering
                                                                     Standard      Resume



FULL     NAME                  Brady        R Cox
TITLE                          Assistant       Professor

DEPARTMENT                     Civil   Architectural            and Environmental           Engineering

EID                            brcox



EDUCATION

 University      of Texas      at   Austin                      Civil   EngineeringGeotech                PhD            May 2006
 Utah    State   University                                     Civil   EngineeringGeotech                 MS            August 2001
 Utah    State   University                                     Civil   Engineering                        BS            May 2000

PROFESSIONAL               REGISTRATION                     PE State of Arkansas Serial Number 14249
CURRENT AND PREVIOUS ACADEMIC POSITIONS

 University      of Texas      at   Austin    UT                Assistant       Professor                 Fall   2012    Present

 University      of Arkansas         UA                         Assistant       Professor                 Fall   2006 Summer 2012

OTHER PROFESSIONAL                      EXPERIENCE

HONORS AND AWARDS

 NEES Outstanding              Contributor          Award        Most     Influential   Geotechnical   Research Project           2014
 Presidential         Early Career     Award         for   Scientists     and     Engineers   PECASE 2012
 John    L Imhoff Award for Research                        College of Engineering            University of Arkansas      2012
 National    Science       Foundation         NSF Faculty Early Career Development CAREER                                Award 2011
 Hogentogler Award             for   ASTM      Geotechnical             Testing    Journal   paper   of outstanding     merit 2010

 Outstanding          Researcher       in   Civil   Engineering University              of Arkansas    20102011
 George      H Mitchell Award           for    Excellence    in Graduate Research                 University   of Texas    2005

 Earthquake Engineering Research                           Institute    EERI Graduate Fellow 2004
 Eagle    Scout       Boy Scouts of America                   1993


MEMBERSHIPS               IN   PROFESSIONAL AND HONORARY SOCIETIES

 Member Earthquake Engineering Research Institute EERI 2004 present
 Member American Society of Civil Engineers ASCE 2006 present
 Member Geotechnical Extreme Events Reconnaissance GEER 2006 present
 Member Arkansas Governors Earthquake Advisory Council AGEAC 20072012

UNIVERSITY COMMITTEE                        ASSIGNMENTS

 Departmental                  Member Curriculum Committee UT                                                              2012 present

                               Member Distinguished Lecture Series Committee UT                                            2012 present

                               Member Graduate Student Committee UA                                                        20062012


 School                        None


 University                    Member Scholarship Committee UA                                                             20092012
                               Member Facilities and Grounds Committee                            UA                       20112012
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PROFESSIONAL                SOCIETY AND MAJOR GOVERNMENTAL                                               COMMITTEES

         Editor ASCE Journal of Geotechnical and Geoenvironmental Engineering
 Associate                                                                    2012 present

 Member NEES Data and Curation Subcommittee 2011 present
 Member ASTM Committee D18 on Soil and Rock 2010 present
 Member ASCE GeoInstitute Earthquake Engineering and Soil Dynamics Committee 2008 present
 Member ASCE GeoInstitute Geophysical Engineering Committee 2008 present

COMMUNITY ACTIVITIES

 K12 outreach          lecturer   on earthquakes                refer to presentations                   below

PUBLICATIONS

A       Refereed Archival Journal Publications



    1    Terrell      RG Cox BR Stokoe                         II    KH Allen JJ and Lewis D 2003 Field Evaluation of the
         Stiffness     of    Unbound             Aggregate          Base         Layers       in    Inverted        Flexible    Pavements              Transportation

         Research Record              Journal of the           Transportation                Research         Board 1837 pp           5060
  2      Chang        WJ        Rathje             EM         Stokoe        II     KH          and       Cox        BR 2004                Direct         Evaluation    of

         Effectiveness        of Prefabricated            Vertical         Drains       in    Liquefiable          Sand     Soil    Dynamics         and Earthquake

         Engineering         24910 pp 723731
    3    RodriguezMarek               A          Alva   Hurtado        JE Cox BR                         Meneses           J Montalva GA Moreno V
         Olcese       M
                    Sancio             R
                              Wartman J 2007 Geotechnical Aspects of the August 15 2007 Pisco
         Peru Earthquake Revista Internacional de Desastres Naturales Accidentes e Infraestructura Civil

         International Journal              of Natural Disasters                 Accidents           and Civil Infrastructure              7   23 pp 239258
  4      Cox    BR Stokoe             II    KH Rathje EM 2009 An                                    In Situ    Test Method          for   Evaluating the         Coupled
         Pore    Pressure       Generation              and    Nonlinear           Shear           Modulus         Behavior    of    Liquefiable          Soils   ASTM
          Geotechnical        Testing       Journal       321 pp 1121
    5    Cubrinovski          M Green RA          J Ashford S Bowman E Bradley B Cox BR
                             T Kavazanjian E Orense R Pender M Quigley M Wotherspoon L 2010
                                                                Allen

         Hutchinson
         Geotechnical          Reconnaissance                 of the   2010        Darfield         Canterbury             Earthquake            Bulletin   of the   New
         Zealand Society         for   Earthquake             Engineering           434 pp 243320
  6      Wong         IG     Stokoe         II     KH Cox BR                  Lin Y           C Meng F Y 2011                              Shear Wave            Velocity

         Profiling     of    Strong        Motion       Sites       That    Recorded               the   2001       Nisqually       Washington             Earthquake
         Earthquake         Spectra        271 pp 183212
    7    Cox    BR          Beekman         AN 2011 Intramethod                              Variability      in    ReMi    Dispersion         and   V     Estimates    at

         Shallow      Bedrock     Sites            Journal      of   Geotechnical              and Geoenvironmental                   Engineering           1374        pp
         354362
    8    Yong      A Hough SE Cox BR                                   Rathje            EM Bachhuber J Dulberg R Hulslander D
         ChristiansenL Abrams MJ 2011 Seismic zonation of PortauPrince Using Pixel and Object
         based Imaging Analysis Methods on ASTER GDEM Journal of Photogrammetric  and Remote

          Sensing      779 pp 909921
    9    Olson     SM Green RA Lasley S Martin N Cox BR Rathje E Bachhuber J and French J
         2011         Documenting                Liquefaction        and    Lateral          Spreading         Triggered       by the      12 January 2010           Haiti


         Earthquake          Earthquake Spectra                     27S1         pp S93 S116
    10 Green          RA Olson SM Cox BR Rix GJ Rathje E Bachhuber J French J Lasley S and
         Martin       N 2011               Geotechnical             Aspects        of    Failures        at     PortauPrince              Seaport      during     the   12

         January 2010         Haiti    Earthquake              Earthquake Spectra                    27S1           pp S43 S65
    11 Rathje         EM Bachhuber J Dulberg R Cox BR Kottke A Wood C Green RA Olson S
         Wells     D Rix G 2011 Damage                                Patterns          in    PortauPrince            during the          2010    Haiti    Earthquake
         Earthquake         Spectra        27S1 pp S117 S136
    12 Cox      BR Bachhuber J Rathje E Wood CM Dulberg R Kottke A Green RA Olson SM
         2011         Shear Wave            Velocity      and        Geology Based Seismic                         Microzonation      of    PortauPrince           Haiti
         Earthquake         Spectra        27S1 pp S67 S92


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    13 Green          RA Allen J Wotherspoon L Cubrinovski                                             M      Bradley            B Bradshaw A Cox BR and
         Algie   T 2011                Performance of Levees                     Stopbanks                 during the        4    September 2010           Mw71        Darfield

         and    22          Mw62
                      February 2011                            Christchurch            New       Zealand        Earthquakes                 Seismological         Research

         Letters 826 pp 939949

    14 Green          RA Wood C Cox BR Cubrinovski                                          M Wotherspoon L                         Bradley     B   Algie      T Allen J
         Bradshaw        A and Rix G 2011 Use                               of  DCP and SASW Tests to Evaluate Liquefaction Potential
         Predictions            vs     Observations              during      the  Recent New Zealand Earthquakes Seismological
         Research Letters                  826 pp 927938
    15 Wong           IG        Stokoe        II    KH Cox BR Yuan J Knudsen KL Terra F Okubo P Lin Y C
         2011         Shear Wave                   Velocity    Characterization             of the         USGS Hawaiian                 Strong    Motion       Network     on
         the   Island    of Hawaii            and     Development           of a      NEHRP           Site    Class         Map      Bulletin     of the      Seismological

         Society of America                  1015 pp 22522269
    16 Wood           CM        Cox         BR Wotherspoon LM Green RA 2011 Dynamic Site Characterization                                                                    of

         Christchurch            Strong            Motion      Stations          Bulletin        of    the     New          Zealand         Society      for    Earthquake
         Engineering            444 pp 195204
    17 Cox       BR Wood CM Hazirbaba K 2012 Frozen and Unfrozen Shear Wave                                                                            Velocity        Seismic
         Site Classification               of Fairbanks         Alaska       Journal of Cold                Regions Engineering                 263 118145
    18 McCartney             JS Cox BR Wood                             CM       El Tawati         A 2013                  Performance Evaluation of Flexible
         Pavements           Using a New Field Cyclic Plate                        Load Test               ASTM Geotechnical                 Testing     Journal         362
         PP 110
    19 Cox       BR
                  Boulanger RW Tokimatsu K Wood CM Abe A Ashford S Donahue J
                K Kayen R Katsumata K Kishida T Kokusho T Mason HB Moss R Stewart
         Ishihara

         JP Tohyama K Zekkos D 2013                               and  Urayasu
                                                                            Liquefaction              at    Strong         Motion    Stations            in                City

         during the      2011         TohokuOki             Earthquake Earthquake Spectra                                  29S1      pp S55 S80
    20   McCartney           JS Cox BR 2013                              Role         of Strain        Magnitude             on    the    Deformation          Response      of

         Geosyntheticreinforced                      Soil   Layers Geosynthetics                   International             203 pp 174190
    21 Green          RA Cubrinovski M Cox BR Wood C Wotherspoon                                                                         L Bradley B Maurer                  B
         2014         Select Liquefaction                   Case    Histories      from the 20102011                       Canterbury Earthquake                Sequence
         Earthquake          Spectra          301 pp 131153
    22 Wotherspoon                LM Orense RP Jacka                             M Green RA Cox BR Wood CM 2014                                                    Seismic
         Performance             of   Improved          Ground Sites during the                   20102011                 Canterbury        Earthquake         Sequence
         Earthquake          Spectra          301 pp 111129
    23 Wood           CM and Cox BR in review 2014 expected                                                   Experimental Dataset                  of Mining Induced

         Seismicity      for     Studies of Full Scale                  Topographic         Effects          Earthquake Spectra
    24 McGann            CR                Bradley       BA Wotherspoon                          LM          Cox           BR       in    review       2014      expected
         Comparison              of    a    Christchurch Specific             CPT Vs             Correlation          and Vs         Derived      from     Surface   Wave
         Analysis      for      Strong       Motion      Station        Velocity      Characterization                 Bulletin      of the    New     Zealand         Society
         for   Earthquake Engineering


B       Refereed Conference                  Proceedings


    1    Terrell      RG Cox BR Menq F Y Allen JJ and Stokoe                                                          II    KH 2003 Stiffness of Unbound
         Aggregate           Base          Layers      in     Inverted      Flexible         Pavements                 ICAR          11th   Annual       Symposium          on
         Aggregates          Austin Texas               April    2730 2003
    2    Terrell      RG Cox BR Stokoe                             II   KH Allen JJ and Lewis D 2003 Field Evaluation of the
         Stiffness      of      Unbound            Aggregate        Base     Layers         in   Inverted       Flexible           Pavements           TRB      83rd   Annual

                               DC January 1216 2003
                             BR Meng F Y Lin Y C and Stokoe
         Meeting       Washington

    3    Wong         IG Cox                                                                                     II        KH 2003 V Surveys of Strong
         motion       Sites      in   the    Puget       Sound          Region        Washington              and     Preliminary           Analysis     of    Shallow     Site

         Response          in    the       2001      M 68       Nisqually Earthquake Seismological Society of America Annual
         Meeting       Palm Springs CA April                        1416 2003 Abstract only published in Seismological Research
         Letters      742 p 248




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  4     Stokoe        II    KH Rathje EM Cox BR and Chang WJ 2004 Using Large Hydraulic Shakers
        to    Induce         Liquefaction              in   the     Field International                       Conference            on    Cyclic         Behavior           of   Soils    and

        Liquefaction           Phenomena                    Bochum Germany March                              31April 22004                   pp 313320
  5     Rathje        EM Chang W J Cox BR and Stokoe                                                         II    KH 2004 Effect                       of    Prefabricated          Vertical

        Drains        on     Pore Pressure                  Generation                 in
                                                                                             Liquefiable          Sand       11th   International              Conference            on   Soil


        Dynamics                Earthquake Engineering                             and 3r        International          Conference            on Earthquake                 Geotechnical

        Engineering             Berkeley              CA January 2004 pp 529536
  6     Rathje EM Chang W J Stokoe                                           II    KH and Cox BR 2004 Evaluation                                             of Ground Strain from

        In    Situ    Dynamic Response                           Paper        No 3099                13` World          Conference            on        Earthquake          Engineering
        Vancouver             Canada August                      16 2004
  7     Stokoe        II    KH Cox BR Lin Y C Jung MJ Meng                                                             F   Y Bay JA                     Rosenblad           B Wong          I

        2006           Invited        Paper            Use        of    Intermediate                 to    Large       Vibrators         as    Surface          Wave         Sources       to

        Evaluate  Vs Profiles for Earthquake Studies 19th Symposium                                                            on the Application                    of Geophysics          to


        Engineering and Environmental Problems Seattle       April                                         WA               26 2006 pp 12411258
  8     INartman             J Cox BR                       Meneses               J Moreno V Olcese                          M RodriguezMarek A                                  Sancio    R
        2008   Landslides Triggered by the 15 August 2007 M80 Pisco Peru Earthquake Geophysical
        Research Abstracts Vol 10 EGU2008A00000         EGU General Assembly EGU2008A08312
        2008

  9     Stokoe     II KH Meng F     Wood SL             Y                                    Park     K Rosenblad BL Cox BR 2008 Experience
        with     neesUTexas  Largescale Mobile                                               Shakers         in    Earthquake            Engineering             Studies           The    3rd

        International           Conference              On       Site   Characterization                   ISC3 Taipei Taiwan                                  14 2008
                                                                                                     Y
                                                                                                                                                     April


  10 Wong             I      Stokoe        II        K Cox BR Meng                              F           Hoffpauir        C Okubo P 2008 Shear Wave
        Velocity           Profiling       of    the    USGS            Strong              Motion        Stations     on    the    Island         of    Hawaii            Seismological

        Society        of America               Annual Meeting                    Santa        Fe     NM      April     1618 2008               Abstract         only       published       in

                                    Research                            792 p 339
                           Y
        Seismological                                   Letters

  11 Meng            F          Stokoe           II    KH Park K Rosenblad BL Cox BR 2008 Performance of Mobile
        Hydraulic           Shakers             at    neesUTexas             for Earthquake Studies                                 The        14th          World    Conference           on

        Earthquake             Engineering              Beijing         China October 1217 2008

  12 Stokoe           II    KH        Li    S Cox BR Meng F Y Rohay A 2008 Deep Downhole                                                                             Seismic Testing
        for    Earthquake              Engineering                Studies               The     14th       World       Conference             on    Earthquake              Engineering
        Beijing       China October                    1217 2008
  13 Meneses                JF Franke                  KW Cox BR RodriquezMarek A Wartman J 2009 Performance
        based        Evaluation            of a        Massive          Liquefaction induced                       Lateral    Spread          in    a    Subduction          Zone          IS
        Tokyo        2009           International           Conference                 on     Performance Based        Design in Earthquake Geotechnical
        Engineering                 From Case History to Practice                               Tokyo        Japan June 1517 2009 pp 15511558
  14 Cox         BR McCartney JS Curry B Wood CM Young C 2009 In                                                                                    situ Strain            Measurement

        during        Dynamic          Shear           Loading          of        An        Unbound        Geogrid         Reinforced          Pavement              Section          Eighth

        International               Conference              on    the    Bearing               Capacity           of   Roads        Railways             and     Airfields         Urbana
        Champaign IL June 29July 2 2009
  15 Cox         BR McCartney JS Wood CM Curry B 2010 Performance                                                                                       Evaluation          of   Full Scale


        GeosyntheticReinforced   Flexible  Pavements    Using Field  Cyclic                                                                        Plate   Tests
                                                                                                                                                               Load                       The

        Transportation Research Board 89th Annual Meeting Washington                                                                DC         January 1014 2010

  16 Marinucci               AM Rathje EM Ellington JS Cox BR Meng                                                                  F   Y     and        Stokoe       II    KH 2010
        Evaluation             of the       Effectiveness               of        Prefabricated             Vertical     Drains         using       Full Scale         In   Situ     Staged
        Dynamic Testing Art of Foundation Engineering Practice Eds    Hussein                                                       MH                          JB Anderson               and
        WM   Camp Geotechnical Special Publication 198 ASCE pp 380394
  17 Cox         BR Wood CM 2010 A Comparison                                                        of Linear Array Surface                  Wave           Methods        at   a Soft   Soil

        Site    in the    Embayment ASCE GeoFlorida Advances
                             Mississippi                                                                                            in   Analysis Modeling and Design
        West Palm Beach FL February 2024 2010 pp 13691378
  18 Wells           DL Rathje E Bachhuber J Cox BR French J Green R Olson S Rix G Suncar
        0 Pena          L Mundaray T 2010 Ground Deformation Effects on the 12 January 2010
        Earthquake             in    Haiti           Seismological            Society of             America Annual Meeting                        Portland          OR      April    2123
        2010         Abstract only published                       in   Seismological                Research Letters               813 p 540




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  19 Meng             F   Y     Cox      BR Stokoe                II     KH 2010            Estimating Dynamic                          Strain       Amplitudes              Beneath
        Mobile        Shakers            Seismological            Society        of     America Annual Meeting                          Portland              OR      April   2123
        2010      Abstract only published                    in   Seismological               Research Letters                 812 p 356
  20    McCartney       Cox   JS   Wood         BR                     CM Curry B 2010 Evaluation                                   of GeosyntheticReinforced

        Flexible Pavements Using Static Plate                                 Load      Tests            9th    International     Conference on Geosynthetics

        Guaruja Brazil May                 2327 2010
  21 Meng             F    Y      Cox      BR         Park        K Stokoe              II    KH 2010                   Estimating           Dynamic            Strains       in   Soil

        Generated    by the Large Mobile Shakers at NEESUTexas                                                         Before     Testing          9th    US National and
        10th    Canadian  Conference  on  Earthquake  Engineering                                                      Reaching         Beyond            Borders            Toronto
        Canada         July     2529 2010
  22 Cox          BR          Cothren           J Barnes A Waltman J RodriguezMarek A Meneses                                                                          J 2010
        Towards            Quantifying         Movement         Massive Lateral Spread Using High Resolution
                                                                  of a                                       Satellite Image


        Processing             9th    US       National and 10th Canadian Conference on Earthquake Engineering     Reaching
        Beyond Borders Toronto                        Canada           July   2529 2010
  23    McCartney             JS Cox BR Trowler C Wood                                        CM Khosravi A 2011 Seasonal                                        Effects       on the

        Dynamic            Deformation          of
                                GeosyntheticReinforced Pavements ASCE GeoFrontiers                                                                                   Advances        in


        Geotechnical Engineering Dallas TX March 1316 2011 pp 18721881

  24    Stokoe        II     KH         Lee     J    S Nam B H                    Cox          BR and Oshinski E 2011                                         Investigations         of

        Galveston           Airport      Pavements           after       Hurricane            Ike    in        2008    and     Liquefaction          Sites       in    Residential

        Areas     after      the     New Zealand            Earthquake           in    2010 Proceedings                      of the   3rd    International            Conference
        on     Geotechnical             Engineering         for   Disaster            Mitigation         and      Rehabilitation            Semarang             Indonesia          18
        May 1820 2011 pp 255262
  25 Cox        BR Wood CM 2011 Surface Wave                                                 Benchmarking               Exercise        Methodologies                 Results      and

        Uncertainties ASCE GeoRisk2011   Risk                                           Assessment                    and    Management              in        Geoengineering
        Atlanta GA June 2628 2011 pp 845852

  26 Kayen            RE Ishihara K Stewart JP Tokimatsu K Cox BR Tanaka Y Kokusho T Mason
        HB        Moss    RES Zekkos D Wood CM Katsumata K Estevez IA Cullenward SS
        Tanaka            H Harder LF Kelson KI Kishida T 2012 Geotechnical                                                                  Deformations               at    Ground
        Failure       Sites     from     the     March       11 2011           Great Tohoku                     Earthquake        Japan           Field       Mapping         LIDAR
        Modeling            and      Surface     Wave        Investigation                   Proceedings              of the    9th   International             Conference          on
        Urban     Earthquake             Engineering4th                Asia    Conference                on     Earthquake Engineering                        March     68 2012
        Tokyo         Japan          pp 123129
  27 Wood             CM
                     Cox        2012       BR                      A
                                          Comparison of MASW Dispersion Uncertainty and Bias                                                                                        for


        Impact and Harmonic Sources     ASCE GeoCongress 2012 State of the Art and Practice                                                                                          in


        Geotechnical Engineering Oakland CA March 2529 2012 pp 27562765

                           SC Cox BR 2012 A Comparison
                                                                                             m
  28    Griffiths                                                                                   of    SPTBased             Empirical         Liquefaction           Triggering
        Procedures            for    Soils at Significant      Depths +20   ASCE GeoCongress 2012 State of the Art and
        Practice       in   Geotechnical             Engineering Oakland CA March 2529 2012 pp 17701779

  29 Wood             CM
                     Cox                   BR
                                   RodriguezMarek       Assimaki     Wartman      Pando  A                             D                         J                     M 2012
        Topographic  Effects from    Longwall Coal Mining Seismicity Phase  Experimental                                                I

                                                                                                                                                                       Setup       and

        Results   Second    International Conference   on Performance Based  Design  in                                                                               Earthquake
        Geotechnical            Engineering            Taormina          Italy        May 2830 2012 Paper No 106 pp 5162
  30 Pando            M       Suarez       LE RodriguezMarek A Dika SL Assimaki D Cox BR INartman J
        2012          A Bridge            to    the    Doctoral          Program             Strategy           for   Increasing        Latinos          in    the    Earthquake
        Engineering            Professoriate               Proceedings           of the        2012            American        Society      of   Engineering            Education

        Conference             San Antonio            TX June 1013 2012
  31 Wotherspoon                    LM Orense RP Bradley BA Cox BR Wood CM Green RA 2013                                                                                           Soil

        Profile       Characterisation                of    Christchurch               Strong        Motion            Stations         New        Zealand            Society       for


        Earthquake            Engineering            2013   Conference                Same      Risks             New       Realities       Wellington           New     Zealand
        April   2628 2013
  32 Wood             CM        Ellis    TB Teague DP Cox BR 2014 Comprehensive Analysis of the UTexas1
        Surface           Wave        Dataset          ASCE            GeoCongress                  2014          GeoCharacterization                    and         Modeling       for


        Sustainability            Atlanta       GA February 2326 2014 pp 820829




                                                                                         5
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    33 Cox           BR Wood CM Teague DP 2014 Synthesis                                            of    the    UTexas1          Surface Wave           Dataset
          Blind Analysis         Study    Inter Analyst        Dispersion          and   Shear     Wave         Velocity      Uncertainty    ASCE Geo
          Congress         2014 GeoCharacterization                  and Modeling          for   Sustainability         Atlanta        GA February 2326
          2014 pp 850859


C       Other Major Publications


D       Books Chapters           of Books      Editor of Books



E       Reviews


F       Technical     Reports


    1     RodriguezMarek              A AlvaHurtado J Cox BR Meneses J Moreno V Olcese M Sancio R
          INartman         J 2007        Preliminary       Reconnaissance                Report on the Geotechnical                    Engineering     Aspects
          of   the    August     15 2007        Pisco       Peru      Earthquake           Report        of   the     National        Science       Foundation

          Sponsored           GeoEngineering              Earthquake          Reconnaissance                  GEER            Team           Internet        Report
          httpgeesusceduGEERPeru2007Peru2007WebPageindexhtm                                                                 September 2007

    2     Kayen       R Cox BR Johansson                      J Steele          C Somerville P Kongai K Zhao Y Tanaka                                               H
          2008        Geoengineering           and Seismological             Aspects of the lwate MiyagiNairiku                          Japan Earthquake
          of June 14 2008 Internet Report httpresearcheercberkeleyeduprojectsGEERGEERPost

          20EQ20ReportsJapan2008CoverJapan2008html           September 2008

    3     Rathje      EM Bachhuber J Cox BR French J Green R Olson S Rix G Wells D Suncar
          0 2010 Geotechnical                  Engineering         Reconnaissance            of the      2010       Haiti   Earthquake            Internet

          Report
          httpwwwgeerassociationorgGEERPost20EQ20ReportsHaiti2010CoverHaiti10html
          February 2010

    4     Green       RA Cubrinovski            M     Allen    J Ashford S Bowman E Bradley B Cox BR
          Hutchinson         T
                      Kavazanjian   Orense           E                  R ORourke T Pender M Quigley M Wotherspoon
          L 2010 Geotechnical Reconnaissance                            of the      2010    Darfield      New Zealand                 Earthqauke         Internet

          Report httpwwwgeerassociationorgGEERPost20EQ20ReportsDarfield20New20
          Zealand2010CoverDarfield2010html                                   November 2010


ORAL PRESENTATIONS

A       NationalInternational          Meetings or Conferences


    1     Cox BR           Invited Development      of a Direct Test Method for Dynamically Assessing the


          Liquefaction       Resistance of Soils In Situ presented at the Earthquake Engineering Research
          Institute   Annual Meeting           Los Angeles           CA February 10 2007
    2     Cox     BR        Invited    Surface       Wave      Site    Characterization            presented at the Pile Driving Contractors
          Association        PDCA Professors Driven                   Pile   Institute     Logan     UT June 17 2009
    3     Cox     BR        Invited    Turning        Disaster
                                                             into Knowledge The M80 Pisco Peru Earthquake of August
          15 2007           presented     at   the    NSF Sponsored GeoEngineering  Extreme Events  Reconnaissance

          GEER Workshop                Berkeley       CA May 18 2009
    4     Cox        BR A Comparison                 of   Linear Array          Surface          Wave     Methods            at   a   Soft   Soil    Site    in    the

          Mississippi        Embayment presented                at    ASCE Geo             Florida       West       Palm      Beach          FL    February        22
          2010

    5     Cox        BR    Invited     The M80             Pisco       Peru     Earthquake          of   August         15 2007          presented          at    Fifth

          International       Conference        on    Recent     Advances           in   Geotechnical           Earthquake            Engineering        and      Soil


          Dynamics         San Diego      CA May 28 2010
    6     Cox        BR    Towards       Quantifying         Movement          of   a    Massive        Lateral      Spread Using High Resolution
          Satellite    Image       Processing         presented         at   9th    US     National       and       10th Canadian Conference on

          Earthquake         Engineering       Reaching       Beyond Borders Toronto                     Canada          July     27 2010




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    7    Cox     BR         Invited            Structural             HealthMonitoring Ideas for ChinaUS Collaboration presented at
         the    NSF Sponsored Workshop                                on China               US
                                                                                   Collaboration for Disaster EvolutionResilience of Civil

         Infrastructure             and Urban          Environment                     Purdue University                     West        Lafayette         IN August 2324 2010
    8    Cox         BR        In Situ         Measurements                       of    Pore           Pressure          Generation               and    Nonlinear           Shear           Modulus
         Behavior         at   the    Wildlife        Liquefaction                 Array presented                      at   the    24th    Symposium on                   the    Application         of

         Geophysics            to    Engineering            and Environmental                               Problems Charleston SC April                                 1014 2011
    9    Cox     BR A comparison                            of   SPTBased                    Empirical               Liquefaction          Triggering           Procedures             for   Soils    at

         Significant           Depths          +20     my presented                          at    the        ASCE       GeoCongress                    2012      State         of    the    Art    and
         Practice      in   Geotechnical              Engineering                      Oakland              CA March 27 2012
    10 Cox       BR Invited                    Geotechnical                 Lessons               Learned from the                  M70      2010        Haiti    Earthquake Why the
         Palace        Fell       presented            at    the       Earthquake                      Engineering            Research             Institute      Annual Meeting and
         National      Earthquake Conference                                Memphis TN April 11 2012
    11 Cox       BR Invited                    Liquefaction                Lessons            Learned from Recent                          Post Earthquake                 Reconnaissance

         presented          at    the     Liquefaction                State of the Art                      Forum Consequences                             Mitigation            St    Louis       MO
         April   19 2012
    12 Cox       BR Topographic                       Effects          from Longwall Coal Mining Seismicity Phase                                                    I
                                                                                                                                                                         Experimental             Setup
         and     Results            presented         at    the       Second             International                Conference           on      Performance Based                    Design        in


         Earthquake            Geotechnical             Engineering                    Taormina                Italy    May 2830 2012
    13 Cox           BR     Invited            Liquefaction                 at    Strong           Motion            Stations       and     in    Urayasu         City      During          the    2011
          Great East Japan                 Earthquake presented                                   at    the    Pacific       Earthquake Engineering                        Research           Center

          PEER TSRP Liquefaction Workshop                                               Berkeley              CA April 24 2013
    14 Cox       BR Deep Vs          Profiling   Dynamic         for     of Christchurch New Zealand Towards
                                                                                              Characterization

          Reliably     Merging    Large Active Source and AmbientWavefield   Surface Wave Methods presented
          at   the    International  Conference on Earthquake Geotechnical Engineering    From Case History to
          Practice        in     honour of Professor                       Kenji Ishihara Istanbul                           Turkey        June         1719 2013
    15 Cox       BR Deep Vs         Profiling for Dynamic Characterization of Christchurch New Zealand Towards
         Reliably      Merging   Large Active Source and AmbientWavefield      Surface Wave Methods presented

         at    Quake      Summit 2013     NEES Annual Meeting Reno NV August 8 2013
    16 Cox           BR        Synthesis of the                   UTexas1                Surface              Wave       Dataset           Blind Analysis                Study        InterAnalyst


          Dispersion           and    Shear Wave                 Velocity              Uncertainty                           ASCE GeoCongress 2014 Geo
                                                                                                                     presented       at

          Characterization                and Modeling                for    Sustainability                   Atlanta GA February 2326 2014

    17 Cox           BR     Invited             Analysis          of        the    InterPacific                Surface Wave                Datasets            Significant            Results       and

          Conclusions               presented          at   the       1st    INTERPACIFIC Workshop                                  Torino         Italy    2223 May 2014
    18 Cox       BR         Invited            Analysis of the                    InterPacific               Borehole         Methods Datasets                    Relevant            Results       and

          Conclusions               presented          at   the       1st    INTERPACIFIC Workshop                                  Torino         Italy    2223 May 2014

    19 Cox           BR Developing                    Reliable             Deep Vs            Profiles            Beneath          Christchurch            by    Merging Large Active
          Source       and       AmbientWavefield                           Surface           Wave   Methods presented at                                      the       10th     US         National

          Conference on Earthquake Engineering                                               Anchorage AK 2125 July 2014
    20 Cox           BR        Invited           NEES             Helping               to    Build           a      Resilient      Christchurch                 Towards              Deep        Basin

          Characterization                and    Liquefaction                Mitigation                     presented         at   the     10th     US         National         Conference           on

          Earthquake Engineering                      NEES Luncheon Anchorage                                          AK 2125 July 2014

B       RegionalStateLocal                     Meetings          or   Conferences



          Cox BR            Invited            What     Will      Happen               in    Northwest Arkansas                     When          the    Big     One Hits New                Madrid

          presented         at      the    Northwest             Arkansas                Section              Meeting        of    ASCE           Fayetteville            AR         November         1
         2006

          Cox        BR     Invited            Geotechnical                  Earthquake                     Engineering            What      it    is    and    Why        Arkansas           Should
          Care presented                  at    the   Arkansas               Academy                   of    Civil    Engineers          meeting Fayetteville                        AR April 13
         2007

          Cox        BR        Invited          Earthquake                   Issues           of       Special         Interest       in    Arkansas             Soil      Liquefaction             and

          DeepSoft             Soil     Amplification                 of     Earthquake                     Ground       Motions           presented at the ATC20                                  Post

          earthquake Safety Evaluation of Buildings seminar Fayetteville                                                                 AR October 19 2007
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  4     Cox      BR       Invited  Development                      of    a    Direct     Test           Method       for      Dynamically              Assessing              the

        Liquefaction       Resistance of Soils In                  Situ       presented        at    the       Arkansas        Academy            of    Civil     Engineers
        meeting Fayetteville             AR April 11 2008
  5     Cox     BR       Invited        Practical       Lessons          Learned        from        Recent         Large Earthquakes                    and      How       They
        Apply    to   Arkansas          presented       at   the    Arkansas           Governors               Earthquake       Advisory          Council          AGEAC
        meeting Jonesboro               AR July 25 2008
  6     Cox BR Invited                 Geotechnical           Failures         Observed         in       the    Recent        Pisco    Peru        and       lwateMiyagi
        Earthquakes            presented        at    the     Arkansas           Division           of    Emergency             Management                ADEM                 Fall


        Conference         Fort      Smith AR August            29 2008
  7     Cox     BR Invited             Geotechnical           Failures         Observed         in       the    Recent  Pisco Peru                 and       lwateMiyagi
        Earthquakes           presented        at    the     ASCE        Arkansas        State       Section        Annual Meeting                 and       Conference
        Lithe   Rock     AR September 5 2008
  8     Cox     BR Invited Earthquake   Issues of Special Interest in Arkansas presented                                                                at    the    ATC20
        Post earthquake Safety Evaluation of Buildings seminar Fayetteville AR November                                                                 7 2008
  9     Cox     BR        Invited        Evaluation           of Basal         Reinforcement               of    Flexible      Pavements               Arkansas            State

        Highway and Transportation                   Department           Transportation             Research Committee                     Little      Rock        AR May
        5 2009
  10 Cox         BR      Invited        Transportation             Infrastructure         Damage from                    Recent       Earthquakes                 Arkansas
        State    Highway         and    Transportation         Department               Transportation              Research          Committee                 Little    Rock
        AR May 5 2009
  11 Cox         BR      Invited        Soil    Liquefaction             and     Its
                                                                                        Engineering              Effects       presented           at    the      Arkansas
        Governors        Earthquake Advisory Council                      AGEAC meeting                        Blytheville     AR July 23 2009
  12 Cox         BR      Invited        Earthquakes            and       Their     Engineering                 Effects    presented          at        Oakdale           Middle

        School        Rogers     AR October 9 2009
  13 Cox         BR      Invited         Accelerated           Characterization             of       Full Scale          Reinforced          Flexible             Pavement
        Models Using a Vibroseis presented at the Mack Blackwell  Rural Transportation                                                                 Center        MBTC
        Annual Advisory Board meeting Fayetteville AR October 20 2009

  14 Cox        BR       Invited        Earthquakes           and        Their    Engineering              Effects        presented         at     the       University         of

        Arkansas        Engineering       and Science          Partnership             mini workshop              Fayetteville        AR October 24 2009
  15 Cox        BR      Invited        Evaluation          of Basal       Reinforcement              of    Flexible      Pavements           II    presented at the
        Arkansas         State       Highway         and     Transportation              Department               AHTD            Transportation          Research

        Committee Little Rock              AR November               17 2009
  16 Cox         BR      Invited         Accelerated           Characterization             of       Full Scale          Reinforced          Flexible             Pavement
        Models        Using      a     Vibroseis   presented  at the Arkansas    State Highway and Transportation

        Department  AHTD                 Transportation Research Committee Little Rock AR November 17 2009

  17 Cox        BR Invited Earthquakes                        and        Their    Engineering              Effects       presented         at     the     ATC20               Post

        earthquake Safety Evaluation of Buildings seminar Fayetteville                                             AR November 20 2009
  18 Cox         BR      Invited        Earthquakes           and        Their     Engineering             Effects        presented         at     Central          Jr        High

        School        Springdale       AR December 4 2009
  19 Cox         BR      Invited         Geotechnical              Earthquake           Engineering               Reconnaissance                  presented              at    the

        University      of Arkansas        College         of Engineering             Spring   2010        Advisory Council Fayetteville                            AR April
        92010
  20 Cox        BR Invited             2010     Haiti      Earthquake          from      Reconnaissance                  to   Rebuilding           presented at the
        Arkansas         State       Highway         and     Transportation              Department               AHTD            Transportation          Research

        Committee Little Rock              AR May 12 2010
  21 Cox        BR      Invited        2010  Haiti Earthquake from Reconnaissance to Rebuilding presented                                                                 at   the

        University      of Arkansas       Geosciences Colloquium Fayetteville AR September 3 2010

  22 Cox         BR      Invited         Geotechnical              Earthquake           Engineering               Reconnaissance                  presented              at    the

        University      of Arkansas       Board of Advisors               Meeting        Fayetteville            AR September 24 2010
  23 Cox        BR Invited Earthquakes                       and Their Engineering                   Effects        presented         at   Lynch        Middle           School
        Farmington AR January                  27 2011




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  24 Cox        BR  Invited  Evaluation  of Basal Reinforcement of Flexible Pavements the Marked Tree

        project   presented   at the  Arkansas  State  Highway and Transportation  Department                                                                 AHTD
        Transportation   Research Committee Little Rock AR April 26 2011

  25 Cox        BR Invited  Why the Palace Fell The 2010 Haiti Earthquake from Reconnaissance to
        Reconstruction   presented at the Freshman Engineering Program The  University of Arkansas

        Fayetteville            AR September 20 2011
  26 Cox        BR         Invited          Earthquake         Engineering            Reconnaissance               Turning    Disaster          into    Knowledge
        presented          at   the    College      of Engineering         Alumni and            Friends    Luncheon         Clinton      Library       Little Rock
        AR November 8 2011
  27 Cox         BR         Invited         Earthquakes            and    Their       Engineering          Effects     presented          at    Oakdale         Middle

        School        Rogers          AR November 18 2011
  28 Cox        BRInvited  Earthquakes    and Their Engineering Effects presented                                                        at    the     ATC20       Post

        earthquake Safety Evaluation of Buildings seminar Fayetteville AR December                                                       2 2011
  29 Cox         BR        Invited          Earthquakes            and    Their       Engineering       Effects       presented          at     Central       Jr   High

        School        Springdale            AR December 9 2011
  30 Cox        BR Invited               Lessons Learned from Recent                         Global   Earthquakes            presented          at     the   Arkansas
        Governors           Earthquake Advisory Council                    Jonesboro             AR January 19 2012
  31 Cox        BR         Invited       Earthquakes             and     Their    Engineering         Effects       presented       at   St Joseph Catholic

        School        Fayetteville          AR January 27 2012
  32 Cox        BR Invited               Liquefaction         Lessons          Learned from Recent                 Post Earthquake             Reconnaissance

        presented          at   the   UT Austin EERI Student Chapter Seminar Austin                                  TX October 24 2012
  33 Cox         BR         Invited         Lessons        Learned         from       Recent      Geotechnical         Earthquake              Reconnaissance

        presented          at   the    UT   Austin    CAEE External Advisory Committee                             Meeting     Austin          TX November 2
        2012

  34 Cox        BR Invited              Topographic           Effects      in    Earthquake Ground Motions                   Insights         Gained from Field
        Studies       of    Frequent         and     Predictable          Mining         Seismicity    presented        at    the    UT        Austin        Acoustics

        Seminar Austin                TX November 9 2012
  35 Cox        BR Invited   Why the Palace Fell                                  The      2010    Haiti    Earthquake         from       Reconnaissance             to

        Reconstruction   presented at St Stephens                                Episcopal       School      Austin    TX February 13 2014
  36 Cox        BR Invited               Deep Vs Profiling for Dynamic Characterization                                          New Zealand
                                                                                                                       of Christchurch

        Towards        Reliably         Merging       Large      Active   Source           and    AmbientWavefield           Wave Methods
                                                                                                                              Surface

        presented          at   the   University     of Texas       Institute     for     Geophysics       Seminar Austin TX March 28 2014

  37 Cox         BR         Invited         My      Experiences           as    an       Earthquake        Engineer      presented             at     Elsa    England
        Elementary School                   Round    Rock     TX March 21 2014

PATENTS          None


GRANTS AND CONTRACTS


        Co                                                                                              Grant           Candidate                      Grant
                                             Title                              Agency
 Investigators                                                                                             Total             Share                     Period


                                       Early Career

                                Development          of   Meso            The        National

   N   Hall   PI                 Scale Capacitively                             Science
                                                                                                      599359              193000                     Submitted
       N Sun                     Transduced Seismic                        Foundation
                                  Sensors      for    Earth                      NSF
                                         Sciences

                                Field Investigations          of

                                      Shallow Ground                      The        National

  K H Stokoe                    Improvement          Methods                    Science                                                          June 2013
                                                                                                      197966                 98983
     PI                     for Inhibiting       Liquefaction              Foundation                                                                May 2014
                            Triggering        Christchurch                       NSF
                                       New Zealand




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                          Field Investigations              of

                              Shallow Ground
  K H Stokoe              Improvement           Methods            Tonkin      and                           June 2013
                                                                                       223518   111759
     P1                 for Inhibiting        Liquefaction         Taylor Ltd                                  May 2014
                        Triggering           Christchurch
                                  New Zealand

                           RAPID Deep Shear
                         Wave      Velocity         Profiling

                                  for     Seismic
                                                                  The     National
                            Characterization               of
                                                                     Science                                  Dec     2012
       None                 Christchurch             NZ                                197684   197684
                                                                   Foundation                                 Nov 2013
                         Reliably       Merging Large
                            Active      Source and
                                                                        NSF
                            PassiveWavefield
                         Surface Wave            Methods

                           CAREERPECASE
                         Revolutionizing            Surface
                            Wave        Methods           for     The     National

                         Engineering           Analyses              Science                                  July   2011
       None                                                                            421600   421600
                         from Deterministic and                    Foundation                                 June 2016
                                  Incoherent         to                 NSF
                             Probabilistic           and
                           Standardized             DIPS

                                                                 USDOT         Mack
                                                                 Blackwell     Rural

                                                                 Transportation
                           Site Specific        Seismic
                        Ground Motion
                                                                 Center    MBTC
                                                 Analyses
                                                                 and Arkansas                                 July   2011
       None                 for   Transportation                                       88592    88592
                                                                 State    Highway                             June 2012
                        Infrastructure         in   the    New
                                                                         and
                           Madrid Seismic Zone
                                                                 Transportation

                                                                  Department
                                                                     AHTD
                         RAPID CPT and SASIN
                         Testing     at      Seismograph          The     National

                         Stations with         Liquefiable           Science                                  July   2011
       None                                                                            120253   120253
                           Soils Affected           by the         Foundation                                 Dec     2012
                           Tohoku         Earthquake                    NSF
                                        Japan
                             Development of a
                             Geologic and
                                                                 United    Nations
    E Rathje             Geotechnical Database                                                                Nov 2010
      PI J                   of PortauPrince
                                                                  Development
                                                                                       50000    16667           June
                                                                  Programme
   Bachhuber                                    Area for                                                         2011
                                                                     UNDP
                           Metropolitan
                              use       in   Seismic
                          Microzonation             Studies

                          RAPID Geotechnical
                                                                  The     National
                        Driven     Damage           Patterns
                                                                     Science                                  May 2010
  S Olson P1             and Liquefaction in the                                       40000    20000
                                                                   Foundation                                 April   2011
                           January 2010 Haiti
                                                                        NSF
                                  Earthquake




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 A Rodriguez             NEESCR             Topographic
 Marek PI D                                                          The    National

  Assimaki M
                        Effects       in   Strong    Ground
                                                                        Science                                  Oct 2009
   Pando        W        Motion From Physical
                         and Numerical Modeling
                                                                      Foundation
                                                                                         1144593   211857
                                                                                                                 Sept 2013
     Silva      J                                                          NSF
                                      to   Design
    Waltman

                         Collaborative           Research
                          The    M80         Pisco    Peru
 J Cothren A                                                         The    National
                                Earthquake            A
   Rodriguez                                                            Science                                  Aug 2009
                           Benchmark Ground                                              325178    177065
    Marek J                                                           Foundation                                  Jan 2011
                        Failure Event for Remote
    Wartman                                                                NSF
                              Sensing and Data
                                      Archiving



                                                                    USDOT        Mack
                                                                    Blackwell    Rural

                                                                    Transportation
                                      Practical

                          Recommendations                 for
                                                                    Center   MBTC
                                                                    and Arkansas                                 July   2009
         None           Evaluation         and    Mitigation                              79524    79524
                                                                    State    Highway                             Dec     2010
                          of Soil Liquefaction                in
                                                                            and
                                      Arkansas
                                                                    Transportation

                                                                     Department
                                                                        AHTD

                        Utilization        of Screw Piles               Alaska
  K Hazirbaba            in   High Seismicity Areas                    University                                July   2009
                                                                                         190424    33242
     P1                       of Cold and Warm                      Transportation                               June 2011
                                  Permafrost                        Center   AUTC
                               Structural        Health

          K                     Monitoring         and                      US
  Grimmelsma             Assessment              of Critical        Department of                                Jan 2009
                                                                                         225000    75000
     n   PI E                     Intermodal                          Homeland                                   June 2011

   Heymsfield                   Transportation                      Security     DHS
                         Infrastructure          Elements


                                                                    Arkansas     State

    N Dennis                                                         Highway and
                         Resistance           Factors                                                            Jan 2009
         PI J
                                                              for
                                                                    Transportation       105817    35272
                               Pile    Foundations                                                               June 2010
   McCartney                                                         Department
                                                                        AHTD

                                                                    Arkansas     State
                              Evaluation of Basal
                                                                     Highway and
                               Reinforcement             of                                                      July   2008
 J McCartney                                                        Transportation       263459    175639
                         Flexible      Pavements with                                                            June 2011
                                                                     Department
                                Geosynthetics
                                                                        AHTD




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                                                                       USDOT         Mack
                                                                      Blackwell        Rural

                                                                       Transportation
                                      Accelerated

                             Characterization            of Full
                                                                      Center     MBTC
                                                                       and Arkansas                                                         July   2008
 J McCartney                        Scale    Reinforced                                              84069               56046
                                                                       State    Highway                                                     Dec     2009
                                Flexible         Pavement
                                                                               and
                             Models using a Vibroseis
                                                                       Transportation

                                                                           Department
                                                                            AHTD

                                                                               Total              3757677               1919183


PHD SUPERVISIONS COMPLETED
     Clinton    M Wood              Field    Investigation       of Topographic          Effects using      Mine    Seismicity Department of
     Civil Architectural            and Environmental              Engineering         University    of Texas      at   Austin August 2013
     Placed     as Tenure Track              Assistant        Professor University of Arkansas


MS SUPERVISIONS COMPLETED
     Andrew      N Beekman A Comparison of Experimental                                   ReMi    Measurements           with    Various   Source
     Array    and     Site     Conditions          Department of Civil Engineering                 University      of Arkansas         August 2008
     thesis


     Clinton    M Wood              The     Impact of Source Type              Source Offset and Receiver Spacing on Experimental
     MASW       Data      at   Soft over Stiff          Sites Department of Civil Engineering                   University       of Arkansas         May
     2009 thesis


     Jeremy     A Brooks Strain Gage                        Installation   and Survivability on Geosynthetics                   Used   in   Flexible

     Pavements Department                        of Civil   Engineering        University of Arkansas           December 2009 thesis


     Christina        N Trowler Accelerated                   Characterization         of Fullscale       Reinforced      Flexible     Pavement
     Models Using a Vibroseis Department                            of Civil   Engineering         University      of Arkansas         May 2010
     thesis


     Shawn      C Griffiths Practical                   Recommendations          for    Evaluation    and Mitigation of Deep                Soil


     Liquefaction            Department of Civil Engineering                   University       of Arkansas        May 2011 thesis


     Taylor    Goldman The Marked Tree Site Evaluation                                  of Basal     Reinforcement        of Flexible       Pavements
     with   Geosynthetics                 Department of Civil Engineering                University       of Arkansas       December 2011
     thesis


     David Teague Reliably Merging Large Active Source and PassiveWavefield                                                 Surface Wave
     Methods Department of Civil Architectural and Environmental Engineering                                               University of Texas             at

     Austin May 2014 no thesis


PHD IN PROGRESS

A    Students admitted               to   candidacy


     Shawn      C Griffiths Mapping                     Uncertainty   in   Shear Wave          Velocity   Derived       from Surface Wave
     Methods        to   Uncertainty        in   Site    Response Estimates              Department of Civil Architectural                  and
     Environmental             Engineering          University     of Texas     at   Austin


     Trenton     Ellis       Revolutionizing            Surface Wave        Methods       for   Engineering     Analyses          from Deterministic
     and Incoherent            to   Probabilistic        and Standardized            Department of Civil Architectural                 and
     Environmental             Engineering          University     of Texas     at   Austin




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Civil Architectural        and Environmental              Engineering                                                                                        Revised     September       19 2014




      Andrew         Stolte       Strengths and Weaknesses                                of Psueduo2D                  Subsurface               Imaging Using                Surface Wave
      Methods Department                          of Civil    Architectural              and Environmental                    Engineering                University of Texas                 at

      Austin


B     Post    MS students preparing                          to   take       PhD qualifying exam

      David       Teague          Stress Wave                Subsurface               Imaging for Anomaly Detection                                Department                 of Civil

      Architectural          and Environmental                     Engineering                University         of Texas          at     Austin


MS IN PROGRESS
      None        currently




VITA


      Dr Cox         specializes             in
                                                   geotechnical              engineering            issues        related       to      earthquake            loading          soil   dynamics
and    nondestructive               material             characterization                using       stress        waves             He        joined    the       Cockrell           School of

Engineering          at    the    University             of Texas        in       2012    after          having       served         for   six    years       as    a    Civil   Engineering

faculty      member          at   the        University           of   Arkansas               He has           been      a    part        of    Geotechnical             Extreme          Events
Reconnaissance                  GEER teams deployed                                 immediately            following         the      M71         2010       Darfield          New     Zealand

Earthquake           the        M70      2010        Haiti    Earthquake                 the    M69            2008     lwateMiyaqi                Japan           Earthquake            and      the

M80        2007     Ptsco         Peru       Earthquake                He has         also     been        a    part of       teams            deployed       to    collect      shear wave

velocity      data      at   strong          motion        stations           and      soil    liquefaction             sites      following           the    2011        Tohoku          Japan
Earthquake           the     2011       Christchurch               New            Zealand      Earthquake               the    2006            Kiholo    Bay       Hawaii        Earthquake
the    2001        Nisqually Seattle    Washington   Earthquake  and the    1999   Kocaeli  Turkey Earthquake
Additionally         Dr Cox has participated in numerous dynamic site characterization projects where crosshole
downhole          and      surface       wave        techniques were employed for the seismic design of critical government
facilities    such        as the Yucca              Mountain Project the Device Assembly Facility Nevada Test Site the DOE
Hanford       Site        the     Y12        National        Security              Complex           Oak         Ridge        National           Laboratory             and      Los     Alamos
National      Laboratory
      In     20122011             Dr Cox            received           the        prestigious        Presidential             Early        Career Award                 for   Scientists       and

Engineers PECASE                        and        the    Faculty        Early        Career         Development                CAREER                  award from               the   National

Science  Foundation                   for     his    work         on    quantifying            uncertainty             In    surface            wave     methods              used     for     non
intrusive     geotechnical            site        investigations              His    PhD graduate research at the University of Texas centered
around the          development of a new in situ test method for directly measuring the dynamic pore pressure
response          and nonlinear shear modulus behavior of liquefiable soil deposits  For this research he was
selected      as the 20042005                       FEMA Graduate                     Fellow        in    Earthquake           Hazard Reduction                     by the          Earthquake
Engineering          Research            Institute         EERI              In    2010       his    continued          work         in    this   area       was        recognized        by the
ASTM         Geotechnical             Testing             Journal        through          receipt           of    the        Hogentogler               Award        for    paper of
                                                                                                                                                                              his


outstanding          merit He           is   a    member          of the          American Society of Civil Engineers                              ASCE             GEER and EERI




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1 CV Faculty Annual Reports                                       Other Information                                                                                     Cox Brady R



                                                                           Co Authored Works

A listing     of all coauthored                      peer reviewed journal and conference                                     publications               over the past Jour years

ie    since    2010               is   provided      below For each publication                          I    have indicated                  the contribution                I    made to the
intellectual    content                 and    production              of the    paper using             a    three level           scale           primary             significant              and

supportive          Additionally at                  least the first            four coauthors                 are identified                 at    the    time of publication                     as

current   students             former students                faculty         colleagues          etc Note that the publication                                serial    numbers match

those    from my CV and that underlined                                     names indicate           either        myself or my current                         and former graduate

students



A   Refereed Archival                     Journal Publications



5    Cubrinovski                   M Green RA Allen J Ashford S Bowman E Bradley B Cox BR
     Hutchinson                    T Kavazanjian E Orense R Fender M Quigley M Wotherspoon L
     2010            Geotechnical                      Reconnaissance                    of       the    2010            Darfield             Canterbury                     Earthquake
     Bulletin       of the             New     Zealand Society                  for Earthquake                 Engineering                    434 pp 243320

     Coauthors                 Cubrinovski              Bowman               Bradley     and        Quigley are faculty                       members           at   the      University           of

     Canterbtuy               Orense           Pender and              Wotherspoon            are    faculty         members             at    the       University           of Auckland

    Green      is    a       faculty          member         at   Virginia       Tech        Allen       is    a   consulting                engineer          Ashford             is    a   faculty

    member           at       Oregon           State        University          Cox     is    a     faculty          member             at    the       University            of Arkansas

     Hutchinson              is    faculty         member         at   UC     San Diego Kavazanjian                           is   a faculty            member          at   Arizona State

    University


    Division        of labor This publication                              resulted   from the efforts of a GEER reconnaissance                                              team deployed

    to    document                 the   geotechrtical             aspects       of the       2010           Darfield          New           Zealand           Earthquake                    Authors

    Cubrinovski               and Green led the team and directed other team members in their assignments to produce

    the   paper          I   consider          them as primarily responsible for the production                                              of the paper            All other               authors

    are     listed       in       alphabetical          order          I    made      significant            contributions              to     this
                                                                                                                                                          paper in           terms of both

     intellectual            content          and    production             by collecting         and        interpreting           surface             wave     data        at    liquefaction

    case history             sites       and by writing significant                   portions       of the paper and reviewing                               the rest




6 Wong          IG Stokoe                      II    KH Cox BR Lin Y C Menq F Y 2011 Shear Wave Velocity
     Profiling            of           Strong        Motion             Sites      That        Recorded                  the        2001                Nisqually             Washington
     Earthquake                        Earthquake Spectra                     271 pp 183212

    Coauthors                     Wong        works         for   URS        Corporation            Stokoe         is    faculty        member and Lin and Meng                                   are

    postdocs        at       the University of Texas                        Cox is a faculty member                      at   the University of Arkansas




    Division         of labor             I   made significant                 contributions            to    this      paper      in    terms of intellectual                         content    by

    participating              in a      twoweek             field     campaign        to collect        experimental                   data       in   Washington                 I    also   made

    significant              contributions             in    terms of production                  while        Wong           and       Stokoe          primarily led                  production

    and also made primary contributions                                      in terms of intellectual                content



7    Cox       BR Beekman AN                                       2011            Intramethod                 Variability               in    ReMi            Dispersion                and      Vs
     Estimates                at        Shallow        Bedrock               Sites       Journal              of     Geotechnical                       and     Geoenvironmental

     Engineering                   1374             pp 354362

    Coauthors                     Cox is       a    faculty       member         at    the   University              of Arkansas               and        Beekman             is       one     of his

    graduate students
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1 CV Faculty Annual                         Reports                  Other Information                                                                                     Cox Brady R




    Division        of labor        I       made primary contributions                                 to this   paper in terms of both intellectual                              content          and

    production



8   Yong        A Hough SE Cox BR Rathje EM Bachhuber J Dulberg R                                                                                                          Hulslander              D
    Christiansen             L Abrams MJ 2011 Seismic zonation                                                                  of          PortauPrince                  Using Pixel and

    Object based             Imaging                        Analysis           Methods on                ASTER           GDEM Journal of Photogrammetric
    and Remote Sensing                                 779           pp 909921

    Coauthors              Yong and Hough                            are      research          scientists       at    the     USGS            Cox is a        faculty      member            at   the

    University         of Arkansas                          Rathje       is    a     faculty      member          at    the     University               of Texas           Bachhuber              and

    Dulberg work            for     Fugro consultants                           Hulslander          is   a researcher              at       ITTVIS        Christiansen            and Abrams

    are research        scientists                at    Cal Tech



    Division         of labor           I    made significant                      contributions           to this       paper          in    terms of intellectual               content          an

    production          Yong was primarily responsible                                         for intellectual          content             and production



9   Olson           SM Green RA                                   Lasley           S          Martin     N Cox BR Rathje E Bachhuber J and
    French           J 2011                      Documenting                       Liquefaction            and         Lateral              Spreading         Triggered            by the           12

    January 2010 Haiti                           Earthquake                    Earthquake Spectra                        27S1                 pp S93 S116

    Coauthors              Olson            is    a faculty          member           at      the University           of Illinois           and Martin         is   one of his graduate

    students         Green     is   a faculty                    member         at   Virginia Tech           and Lasley                 is   one of his graduate students                          Cox
    is   a   faculty    member                   at    the       University of Arkansas                    Rathje         is   a    faculty          member          at   the    University         of

    Texas       Bachhuber works for Fugro consultants                                              French works for AMEC consultants



    Division        of labor This publication                                 resulted         from the efforts of a GEER reconnaissance                                        team deployed

    to   document          the geotechnical                         aspects        of the 2010 Haiti                  Earthquake              and a subsequently                  funded        NSF
    RAPID           proposal      awarded to Olson                             PI and Cox CoPI for followup research Authors Olson and
    Green       are    primarily                 responsible              for      the     intellectual      content           and           production        of the           paper     I   made

    significant        contributions                        to   this   paper        in    terms of intellectual                content             by collecting          and interpreting

    surface         wave    data             at        liquefaction            case           history    sites        and      supportive                contributions            in    terms       of

    production         by editing                     the    text    and creating               figures     Ultimately                  I
                                                                                                                                             spent two weeks               in    the    field      and

    countless         hours analyzing                        data    for      this    paper       and other papers                  documenting               the     effects     of the Haiti

    Earthquake



10 Green            RA Olson SM Cox BR Rix GJ Rathje E Bachhuber J French J Lasley
    S and             Martin            N 2011                       Geotechnical                   Aspects             of     Failures             at   PortauPrince                   Seaport

    during the 12 January 2010 Haiti Earthquake                                                          Earthquake Spectra                              27S1 pp S43S65

    Coauthors              Green            is    a faculty             member           at   Virginia     Tech        and Lasley              is    one of his graduate students

    Olson      is   a faculty       member at the University of Illinois                                     and Martin is one of his graduate students Cox

    is   a faculty     member               at        the University of Arkansas                         Rix is a faculty                   member       at   Georgia Tech              Rathje       is


    a faculty        member         at       the        University            of Texas            Bachhuber works                   for       Fugro consultants                 French works

    for      AMEC consultants

    Division        of labor This publication                                 resulted         from the efforts of a GEER reconnaissance                                        team deployed

    to   document          the geotechnical                         aspects        of the 2010 Haiti                  Earthquake              and a subsequently                  funded        NSF
    RAPID           proposal      awarded to Olson                            PI and Cox CoPI for followup research Authors Green and
    Olson       are    primarily                 responsible             for       the     intellectual      content           and           production        of the           paper     I   made



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1 CV Faculty Annual                  Reports                 Other Information                                                                                          Cox Brady R



   significant        contributions              to    this    paper        in   terms of intellectual                     content         by collecting                and interpreting

   surface     wave         data     at     liquefaction              case           history         sites     and     supportive                  contributions              in    terms        of

   production         by editing           the       text    and creating                 figures       Ultimately              I
                                                                                                                                    spent two weeks                     in   the    field      and

   countless        hours analyzing                  data    for    this    paper           and other papers                documenting                  the      effects     of the Haiti

   Earthquake



11 RathjeEM Bachhuber J Dulberg R Cox BR                                                                              Kottke           A Wood C Green RA
   Olson S Wells D Rix G 2011 Damage                                                                    Patterns           in       PortauPrince                   during          the 2010

   Haiti     Earthquake              Earthquake Spectra                                  27S1 pp 5117S136

   Coauthors           Rathje        is   a faculty           member            at       the University         of Texas and Kottke                          is   one of her graduate

   students         Bachhuber             and        Dulberg         work            for    Fugro        consultants                Cox     is     a    faculty         member            at    the

   University        of Arkansas                and     Wood          is   one           of his graduate students                       Green           is    a   faculty      member            at


   Virginia     Tech         Olson         is    a    faculty        member                at   the    University           of Illinois             Wells         works        for    AMEC
   consultants        Rix is a faculty member at Georgia Tech



   Division     of labor This publication                           resulted             from the efforts of a GEER reconnaissance                                       team deployed

   to   document        the geotechnical                    aspects        of the 2010 Haiti                   Earthquake             and a subsequently                      funded        NSF
   RAPID       proposal awarded to Olson                             PI         and Cox              CoPI       for   followup research                           Authors      Rathje          and

   Bachhuber are primarily responsible for the intellectual                                                    content       and production                   of the paper            I   made

   significant       contributions              to the intellectual                      content      of this paper by collecting                       and interpreting              surface

   wave      data    at sites   with suspected                     topographic             amplification             and supportive contributions                              in    terms of

   production         by editing           the       text    and creating                 figures       Ultimately              I
                                                                                                                                    spent     two weeks                 in   the    field      and

   countless        hours analyzing                  data    for    this    paper           and other papers                documenting                  the      effects     of the Haiti

   Earthquake



12 Cox       BR Bachhuber J Rathje E Wood CM Dulberg R Kottke A Green RA
   Olson       SM 2011 Shear Wave Velocity and Geology Based Seismic Microzonation of
   PortauPrince                 Haiti Earthquake                       Spectra                  27S1 pp S67S92

   Coauthors           Cox is a faculty member                             at   the University               of Arkansas and                  Wood is one of his graduate
   students         Bachhuber             and    Dulberg             work        for       Fugto        consultants             Rathje        is    a   faculty          member           at    the

   University of Texas and Kottke                             is   one of her graduate students Green is a faculty member                                                      at    Virginia

   Tech Olson          is   a faculty       member             at   the University of Illinois




   Division     of labor This publication                           resulted             from the efforts of a GEER reconnaissance                                       team deployed

   to   document        the geotechnical                    aspects        of the 2010 Haiti                   Earthquake             and a subsequently                      funded        NSF
   RAPID       proposal         awarded to Olson                      PI         and        Cox CoPI                 for   followup research                        I    made primary
   contributions        to the       intellectual            content        of this paper by collecting                             and interpreting               surface         wave        data

   at   35   sites    throughout            PortauPrince                   PaP and primary contributions                                           in   terms of production                     by

   developing         the    text    and creating                  figures           I    was    assisted       in    these         efforts      by     Wood            Bachhuber              also

   made primary intellectual                     contributions              by developing                the    new        geologic         map of PaP and significant
   production        contributions               by developing                  sections             of the text and creating                 figures Rathje also made

   supportive        contributions              in    terms of intellectual                          content    and    production                of the paper                Ultimately           I



             two     weeks      in    the       field       and     countless              hours analyzing             data          for   this                    and       other
   spent                                                                                                                                               paper                          papers
   documenting          the effects         of the Haiti              Earthquake



13 GreenRA Allen J Wotherspoon L Cubrinovski M Bradley B Bradshaw A Cox
   BR and Algie T 2011 Performance  Levees Stopbanks during the 4 September                     of
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1 CV Faculty Annual                       Reports                 Other Information                                                                                            Cox Brady R



   2010           Mw71          Darfield                   and      22         February             2011           Mw62                 Christchurch                           New              Zealand

   Earthquakes                  Seismological                     Research Letters 826 pp 939949


   Coauthors                Green               is    a    faculty        member             at    Virginia        Tech            Allen            is     a        consulting                  engineer

   Wotherspoon             is   a     faculty             member         at    the    University        of Auckland                 and         Algie          is        one of his graduate

   students        Cubrinovski                 and Bradley are faculty                       members at the University                              of Canterbury Bradshaw                                     is


   a    faculty     member           at    the        University         of Rhode             Island       Cox is           a   faculty        member                    at   the        University            of

   Arkansas



   Division        of labor This publication                            resulted       from the efforts of GEER reconnaissance                                                     teams deployed

   to    document         the geotechnical                       aspects       of the 2010 Darfield                     New        Zealand               Earthquake                      and the 2011

   Christchurch            New            Zealand               Earthquake            Authors         Green             Allen           and     Wotherspoon                              are    primarily

   responsible           for        the        intellectual             content         and        production                   of the          paper                I        made supportive
   contributions           to   this           paper       in    terms of intellectual                 content              by making               field       observations                     of levee

   performance             following                 the    Darfield           earthquake            and     supportive                  contributions                        to    production                by

   reviewing           the text       Others           filled     supportive          roles




14 Green          RA Wood C Cox BR Cubrinovski M Wotherspoon L Bradley B Algie T
   Allen      J Bradshaw A and Rix G 2011 Use                                                                     of    DCP and SASW                                     Tests           to     Evaluate

   Liquefaction             Potential                     Predictions            vs      Observations                       during            the        Recent                    New          Zealand

   Earthquakes                  Seismological                     Research Letters 826 pp 927938


   Coauthors              Green           is    a    faculty      member         at    Virginia       Tech         Cox is          a faculty              member                   at    University            of

   Arkansas and            Wood is one of his graduate students                                       Cubrinovski                 and Bradley are faculty members                                              at


   the    University        of Canterbury Wotherspoon                                   is    a    faculty    member               at    the University                       of Auckland                     and

   Algie     is   one of his graduate students                                Allen is a consulting               engineer              Bradshaw                is       a faculty             member          at

   the University          of Rhode                  Island       Rix is a faculty member                    at   Georgia Tech


   Division        of labor This publication                            resulted       from the efforts of GEER reconnaissance                                                     teams deployed

   to    document         the geotechnical                       aspects       of the 2010 Darfield        New Zealand Earthquake and the 2011
   Christchurch            New Zealand Earthquake                                Authors          Green Wood and Cox are primarily responsible for

   the intellectual             content              and production                  of the paper            Wood and Cox analyzed all                                         the surface wave

   data    collected       at       liquefaction                sites   following        each earthquake                        accounting           for several                    weeks           of field

   testing        and    many         more            weeks        of analysis Wotherspoon                             and        Cubrinovski                  also           made             significant

   intellectual         and production contributions                             to the       paper Others filled                  supportive              roles




15 WongIG Stokoe   KH Cox BR Yuan J Knudsen KL Terra F Okubo P Lin Y
                                               II

   C 2011 Shear Wave Velocity Characterization of the USGS Hawaiian Strong Motion
   Network          on the          Island           of    Hawaii        and Development                     of    a        NEHRP             Site       Class                Map Bulletin of
   the Seismological                      Society           of America               1015           pp 22522269


   Coauthors              Wong            Knudsen and Terra work                             for   URS Corporation                       Stokoe           is    faculty             member               at   the

   University           of Texas               Yuan        is    one of his students                and      Lin       is    one    of his postdocs                            Cox is           a       faculty

   member         at    the University                of Arkansas              Okubo         is   a research       scientist            at   the    USGS HVO


   Division        of labor           I   made significant                     contributions          to   this        paper       in    terms of intellectual                                 content         by

   participating          in    a    twoweek                field       campaign        to collect         experimental                      data    in    Hawaii                   It    was       a    tough

   place    to work but someone                            had to do it          I   also made significant                       contributions                 in    terms of production
   while     Wong         and       Stokoe            primarily          led production              and also made primary contributions                                                   in    terms of

   intellectual         content
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1 CV Faculty Annual            Reports                 Other Information                                                                       Cox Brady R




16 Wood          CM          Cox          BR           Wotherspoon                    LM           Green         RA 2011                      Dynamic               Site

   Characterization           of     Christchurch                Strong             Motion     Stations             Bulletin      of    the     New      Zealand

   Society for Earthquake                   Engineering             444 pp 195204

   Coauthors         Cox is     a     faculty       member          at   University          of Arkansas and               Wood    is   one of his graduate
   students      Wotherspoon          is    a faculty        member       at   the    University of Auckland                    Green is a faculty member

   at   Virginia   Tech


   Division      of labor     This publication                 resulted        from the efforts of a two week                      field      campaign        by the
   authors to collect        shear        wave     velocity      profiles       at   liquefaction        sites   and strong motion stations shaken

   by the 2010 Darfield             New Zealand Earthquake and the 2011                                Christchurch New Zealand Earthquake

   Authors    Wood      and    Cox are primarily responsible                            for the       intellectual         content      and production               of

   the paper Wotherspoon                   and Green also made significant                          intellectual         and production        contributions          to

   the   paper



17 Cox     BR Wood CM Hazirbaba                                     K 2012 Frozen and                            Unfrozen         Shear Wave              Velocity

   Seismic       Site   Classification                 of    Fairbanks              Alaska          Journal      of Cold          Regions        Engineering

   263 118145

   Coauthors         Cox is     a     faculty       member          at   University          of Arkansas and               Wood    is   one of his graduate

   students      Hazirbaba     is   a faculty          member       at   the University of Alaska                   Fairbanks



   Division      of labor     This publication                 resulted    from the efforts of a three week                         field     campaign by the
   authors    to collected      shear           wave        velocity     profiles      at    strategic    locations        in   Fairbanks        Alaska       during
   both    summer       and    winter            seasons        Authors             Wood      and     Cox     are    primarily responsible                    for    the

   intellectual      content        and production                  of the          paper      Hazirbaba         made        supportive        intellectual         and

   production      contributions           to the   paper



18 McCartney         JS Cox BR Wood CM                                          El    Tawati        A 2013 Performance Evaluation of
   Flexible      Pavements Using a New                          Field     Cyclic Plate Load               Test ASTM                Geotechnical           Testing
   Journal         362 pp 110

   Coauthors         McCartney             is   a faculty      member          at   the University        of Colorado Boulder and El Tawati                           is


   one of his graduate        students            Cox is a faculty member                     at   University of Texas and               Wood is one of his
   graduate students



   Division      of labor This publication                     resulted    from the efforts of a research                       proposal       with Cox as PI

   Authors    Wood      and    Cox are primarily responsible                                for the    intellectual         content        of the      paper        and

   analyzed        virtually        all         of the       data      collected            during     the    project           McCartney              also    made
   significant       contributions                to     the     intellectual               content      of    the        paper     and        made       primary

   contributions        to   the production                  Wood and Cox made significant contributions                                      to the    production

   of the paper



19 Cox BR Boulanger RW Tokimatsu K Wood CM Abe A Ashford S Donahue J
   IshiharaK Kayen R Katsumata K Kishida T Kokusho T Mason HB Moss R
   Stewart JP Tohyama K Zekkos D 2013 Liquefaction Strong Motion Stations and                                       at

   in    Urayasu City during the 2011                          TohokuOki              Earthquake              Earthquake Spectra                   29S1 pp
   S55 S80
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1 CV Faculty Annual                     Reports                  Other Information                                                                                Cox Brady R




   Coauthors                  Cox is     a    faculty           member        at    the       University             of Texas and             Wood     is   one    of his graduate

   students        Boulanger             is   a faculty          member            at   the University                 of California           Davis Tokimatsu                 is    faculty

   member         at    the    Tokyo          Institute         of Technology                  Abe works               for the     Tokyo       Soil    Research         Co Ashford
   is   a   faculty       member             at   Oregon          State      University                 Additional           author    affiliations         are    provided           in    the

   manuscript which may be found                                  in   the   Supplemental Materials                           folder



   Division         of labor            This        publication           resulted             from a              combination        of       a    the     efforts      of a        GEER
   reconnaissance               team deployed                    to    document               the       geotechnical                          of the      2011     Tohoku             Japan
                                                                                                                              aspects

   Earthquake             and       b    an NSF               RAPID       award with Cox as PI Authors                               Cox Wood and Boulanger are
   primarily responsible for the intellectual                                      content             and production          of the paper Cox Wood and Kayen

   led the       field    work        for the           RAPID          project      and spent several weeks                         in    Japan       collecting        surface        wave
   data     at   liquefaction          sites       Tokimatsu             provided            significant            contributions        in    terms of field support to our

   RAPID         research           team Mason and Zekkos provided                                           supportive       roles to the         RAPID       field     work Other
   authors       made supportive                   contributions             by making                 observations          during      the   GEER reconnaissance


20 McCartney              JS Cox BR 2013 Role                                                of Strain              Magnitude on the Deformation Response
   of   Geosyntheticreinforced                                 Soil   Layers             Geosynthetics                     International         203 pp 174190

   Coauthors                  McCartney             is    a    faculty    member               at      the    University       of Colorado             Boulder          and Cox            is   a

   faculty       member at University of Texas


   Division        of labor This publication                            resulted             from the efforts of a research                        proposal        with Cox as PI

   Cox       and        McCartney                 are     primarily responsible                               for    the    intellectual           content         of    the         paper
   McCartney                  made           primary            contributions                  to           the     production         and       Cox        made         significant

   contributions               to   production



21 Green          RA Cubrinovski M Cox BR Wood C Wotherspoon L Bradley B Maurer B
   2014            Select             Liquefaction                Case        Histories                 from        the     20102011             Canterbury             Earthquake

   Sequence Earthquake Spectra                                           301            pp 131153


   Coauthors              Green         is    a faculty          member        at       Virginia             Tech    and Maurer          is   one of his graduate students

   Cubrinovski            and         Bradley            are    faculty      members                   at    the    University      of Canterbury                Cox     is    a     faculty

   member          at   University of Texas and                          Wood           is   one of his graduate students                          Wotherspoon            is   a     faculty

   member         at    the University              of Auckland



   Division        of labor This publication                           resulted         from the efforts of                  a     several      GEER reconnaissance                    trips


   following            the    2010 Darfield                    New      Zealand             Earthquake               and    the   2011        Christchurch           New           Zealand

   Earthquake             of which the authors participated                                   in and          b     a two    week     field     campaign by the authors to
   collected        shear       wave          velocity          profiles      at    liquefaction                   sites   where    CPT        profiles existed           Green was

   primarily            responsible           for        the    intellectual            content              and     production       of the        paper         Cox Wood                 and

   Wotherspoon                made significant                   contributions                to       the    intellectual     content         by collecting         and analyzing

   data     from the          field    campaigns                 Cubrinovski             also          made primary contributions                     to the overall           field   data

   collection            All        authors          besides           Green            including                 myself      made        supportive              contributions                 to

   production



22 Wotherspoon                   LM Orense RP Jacka                                           M Green RA Cox BR Wood CM 2014
   Seismic              Performance                      of     Improved                Ground                Sites        during      the       20102011                Canterbury

   Earthquake Sequence                                  Earthquake Spectra                              301 pp 111129

                                                                                                   6
          Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 31 of 183



1 CV Faculty Annual                      Reports             Other Information                                                                         Cox Brady R




    Coauthors             Wotherspoon                and     Orense are            faculty       members        at       the    University        of Auckland                Jacka

    works     for Tonkin            and Taylor consultants                    Green is faculty            member           at    Virgina Tech Cox is a                   faculty

    member     at   University of Texas and                      Wood is one of his graduate students


    Division      of labor              This publication          resulted          from the efforts           of     several         GEER reconnaissance trips


    following       the    2010 Darfield                  New     Zealand           Earthquake           and    the       2011       Christchurch New Zealand
    Earthquake       of which the authors participated                              in Wotherspoon              and Orense were primarily responsible

    for the   intellectual              content    and production                 of the paper Jacka            made significant                 contributions           to   both

    the    intellectual         content           and        production             Authors           Green         Cox        and       Wood       made          supportive
    contributions         in   terms of intellectual               content          and production             For example Cox and                        Wood collected
    and analyzed some data that aided in the evaluation                                        of several ground improvement                          sites




R   Refereed Conference                    Proceedings


15 Cox      BR McCartney JS Wood CM Curry B 2010 Performance Evaluation of Full
    Scale     GeosyntheticReinforced                             Flexible           Pavements            Using           Field       Cyclic      Plate      Load        Tests
    The Transportation                     Research Board                   89th   Annual Meeting                   Washington                 DC January 1014
    2010


    Coauthors         Cox is a faculty member                          at   University         of Arkansas and             Wood and             Curry are his graduate
    students      McCartney               is   a faculty     member          at   the University         of Colorado Boulder



    Division      of labor This publication                       resulted         from the efforts of a research                         proposal     with Cox as PI

    Authors    Cox and McCartney                      are     primarily responsible                    for the intellectual              content      and production               of

    the   paper



16 Marinucci         AM Rathje EM Ellington JS Cox BR Meng                                                                           F   Y      and    Stokoe           II    KH
    2010       Evaluation                  of the Effectiveness                    of   Prefabricated           Vertical             Drains       using Full Scale                 In

    Situ   Staged         Dynamic Testing                        Art    of   Foundation               Engineering              Practice          Eds      MH Hussein
    JB Anderson and WM Camp Geotechnical Special Publication 198 ASCE pp 380394

    Coauthors             Rathje          is    faculty      member and             the    University          of Texas and                   Marinucci      is   one        of her

    graduate       students             Ellington       is   a   consulting          engineer          Cox     is    a    faculty        member        at    University            of

    Arkansas        Stokoe      is       a faculty    member           at   the University            of Texas and Meng                  is   one of his postdocs



    Division       of labor             Marinucci         and    Rathje       are       primarily      responsible             for   the      intellectual        content      an

    production      of this paper Cox                 filled     a supportive             role   in   both intellectual              content      and production




17 Cox      BR Wood CM 2010 A Comparison                                                        of    Linear Array Surface                       Wave Methods                 at    a
    Soft    Soil    Site       in       the     Mississippi            Embayment                 ASCE          GeoFlorida                  Advances          in     Analysis

    Modeling and Design                         West Palm Beach                     FL     February        2024 2010 pp 13691378

    Coauthors         Cox is a faculty member                          at    the University           of Arkansas and                Wood is one of his graduate
    students




    Division      of labor          I   made primary contributions                        to   this   paper in terms of both intellectual                         content      and

    production
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1 CV Faculty Annual                 Reports              Other Information                                                                                      Cox Brady R




18 Wells     DL Rathje E Bachhuber J Cox BR French J Green R Olson S Rix G
   Suncar     0 Pena L Mundaray T 2010 Ground Deformation    on the 12 January                                                           Effects

   2010 Earthquake                  in    Haiti Seismological                     Society              of America Annual Meeting                                      OR
                                                                                                                                                                Portland

   April    2123          2010           Abstract        only     published                  in    Seismological                   Research                Letters 813 p

   540

   Coauthors              Wells      and     French          work      for    AMEC consultants                          Rathje           is    a    faculty     member        at    the

   University of Texas and Swear is one of her students                                                Bachhuber works               for Fugro consultants                    Cox is
   a faculty     member        at   the University of Arkansas                         Green is a faculty member                               at   Virginia      Tech Olson is
   a faculty     member        at    the    University of Illinois                     Rix        is   a    faculty    member             at       Georgia Tech            Pena    and

   Mundaray         are researchers from the                   Dominican           Republic


   Division      of labor This publication                     resulted      from the efforts of a GEER reconnaissance                                            team deployed

   to    document        the geotechnical               aspects     of the 2010 Haiti                      Earthquake          and a subsequently                     funded       NSF
   RAPID       proposal        awarded to Olson                 PI and Cox Co PI for followup research Wells                                                          is   primarily

   responsible       for the production                 of this paper         I   made significant                    contributions                 to this   paper in terms of
   intellectual     content         by collecting            and interpreting            surface            wave      data    at   liquefaction               case history sites

   and supportive contributions                         in   terms of production                       Ultimately         I
                                                                                                                              spent       two weeks             in   the   field   and

   countless     hours analyzing                 data    for   this    paper       and other papers                    documenting                   the   effects    of the Haiti

   Earthquake            All   other        authors          also      made        significant               intellectual           contributions               and        supported

   production



19 Menq        F    Y      Cox           BR Stokoe                II    KH 2010 Estimating                       Dynamic Strain Amplitudes
   Beneath Mobile Shakers Seismological                                           Society of America           Annual Meeting Portland OR

   April    2123 2010                    Abstract        only     published                  in    Seismological Research Letters 812 p

   356

   Coauthors             Stokoe      is   faculty       member and Meng                      is    one of his postdocs                    at       the   University        of Texas

   Cox is a faculty member                  at   the University          of Arkansas



   Division      of labor           Meng         made primary                contributions                  in    terms       of both              intellectual       content      and

   production        I   made significant               contributions         to this         paper         in   terms of intellectual                   content     by collecting
   and analyzing data and supportive contributions                                      in    terms of production                        Stokoe          also made significant

   intellectual     contributions           and supportive             production             contributions




20 McCartney             JS Cox BR Wood CM Curry B 2010 Evaluation                                                                                         of   Geosynthetic
   Reinforced            Flexible        Pavements Using                 Static         Plate Load                 Tests           9th    International          Conference
   on Geosynthetics                 Guaruja Brazil May 2327                                  2010


   Coauthors             McCartney          is   a faculty      member            at   the    University            of Colorado Boulder Cox is a faculty

   member      at   University of Arkansas and                        Wood and           Curry are his graduate students



   Division      of labor This publication                      resulted          from the efforts of a research                               proposal         with Cox as PI

   Authors     Cox and McCartney                    are      primarily responsible                         for the intellectual               content         and production         of

   the   paper
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1 CV Faculty Annual                    Reports            Other Information                                                                                      Cox Brady R



21 Menq F            Y      Cox        BR Park K Stokoe                                   II   KH 2010 Estimating Dynamic Strains                                                   in   Soil

   Generated               by    the        Large       Mobile             Shakers               at     NEESUTexas                        Before         Testing              9th        US
   National          and        10th    Canadian              Conference                       on     Earthquake                   Engineering           Reaching             Beyond
   Borders Toronto                     Canada           July    2529 2010


   Coauthors               Stokoe      is   faculty      member                at   the    University             of Texas          Meng    is     one of his postdocs                   an
   Park   is   one of his graduate students Cox is a faculty member                                                      at    the University       of Arkansas



   Division          of labor          Meng        made primary                     contributions                 in     terms      of both        intellectual         content          and

   production         I    made significant              contributions                  to this       paper in terms of intellectual                    content     by collecting
   and analyzing data and supportive contributions                                              in    terms of production                  Stokoe       also made significant

   intellectual       contributions           and supportive                   production             contributions




22 Cox      BR Cothren J Barnes A Wartman J RodriguezMarek A Meneses J 2010
   Towards            Quantifying               Movement                   of       a      Massive            Lateral              Spread        Using       High Resolution
   Satellite        Image Processing                      9th   US National and 10th Canadian Conference on Earthquake
   Engineering              Reaching           Beyond Borders Toronto                                       Canada July 2529 2010


   Coauthors               Cox and Cothren               are     faculty            member            at    the    University         of Arkansas            Barnes      is   research

   staff at the University of Arkansas                           Wartman                  is   a faculty      at    the University          of Washington               Rodriguez
   Marek       is   faculty     member        at   Virginia          Tech           Meneses            is   a consulting            engineer


   Division         of labor This publication                    resulted            from a GEER reconnaissance                             trip    to document          the effects

   of the      Pisco        Peru       Earthquake             and      a       subsequent              NSF         project         with   Cox      at   PI   I    made primary
   contributions           to   this
                                       paper       in   terms of intellectual                         content          and production            Cothren and            Barnes also

   made significant              contributions           in   terms of both intellectual                                content     and production            All other         authors

   made supportive               contributions




23 McCartney               JS Cox BR Trowler C Wood CM Khosravi A 2011 Seasonal                                                                                                 Effects

   on the Dynamic Deformation of GeosyntheticReinforced                                                            Pavements ASCE GeoFrontiers
   Advances           in   Geotechnical                 Engineering                  Dallas           TX      March 1316 2011 pp 18721881



   Coauthors              McCartney           is   a faculty         member               at   the    University              of Colorado Boulder                 and Khosravi                is


   one    of his graduate students                       Cox is            a    faculty         member             at    University        of Arkansas            and    Wood            and

   Trowler are his graduate students



   Division         of labor This publication                        resulted           from the efforts of a research                           proposal        with Cox as Pl

   Authors          Cox and McCartney                   are   primarily responsible                           for the intellectual               content     and production                of

   the   paper



24 Stokoe II          KH Lee J S Nam B H Cox BR and Oshinski E 2011 Investigations                                                                                                         of

   Galveston              Airport           Pavements                after          Hurricane                Ike        in     2008       and      Liquefaction               Sites        in


   Residential             Areas        after      the        New      Zealand                  Earthquake                    in   2010      Proceedings                of    the        3rd

   International                Conference               on      Geotechnical                          Engineering                  for    Disaster              Mitigation              and
   Rehabilitation               Semarang             Indonesia                  18 May              1820 2011 pp 255262

   Coauthors              Stokoe       is   faculty      member            at       the University                of Texas and Lee and                  Nam are his graduate
   students         Cox is a faculty member                     at   the University                   of Arkansas              Oshinski     is   a consulting        engineer
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1 CV Faculty Annual                  Reports                  Other Information                                                                        Cox Brady R




   Division      of labor           Stokoe           and his students made primary contributions                                in   terms of both intellectual

   content    and production                    I   made significant              contributions       to this    paper     in   terms of intellectual            content

   and supportive contributions                          in   terms of production




25 Cox     BR Wood CM 2011 Surface Wave                                                             Benchmarking                Exercise            Methodologies
   Results       and      Uncertainties                       ASCE          GeoRisk2011              Risk       Assessment             and        Management                in


   Geoengineering                   Atlanta           GA       June 2628 2011 pp 845852



   Coauthors            Cox is a faculty member                        at    the University         of Arkansas and             Wood is one of his graduate
   students




   Division      of labor       I   made primary contributions                         to this      paper in terms of both intellectual                    content        and

   production



26 Kayen  RE Ishihara K Stewart JP Tokimatsu K Cox BR Tanaka Y Kokusho T
   Mason   HB Moss RES Zekkos D Wood CM Katsumata K Estevez IA
   Cullenward SS Tanaka  H Harder LF Kelson KA Kishida T 2012 Geotechnical
   Deformations           at    Ground                Failure       Sites from the            March        11 2011            Great Tohoku                Earthquake
   Japan      Field      Mapping                    LIDAR          Modeling         and Surface Wave                 Investigation                  Proceedings             of

   the 9th    International                Conference               on Urban          Earthquake           Engineering4th                  Asia Conference                 on

   Earthquake Engineering                             March        68 2012 Tokyo                   Japan         pp 123129


   Coauthors            Kayen             is    a   research        scientist  for the USGS                 Ishihara       is   a    faculty      member       at    Chuo

   University      Stewart           is    faculty       member        at    UCLA Tokimatsu                is   faculty    member          at    the   Tokyo     Institute


   of Technology             Cox is a faculty member                         at   the University       of Texas and             Wood       is   one of his graduate

   students      Additional           author          affiliations          are   provided     in    the   manuscript           which       may be found            in    the

   Supplemental Materials                       folder




   Division      of labor            This           publication       resulted        from a       combination           of     a     the       efforts   of a      GEER
   reconnaissance            team deployed                    to   document          the   geotechnical          aspects        of the      2011       Tohoku       Japan

   Earthquake       and      b       an NSF            RAPID         award with Cox as PI Kayen made primary contributions                                           to the

   intellectual     content               and        production        of     the
                                                                                      paper      Authors         Cox      and        Wood         made     significant

   contributions        to    both         the      intellectual       content       and   production           Cox Wood             and        Kayen     led the        field


   work    for    the    RAPID                 project    and       spent     several      weeks      in    Japan    collecting            surface      wave     data       at


   liquefaction         sites       Tokimatsu             provided           significant      contributions         in    terms       of    field      support      to    our

   RAPID      research        team Mason and Zekkos provided                                 supportive         roles to the         RAPID        field   work Other
   authors    made either significant                     or supportive            contributions       during     the    GEER reconnaissance


27 Wood       CM Cox BR 2012 A Comparison                                                     of     MASW Dispersion Uncertainty                            and          Bias

   for Impact      and Harmonic Sources ASCE GeoCongress 2012 State of the Art and Practice
   in   Geotechnical            Engineering                   Oakland             CA March 2529 2012 pp 27562765

   Coauthors            Cox is a faculty member                        at    the University         of Arkansas and             Wood is one of his graduate
   students




   Division      of labor       I   made primary contributions                         to this      paper in terms of both intellectual                    content        and

   production




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1 CV Faculty Annual                   Reports                 Other Information                                                                              Cox Brady R




                      SC Cox BR                                             A Comparison
                                                                                                                         m
28 Griffiths                                                 2012                                              of   SPTBased               Empirical            Liquefaction

   Triggering           Procedures               for Soils          at Significant                Depths       +20            ASCE GeoCongress 2012
   State of the Art and                    Practice           in   Geotechnical                  Engineering             Oakland CA March 2529 2012

   pp 17701779


   Coauthors              Cox        is   a     faculty       member            at    the   University          of Arkansas           and       Griffiths       is   one     of his

   graduate students



   Division       of labor       I    made primary contributions                             to this     paper in terms of both intellectual                         content      and

   production



29 Wood       CM Cox BR RodriguezMarek A Assimaki D Wartman J Pando M 2012
   Topographic  Effects from Longwall   Coal Mining Seismicity Phase   Experimental Setup                                                   I




   and  Results    Second   International Conference   on  Performance Based   Design   in


   Earthquake Geotechnical                                 Engineering                Taormina           Italy      May 2830               2012 Paper No 106
   pp 5162


   Coauthors             Cox is a faculty member                           at   the   University         of Arkansas and             Wood        is      one of his graduate

   students       RodriguezMarek                       is    faculty        member          at    Virginia      Tech      Assimaki          is       a    faculty    member        at


   Georgia Tech            Wartman               is   a     faculty    at   the       University of Washington                      Pando       is   a    faculty     member       at


   the University          of North Carolina Charlotte



   Division       of labor                Cox and Wood                     made primary contributions  to this paper in terms of both

   intellectual        content       and production                 All other authors  made supportive contributions



30 Pando          M Suarez LE RodriguezMarek A Dika                                                                      SL          Assimaki               D Cox BR
   Wartman             J 2012 A Bridge to the Doctoral Program Strategy for Increasing                                                                         Latinos       in   the

   Earthquake             Engineering                      Professoriate                Proceedings                 of   the        2012    American                 Society       of

   Engineering            Education Conference                              San Antonio TX June 1013 2012


   Coauthors              Pando           and Dika           are    faculty          members        at   the    University          of North             Carolina     Charlotte

   Suarez    is       faculty   member                at    the    University of Puerto Rico                         Mayagez          RodriguezMarek                   is   faculty

   member        at    Virginia       Tech        Assimaki            is   a faculty        member        at   Georgia Tech            Cox is a faculty member                     at


   the University          of Arkansas                Wartman          is   a faculty        at   the University          of Washington



   Division       of labor Pando made primary contributions                                         to this     paper in terms of both intellectual                         content

   and production           I   made supportive contributions



31 Wotherspoon                  LM Orense RP Bradley BA Cox BR Wood                                                                                  CM Green RA
   2013 Soil Profile Characterisation                                           of    Christchurch             Strong Motion Stations                         New Zealand
   Society        for     Earthquake                      Engineering                2013        Conference              Same         Risks                 New Realities
   Wellington            New Zealand                      April    2628 2013


   Coauthors             Wotherspoon                  and Orense are faculty                     members at the University                  of Auckland               Bradley      is


   a   faculty    member         at       the    University           of Canterbury Cox                   is   a    faculty    member           at       University     of Texas

   and   Wood is one of his graduate students                                    Green is a faculty member                     at   Virginia         Tech




                                                                                            11
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1 CV Faculty Annual               Reports           Other Information                                                               Cox Brady R



   Division       of labor       This publication          resulted     from the efforts           of a two week         field    campaign     by the
   authors    to    collected         shear   wave    velocity        profiles   at    liquefaction       sites    and   strong     motion    stations

   shaken     by the       2010 Darfield            New    Zealand      Earthquake           and   the    2011    Christchurch        New     Zealand

   Earthquake         Authors             Wotherspoon       and       Bradley     followed                 with     other    site
                                                                                                     up                              investigations

   Wotherspoon        is   primarily responsible            for the intellectual           content   and production         of the paper      Authors
   Cox      and     Wood         made        significant     contributions            to    the    intellectual     content        and   supportive
   contributions      to production




32 Wood       CM        Ellis         TB Teague DP Cox BR 2014 Comprehensive Analysis                                                          of    the

   UTexas1         Surface            Wave     Dataset        ASCE GeoCongress 2014                               GeoCharacterization               and

   Modeling for Sustainability Atlanta                       GA February 2326 2014 pp 820829

   Coauthors         Cox is a faculty member                at   the University            of Texas and     Wood Ellis and Teague              are   his

   graduate students



   Division       of labor   I    made primary contributions                 to this   paper in terms of both intellectual               content     and

   production



33 Cox      BR Wood CM Teague DP 2014 Synthesis of the UTexas1                                                                      Surface    Wave
   Dataset         Blind Analysis              Study        InterAnalyst              Dispersion           and      Shear        Wave        Velocity

   Uncertainty             ASCE             GeoCongress               2014        GeoCharacterization                    and        Modeling         for

   Sustainability Atlanta                  GA February 2326 2014 pp 850859

   Coauthors          Cox        is   a   faculty   member       at   the   University        of Texas and         Wood      and    Teague    are    his

   graduate students



   Division       of labor   I    made primary contributions                 to this   paper in terms of both intellectual               content     and

   production




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1 CV Faculty Annual Reports   Other Information                Cox Brady R



                              No Works     Forthcoming




                                            1
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                    No leave
                               of
                                    absences
                                               without
                                                         pay
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Master Promotion Summary Table                                                                                            Cox Brady R



                                       Statistical                   Summary for In Rank
                                                                     Brady       R Cox

                                              Metric                                                            Value


        PeerReviewed      Journal Publications                in   Rank                                            22


        Peer Reviewed Conference            Proceedings              Publications    in   Rank                     33


        Total   Citations of all Publications           career                                                     234

        hindex    career

                                                                                career                             274
        Google Scholar Total Citations of all Publications

        Google Scholar hindex career

        Research    Funding Raised      total   share                                                         $3757677

        Research Fundirig Raised        candidate              share                                          $1919183

        Total   GrantsContracts     Received                                                                        16


        PI on GrantsContracts       Received                                                                        8




        PhD Students Completed count                1    if   sole    advisor   05 if coadvised

        MS Students Completed          count    1       if    sole   advisor    05   if   co advised


        PhD Students in Pipeline as of 092014

        MS Students in Pipeline        as   of 092014




        Number of Courses Taught                                                                           UT= 4          UA =6
        Number of Students Taught                                                                          UT = 150       UA = 384

    i   Average    Instructor   Evaluation     UG                                                          UT = 45        UA = 43

        Average    Instructor   Evaluation     Grad                                                        UT = 43        UA = 45

        Average    Come Evaluation UG                                                                      UT = 39        UA = NA

        Average    Course Evaluation        Grad                                                           UT = 38        UA = NA
        Number     of Teaching    Awards




        Student Organizations       Advised


        Undergraduates        Supervised                                                               3    NSF REU      Students


        Journal   Editorial   Boards


        Symposia Organized                                                                                           2


                     Publish or Perish Software                on May 29 2014
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1 CV Faculty Annual         Reports         Other Information                                         Cox Brady R



                                            Faculty Activity             Reports


My 20122013        and 20132014       Faculty   Activity   Reports      FAR are provided below   I   do   not   have   FAR
reports for previous   years because
                                        I
                                            joined UT Austin     in   August of 2012



                        Faculty Annual Report              for Year       End August 31 2013

                                Brady R Cox                           PhD PE
                                             Assistant Professor

        Civil    Architectural and Environmental                                 Engineering Department


                                      Part      1     Teaching           Activities




A COURSES TAUGHT
 SEMESTER   TAUGHT     COURSE NO              COURSE NAME                                                  NO SECTIONSSTUDENTS


 Fall           2012   CE      357            Geotechnical      Engineering                                6                 43



 Spring         2013   CE      387R           Soil   and Rock   Dynamics                                   1                 26




Individual      Instructions


 SEMESTER   TAUGHT     COURSE NO              COURSE NAME                                        NO STUDENTS


 Fall           2012   CE      397S           15     Dissertation     Research


 Fall           2012   CE      397S           15     Dissertation     Research


 Fall           2012   CE      397S           15     Dissertation     Research


 Fall           2012   CE      697S           15     Dissertation     Research



 Spring         2013   CE      397            Special Studies       in Civil   Engr


 Spring         2013   CE      697S           15 Dissertation Research

 Spring         2013   CE      697S           15 Dissertation Research

 Spring         2013   CE      699R           Dissertation



 Summer         2013   CE      W397S          15 Dissertation Research

 Summer         2013   CE      W397S          15 Dissertation Research
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1 CV Faculty Annual         Reports      Other Information                                     Cox Brady R



Summer        2013     CE     W397S       15 Dissertation Research

Summer        2013     CE     W399W       Dissertation




B GRADUATE STUDENT RESEARCH

Supervisor         PhD Dissertations

STUDENT                                                   DEPARTMENT           GRAD   DATE            AREA



Clinton   M Wood                               CAEE                            Sumr 2013       GEO

Field Investigation     of Topographic   Effects using   Mine Seismicity


Shawn Giffiths                                 CAEE                            In   Progress   GEO




Trenton    Ellis                               CAEE                            In   Progress   GEO




Andrew     Stolte                              CAEE                            In   Progress   GEO




Supervisor         MS ThesesReports

STUDENT                                                   DEPARTMENT
                                                                           I   GRAD   DATE            AREA



David   Teague                                 CAEE                            In   Progress   GEO




Co Supervisor         PhD Dissertations

STUDENT                                                   DEPARTMENT           GRAD   DATE            AREA




None
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1 CV Faculty Annual Reports                 Other Information                                                  Cox Brady R




CO Supervisor MS ThesesReports

STUDENT                                                        DEPARTMENT                     GRAD DATE                 AREA




 None




Member PhD Committees

STUDENT                                                        DEPARTMENT                     GRAD DATE                 AREA



 Menzer Pehlivan                                    CAEE                                      Spring   2013    GEO


Incorporating      Site Response     Analysis     and Associated      Uncertainties    into    the   Seismic Hazard Assessment   of

 Nuclear Facilities


Oscar Suncar                                        CAEE                                      In   Progress    GEO




Georgios Zalachoris                                 CAEE                                      In   Progress    GEO




Yubing Wang                                         CAEE                                      In   Progress    GEO




Reader MS Committees

STUDENT                                                        DEPARTMENT                     GRAD DATE                 AREA



 Bryce Burkett                                      CAEE                                      Spring   2013    GEO

Resistance       Analysis   of Axially   Loaded   Drilled   Shafts   Socketed   in   Shale




C OTHER RESEARCH SUPERVISION
          None




                                                                3
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1 CV Faculty Annual Reports              Other Information                                          Cox Brady R




D   ADDITIONAL TEACHING                ACTIVITIES


        None




               Part     2      Administrative         And Committee Assignments




A ADMINISTRATIVE               COMMITTEES                None




B   UNIVERSITY COMMITTEES




University         None




College            None




Department


    Curriculum     Committee



    Distinguished    Lecture Series    Committee




C OUTSIDE COMMITTEES



International



    Member INTERPACIFIC            Project   Committee Intercomparison      of methods   for site   rameter and

        velocity   profile   characterization   A sub project of the SIGMA and CASHIMA          research   projects

        SIMGA       Seismic Ground Motion Assessment funded by French and European enterprises                    EDF
        AREVA CEA EN EL CASHIMA                  funded by CEA Commissariat A lEnergie          Atomique   et   aux

        Energies    Alternatives    Cadarache     France   ILL Institute   Laue   Langevin   Grenoble France and

        ITER   Organization      Cadarache      France
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1 CV Faculty Annual             Reports         Other Information                                            Cox Brady R



National



     Associate Editor         ASCE Journal of Geotechnical         and Geoenvironmental     Engineering


      Member GeoEngineering             Extreme Events Reconnaissance            GEER Association

      Member Network for Earthquake              Engineering     Simulation    NEES Data Curation Subcommittee

      Member ASCE GeoInstitute               Earthquake Engineering       and Soil Dynamics Committee


      Member ASCE GeoInstitute               Geophysical   Engineering Committee


      Member ASTM Committee D18 on Soil and Rock

State                 None




                                  Part    3      Contributions           to Technology




A REFEREED ARCHIVAL JOURNALS

In   Print    3

        McCartney       JS Cox BR 2013 Role of Strain Magnitude on the Deformation                             Response   of

        GeosyntheticReinforced           Soil   Layers Geosynthetics      International   203 117
        Cox     BR Boulanger RW Tokimatsu K Wood CM Abe A Ashford S Donahue J
        Ishihara  K Kayen R Katsumata K Kishida T Kokusho T Mason B Moss R Stewart J
        Tohyama        K Zekkos D 2013            Liquefaction     at Strong   Motion Stations and in Urayasu City during
        the   2011    Great East Japan Earthquake          Earthquake Spectra       291 5580
        McCartney       JS Cox BR Wood CM El Tawati A 2013 Performance Evaluation of Flexible
        Pavements       Using a New Field Cyclic Plate Load Test              ASTM Geotechnical    Testing   Journal   362
        206215



Accepted        1
        Green        RA Cubrinovski M Cox BR Wood CM Wotherspoon L Bradley B Maurer B
        2013      Select      Liquefaction   Case Histories from the 20102011         Canterbury   Earthquake Sequence
        Earthquake      Spectra    accepted



Under Review           1
1       Wotherspoon          L Orense R Jacka           M Green RA Cox BR Wood CM 2013                             Seismic
        Performance      of   Improved Ground Sites during the Canterbury            Earthquake    Sequence     Earthquake
        Spectra      submitted
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1 CV Faculty Annual Reports                           Other Information                                                            Cox Brady R



B REFEREED CONFERENCE PROCEEDINGS                                                   1
1     INotherspoon             LM Orense RP Bradley BA Cox BR Wood CM Green RA 2013                                                              Soil

      Profile      Characterisation             of    Christchurch        Strong        Motion    Stations          New    Zealand     Society     for


      Earthquake             Engineering     2013 Conference              Same       Risks       New    Realities    Wellington      New    Zealand
      2628 April 2013



C NON REFEREED                       PAPERS                None


D BOOKS AUTHOREDCOAUTHORED                                               None


E BOOKS EDITEDCOEDITED                                                   None


F BOOKS CHAPTERS                                None


G BOUND TECHNICAL REPORTS                                                None


H ORAL PRESENTATIONS                                 6
NationalInternational                    Meetings        or Conferences              3
1     Cox BR Deep Vs Profiling for Dynamic                               Characterization        of Christchurch          New    Zealand    Towards

      Reliably     Merging          Large Active Source           and AmbientWavefield                  Surface Wave        Methods        presented
      at   Quake    Summit 2013                 NEES Annual         Meeting         Reno      NV August 8 2013
2     Cox BR Deep Vs Profiling for Dynamic                               Characterization        of Christchurch          New    Zealand    Towards

      Reliably     Merging          Large Active Source           and AmbientWavefield                  Surface Wave         Methods presented
      at   the    International          Conference       on   Earthquake           Geotechnical        Engineering        From Case History to
      Practice       in      honour of Professor          Kenji lshihara Istanbul              Turkey    June   1719 2013
3     Cox        BR Invited Liquefaction                  at   Strong     Motion       Stations    and    in   Urayasu     City   During   the   2011
      Great East Japan               Earthquake          presented       at   the   Pacific    Earthquake      Engineering        Research    Center

      PEER TSRP Liquefaction Workshop                             Berkeley          CA April 24 2013



RegionalStateLocal                    Meetings         or Conferences               3
1     Cox BR         Invited          Topographic         Effects   in   Earthquake Ground Motions                   Insights    Gained from Field
      Studies      of     Frequent        and     Predictable     Mining          Seismicity     presented      at   the    UT    Austin   Acoustics

      Seminar Austin                TX November 9 2012
2     Cox        BR Invited Lessons                    Learned      from       Recent        Geotechnical      Earthquake         Reconnaissance

      presented         at    the   UT   Austin      CAEE External        Advisory       Committee       Meeting      Austin      TX November 2
      2012

3     Cox        BR Invited Liquefaction                  Lessons        Learned from Recent             Post Earthquake          Reconnaissance

      presented         at   the    UT Austin EERI Student Chapter Seminar Austin TX October 24 2012




I   PATENTS                          None




J COPYRIGHTED SOFTWARE                                                   None




                                                                              6
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1 CV Faculty Annual               Reports       Other Information                                                 Cox Brady R



K 0Th ER Media ArticlesInterviews

    UT Engineers Shake Up Earthquake Research                       in   New Zealand       Alcalde The     Official    Publication of

    the Texas         Exes August     6 2013 httpalcaldetexasexesord201308utendineersshakeup
    earthquakeresearchinnewzealandO

    Hacking          the Planet    Earthquakes The Weather Channel airdate Thursday March                         21st    2013 30
    minute feature httpIwwwweathercomvideohackinqanearThqttake3747

    T Rex Takes on Shaky Christchurch                    University   of   Texas Cockrell School       of Engineering      February
    4 2013 httpwwwenqrutexasedufeaiIL
     Quake making Truck Heads to Christchurch The New Zealand Herald January 31
    2013 httpwwwnzheraldconzinzinewsarticlecfmc      id=1obiectid=10862613

    Earthquake          Truck Shakes    to   Test the    Ground The Weather Channel January 30
    2013 httpwwwweathercominewstrexearthquaketruck20130130
    T Rex Takes on Shaky Christchurch George E Brown Jr Network                                for   Earthquake Engineering
    Simulation January            25 2013
    httpsdevwwwpurdueedunewsroompurduetodayreleases2013Q1trextakesonshaky
    christchurch1html




                         Part     4   Research ActivitiesGrants                                Contracts




A NEW PROJECTS FUNDED INDIVIDUAL



Project Title                                  RAPID     Deep Shear Wave       Velocity   Profiling for Seismic Characterization of

                                               Christchurch    NZ     Reliably Merging Large Active Source        and Passive Wavefield

                                               Surface   Wave Methods



Sponsor                                        NSF


BeginEnd       Dates                           December 2012 November           2013


Total   Award                                  $197684


Budget   for    1213


Expended       for   1213                      $136922



Reporting      Center                          GECCAEE




B NEW PROJECTS FUNDEDJOINT



Project Title                                RAPID    Field Investigations    of Shallow Ground Improvement           Methods for Inhibiting

                                             Liquefaction   Triggering     Christchurch    New Zealand
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1 CV Faculty Annual Reports           Other Information                                                Cox Brady R



Sponsor                            NSF


Principal   Investigator           Kenneth    H Stokoe    II




CoPrincipal     Investigators      Brady    R Cox

BeginEnd Dates                     June    2013May 2014


Award Total                        $197966


Award Your Share                   $98983


1213 Budget Total


1213 Budget Your Share


1213 Expended        Your Share    $51570



Reporting Center                   GECCAEE




Project Title                      Field Investigations   of Shallow Ground Improvement        Methods for Inhibiting

                                   Liquefaction    Triggering   Christchurch    New Zealand


Sponsor                            New Zealand Earthquake       CommissionTonkin and Taylor Ltd Christchurch NZ



Principal   Investigator           Kenneth    H Stokoe    II




CoPrincipal     Investigators      Brady    R Cox

BeginEnd     Dates                 June    2013May 2014


Award Total                        $223518


Award Your Share                   $111759


1213 Budget     Total


1213   Budget    Your Share


1213   Expended      Your Share      $56000 exact amount unknown         at   the   moment


Reporting    Center                GECCAEE




C CONTINUING               PROJECTSINDIVIDUAL




Project Title                        CAREERPECASE Revolutionizing              Surface   Wave Methods for Engineering

                                     Analyses     from Deterministic and Incoherent       to Probabilistic   and Standardized
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1 CV Faculty Annual Reports          Other Information                                               Cox Brady R



                                     DIPS

Sponsor                              NSF


BeginEnd Dates                       July 2011June    2016


Total   Award                        $421600


Budget for 1213



Expended     for    1213             $32286


Reporting    Center                  GECCAEE




D CONTINUING               PROJECTSJOINT




Project Title                      NEESCR       Topographic   Effects   in Strong   Ground Motion   From Physical and

                                   Numerical Modeling    to Design




Sponsor                            NSFNirginia    Tech



Principal   Investigator           Adrian    RodriguezMarek    VT
CoPrincipal        Investigators   Brady   R Cox UT Dominic Assimalci GT Joseph Wartman UW

BeginEnd Dates                     October   2009September    2014


Award Total                        $1144593


Award Your Share                   $211857


1213 Budget Total


1213 Budget Your Share             $48672


1213 Expended         Your Share   $47944



Reporting Center                   GECCAEE




E RESEARCH PROPOSALS SUBMITTEDINDIVIDUAL



Project Title



Sponsor
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1 CV Faculty Annual                          Reports                    Other Information                                                                           Cox Brady R



BeginEnd         Dates



Requested        Budget         Total

Proposal Status                                                   Under Review Award Pending Rejected



Reporting Center




F RESEARCH PROPOSALS SUBMITTEDJOINT

Project Title



Sponsor


Principal       Investigator



Co Principal        Investigators



BeginEnd Dates


Requested        Budget         Total


Proposal Status                                                   Under Review Award Pending Rejected



Reporting        Center


G DESCRIPTION OF CURRENT SPONSORED RESEARCH


CAREERPECASE                      Revolutionizing Surface                         Wave Methods for Engineering Analyses                             from Deterministic and
Incoherent to Probabilistic                      and Vtandardized                 DIPS PI NSF

    Surface        wave         methods               SWMs               have     become        fully    entrenched          as    powerful       tools        in    gcotechnical         site


    investigation            over   the     past      decade and their end result                     a subsurface          profile of smallstrain shear modulusshear


    wave velocity              Vs            is   used       as   a     key     input   parameter       in    many engineering            analyses        The expanding                use   of

    SWMs          is    driven      by the desire                 to    reach         within the     earth     and   retrieve      accurate     and meaningful                  engineering

    parameters               without        the       need        for    borings         Traditionally         SWMs           have      been     used      to       provide       a    single

    deterministic             V   profile         for   each      site   tested       without consideration           given       to   measurementdispersion                    uncertainty

    and how        it
                         propagates              forward through                the   inversion                  used   to    estimate     Vs However                as   the    profession
                                                                                                    process

    moves toward               probabilistic            design and            performance       based         engineering the           inability   to    quantify        uncertainty        in


    V from SWMs has been exposed as a major impediment                                                    to future     progress


    This research             aimed         at    smoothing out the dips in                       SWMs involves 1 quantifying measurementdispersion
    uncertainty          in    SWMs              so   that    Monte Carlo based               inversions       can   be used       to   propagate       this    uncertainty           forward

    into    a   suite    of acceptable                V      profiles     with confidence            intervals    on layer thickness            and velocity             ie advancing
    from deterministic                 to    probabilistic               and     2      developing       standards      for    SWMs         applied       to    solving         engineering

    problems        ie advancing                      from incoherent recommendations                         to coherent standards              The DIPS plan is guided by

    the    vision       to   collect      and analyze a unique                        large   and   freely shared       set    of experimental           data       at   key    benchmark

    sites   across the          globe        using        the     four main types of            SWMs           with systematically             varied    acquisition            parameters

    Meaningful               dispersion           uncertainty            will    be     evaluated       for   each    set    of acquisition         parameters            using       newly



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1 CV Faculty Annual Reports                                             Other Information                                                                                                      Cox Brady R



   proposed         methods               Intramethod                   variability               in    dispersion          estimates            will        then        be      examined           and        the        set    of

   parameters           with       the         lowest       uncertainty                    selected         to    anchor     the       development                 of standards                 With        meaningful

   estimates of dispersion                          uncertainty             Monte           Carlo inversions              will     be used           to establish             confidence            intervals             for   Vs

   layer    thickness          and velocity                  resulting                in fully         probabilistic         results         that     can         be     incorporated               into       subsequent

   performance              based analyses


   Over     the     past     year         I    have    collected             the       first     of four planned               benchmark              datasets              the UTexas1               Surface             Wave

   Dataset        at    a   site in       Christchurch                  New Zealand                      This      dataset     was shared with 10 expert analysts from around

   the   globe          Each       expert           was asked               to    process         the       dataset     and document                 their results                in    a paper submitted                   to    a


   conference           session       I       have     organized                 at   the       ASCE 2014 GeoCongress on                                    GeoCharacterization and                             Modeling
   for    Sustainability            to         be    held     in       Atlanta             GA on February 2326                              2014        I    have        used these            results          to       write    a


   synthesis        paper       for           the    session        that          documents              inter analyst           frequency            dependent                  uncertainty              in    dispersion

   estimates           and depth dependent                          uncertainty                  in     Vs        The    focus         of    this      study           is     not       about       evaluating              how

   manywhich                analysts           obtain       the     correct answer but                              rather     on quantifying                     the       range of answers                   one        might

   expect     from different analysts attempting                                            to    characterize           the     same        site       This        is      one of the          key        goals of             my
   CAREERPECASE                           research           Plans          are       currently         being      formulated           to collect            an    additional            benchmark dataset at

   a site   in either        France or Italy                 this fall




NEESCR         Topographic                    Effects       in Strong Ground                           Motion           From Physical and Numerical Modeling to Design

Co PI NSF through Virginia Tech                                         PI Adrian RodriguezMarek



   Topographic              effects           refer    to    the       modification                   and amplification of seismic                                ground         motion         in the         vicinity          of


   topographic              features           such     as    hillsides                ridges           and canyons              Because             tectonics              and topography                     are       closely

   related        most seismically active                          regions                 of   the    world are         marked          by      significant                topographic             relief       In recent

   decades          population                growth         and        scarcity            of undeveloped                  metropolitan                land        have          changed           urban        land           use


   patterns       and placed an increasing                             number of people and infrastructure                                     assets         in   areas         susceptible         to    topographic

   effects    during earthquakes                        Although it                   is   widely recognized                 that   topographic                   amplification can elevate                              seismic

   risk     there      is   currently no consensus on how                                         to    reliably      quantify         its   effects              Lack of consensus has precluded

   development               of acceptable              guidelines                    on how           to    account       for     this      phenomenon                     in    practice          thus       leaving           an

   important           factor       contributing                  to    seismic                 hazard       unaccounted               for    in     routine             design          Until       now             a    major

   impediment               towards            understanding                     and       realistically           modeling            topographic                 effects         has    been        the       lack       of a

   statistically        significant             number of seismic recordings                                     from densely instrumented                             sites     with topographic                    features

   Moreover            while       existing            theoretical                models          are generally             capable          of      qualitatively                predicting          the       effects          of

   irregular        topographic                 features       on seismic                   ground           motion        there       is    still    significant                quantitative             disagreement

   between predictions                    and observations                        This research addresses the                           problem of topographic                            amplification with a

   study     that      includes       a comprehensive                            and       integrated            program     of experimental                      simulations             field      measurements

   empirical data            analysis and numerical                               modeling


   My       responsibilities                  in     this    project              have          centered           around      collecting              field        measurements                    of     topographic

   amplification              We      have            chosen           to    investigate                topographic          effects          using          frequent              shallow          and predictable

   seismicity induced by underground                                        longwall coal mining in central eastern Utah                                                 USA           These    mining           activities


   produce         small magnitude                      earthquakes                   generally              ML<40 on a                     consistent             basis         that    have       been        shown            to


   resemble         the     double couple               shear           mechanisms                    of traditional earthquake ground                                 motions Locally dense                              arrays

   of seismometers                 deployed            over            various              topographic               features         were          used          to       passively           monitor                  seismic


   energy      produced            by mining induced                              implosions andor                      stress redistribution                     in the         subsurface            The           research

   consisted        of       two    separate            studies              an        initial         feasibility       experiment              Phase             I        followed           by     a     larger scale

   main      study          Phase             II      Over         50       distinct             small magnitude                   ML        <       16 seismic                  events        were        identified            in


   each      phase          These             events        were analyzed                        for     topographic             effects         in         the    time          domain          using          the        Peak

   Ground         Velocity          PGV and                   in the             frequency              domain        using      the    Standard              Spectral Ratio               SSR method                           the




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1 CV Faculty Annual Reports                                              Other Information                                                                                                  Cox Brady R



   Median              Reference           Method            MRM and                       the    Horizontal to Vertical                      Spectral           Ratio       HVSR                   method            The

   polarities           of    the        horizontal          ground               motions         were        also       visualized         using         directional            analyses              The      various


   analysis            methods          were compared                    to    assess       their ability           to    estimate          amplification              factors          and determine                  the


   topographic               frequencies             of interest              for    each     feature         instrumented             The     MRM was found                           to    provide          the    most

   consistent               and presumably                 accurate            estimates of             the    amplification           factor       and frequency range                          for    topographic

   effects


   Results         from this study                clearly          indicated           that      topographic          amplification of ground                         motions           does        in fact         occur

   These          amplifications               were very frequency                         dependent            and the frequency                     range        was           correctly           estimated          in


   many            but       not        all     cases        using            simplified           analytical             methods              based             on         the         geotechnical                  and

   geometrical                properties             of     the     topography                Amplifications               in this     study       were found               to    generally          range        from 2

   to    3    times a               referencebaseline                         site         condition            with         some            complex              3D             features            experiencing

   amplifications                  as      high        as       10 Maximum amplifications                                    occurred           near       the    crest      of topographic                    features


   with       slope         angles        greater          than     approximately                  15     degrees          and     the       amplifications were generally                                oriented      in


   the   direction           of steepest          topographic                 relief    with      some dependency on wave propagation direction


   My PhD student dedicated to this project                                             Clinton           M Wood            graduated           in   August           2013 and accepted                       a tenure

   track      faculty        position          at the      University of Arkansas                         We are currently                  working on several journal articles                                   related


   to    our research              on topographic                 effects            Furthermore               we    continue          to    interact       with      the    research              team members

   from other               institutions to             fulfill     the ultimate goals of the project                                  We believe             this     work will                 result      in     i an
   order of magnitude                         increase       in     the       amount          of high          quality       data      on      topographic             amplification                    ii        greater

   fundamental               understanding                 of     this   phenomenon                 iii       quantification            of topographic                effects          on ground               motions

   iv        improved              attenuation            relationships              that     account          for    topographic             amplification                 and        v         widely        adopted

   guidelines           and provisions                to    account           for this      seismic hazard               in practice          Ultimately this work                          will    allow seismic

   risk to        be   more effectively                 managed           in      terms of ground              motion quantification                      and site response prediction




RAPID Deep Shear Wave                            Velocity          Profiling for Seismic Characterization                                     of Christchurch                     NZ         Reliably

Merging      Large Active Source                       and PassiveWavefield                         Surface           Wave        Methods          PI NSF

   In    20102011                 the    city    of Christchurch                     New      Zealand          was devastated by a series of powerful                                         earthquakes              the


   most destructive                  being       the 22           February           2011        lv162         Christchurch            Earthquake                During          this       event       the     seismic

   demands imposed on the                             built       environment               at   many         locations      in   the       city   were higher than engineering                                   design

   levels         causing          severe        structural          damage            and collapse especially                         within        the    central         business             district       CBD
   Ultimately               the    Christchurch              Earthquake                resulted      in       181    casualties         thousands            of injuries and widespread                               soil


   liquefaction              that    caused          billions       of    dollars in          damage           to    buildings         homes and              infrastructure                  The       entire       CBD
   was cordoned off following                               this event            and remained closed to                    the   public        for   over       two years An estimated 2400

   out       of   3000        structures         have        been         or       currently       are        being       demolished           as     a result         A network                   of     19    seismic

   recording            stations         in    the     greater       Christchurch                 area     captured         an    extensive           and unique                 set    of ground              motions

   GM             during the             20102011                 earthquakes               Potentially             these    GM can be used                        for      back analyses                    aimed      at


   understanding                  the    spatial       variability             of    the    ground         shaking         particularly             site    and basin effects                          followed by

   accurate            forward estimates aimed                           at       quantifying the amplitude                       and frequency                  content          of    future         design        GM
                                         GM analyses cannot presently be conducted because no information
                       V
   However              detailed                                                                                                                                             exists         on     the shear wave


   velocity                       structure       of the           greater than            400m deep interlayered                            sand         and gravel              deposits          that       underlie

   Christchurch


   The       thrust     of this research has been                         to      conduct deep            >400        mV          profiling          at    15 key      sites in         Christchurch                 New
   Zealand             to    aid    in     important              seismic          GM response analyses                          for   rebuilding            of    the       city           The     only        way     to


   economically                and       rapidly        obtain           V estimates               to     these      great       depths       is
                                                                                                                                                    through           non intrusive                 surface         wave

   testing         However               there    is    currently             a    great    deal of uncertainty                   involved           in the       passivewavefield                        techniques




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1 CV Faculty Annual Reports                                          Other Information                                                                                                     Cox Brady R



    most commonly utilized                        for    deep        V profiling Therefore                           a    unique          study           will    be     conducted           to    compare and

    merge        data      from        large       active       source            and       passivewavefield                        surface             wave       methods             over        an     extended


    frequencywavelength                    range which                will        allow robust determination                             of data          uncertainty           and relative            bias     Over

    the   past   year      active source               surface        wave        measurements                have       been       conducted               using one           of the       large      and unique

    NEESUTexas                   mobile           servo hydraulic                  shakers           and up to24               1   Hz geophones                    while        passivewavefield                     data

    has    been     collected             using        intermediate                and        large diameter                  circular            sensor         arrays        60 200 and 400m
    diameters           composed            of     10     broadband               seismometers                This        research               has      tripled        the        available      comparisons

    between        large     active source              and passivewavefield                          surface       wave methods                    utilized           for    deep     V profiling These
    comparisons            are      needed         before          confidence               in   utilizing          passivewavefield                           methods              independently          can        be

    achieved        Therefore              the    merits of           this     work include                  a     the        collection           and         interpretation              of a one of      a kind
                                 be    used                                                                involved            with                                      active source             and
    dataset      that   can                       for    evaluating            the      reliability                                       merging large                                                   passive

    wavefield       surface           wave       methods           for    deep          V     profiling and               b        the    advancement                    in    accurate       ground        motion


    prediction      for      deep     sedimentary              basins        made possible by these deep                                 V       profiles        through        analysis       of a unique            set


    of    damaging         GM records from multiple seismic events                                                 Progress          made on both of these                             issues      will    directly


    impact     earthquake engineering                        studies in the             US New Zealand and throughout                                             the    world


    This     research has             served      to    strengthen            my international                 research collaborations                             New         Zealand        colleagues             and

    other important            seismic           researchers throughout                        the    US Additionally                        I   was able          to    provide           four different        US
    graduate       students           with       rewarding            international              travel      experiences                 that      will        serve     to     balance        their      technical

    education       and       expose them                 to    the      globally connected                    problems              that         still    exist        in     earthquake          engineering

    Furthermore              one      of    the    key         benchmark                surface        wave         datasets             for      my CAREERPECASE                                  research           as
    discussed       above was obtain                    in   New       Zealand during the                    field    experiments                  conducted             during this project




RAPID Field Investigations of Shallow Ground Improvement Methods for Inhibiting                                                                                         Liquefaction              Triggering

Christchurch        New Zealand Co PI NSF PI Kenneth H Stokoe II

    As noted above               in    20102011                the    city     of Christchurch                 New Zealand                       was devastated by a series of powerful

                                                                                  events             The                            2011          Christchurch                                        movement
                        M 62
                                                 six
    earthquakes            including                     significant                                          February                                                         Earthquake

    magnitude                             generated          the     largest       ground        motions           in the      city       with horizontal                 peak        ground       accelerations

    between 037 and 052                      g     The 20102011                      earthquakes             caused           repeated            liquefaction           throughout             the     suburbs of

    Christchurch              Some         key     observations               and impacts               are that              1     liquefaction                 was     particularly             extensive          and

    damaging        along        the      meandering               loops of          the      Avon      River        now           designated              as     part    of    the        Red Zone             zone
    where     residential          structures           will    not be rebuilt                 2 more          than       7000 residential                       properties          are    being       abandoned

    in the    Red Zone                because      the       damage          is   beyond economic repair                            3     an estimated additional                           15000 properties

    were affected by liquefaction and                              4     the      total     economic          loss       is   estimated            to     be    from 25        to    30 billion NZ dollars

    or 15     to   18 of New Zealands GDP                                         One critical         problem facing Christchurch                                     and the Canterbury                 region          is



    rebuilding      on land that remains                       at risk    of liquefaction               in future         earthquakes                     This     problem arises after nearly                        all


    earthquakes          and     little      information              exists       on ground            improvement                      methods           that     can        be    used     to   increase           the


    resilience      of residential           structures            and lowrise buildings in future earthquakes


    Facing       this critical         time sensitive                problem            the    New      Zealand           authorities              have        contributed            over    $2M        NZ          to   a

    project      involving fullscale                   field test trials           of shallow          ground         improvement                    methods             The goal is to determine                      if


    and which           ground         improvement                 methods              achieve        the    objectives             of      inhibiting            liquefaction             triggering          in    the


    improved        ground          and     are    costeffective                  measures            This     new knowledge                            which      is    applicable          in the       US and
    worldwide           is    rapidly            needed         as     part        formulating               the    path           forward           in        rebuilding            the    infrastructure                in


    Christchurch           and the Canterbury                      region The liquefaction                         testing          is   currently being                 conducted            using       the    large

    mobile shaker             called       T Rex that is operated by NEESUTexas                                                     T Rex          is
                                                                                                                                                        being      used        to   simulate       a wide range

    of controlled            earthquake            shaking           levels        at    the     ground        improvement                       sites          This     unique            opportunity          exists




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1 CV Faculty Annual Reports                                            Other Information                                                                                               Cox Brady R



    because       T Rex was               already           in    Christchurch             as    a   result           of an           earlier       NSF        project     involving          deep      seismic

    profiling      as documented above

    This research includes                    the    collection          and interpretation                of a one of                a kind dataset that can be used in the design
    of shallow         ground         improvement                 methods        to    inhibit        liquefaction                    triggering          of   saturated       soils       This    knowledge

    currently         does not       exist but        has        numerous applications                     in        earthquake prone areas                      in the       US and worldwide                  for


    residential        structures             and lowrise commercial                            buildings                   This       new knowledge                   will     help       develop      a    more

    comprehensive              understanding                of soil      liquefaction           risk    and ways                 to    mitigate it             and will       transfer      directly to      US
    cities     such    as Seattle         WA Los Angeles CA Memphis TN and Charleston SC
    The scope          of this research project                    continues          to   grow beyond                     the   bounds of our                 original    NSF        proposal         As such

    the    New        Zealand         Earthquake             Commission                EQC has already provided                                           additional       direct      research         funding

    approximately              $225k           to    our team with              more field work and additional                                  funding         expected        for later     in   2013




H   DESCRIPTION OF CURRENT UNSPONSOREDDEPARTMENTAL                                                                                                                   RESEARCH




The INTERPACIFIC                     Project          Intercomparison                       of       methods for site parameter and                                            velocity           profile

characterization


    The      INTERPACIFIC                      project       is    a    subproject           of      the         SIGMA and CASHIMA                                   research        projects          SIMGA
    Seismic       Ground            Motion Assessment                       funded          by       French            and European                   enterprises             EDF AREVA CEA
    ENEL CASHIMA                              funded         by    CEA          Commissariat                     a    lEnergie            Atomique              et   aux       Energies       Alternatives

    Cadarache           France ILL                   Institute          Laue      Langevin             Grenoble France and ITER                                         Organization              Cadarache

    France which                   aims to assess            the       reliabilityvariability                 of seismic                site   characterization               methods        borehole          and

    surface      wave          methods              used     for       estimating          shear       wave            velocity          Vs          profiles        and corresponding                  lumped

    parameters          eg VS30 The other expected outcome                                                       is    to    develop           a    set    of guidelines             for   performing          and

    interpreting        surface          wave       tests



    I   have    been     invited         to   serve     on the         international            organizingadvisory                        committee              for   this    project      I am the         only

    US member of                   this   committee Arrangements                                have       already           been       made         to    collect     and process borehole                    data

    crosshole           downhole               suspension              logging        at   three       sites          in    France        and       Italy       Plans     have       also    been      made      to


    collect     a broad range of                    active       and    passive surface               wave data                  at    each        site    The surface wave processing                         and

    inversion         will   be     done on a voluntary                   basis without               specific             funding         IIowever             we will        organize       two meetings

    in    France       andor         Italy      for    which           travel    and       stay      expenses               of    the     foreign teams                will     be    covered          The     two

    workshops           will       allow       for    exchange           and comparison                of        results         and     to     share       knowledge           in    order       to   write    the


    guidelines         for surface            wave testing


    This     research          project         dovetails          perfectly       with          my CAREERPECASE                                      research          and my NSF funded                     deep

    seismic      profiling          work       in    New Zealand                Furthermore                 it       has given          me the opportunity                    to interact      with leading

    researchers                                  of study          from European                                             such as           The                         of Grenoble
                        in
                               my     field                                                       institutions                                        University                                   Grenoble

    France        and        the    University             of     Potsdam         Munich               Germany                    These            new     colleagues           have       already      had an

    important impact                on   the    direction         and trajectory            of my research                   program




                                                    Part          5       Professional Development




                                                                                                     14
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I   CV Faculty Annual Reports                  Other Information                                              Cox Brady R



A Short Courses                None


B    Workshops

     Pacific   Earthquake      Engineering     Research Center            PEER TSRP Liquefaction Workshop         Berkeley

     CA April 24 2013         invited    and presented



C Technical          Conferences


     International   Conference         on   Earthquake    Geotechnical       Engineering     From Case History   to   Practice

     in   honour of Professor Kenji Ishihara Istanbul               Turkey    June   1719 2013 presented

D    Meetings


     Quake     Summit 2013        NEES Annual Meeting Reno NV August 8 2013 presented

     US      Geological         USGS NEHRP proposal review panel
                             Survey                                 the Central and         for                   Eastern    U

     CEUS      focus   area Golden CO August 2021 2013 panel member




                                      Part    6       Engineering Recognition

A AWARDS               HONORS

     Presidential    Early   Career Award       for   Scientists    and Engineers    PECASE 2012

B    LISTINGS        None




                              Part    7      Professional                 Community Service




                                      Part     8      Professional             Experience

A PROFESSIONAL                 REGISTRATION


Current        Registered     Professional     Engineer     State    of Arkansas     PE Serial Number 14249




B CONSULTING


                                                                     15
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1 CV Faculty Annual Reports      Other Information                            Cox Brady R



Number    of   Days Company

Tonkin   and Taylor Ltd Christchurch   New Zealand   approximately 7   days




                                               16
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         1 CV Faculty Annual                  Reports            Other Information                                                      Cox Brady R




          Department of Civil Architectural                                                     and Environmental Engineering
Name                          Brady R Cox                                                                            Academic Year Ending           31 Aug   2013

Rank                          Assistant Professor                                                                                Report   Date      1012013
Endowed Position

PE Status                     State       of Arkansas      PE Serial Number 14249                 Faculty Signature

WORK EXPERIENCE                   YEARS
    Years in Rank       at   UT       1                          Years Teaching      Experience       7                     Years Other Experience


GRADUATE STUDENT SUPERVISION                               In UT career    only count each co supervised student as 05
                                                                                   total


  MS Students                                  1213           MS Graduated                  1213             UT CAREER TOTAL
 of students     supervised                         1                of students   supervised                    0
                                                                                                                                     MS Graduated              0

 of students     co supervised                     0                 of students   co supervised                 0

  PhD Students                                                        PhD Graduated                                              PhD Graduated
 of students     supervised                        4                 of students   supervised

 of students     co supervised                     0                 of students   co supervised


TEACHING

                                                                         Teaching     Evaluations



            Semester                         Course     Number               Number of Students                Instructor   Rating            Course Rating



                                                   CE   357                                43                         43                             35


              Fall




                                                   CE   387R                               26                         44                             41


             Spring




            Summer




CONTRIBUTIONS                TO TECHNOLOGY
                                                                                                          1213                                CAREER TOTAL

Refereed Archival      Journals Papers        in   Print                                                   3                                          20

Refereed Archival      Journal Papers Accepted             or   In   Press                                 1


Refereed Archival      Journal Papers        Under Review                                                  1


Refereed Conference          Proceedings                                                                   1                                          31

Nonrefereed      Publications

Books   Authored      or Co Authored

Books   Edited   or Co Edited

Book Chapters Authored            or Co Authored                                                           0                                          0

Oral Presentations                                                                                         6                                         49

Patents                                                                                                    0                                          0




                                                                                      17
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           1 CV Faculty Annual Reports                   Other Information                                          Cox Brady R



Copyrighted       Software       Packages

GRANTS AND CONTRACTS
                                                                                     1213 Only                 SIX YEAR TOTAL        0612
Number of Projects             New and Continuing                                          5                                16

Total    Awarded  Projects $Ks new
                       to all          continuing                                     $2185K                             $3758K
Your Share Awarded $Ks new     continuing                                             $1253K                             $2520K
Your Share Spent                                                                      $3247K



                                                                                                                                        Name
                                                                                                                                          Title




                                                                                      Civil    Architectural   and Environmental   Engineering


COMMITTEES                in    1213
                                                                                     MEMBER                              CHAIR

UT Department          and College                                                         2                                0

All University                                                                             0                                0


Professional      and Technical                                                            7                                0


ENGINEERING                RECOGNITION         IN 1213

    Presidential        Early Career    Award for Scientists and Engineers   PECASE 2012




FACULTY PARTICIPATION IN ACADEMIC EVENTS IN 1213

Participated      in the   following   academic events



        College of Engineering         Graduation   Ceremony December   2012

        College   of   Engineering     Graduation   Ceremony May 2013




                                                                             18
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        1 CV Faculty Annual                 Reports              Other Information                                                        Cox Brady R



HIGHLIGHTS OF INDIVIDUAL ACCOMPLISHMENTS                                             FOR 1213




  I   was recognized     by President Barack Obama as one of 96 recipients of the Presidential Early Career Awards for Scientists and
  Engineers     PECASE        The award activities included a ceremony at the Smithsonian Institution and a reception with President
  Obama at the        White House The PECASE award is the highest honor bestowed by the                                US
                                                                                                   Government on science and

  engineering       professionals     in the    early   stages    of their independent research careers

  I
      graduated     my first   PhD student Clinton M Wood and saw him placed as a tenure track faculty member at the University of
  Arkansas        Between      his MS and PhD degrees we coauthored seven peer reviewed journal articles and nine peer reviewed

  conference      proceedings       with   several      more accepted       for   publication

  I   was PI or Co PI on $395650               of new research funding            from NSF This NSF funded research led to an additional            $223518       of

  funding    from the     New Zealand Earthquake                 Commission EQCTonlcin and Taylor Ltd

  I
      spent approximately six weeks             in   Christchurch     New Zealand collecting            experimental    data associated with the geotechnical

  earthquake research funding              noted     above     This funding       also   allowed    me and my colleague Kenneth H Stokoe II             to   provide
  international      research experiences          for five    of our graduate      students

  I   was invited to join the      international        INTERPACIFIC          Project         Committee Intercomparison of methods         for site mrameter     and

                                                                                          projects SIMGA
  velocity   profile characterization            A sub project       of the   SIGMA and CASHIMA          Seismic Ground
                                                                                                             research

  Motion Assessment              funded by French and European enterprises EDF ARE VA CEA ENEL CASHIMA funded by CEA

  Commissariat a lEnergie Atomique et aux Energies Alternatives Cadarache                                   France     ILL   Institute   Laue Langevin Grenoble

  France and ITER Organization                  Cadarache France
  I   established    new international         research collaborations        with   faculty      from the University of Grenoble        France Potsdam
  University Germany              and the University of Canterbury                New Zealand
  I   was appointed as an Associate Editor for the ASCE Journal ofGeotechnical                              and Geoenvironmental          Engineering

  My    earthquake research  New Zealand was featured on the University of Texas homepage banner and received coverage
                                   in


  from media outlets such as The Weather Channel The New Zealand Herald and Alcade The Official Publication of the Texas
  Exes

  Invited    speaker    at the   Pacific   Earthquake         Engineering     Research Center        PEER TSRP Liquefaction          Workshop Berkeley          CA




                                                                                         19
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I   CV Faculty Annual Reports           Other Information                                      Cox Brady R



                        Faculty Annual Report               for Year   End August 31 2014



                                Brady R Cox                          PhD PE
                                         Assistant Professor


        Civil    Architectural         and Environmental Engineering Department

                                                                                                          91 91 4



                                      Part    1      Teaching          Activities




A COURSES TAUGHT


 SEMESTER TAUGHT       COURSE NO             COURSE NAME                                          NO SECTIONSSTUDENTS


 Fall           2013   CE      397           Geotech Engr Seminar Underground       Openings      1                 10



 Spring         2014   CE      311K          Intro   to   Computer Methods                        2                 28



 Spring         2014   CE      357           Geotechnical      Engineering                        6                 43




Individual      Instructions


 SEMESTER TAUGHT       COURSE NO         COURSE NAME                                        NO STUDENTS


 Fall           2013   CE      397S      14       Masters Research


 Fall           2013   CE      397S      15       Dissertation     Research


 Fall           2013   CE      697S      15       Dissertation     Research


 Fall           2013   CE      699R      Dissertation



 Fall           2013   CE      398D      Departmental         Report


 Spring         2014   CE      397S      14       Masters Research



 Spring         2014   CE      697S      15 Dissertation Research

 Spring         2014   CE      999R      Dissertation



 Summer         2014                     Data        Not Available   Yet




                                                              20
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1 CV Faculty Annual        Reports     Other Information                         Cox Brady R




B GRADUATE STUDENT RESEARCH

Supervisor         PhD Dissertations

STUDENT                                             DEPARTMENT   GRAD   DATE            AREA




Shawn     Giffiths                           CAEE                In   Progress   GEO




Trenton    Ellis                            CAEE                 In   Progress   GEO




Andrew     Stolte                           CAEE                 In   Progress   GEO




David   Teague                              CAEE                 In   Progress   GEO




Supervisor MS ThesesReports

STUDENT                                             DEPARTMENT   GRAD DATE              AREA


David   Teague                              CAEE                 Spring   2014   GEO




Co Supervisor         PhD Dissertations

STUDENT                                             DEPARTMENT   GRAD   DATE            AREA




None




CO Supervisor MS ThesesReports




                                                     21
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1 CV Faculty Annual Reports   Other Information                         Cox Brady R


STUDENT                                   DEPARTMENT   GRAD    DATE            AREA




 None




Member PhD Committees

STUDENT                                   DEPARTMENT   GRAD DATE               AREA


Georgios Zalachoris                CAEE                 Spring   2014   GEO




Yubing Wang                        CAEE                 Spring   2014   GEO




Michael Plaisted                   CAEE                 In   Progress   GEO




Greg Dellinger                     CAEE                 In   Progress   GEO




Reader MS Committees

STUDENT                                   DEPARTMENT   GRAD    DATE            AREA



Grant Martin                       CAEE                 Spring   2014   GEO




Jeremy Faker                       CAEE                 Spring   2014   GEO




Julia   Roberts                    CAEE                 Spring   2014   GEO




                                           22
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1 CV Faculty Annual          Reports      Other Information                                           Cox Brady R



 Sungmoon Hwang                                   CAEE                              In   Progress     GEO




C OTHER RESEARCH SUPERVISION


    I   have supervised   three   undergraduate   students   for   NSF funded REU   research    associated with   my
    CAREERPECASE            project




D   ADDITIONAL TEACHING                ACTIVITIES


          None




                 Part   2     Administrative           And Committee Assignments




A ADMINISTRATIVE              COMMITTEES                 None




B   UNIVERSITY COMMITTEES




University        None




College           None




Department


    CAEE Department         Chair   Search Committee




                                                             23
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1 CV Faculty Annual Reports               Other Information                                                Cox Brady R



   Curriculum      Committee




   Distinguished     Lecture Series    Committee




C OUTSIDE COMMITTEES

International



   Member INTERPACIFIC             Project   Committee Intercomparison          of methods   for site   mrameter and
        velocity   profile   characterization    A sub project of the SIGMA and CASHIMA             research   projects

        SIMGA       Seismic Ground Motion Assessment funded by French and European enterprises                        EDF
        AREVA CEA EN EL CASHIMA                  funded by CEA Commissariat a lEnergie              Atomique   et   aux

        Energies    Alternatives    Cadarache     France     ILL   Institute   Laue   Langevin   Grenoble France and
        ITER   Organization      Cadarache      France




National


   Associate    Editor    ASCE Journal of Geotechnical        and Geoenvironmental         Engineering




   Member GeoEngineering              Extreme Events     Reconnaissance        GEER Association



   Member Network for Earthquake             Engineering    Simulation   NEES Data Curation Subcommittee



   Member ASCE GeoInstitute              Earthquake     Engineering    and   Soil   Dynamics Committee




   Member ASCE GeoInstitute              Geophysical     Engineering   Committee




   Member ASTM            Committee    D18 on   Soil   and Rock




State              None




                                                             24
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I    CV Faculty Annual Reports                  Other Information                                                           Cox Brady R



                                   Part     3      Contributions             to     Technology




A REFEREED ARCHIVAL JOURNALS

In   Print    2
        Green      RA Cubrinovski M Cox BR Wood C Wotherspoon                                            L Bradley B Maurer B
        2014       Select Liquefaction       Case    Histories   from the 201 0201          1   Canterbury      Earthquake Sequence
        Earthquake       Spectra     301 pp 131153
        Wotherspoon          LM Orense RP Jacka M Green RA Cox BR Wood CM 2014 Seismic
        Performance         of   Improved   Ground Sites during the 20102011                    Canterbury      Earthquake         Sequence
        Earthquake Spectra           301 pp 111129


Accepted        0
Under Review           2
      Wood      CM and Cox BR in review                     2014    expected         Experimental            Dataset   of    Mining Induced

      Seismicity   for   Studies of Full Scale      Topographic      Effects       Earthquake        Spectra

      McGann       CR Bradley BA Wotherspoon LM Cox BR in review 2014 expected Comparison
      of a   Christchurch Specific      CPT Vs Correlation         and Vs Derived from Surface Wave                    Analysis     for   Strong
      Motion    Station     Velocity   Characterization          Bulletin    of    the   New       Zealand     Society       for   Earthquake
      Engineering




B REFEREED CONFERENCE PROCEEDINGS                                         2
      Wood     CM        Ellis   TB Teague DP Cox BR 2014 Comprehensive Analysis of the UTexas1
      Surface     Wave       Dataset        ASCE    GeoCongress             2014     GeoCharacterization               and     Modeling      for


      Sustainability      Atlanta   GA February 2326 2014 pp 820829
      Cox      BR Wood CM Teague DP 2014                             Synthesis           of the    UTexas1      Surface Wave          Dataset

      Blind Analysis       Study    Inter Analyst    Dispersion     and     Shear Wave            Velocity    UncertaintyASCE Geo
      Congress 2014          GeoCharacterization        and   Modeling       for   Sustainability       Atlanta    GA February 2326
      2014 pp 850859



C NON REFEREED                    PAPERS             None




D BOOKS AUTHOREDCOAUTHORED                                       None




E BOOKS EDITEDCOEDITED                                           None




F BOOKS CHAPTERS                            None




                                                                   25
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1 CV Faculty       Annual Reports                 Other Information                                                                   Cox Brady R




G BOUND TECHNICAL REPORTS                                            None




H ORAL PRESENTATIONS                         8

NationalInternational            Meetings          or Conferences                    5
      Cox   BR      Synthesis        of the      UTexas1       Surface Wave               Dataset         Blind Analysis          Study    Inter Analyst


      Dispersion      and     Shear Wave         Velocity    Uncertainty      ASCE GeoCongress 2014 Geo
                                                                                     presented        at

      Characterization        and   Modeling for Sustainability Atlanta GA February 2326 2014

      Cox   BR      Invited      Analysis         of the     InterPacific         Surface Wave             Datasets         Significant    Results    and

      Conclusions         presented    at   the    1st   INTERPACIFIC Workshop                        Torino       Italy    2223 May 2014

      Cox   BR Invited Analysis of the InterPacific Borehole Methods Datasets                                                 Relevant      Results   and

      Conclusions         presented    at   the    1st   INTERPACIFIC Workshop                        Torino       Italy    2223 May 2014

      Cox   BR     Developing         Reliable      Deep      Vs Profiles            Beneath        Christchurch         by Merging       Large Active
      Source    and      AmbientWavefield            Surface         Wave  Methods presented at                            the    10th    US     National

      Conference        on Earthquake Engineering                  Anchorage AK 2125 July 2014

      Cox   BR        Invited       NEES          Helping     to     Build       a   Resilient        Christchurch           Towards       Deep    Basin

      Characterization     and      Liquefaction         Mitigation          presented         at   the    10th    US National Conference on
      Earthquake        Engineering    NEES Luncheon Anchorage                           AK 2125 July 2014



RegionalStateLocal              Meetings          or Conferences                 3
      Cox   BR Invited Why the Palace                         Fell      The       2010    Haiti      Earthquake            from   Reconnaissance       to

      Reconstruction          presented     at   St Stephens          Episcopal School                Austin       TX February 13 2014
      Cox   BR Invited Deep Vs                   Profiling    for    Dynamic Characterization                     of      New Zealand
                                                                                                                       Christchurch
      Towards     Reliably      Merging     Large Active Source                  and     AmbientWavefield              Wave Methods
                                                                                                                         Surface

      presented    at   the   University    of Texas        Institute      for   Geophysics          Seminar Austin TX March 28 2014

      Cox   BR Invited My Experiences                          as     an    Earthquake              Engineer           presented    at    Elsa   England
      Elementary      School     Round      Rock         TX March 21 2014


I   PATENTS                    None




J COPYRIGHTED SOFTWARE                                               None




K OTHER                        None




                                                                           26
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1 CV Faculty Annual Reports           Other Information                                            Cox Brady R



                       Part   4   Research ActivitiesGrants                    Contracts




A NEW PROJECTS FUNDED INDIVIDUAL
Project Title



Sponsor


BeginEnd Dates


Total   Award


Budget for 1314


Expended    for 1314



Reporting Center




B NEW PROJECTS FUNDEDJOINT

Project Title



Sponsor


            Ins
Principal         estigator



Co Principal      Investigators



BeginEnd     Dates


Award Total


Award Your Share


1213 Budget       Total


1213    Budget     Your Share

1213 Expended         Your Share

Reporting Center




C CONTINUING              PROJECTSINDIVIDUAL

Project Title                         CAREERPECASE Revolutionizing        Surface    Wave Methods for Engineering

                                      Analyses   from Deterministic and Incoherent    to Probabilistic   and Standardized

                                      DIPS



                                                        27
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1 CV Faculty Annual Reports          Other Information                                                Cox Brady R



Sponsor                              NSF


BeginEnd Dates                       July 2011June    2016


Total   Award                        $421600


Budget for 1314


Expended    for    1314              $107931



Reporting    Center                  GECCAEE




Project Title                        RAPID     Deep Shear Wave      Velocity   Profiling for Seismic Characterization of

                                     Christchurch    NZ    Reliably Merging Large Active Source      and PassiveWcrvefield

                                     Surface   Wave Methods



Sponsor                              NSF


BeginEnd     Dates                   December 2012 November            2014


Total   Award                        $197684



Budget   for 1314



Expended    for 1314                 $53721


Reporting   Center                   GECCAEE




D CONTINUING               PROJECTSJOINT

Project Title                      NEESCR       Topographic    Effects   in Strong   Ground Motion   From Physical and

                                   Numerical Modeling      to Design




Sponsor                            NSFNirginia    Tech



Principal   Investigator           Adrian    RodriguezMarek     VT
Co Principal      Investigators    Brady   R Cox UT Dominic Assimalci GT Joseph Wartman

BeginEnd Dates                     October   2009September     2014


Award Total                        $1144593


Award Your Share                   $211857


1314 Budget       Total


1314     Budget    Your Share

1314     Expended     Your Share   $10634




                                                          28
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1 CV Faculty Annual Reports          Other Information                                             Cox Brady R



Reporting Center                  GECCAEE




Project Title                     RAPID     Field Investigations   of Shallow Ground Improvement   Methods for Inhibiting

                                  Liquefaction   Triggering   Christchurch   New Zealand


Sponsor                           NSF


Principal   Investigator          Kenneth    H Stokoe    II




CoPrincipal     Investigators     Brady    R Cox

BeginEnd     Dates                June    2013May 2014


Award Total                       $197966


Award Your Share                  $98983


1314 Budget Total


1314   Budget   Your Share

1314   Expended      Your Share   $36458



Reporting    Center               GECCAEE




Project Title                     Field Investigations   of Shallow Ground Improvement     Methods for Inhibiting

                                  Liquefaction   Triggering   Christchurch   New Zealand


Sponsor                           New Zealand Earthquake      CommissionTonkin and Taylor Ltd Christchurch NZ



Principal   Investigator          Kenneth    H Stokoe    II




Co Principal    Investigators     Brady    R Cox

BeginEnd     Dates                June    2013May 2014


Award Total                       $302019


Award Your Share                  $151021


1314 Budget     Total


1314   Budget    Your Share


1314   Expended      Your Share     $65000 exact amount unknown         at the   moment


Reporting    Center               GECCAEE




E RESEARCH PROPOSALS SUBMITTEDINDIVIDUAL
                                                         29
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1 CV Faculty Annual                    Reports                  Other Information                                                                      Cox Brady R



Project Title



Sponsor


BeginEnd         Dates



Requested        Budget       Total

Proposal Status                                           Under Review Award Pending Rejected



Reporting Center




F RESEARCH PROPOSALS SUBMITTEDJOINT

Project Title                                             Early Career Development                   of MesoScale             CapacitivelyTransduced             Seismic     Sensors

                                                          for Earth      Sciences



Sponsor                                                   NSF


Principal       Investigator                              N Hall

Co Principal       Investigators                          B Cox and N Sun

BeginEnd         Dates



Requested        Budget       Total                       $599359


Proposal Status                                           Rejected



Reporting        Center                                   GECCAEE




G DESCRIPTION OF CURRENT SPONSORED RESEARCH
CAREERPECASE                     Revolutionizing Surface                  Wave Methods for Engineering Analyses                           from Deterministic and
Incoherent to Probabilistic                 and Standardized             DIPS PI NSF

    Surface        wave       methods         SWMs               have     become        fully    entrenched        as    powerful      tools     in    geotechnical        site




                             V
    investigation         over the     past    decade and their end result                    a subsurface      profile of smallstrain shear modulusshear


    wave velocity                      is    used    as a       key   input     parameter       in   many engineering            analyses      The expanding            use of

    SWMs          is    driven    by   the    desire      to    reach         within   the   earth   and    retrieve     accurate     and meaningful         engineering

    parameters           without       the     need       for    borings        Traditionally         SWMs         have        been   used      to    provide      a    single

    deterministic         V                  for   each   site   tested       without consideration          given      to    measurementdispersion             uncertainty

                                                                                                                                 V
                                 profile

    and how        it
                        propagates          forward through             the   inversion      process used     to   estimate            However as the profession

    moves toward             probabilistic         design       and performance based                engineering        the   inability   to   quantify    uncertainty      in


    V from SWMs has been exposed as a major impediment                                           to future    progress


    This research            aimed     at    smoothing out the dips in                    SWMs involves 1 quantifying measurementdispersion
    uncertainty         in   SWMs       so    that    Monte Carlo based                inversions     can   be used      to    propagate    this     uncertainty       forward

    into    a   suite   of acceptable         V      profiles     with confidence            intervals   on layer thickness           and velocity        ie advancing

                                                                                        30
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1 CV Faculty Annual Reports                                              Other Information                                                                                                    Cox Brady R



   from deterministic to probabilistic and                                                  2     developing             standards         for   SWMs              applied           to    solving         engineering

   problems ie advancing from incoherent recommendations                                                                     to    coherent standards                        The DIPS plan is guided by

   the   vision      to     collect            and analyze a unique                              large    and       freely shared          set   of experimental                    data     at    key       benchmark

   sites    across the         globe            using        the four main types of                                SWMs      with systematically                       varied       acquisition            parameters

   Meaningful               dispersion               uncertainty             will           be    evaluated           for    each     set       of acquisition                parameters              using            newly

   proposed         methods                Intramethod                  variability                in    dispersion          estimates           will       then        be    examined             and        the       set    of


   parameters           with     the            lowest       uncertainty                    selected          to   anchor     the    development                  of standards                With         meaningful

   estimates of dispersion                           uncertainty            Monte            Carlo inversions               will    be used          to establish            confidence            intervals            for   V
   layer    thickness           and velocity                  resulting                in fully          probabilistic        results       that      can      be       incorporated               into      subsequent

   performance            based analyses


   Over     the     past     year          I    have    collected             the       first     of four planned                 benchmark           datasets           the UTexas1                 Surface            Wave

   Dataset        at   a     site in       Christchurch                 New Zealand                       This      dataset       was shared with 10 expert analysts from around

   the   globe         Each      expert              was asked              to    process the dataset                    and document                their results             in    a paper submitted                    to    a

   conference          session         I       have     organized                at    the       ASCE 2014 GeoCongress on                                   GeoCharacterization and                           Modeling

   for    Sustainability            to          be    held     in      Atlanta              GA on February 2326                            2014         I   have        used these            results         to       write a

   synthesis        paper       for            the    session          that       documents                   interanalyst         frequency          dependent               uncertainty               in    dispersion

   estimates         and depth dependent                            uncertainty                   in     Vs        The      focus    of     this       study        is       not     about         evaluating             how

   manywhich                analysts            obtain       the    correct answer but                               rather       on quantifying               the       range of answers                    one might

   expect     from different analysts attempting                                             to    characterize             the    same     site        This       is    one of the            key        goals of            my
   CAREERPECASE                            research           Plans         are       currently          being       formulated        to collect            an additional                benchmark            dataset         at


   a site   in either        France or Italy                  this fall




NEESCR         Topographic                     Effects       in   Strong Ground Motion                                   From Phisical and Numerical Modeling to Design

Co PI NSF through Virginia Tech                                         PI       Adrian Rod riguezMarek



   Topographic               effects           refer    to    the      modification                    and amplification of seismic                           ground          motion          in the         vicinity          of


   topographic              features            such     as       hillsides             ridges           and canyons               Because           tectonics           and topography                      are       closely


   related        most seismically active                           regions                 of   the     world are          marked         by    significant             topographic               relief      In       recent

   decades          population                 growth         and       scarcity             of undeveloped                  metropolitan               land       have        changed             urban       land           use

   patterns       and placed an increasing                             number of people and infrastructure                                      assets       in   areas       susceptible           to    topographic

   effects    during earthquakes                         Although it                   is   widely recognized                 that   topographic              amplification can elevate                                seismic

   risk     there      is   currently no consensus on how                                          to    reliably      quantify       its   effects           Lack of consensus has precluded

   development               of acceptable               guidelines                   on how             to    account       for    this    phenomenon                   in    practice            thus      leaving          an

   important           factor      contributing                   to    seismic                  hazard        unaccounted           for        in   routine            design            Until     now            a    major

   impediment               towards             understanding                    and        realistically            modeling topographic                         effects       has        been      the      lack       of a


   statistically        significant              number of seismic recordings                                      from densely instrumented                       sites      with topographic                     features

   Moreover            while       existing             theoretical               models            are generally            capable        of       qualitatively             predicting            the      effects          of

   irregular        topographic                  features         on seismic                 ground            motion        there    is    still     significant             quantitative              disagreement

   between predictions                     and observations                           This research addresses the                      problem of topographic                             amplification with a

   study     that    includes          a comprehensive                           and integrated program                       of experimental                 simulations                  field    measurements

   empirical data             analysis and numerical                              modeling


   My       responsibilities                   in     this    project             have           centered           around        collecting           field       measurements                    of     topographic

   amplification              We       have            chosen          to     investigate                topographic          effects       using            frequent          shallow             and predictable

   seismicity          induced by underground                               longwall coal mining in central eastern Utah                                                USA         These      mining          activities


   produce         small magnitude                      earthquakes                    generally               ML<40 on a consistent                              basis       that    have         been       shown            to


   resemble         the double couple                    shear          mechanisms                     of traditional earthquake ground                             motions Locally dense                               arrays

   of seismometers               deployed               over           various               topographic              features        were           used         to     passively            monitor                  seismic




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1 CV Faculty Annual Reports                                                Other Information                                                                                                    Cox Brady R



    energy          produced             by mining induced                       implosions andor                     stress redistribution                   in the        subsurface                  The        research

    consisted            of    two       separate           studies            an     initial      feasibility         experiment                Phase         I     followed                   by     a    largerscale

    main study                Phase           II      Over           50     distinct            small magnitude                  MI          <    16        seismic         events              were       identified        in


    each       phase           These          events        were analyzed                    for     topographic              effects            in    the     time         domain               using         the        Peak

    Ground              Velocity         PGV             and       in the       frequency           domain           using       the    Standard            Spectral Ratio                  SSR             method          the


    Median              Reference         Method              MRM                   and the Horizontal to Vertical                               Spectral           Ratio            HVSR               method             The

    polarities           of    the       horizontal           ground             motions           were     also          visualized         using       directional                 analyses              The      various


    analysis            methods          were compared                    to    assess       their ability           to    estimate          amplification                factors           and determine                   the


    topographic               frequencies            of interest               for    each      feature     instrumented                 The      MRM was found                            to    provide           the    most

    consistent            and presumably                   accurate             estimates of the amplification                           factor        and frequency                  range          for    topographic

    effects


    Results         from this study                 clearly          indicated          that      topographic          amplification of ground                            motions           does           in fact       occur

    These          amplifications              were very              frequency           dependent              and       the    frequency             range         was            correctly             estimated         in


    many            but       not     all       cases        using             simplified           analytical             methods                based             on          the         geotechnical                   and

    geometrical               properties             of      the     topography                 Amplifications              in this      study        were found                to   generally             range       from 2

    to    3    times a               referencebaseline                         site      condition               with         some               complex             3D              features              experiencing

    amplifications                  as    high         as       10 Maximum amplifications                                        occurred         near        the    crest       of topographic                     features


    with       slope      angles          greater         than        approximately                 15     degrees          and        the   amplifications were generally                                    oriented       in


    the   direction           of steepest          topographic                 relief    with      some dependency on wave propagation direction


    My PhD student dedicated to this project                                             Clinton           M Wood            graduated            in   August            2013 and accepted                         a tenure

    track      faculty        position at          the     University of Arkansas                          We are currently                  working          on several journal articles                              related


    to    our research              on topographic                 effects            Furthermore            we continue                to   interact         with        the    research              team members

    from other            institutions to                fulfill      the ultimate goals of the project                                  We       believe          this    work        will          result       in     i an
    order of magnitude                      increase            in    the      amount           of high         quality       data       on       topographic              amplification                     ii        greater

    fundamental               understanding                of      this    phenomenon                iii     quantification               of topographic                  effects          on ground               motions

    iv        improved          attenuation               relationships               that      account         for    topographic               amplification                  and        v         widely         adopted

    guidelines           and provisions               to    account            for this      seismic hazard               in practice            Ultimately this work                           will   allow seismic

    risk to        be   more effectively                 managed            in   terms of ground                motion quantification                       and site response prediction




RAPID Deep Shear Wave                              Velocity          Profiling for Seismic                   Characterization                    of Christchurch                      NZ         Reliably

Merging Large Active Source and Passive Wavefield Surface                                                              Wave        Methods            PI NSF

    In    20102011              the      city      of Christchurch                    New       Zealand         was devastated by a series of powerful earthquakes                                                          the


    most destructive                  being        the 22          February           2011        1462 Christchurch                      Earthquake                 During           this       event        the    seismic

    demands imposed on the                            built        environment               at   many      locations            in the      city     were higher than engineering                                     design

    levels         causing          severe         structural         damage            and collapse especially                         within         the    central           business             district       CBD
    Ultimately the                  Christchurch             Earthquake                 resulted      in    181       casualties          thousands            of injuries and widespread                                  soil


    liquefaction              that    caused        billions          of    dollars in            damage        to    buildings          homes and                 infrastructure                 The       entire        CBD
    was cordoned off following                              this event           and remained closed                      to the       public     for    over       two years An estimated 2400

    out       of   3000       structures           have       been          or      currently       are     being demolished                      as    a     result       A network                   of     19    seismic

    recording            stations        in   the     greater          Christchurch                area    captured          an        extensive        and unique                   set    of ground              motions

    GM             during the            20102011                  earthquakes               Potentially             these       GM can be used                       for       back analyses aimed                          at


    understanding               the      spatial       variability              of the ground              shaking          particularly               site    and basin effects                            followed        by
    accurate            forward estimates aimed                           at    quantifying the amplitude                          and frequency                    content           of    future          design        GM
                                         GM analyses cannot presently be conducted because no information exists on the shear wave
                        V
    However              detailed


    velocity                    structure    of the greater than 400m deep interlayered    sand and gravel deposits that underlie

    Christchurch



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1 CV Faculty Annual Reports                                                Other Information                                                                                                     Cox Brady R



    The    thrust   of this research has been                               to   conduct deep                 >400        mV              profiling         at    15 key        sites in        Christchurch            New
    Zealand        to    aid        in    important                seismic         GM response analyses                               for    rebuilding                of     the    city        The       only     way          to


    economically              and rapidly obtain                           V     estimates              to   these        great       depths          is
                                                                                                                                                           through            non intrusive                surface     wave

    testing      However                 there      is    currently a great                    deal of uncertainty                        involved          in the       passivewavefield                       techniques

    most commonly utilized                           for       deep        V profiling Therefore a unique study                                                 will    be     conducted             to    compare and

    merge        data      from           large          active       source            and        passivewavefield                        surface          wave            methods             over       an      extended

    frequencywavelength                       range which                   will        allow robust determination                              of data         uncertainty           and relative              bias    Over

                              active source                   surface       wave        measurements                 have       been        conducted             using one           of the                    and unique
    the   past   year                                                                                                                                                                                large


    NEESUTexas                      mobile           servo hydraulic                     shakers          and up to24                 1   Hz geophones                   while        passivewavefield                      data

    has    been         collected            using            intermediate               and       large diameter                    circular          sensor          arrays        60 200 and 400m
    diameters           composed               of        10     broadband               seismometers                 This        research             has       tripled        the    available            comparisons

    between        large      active source                   and passivewavefield                           surface       wave methods                    utilized          for    deep        V profiling These
    comparisons               are    needed              before          confidence                in    utilizing         passivewavefield                          methods          independently                 can      be

    achieved        Therefore                 the    merits of              this       work        include          a     the        collection            and       interpretation             of   a    one of    a kind
    dataset      that    can        be    used       for       evaluating              the    reliability          involved           with       merging large                 active source               and     passive

    wavefield           surface          wave       methods              for     deep        V     profiling and                 b        the    advancement                   in    accurate          ground       motion

    prediction      for       deep       sedimentary                 basins        made possible by these deep                               V        profiles         through       analysis            of a unique         set


    of    damaging         GM records from multiple seismic events                                                        Progress          made on both of these                               issues      will    directly


    impact     earthquake engineering                              studies in the             US New Zealand and throughout                                             the    world


    This     research has                served          to    strengthen           my international                  research collaborations                            New         Zealand           colleagues           and

    other important seismic                         researchers throughout                          the      US Additionally                      I   was able           to    provide          four different          US
    graduate       students              with rewarding                     international               travel      experiences                 that       will      serve      to   balance             their     technical

    education           and     expose them                     to    the      globally connected                     problems              that       still      exist       in     earthquake             engineering

    Furthermore               one        of    the        key        benchmark                surface          wave        datasets             for    my CAREERPECASE                                     research          as
    discussed       above was obtain                          in   New Zealand during the field experiments                                                conducted           during this project




RAPID Field Investigations of Shallow Ground Improvement Methods for Inhibiting                                                                                               Liquefaction                 Triggering

Christchurch New Zealand Co PI NSF PI Kenneth H Stokoe 11



    As noted above                  in    20102011                   the    city       of Christchurch                New            Zealand          was devastated by                     a    series        of powerful

                                                    six                                 events               The                           2011        Christchurch                                            movement

                        M 62
    earthquakes               including                        significant                                           February                                                        Earthquake

    magnitude                                generated             the     largest       ground          motions          in the      city       with horizontal peak                     ground           accelerations

    between 037 and 052                                   The 20102011
                                                 g                                           earthquakes            caused           repeated          liquefaction             throughout               the    suburbs of

    Christchurch               Some           key        observations               and impacts                are that              1      liquefaction               was      particularly              extensive         and

    damaging        along           the      meandering                  loops of            the   Avon        River        now           designated              as    part    of    the       Red Zone               zone
    where     residential            structures               will    not be rebuilt                2 more            than       7000 residential                      properties         are     being         abandoned

    in the    Red Zone                   because          the      damage          is   beyond economic repair                             3     an estimated additional                          15000 properties

    were affected by liquefaction and                                    4       the    total      economic          loss       is   estimated             to   be    from 25        to   30 billion NZ dollars

    or 15     to   18 of New Zealands GDP                                               One critical           problem facing Christchurch                                   and the Canterbury                    region         is




    rebuilding          on land that remains                         at risk     of liquefaction               in future         earthquakes                    This     problem arises after nearly                         all


    earthquakes           and       little      information                 exists       on ground              improvement                  methods              that      can      be   used        to    increase         the


    resilience      of residential               structures              and lowrise buildings in future earthquakes


    Facing       this critical            time sensitive                   problem the New                     Zealand           authorities               have      contributed            over       $2M       NZ         to    a

    project      involving fullscale                      field test trials              of shallow            ground        improvement                    methods            The goal is to determine                          if

    and which            ground           improvement                    methods             achieve          the    objectives             of    inhibiting             liquefaction             triggering           in    the


    improved        ground           and       are       costeffective                  measures              This    new knowledge                         which        is    applicable            in the        US and
    worldwide            is
                                rapidly             needed            as     part        formulating                the    path           forward           in       rebuilding           the     infrastructure                 in




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1 CV Faculty Annual Reports                                            Other Information                                                                                                   Cox Brady R



    Christchurch             and the Canterbury                   region        The liquefaction                      testing         is    currently being               conducted              using     the   large

    mobile shaker              called      T Rex that is operated by NEESUTexas                                                       T Rex           is
                                                                                                                                                           being    used      to   simulate        a wide        range

    of    controlled         earthquake              shaking           levels    at    the      ground               improvement                  sites          This    unique           opportunity            exists


    because       T Rex was               already           in    Christchurch             as    a   result           of an           earlier         NSF        project      involving            deep     seismic


    profiling      as documented above

    This research includes                    the    collection          and interpretation                of a        one ofa kind data set that can be used                                      in     the design

    of shallow         ground         improvement                 methods         to   inhibit        liquefaction                 triggering               of   saturated         soils      This      knowledge

    currently         does not       exist      but has          numerous applications                     in        earthquake prone areas                        in the       US and worldwide                    for


    residential        structures             and lowrise commercial                            buildings                   This       new knowledge                     will      help       develop       a    more

    comprehensive              understanding                of soil      liquefaction           risk    and ways                 to    mitigate it               and will       transfer         directly to      US
    cities     such    as Seattle         WA Los Angeles CA Memphis TN and Charleston SC
    The scope          of this research project                    continues          to   grow beyond                     the   bounds of our                   original     NSF         proposal         As such

    the    New        Zealand         Earthquake             Commission                EQC            has            already          provided              additional        direct       research         funding

    approximately              $225k           to    our team with              more field work and additional                                    funding         expected           for later     in   2013




H   DESCRIPTION OF CURRENT UNSPONSOREDDEPARTMENTAL                                                                                                                      RESEARCH

The INTERPACIFIC                     Project          Intercomparison                        of      methods for site parameter and                                                velocity          profile

characterization


    The      INTERPACIFIC                      project       is    a    subproject           of      the         SIGMA and CASHIMA                                      research          projects        SIMGA
    Seismic       Ground            Motion Assessment                       funded           by      French            and European                        enterprises          EDF AREVA CEA
    ENEL CASHIMA                              funded         by    CEA          Commissariat                     a    lEnergie              Atomique               et   aux        Energies        Alternatives

    Cadarache           France ILL                   Institute          Laue      Langevin             Grenoble France and ITER                                           Organization               Cadarachc

    France which                   aims to assess            the       reliabilityvariability                 of seismic                site     characterization               methods           borehole         and

    surface      wave          methods              used     for       estimating          shear       wave            velocity             Vs         profiles         and corresponding                   lumped

    parameters          eg VS30 The other expected outcome                                                       is    to    develop             a    set    of guidelines              for   performing           and

    interpreting        surface          wave       tests



    I   have    been     invited         to   serve     on the         international            organizingadvisory                           committee             for this        project       I am the         only

    US member of                   this   committee Arrangements                                have       already           been          made        to    collect     and process borehole                      data

    crosshole           downhole               suspension              logging        at   three       sites          in    France          and       Italy       Plans     have          also    been     made      to


    collect     a broad range of                    active       and    passive surface               wave data                  at   each           site    The surface wave processing                           and

    inversion         will   be     done on a voluntary                   basis without              specific              funding           However we will organize two meetings
    in    France       andor                    for    which           travel    and                                        of    the       foreign teams                will      be     covered          The     two
                                     Italy                                                 stay      expenses

    workshops           will       allow       for    exchange           and comparison                of        results         and        to    share       knowledge              in   order      to    write    the


    guidelines         for surface            wave testing


    This     research          project         dovetails          perfectly       with          my CAREERPECASE                                        research         and my NSF funded                         deep

    seismic      profiling          work       in    New Zealand                Furthermore                 it       has given             me the opportunity                   to   interact       with leading

    researchers                                  of study          from European                                             such                The                          of Grenoble
                        in
                               my     field                                                       institutions                          as                 University                                   Grenoble

    France        and        the    University             of     Potsdam         Munich               Germany                    These              new     colleagues            have       already       had an

    important impact                on   the    direction         and     trajectory         of my research                  program




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I   CV Faculty Annual Reports                   Other Information                                                     Cox Brady R



                                   Part       5     Professional Development




A Short Courses
     Enhanced       In Situ   Testina   for   Geotechnical    Analyses        and Foundation Desicm Atlanta            GA June 34
     2014 participant


B Workshops
     1st   INTERPACIFIC        Project   Workshop         Torino Italy May 2223 2014 organizing committee                         and

     presented


C Technical          Conferences


     ASCE      GeoCongress         2014        GeoCharacterization             and   Modeling     for    Sustainability     Atlanta      GA
     February      2326 2014 organized session and presented

     10th     US    National     Conference         on    Earthquake         Engineering      Anchorage      AK      2125    July       2014

     presented

D Meetings



                                     Part       6        Engineering Recognition

A AWARDS               HONORS

     NEES Outstanding          Contributor      Award       Most   Influential    Geotechnical     Research     Project     2014 Co PI

     with    Kenneth   H Stokoe Pl

B    LISTINGS        None


                              Part      7     Professional                   Community Service

    K I2 Outreach


       Cox BR     Invited Why the Palace Fell                       The 2010         Haiti   Earthquake     from   Reconnaissance         to

       Reconstruction   presented at St Stephens                   Episcopal      School     Austin     TX February 13 2014
       Cox      BR Invited My Experiences                    as    an    Earthquake      Engineer        presented    at   Elsa    England
           Elementary School      Round Rock         TX March 212014



                                        Part    8        Professional Experience


A PROFESSIONAL                  REGISTRATION


Current        Registered     Professional      Engineer State of Arkansas PE Serial Number 14249



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B CONSULTING

Number of Days Company

Tonkin   and Taylor   Ltd Christchurch    New   Zealand approximately 5 days




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          Department of Civil Architectural                                                     and Environmental Engineering
Name                          Brady R Cox                                                                            Academic Year Ending           31 Aug   2014

Rank                          Assistant Professor                                                                                Report   Date      812014
Endowed Position

PE Status                     State       of Arkansas      PE Serial Number 14249                 Faculty Signature

WORK EXPERIENCE                   YEARS
    Years in Rank       at   UT       2                          Years Teaching      Experience       8                     Years Other Experience


GRADUATE STUDENT SUPERVISION                               In UT career    only count each co supervised student as 05
                                                                                   total


  MS Students                                  1314           MS Graduated                  1314             UT CAREER TOTAL
 of students     supervised                         1                of students   supervised                    1                   MS Graduated              1


 of students     co supervised                     o                 of students   co supervised

  PhD Students                                                        PhD Graduated                                              PhD Graduated

 of students     supervised                        4                 of students   supervised

 of students     co supervised                     0                 of students   co supervised


TEACHING

                                                                         Teaching     Evaluations



            Semester                         Course     Number               Number of Students                Instructor   Rating            Course Rating



                                                   CE   397                                10                         40                             31


              Fall




                                                   CE   311K                               28                         47                             42


             Spring                                CE   357                                43                         45                             40




            Summer




CONTRIBUTIONS                TO TECHNOLOGY
                                                                                                          1314                                CAREER TOTAL

Refereed Archival      Journals Papers        in   Print                                                   2                                          22

Refereed Archival      Journal Papers Accepted             or   In   Press                                 0

Refereed Archival      Journal Papers        Under Review                                                  2

Refereed Conference          Proceedings                                                                   2                                          33

Nonrefereed      Publications

Books   Authored      or Co Authored

Books   Edited   or Co Edited

Book Chapters Authored            or Co Authored                                                           0                                          o

Oral Presentations                                                                                         8                                          57

Patents                                                                                                    0                                          o




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Copyrighted     Software       Packages

GRANTS AND CONTRACTS
                                                                                        1314 Only                   SIX YEAR TOTAL          0713
Number of Projects           New and Continuing                                                 5                                 16

Total    Awarded  Projects $Ks new
                     to all            continuing                                        $2185K                               $3758K
Your Share Awarded $Ks new     continuing                                                $1253K                               $2520K
Your Share Spent                                                                         $2737K



                                                                                                                        Brady   R Cox PhD PE
                                                                                                                                Assistant   Professor



                                                                                          Civil     Architectural   and Environmental   Engineering


COMMITTEES              in    1314
                                                                                        MEMBER                                  CHAIR

UT Department        and College                                                                3                                 0

All University                                                                                  0                                 0


Professional    and Technical                                                                   7                                 0


ENGINEERING             RECOGNITION          IN 1314

    NEES       Outstanding      Contributor Award    Most Influential Geotechnical   Research       Project   2014 Co PI with Kenneth   H Stokoe
    PI




FACULTY PARTICIPATION IN ACADEMIC EVENTS IN 1314

Participated    in   the following   academic events



        College of Engineering       Graduation   Ceremony May 2014




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        1 CV Faculty Annual                                Reports          Other Information                                                                      Cox Brady R



HIGHLIGHTS OF INDIVIDUAL ACCOMPLISHMENTS                                                           FOR 1314




  Last   year     I       was PI or Co PI on $395650                      of new research funding           from NSF This NSF funded research led to an additional

  $302019       of funding               from the New Zealand Earthquake                    Commission EQCTonlcin and Taylor Ltd              This year I have

  leveraged     that            funding     to   publish two refereed journal             articles    and two refereed conference papers from my research in New

  Zealand       with an additional                   refereed journal        article   currently    in review I also used one of the datasets collected in New Zealand

  to   organize           a conference           session     at the    2014 ASCE GeoCongress                focused   on quantifying uncertainty               in   surface      wave
  measurements                  via    a blind analysis           study This session turned out          to     be very successful       with 10 international                participants


  analyzing     the         dataset       and documenting              their results   from the blind study

  I   was awarded               the    Network           for Earthquake     Engineering         Simulation      NEES Outstanding               Contributor Award                Most Influential
  Geotechnical              Research        Project         for   2014 with Kenneth       H Stokoe based on our NSF RAPID proposal Field Investigations                                              of

  Shallow      Ground             Improvement               Methods     for Inhibiting    Liquefaction          Triggering     Christchurch         New Zealand                 Ken and I were
  both   invited           to   speak     at the     10th    US National Conference on Earthquake Engineering                            NEES Luncheon               in   Anchorage                AK on
  July 24      2014 There were over 1000 engineers                                 seismologists geologists and                social   scientists    in the       audience       This        was an
  incredible      platform to highlight                     the    work we are doing       at   UT in geotechnical           earthquake engineering

  Last   year     I       was invited           to join the       international   INTERPACIFIC           Project      Committee Intercomparison of methods                              for

  site mrameter and velocity                         profile      characterization  A sub project of the SIGMA and CASHIMA research projects SIMGA
  Seismic      Ground             Motion Assessment                   funded by French and European enterprises EDF AREVA CEA ENEL CASHIMA

  funded by       CEA Commissariat a lEnergie Atomique et aux Energies Alternatives Cadarache                                                        France         ILL Institute Lauc

  Langevin Grenoble France and ITER Organization Cadarache France I am the only             representative on the organizing                   US
  committee We planned and held our 18 workshop this year in Torino Italy This project dovetails perfectly with my NSF

  CAREERPECASE                                                                           me to add a unique                                                         work At the 1
                                                                                                                                                                                              st

                                         research project           and has allowed                                   international      dimension     to the


  workshop            I   was able to           interact     with    a number     of new colleagues         from Australia Japan           Switzerland Greece                   Italy    and France

  I   taught   CE311K                 for the    first    time in Spring     2014 As with all new courses               it   was a lot of work         However            I   received        some

  great feedback                from my students and one of my highest                      instructor      ratings   ever    47        This   was a very rewarding               experience

  One of my           MS          students received an               NSF Graduate Research Fellowship He decided                         to stay    here at    UT and pursue his PhD
  under    my direction                 This     was a very exciting accomplishment                  that   I   was able to play a small role in               I   now have        four incredible

  PhD students under my supervision




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                                                                               2 TEACHING

                                                                  Budget             Council Statement



                                                              Prepared               by R        ert   B Gilbert
                                                                                                          04
Evaluation         of     Dr Coxs teaching                        was based on               a   review of his instructor                          surveys             peer reviews
of his teaching             and a review of his teaching                              portfolio



In his     two years         in     rank as an            Assistant Professor at The                          University               of Texas           at    Austin         Dr Cox
has taught         four different courses two undergraduate                                            courses and two graduate                           courses

      CE 357 Geotechnical                      Engineering                     This     undergraduate                  course          is   required of              all    students       in

      Civil       Engineering             and Architectural                         Engineering         and       is    normally taken                    in     the       junior    year
      This course           represents           the      first
                                                                    exposure of students                     to    soil as        an engineering material and                              it



      is    also     a     prerequisite              for      the         two         additional         undergraduate                      courses             in    Geotechnical

      Engineering              Because this course                        is   the only required geotechnical                                course        it    is   important           for


      exposing        new      students          to the      field        of geotechnical               engineering
      CE 311K               Introduction             to    Computer Methods                        This      undergraduate                    course       is    required for all
      students        in    Civil     Engineering                  and         Architectural            Engineering               and        is    normally taken                   in    the


      sophomore year                 It   is   a core        course            that   focuses      on problem solving numerical                                        methods and

      computer programming
      CE 387R2                 Soil       and Rock           Dynamics This graduate                               course          is    an    elective          course        taken       by
      about       half of the graduate                    students             in   geotechnical         engineering                   The course covers                      the    basic

      theory       and       practice          of    soil         and      rock        dynamics          as       applied          to        material           characterization

      earthquake           engineering and foundation design for blasts and vibrations
      CE 397               Underground               Openings                  This    graduate         course          is   an    elective             course         that    Dr Cox
      developed            and offered for the                    first    time last fall          The course covers                         the    theory and practice of

      designing and constructing                          underground openings including                                     tunnels          shafts       and galleries


Over       his   two years here                Dr Cox has taught three                            undergraduate                classes             CE 357 twice and CE
311K once and two graduate                         classes CE 387R2                                once      and        CE 397 once                     His teaching            load       is


consistent         with     expectations             within the Department                             and   is    similar to               other faculty              in   our group

However            he has distinguished                    himself with                his   willingness               to    teach          new    courses        he had never
taught      courses        similar to          CE 311K and CE 397 and to develop                                             a new graduate                    course CE 397

Therefore Dr Cox has gone well beyond the expectations                                                            for   a new faculty                   member


Dr Cox has performed very well as a teacher at The University of Texas at Austin                                                                                      His instructor

ratings      are    all
                           greater        than      or equal          to       40 and his average instructor ratings for undergraduate
courses          45 and             for    graduate           courses               42 both exceed                      the
                                                                                                                               average              instructor              ratings       for

Assistant Professors in the Department and in the School of Engineering                                                                            In   CE 357 his average
instructor         rating     44 in two offerings exceeds the average for the professors who taught the
course      over the past              years 43 in ten offerings In CE 311K his instructor rating 47
                                 three

exceeds          significantly        the      average            instructor           rating for        other professors teaching                              that       course        over

the   past three           years     39 in thirteen offerings His course                                               ratings         clearly          reflect       teaching           new
courses       for the       first   time His course                       rating increased              from 35 the first                    time he taught                  CE 357 to

Brady Cox                                                                                                                     Department                 of Civil Architectural

                                                                                                                                   and Environmental                        Engineering
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40 the second time he taught it                       In the       most recent semester he received                                   instructor         ratings      of 45

and   47 in his two           undergraduate                courses         His lowest course                     rating         was     for   the    new        graduate

course    he developed            CE 397 we expect                         that   this    rating          will    improve             significantly            as he gets

experience        A student         from       that        class    concluded            Dr Cox                  is   a       great    professor           and     did   an

excellent      job    with    the   course       despite       it    being        very unorganized                        I   am confident           this      will    be a
useful    course      especially        now      that       Dr Cox has              a feel          for    how        to      approach        the    material Dr

Coxs performance              here      is    consistent           with    his    earlier      performance in six years                             as    an    Assistant

Professor at the University                  of Arkansas



The peer evaluations              for   Dr Cox are very positive and consistent with his student                                                          evaluations

One   concludes         Based on Bradys                    personality            and    his   teaching           style         I   expect    he will be one of

the   best     teachers      in   our    department                 The      other       concludes               We are               fortunate          to    have    him

teaching       undergraduate        students          in   CAEE

Dr Coxs teaching              portfolio         is    consistent          with     a trajectory             toward excellence                  as a teacher              He
creates    homework          and    exam problems                  that    challenge       the students               and give them opportunities                        to


synthesize      their   understanding                He emphasizes the practical nature                                of civil        engineering



While     in   rank at The University                of Texas         at   Austin one               PhD student and one MS student have
graduated        under       Dr Coxs           supervision                Previously           at    the     University               of   Arkansas             Dr Cox
graduated       six   MS students
We fully expect that Dr Cox will become one of the top teachers in our department




Brady Cox                                                                                                             Department of Civil Architectural
                                                                                                                              and Environmental               Engineering
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2 Teaching                                                                                                                                                Cox Brady IL



                                                                      Teaching                    Statement


I   began       my career              as an assistant professor during                                  the 2006       Fall   Semester at the University of

Arkansas             I   transferred to            the University of Texas                          during the 2012            Fall Semester              Thus in total                    I


currently            have       eight full         years      of academic                teaching           experience         As only          a fellow teacher                      can

understand               I    have spent much of these                        eight          years feeling           like   a student         This feeling            has never

been more intense than during                                the past year               when        I   accepted       the challenge of teaching two                                new
courses         I   had never taught before one                               at   the undergraduate level and one at the graduate                                              level
These were humbling                         experiences              as   I
                                                                              spent        many late nights and early mornings trying to                                                  a
review      and prepare course material and                                        b     figure out how to effectively communicate    to my                                it



students             Through              challenging          experiences                   I    have      learned that         students          are    not     inferior                to

teachers            they are simply inexperienced                                  in   a certain area               The     privilege        of a teacher            is        to   help

students            gain experience and simultaneously                                       facilitate        a pattern of learning            that     the students                 can

carry with them throughout                             their       lives      In this context                   we    as academicians               should strive                    to   be

both students and teachers                         throughout             our careers



My Teaching                   Philosophies             and the Big Picture



Early in            my undergraduate civil                         engineering               education           I   learned    the term plug and                      chug               It


referred            to the       process      of plugging               numbers               ie         the    given   portion        of a homework                  problem
blindly into various equations                               until    you came up with an answer that matched                                         the correct one in

the back of the text                      book Sadly the only thing that plug and chug                                            students         learned       was how to
use a calculator                     It    was     my   observation                 that         students       only resorted to this              method when                       they

could not see the                   big picture


One of my teaching aspirations                                is   to   help students               see the big picture               To me this means                      helping

the student              fully     understand          the problem before trying to explain the solution                                            As a graduate and
undergraduate student                         I    often      found myself taking                          notes      on the derivation               of a complicated

formula while simultaneously                                 wondering             what the formula was used                          to    solve or      why we would
want       to       solve it        Problem solving                  and      true       learning          require the         ability       to think       critically               It   is


impossible               to   think critically          if    one does not have                      in mind the            desired end result              I   have learned
from these experiences                            Thus as a teacher                      I    try to      make the end          visible       from the beginning                           I


want students                 to   understand          context before details                        I   want students          to    hypothetically            scratch              their

heads and say                   Oh yeah            I   can see how that could be a problem                                        I   wonder how we can solve
it     With the                seed       of curiosity planted                      effective            teaching       becomes            much     easier       it    becomes

interactive




I   feel    that         interactive         teaching          is    also facilitated                    by balancing          theory        with     an abundance                        of

examples              and        thought          provoking             questions                 Working            through     examples             and       solving               real


problems             opens         the     learning      door Once                  this         door has        been opened               communication               can flow

much        more              easily      between        the         teacher            and       student         The       teacher         must    often       initiate              this

communication                      through        specific         openended                 questions           As a teacher           I   do not accept             silence as

an answer                If   the    students          do not respond                   they        either      do not understand               the      question               do not
understand               the material or they are not paying attention                                           None of these              scenarios       are acceptable

in an effective                classroom           Everyone enjoys learning new things and                                            if    the students        are learning

they will respond
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2 Teaching                                                                                                                                                              Cox Brady IL



I   believe        that    an         effective          teacher         must also be personable and dynamic                                                    For example as                      an

undergraduate student                             one of my professors used a small bag of Fritos from a vending machine
to   demonstrate the principle of effective                                      stress           He peaked          our curiosity and held our attention as

we     wondered            how          a bag            of chips            might be             related      to    soil     mechanics                 I       now         use     this      same
demonstration  my classes only I use a bag of Cheetos since they are far superior in taste I
                           in


get more comments on my instructor evaluations about the bag of Cheetos than almost anything
else   I    do   in class             Another way              I
                                                                    try to
                                                                           relate to                  the students       is   by showing up                       to class          early          and

letting      them play a song of the                                    day from YouTube                          However              they        must explain                     how           their

chosen       song        relates to           the course                Its    amazing what they come up with                                       I       find this really helps

me to build interpersonal rapport with my students                                                      and get them excited about the material



By the Numbers                         Continual Progress through CourseInstructor Surveys


As noted above                    I   have taught             at    both the University of Arkansas six years and the University

of Texas          2     years At the University of Arkansas                                              I   taught    four different               undergraduate courses
and        three       different           graduate            courses            During               this    time     my average instructor rating for
undergraduate courses                           4350 with an average course
                                                  was                                                                  GPA of 28340 while my average
instructor         rating for           graduate courses was 4550 with an average                                                 course           GPA of 32240                              Note
that       copies        of       my       University               of Arkansas                       course instructor            surveys              are           included               in    the

Supplemental               Materials                   folder       I    have         taught           two    different       undergraduate                       courses              and two
different         graduate             courses           at   the       University of Texas                       My     average            instructor                 rating          for    these

undergraduate courses                             is    4550 with an average course GPA of 29140 while my average
instructor         rating          for the                   courses
                                                       graduate         4350 with an average course GPA of 35740
                                                                                           is


While these are                   fairly     good ratings there                       is    room for improvement                       as    I    strive         to    become            a better

teacher          For example in one of my firsttime courses                                                   CE 311K taught during the 2014 Spring
Semester           I    received           an      instructor           rating        of    4750 with some very positive student                                                  comments
such as



             Dr Cox was a very organized                                 and entertaining instructor                   His    lectures           were well planned                     and full      of
             usefid      examples          I felt
                                                       very comfortable          asking questions             in class   andfelt            the   class         was graded fairly


             Your notes on                 the     board and explanations                       are   great Keep up         the   enthusiasm                and energy you made a

             seemingly        boring class               very interesting



             Professor             Cox is one of the most engaging                              and fair professors         Ive ever met He s always prepared and

             his   notes are clear and concise                          He makes students feel comfortable                        to   ask questions                  All   in   all    Professor

             Cox is the best professor Ive met at                             UT

However            I   also noticed a common theme among some of the more critical                                                                      student             comments


              Great         class          My          only   complaint          is        that    your problemquestion                  statingasking                  skills         could        use

             improvement


                       Instructions on homework                    and exams could be more clearly stated



             Though         I learned             tremendously          from this course I feel as if the requirements                             were not detailed thoroughly

             enough           I    was     left    confused        as   to   his explanations            in the     openended          problems             I   believe      this   has been          a

             good course but there is still                    room for improvement
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2 Teaching                                                                                                                                                       Cox Brady IL



Clearly some of my students                              thought           I    could       have        communicated               requirements                   on homework

assignments and exams more clearly                                    I   was surprised by these comments                                        but must acknowledge

their validity           since     multiple students                  expressed              the same concern                     This      is   an area I can focus                      on

improving in             my future courses

I   provide     these          recent        student        comments as an                      isolated     example of how                       I    believe          in    utilizing

instructor
                surveys to both validate                         my teaching                    efforts    and        to    expose          my     flaws         and encourage

improvement There                       is    nothing         better      than        hearing           positive      feedback              from students                who have
truly    enjoyed          your course                 However              it   can        be     far   more       difficult           to    accept         negative           student

perceptions          as    reality           During         my first            year as          a faculty         member and                    in    regards           to    student

evaluations          I   heard      a wise full             professor state                  Perceptions are never                          true      but they are always

accurate        That       statement has stuck                   with           me over the years and I always try to acknowledge                                                        the

hidden truth in critical                 student         comments               then work to improve                        my teaching               style      accordingly


I   am also pleased               that       I    have      been able           to        maintain       relatively          strong          instructor           ratings          in    my
undergraduate courses                        while still       preserving academic                        rigor       as    evidenced             by an average                    course

GPA in the range of 28 29 In the same set of course instructor                                                                    surveys mentioned above                                for

CE 311K a number of students mentioned that they thought the                                                                      workload              was high and                    that

homework         assignments and exams were graded                                                 a bit    harshly           I    do not             enjoy       hearing           these

comments         but feel          it    is       important      to       encourage             students         to   do     their      best      work           Undergraduate

students       are       often     more            critical    of complex                   homework             assignments                 and       difficult         tests          than

graduate       students          unless           they can be inspired to put forth their best efforts and get excited about

the material         I    will   continue to explore ideas on how to do this better in my future courses



Staying Sharp                   Learning from Others and Teaching                                           Myself


Over the past eight years I have attended                                       three weeklong                   summer courses                    tailored        to    university

professors       These           activities          have served                to   not only improve                  my knowledge                     in technical               areas
but have also provided an opportunity                                           hone
                                                                          to               my teaching           skills       In particular the Excellence                                 in

Civil    Engineering             Education             ExCEEd Teaching                            Workshop            hosted       by the American                       Society of
Civil    Engineers             ASCE was especially beneficial                                            This     course          is    widely          recognized                 as    the

premier teacher                training           workshop       for professors                    in    civil    engineering                 One       particularly               useful

concept    I   learned at          ExCEED                was the appropriate use of Blooms Taxonomy                                                    in   conjunction                 with

course learning objectives                         Learning       objectives are short statements                                 that help           students          understand

what they should know how                              to   do action                is   key at the end               of the      semester or what problems

they should       know how                   to   solve at the end of a particular                         topic or lecture                  They are            like    a roadmap

that    guides       a student           through            key concepts                   they    should        learn       in    the       course          In    some of               my
classes    I   include           the     overall       course        learning              objectives       in
                                                                                                                  my        syllabi In other classes                           I   try to

communicate               learning           objectives         to    the        students          incrementally              throughout                the       semester               For

example one of the course learning objectives from my CE 357 course is


          Predict        the    vertical stress        increase       caused         by foundation loads               at   various         locations       in   a soil niass using

          Boussinesqtype                stress distribution       solutions




When     a student             reads this statement                  they        know        exactly what they will                         be expected             to   do        after    a

given    lecture         ie       predict          spatially distributed                    changes        in stress         caused          by foundation                   loads         It


gives purpose and focus to both the teacher                                          and the student Furthermore a well designed                                                    set   of



                                                                                            3
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2 Teaching                                                                                                                                                         Cox Brady IL



course     learning            objectives           helps       to   preserve          continuity              across          classes      when        various            instructors

are teaching the same course



Effective             course    learning        objectives             should always                begin with an action                           verb       eg memorize
solve     calculate             classify        estimate             describe           etc         Furthermore a seriesset of course                                          learning

objectives should guide students                                through         the various             levels          of Blooms cognitive                         domain From
the lowest level to the highest level                                Blooms cognitive taxonomy                                     is knowledge                comprehension

application analysis synthesis                              and evaluation                  I   have learned that a teacher                             should not instruct

at the    lower taxonomy                  levels       and then expect                 students          to        perform well at the higher levels during

examinations              this      is   bad     for    the      students         AND bad for the instructor                                  come evaluation time
After learning                these      principles         I    now        try   to    lecture          provide               homework            assignments                 and ask

examination              questions across               both the            lower      and higher                  levels      of Blooms cognitive                         domain       A
well crafted set of course                     learning objectives greatly facilitates                                        this    process



During the 20132014                       Academic               Year       I   was asked           to     teach two                new course I had never taught
before        CE 397           Design          of Underground                     Openings               graduate                  and CE 311K Introduction to

Computer Methods undergraduate                                        During these courses                          I   was repeatedly reminded of the need
to   teach        myself       in   order to teach               others           The       CE 311K                 course         was challenging                   for   me but        I


enjoyed          it    immensely         and     feel   the students              really        learned a lot refer to the instructor                                      comments

provided              above     The      CE 397         course          was more             difficult              because           not only had             I   never       taught    a

course     on tunnelingunderground                               construction               before         I       had never           even    taken          a course          on   this


subject          Nevertheless             my geotechnical                   group and           I   felt       this      was an important                 subject to include

in our    graduate            curriculum in order to benefit our graduate                                               students       and maintain our position as

one of the top programs                        in   the country                 Even    after       putting              in    a lot      of effort       I   didnt        feel    great
about     the final           product       the students              received          However                    Im dedicated               to    trying         it   again in the

hopes     of making             improvements                with each attempt                       I    mention              this     because      I   want you to know
that I   am willing to learn new things from others and work to educate myself in order to provide
a better learning experience for our students                                       I   dont want to become                               stagnant        I   dont want to be

teaching the exact                  same material               in    1020 years As a teacher                                  I   enjoy    sharing the experiences                      I


have gained with my students                            and as a student                I   feel    I still         have much to learn about teaching



Blending Teaching                     and Research


I    nearly           terminated         my     formal           education             after        my         undergraduate                degree            My         educational

perspective             changed when a professor invited me to help him work on an undergraduate research
project       That       undergraduate research                       experience was the single most important                                            factor that led               me
to   graduate            school       and     my       current         academic             career            It    opened           my     eyes     to       the       challenge       of

solving       real       problems         that      no one           else   had solved before                           and helped           me to understand                     how    I


needed a              truly   deep understanding of the                           principles             taught           in    the       classroom           in   order to solve

complex               problems Many              faculty         members discuss                        the        need       to   balance         teaching             and research

efforts      I    feel that     a better target             is   to effectively             blend teaching                     and research together                       I   try to   do
this   by bringing research                    problems into the classroom and by providing                                                  research          opportunities            to

undergraduate and graduate                             students             My    ideas         and      efforts          on       this    front    have           been validated

through          reception          of the     NSF Faculty                  Early Career Development                         CAREER Award and the
Presidential            Early Career Award                    for     Scientists        and Engineers                     PECASE These awards and my
efforts   to          blend teaching and research                       are discussed               in more depth                    in   my research              statement
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2 Teaching                                                                                    Cox Brady R



                                                  Teaching           Summary Tables


                                        Table   la University of Texas Teaching   Summary

                                         Metric                                       Value


             Weighted       Average       UG Course GPA                               291

             Weighted       Average       Grad Course        GPA                      357

             Number of UG Students Taught                                              114


             Number of Grad Students Taught                                            36


             Total   Number of Students Taught                                         150


             Average       Instructor     Evaluation        UG                         45

             Average       Instructor     Evaluation        Grad                       43

             Average       Course Evaluation           UG                              39

             Average       Course Evaluation           Grad                            38

             PhD Students Completed
             MS Students Completed
             PhD Students in Progress
             MS Students           in   Progress

             Count     1   if    sole   advisor   05   if   co advised




                                   fable     la University of Arkansas Teaching Summary

                                         Metric                                       Value

             Weighted       Average       UG Course GPA                               283

             Weighted       Average       Grad Course         GPA                     322

             Number of UG Students Taught                                              319

             Number        of Grad Students Taught                                     65

             Total   Number of Students Taught                                         384

             Average       Instructor     Evaluation        UG                         43

             Average       Instructor     Evaluation        Grad                       45

             Average       Course Evaluation           UG                              NA
             Average       Course Evaluation           Grad                            NA
             PhD Students Completed                                                     0

             MS Students Completed                                                      6

             PhD Students in Progress                                                  NA
             MS Students           in   Progress                                       NA
             Count     1    if   sole   advisor   05   if   co advised
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2 Teaching                                                                                          COX Brady R



     Table      2a University   of Texas Course Schedule        by Semester number of students indicated


                                       Course            F12    S13     F13     S14


                                       CE 357
                                        Intro to
                                                         43                     43
                                     Geotechnical

                                     Engineering

                                      CE387R
                                       Soil   and
                                                                26
                                         Rock

                                      Dynamics
                                       CE 397
                                       Design of
                                                                          10
                                     Underground
                                       Openings

                                      CE 311K
                                        Intro to
                                                                                28
                                      Computer
                                       Methods




   Table 2b University      of Arkansas Course Schedule              by Semester number of students indicated


    Course           F06    SO7       F 07      SOS      F OS   S09      F09    S 10   F 10   Sit     Fit   512


 CVEG 5193
  Geotechnical
                      10                                         11                                    15
  Earthquake

  Engineering

 CVEG 3133
        Soil                    19     31           15    31                     16

   Mechanics

 CVEG 563V
        Earth

   Retaining

   Structures


 CVEG 4143
  Foundation                                                     13                     37    29       40   18

  Engineering

 CVEG 563V
                                                                           11
 Soil   Dynamics

 CVEG 4821
  Geotechnical                                                                          27    16       24

 Design    Project
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2 Teaching                                                                              Cox Brady R


      Table      3 Summary of Current Graduate Students Supervised   at   the University of Texas


                                                        Date         Date   Expected     Expected
                            Co               Start
        Student                                        Reached            to Reach      Graduation
                         Supervisor          Date
                                                      Candidacy       Candidacy            Date


   Shawn     Griffiths     None       PhD   082012     052013               NA         Summer 2015

   Trenton    Ellis        None       PhD   082012     042014               NA          Spring   2016


   Andrew     Stolte       None       PhD   082012     062014               NA          Spring   2016


   David Teague             None      PhD   062014       NA           Spring   2015    Summer 2017
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Peer Evaluation                   of Teaching                Brady Cox PhD


Evaluator            Richard         L Corsi PhD PE
Budget Council                    Member          Department                 of Civil Architectural and Environmental                                              Engineering
ECH Bantel            Professor            for Professional                      Practice




           I   attended            Dr Brady Coxs lecture                               in   CE311K                  Introduction            to Computer             Methods on

February 19th 2014                       This course              is    required            of all          undergraduate          students            in   both the Civil and

Architectural             Engineering              degree programs within the department                                              of Civil Architectural and

Environmental Engineering                               CAEE                 I
                                                                                 requested and                 Dr Cox granted me permission to speak
with this class for approximately                                 57 minutes at the end of lecture and in his absence As such                                                                  I




was able       to not         only observe                  Dr Coxs lecture style and interactions                                           with his students but was

also able to         speak with his students about his lectures                                                in   general      and their views                 of him as a

teacher

           Dr Coxs lecture was on                                 logic      structure            FOR and WHILE loops etc associated with
MATLAB program development                                             Much           of his lecture involved                    analyses of code that were

projected       onto screen                   He was quite               effective           at    using this platform returning to it                                prompting

students       about          how to modify the code                             to   accomplish               a    new task making changes to the code
and showing               how changes affect                      answers             in    realtime               In    some cases             students        suggested a

change     that led to errors in the                          execution               of the code and                    Dr Cox would ask the class to figure
out    why a very effective                       means of conveying                          information

           Throughout his lecture                             Dr Cox worked                       seamlessly              between code                projected       directly        from

the    computer           handwritten                   notes projected                 to screen             from a doccam                     and notes written during

lecture   on the          glass boards                 in   the   classroom                 The classroom                  in   which           Dr Cox teaches             is   sub
optimal         It   is   long narrow and has two                                 screens          to       allow students on either side of the room to

see what        is   projected           at   any time             Dr Cox did a very nice job of moving between                                                      screens to

keep studcnts             in      each half of the classroom                               engaged
           Dr Cox has excellent                              rapport
                                                                             with his students often smiling encouraging                                              them      to


provide        answers to his queries using terms like thats cool to put students at ease                                                                                 and

responding           to students              by their names                     During his lecture he asked                               over 25 questions               and

received       nearly as many answers from the class                                                 After his lecture                I    met with his class for about 5

to    7 minutes           I
                              explained           the        importance               of peer evaluations                   and that CAEE takes                      the process


very seriously                I    asked      his class to             rank the lecture they had just been delivered                                             on a scale of             1   to

10    5 being an average                          lecture         for    Dr Cox               1
                                                                                                  being his worst lecture of the semester and                                         10


being his best lecture of the semester                                           There was almost unanimous                                     agreement that this was a 5

average        for    Dr Cox                      asked       whether             he had given                a bad       lecture         all   semester and they were

                                         no
                                              I




unanimous            in   saying                        In    fact     they agreed                that
                                                                                                             every       lecture    is
                                                                                                                                            very good and so the very

good     lecture       that they and               I    had just heard was effectively                                   the   norm The class had                     glowing
reviews        of Dr Cox as a teacher                             They were particularly emphatic                                     that       he   is    always    prepared for

lecture   and that he               is   fair      It    was pointed out that some students                                      in       the class         have    far more


computer experience                      than others but that                         Dr Cox is able to keep everyone                                      engaged and learning
           Dr Cox has a very                           good presence                  in    the    classroom               He has good voice cadence                            and hand

motions          He projects             his      voice well                 If there        was any very small blemish                                    in   the lecture      it   was
that   on two occasions when he                               turned         his      back        to the students to write                       on the glass board his

voice    faded a bit and was difficult                                 for   me to hear                 I   was sitting in the back                    row and have             ears that

are    35 years older than most of the students in the class                                                         I   would     simply suggest                  that   Dr Cox
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remember to project         his voice just a         bit   more when he writes on the board                  He actually      did this

well   80 of     the time   with his back            turned

          Dr Cox was very           effective    at   relating the          material covered    in   lecture to past lectures         and

past homework        assignments        thus    adding continuity             to the   course   He    started his lecture       with

When we finished        last   time             as   a leadin      to the     new material      On another occasion           he said

For example        this could    have     been used          in   our previous     problem on            He also went back             to   a


previous   homework assignment and showed how                               the new material covered         in   lecture   could     be

used to solve a problem on that assignment                        more efficiently
          In   summary Dr Cox            is   a very       good teacher and seems to have              the   skills   to   continue    to

improve as he moves forward              in   his career          He   is
                                                                            very well organized        has an excellent        presence
in   the classroom   and rapport with his students                     We are fortunate      to have    him teaching

undergraduate      students    in   CAEE

               Dr Cox and I met to discuss my peer evaluation                             on February         27 2014
           Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 90 of 183




3   December 2012



To          Prof Sharon L Wood                         Chair


            Civil    Architectural                and Environmental Engineering                                   Department



From        lames      0         Jirsa




Subject       Peer    Review             of TeachingBrady                 R Cox


On November 14 2012                         I   attended       Bradys CE 357 Geotechnical                              Engineering         class      The course         is




required      for   our undergraduate students                            The areas covered                         are composition            and classification of soils

soil   properties          and measurements                    stresses            in   soils settlement               and consolidation of soils and shear and

bearing capacity             of soils           Prior to the class             I   reviewed the syllabus                     for   the course     to better        understand

the context of the lecture                       in the   overall organization of the course                                  On November 14th Dr Cox

discussed        the shear strength of soils




At the     start    of the lecture              he reviewed material covered                                 in   previous     lectures    to   set   the stage     for



introducing         new      material            He reviewed            the triaxial          test          and discussed          the purpose          cost and time to run

tests      For   most of the             class     he discussed          the shear strength of granular materials and                                        how   the strength


could      be obtained               He discussed          the penetration                  test and the differences                     between        granular    and other

types of soils             He presented a very                 practical            explanation of shear strength                         and how       it   would be used in

design       He gave the class a very good explanation                                       of       the     meaning     of    conservative            in a   design      context

He went through                  a   short      example problem to                      Illustrate          the key points in the lecture               and provided a chart

for correlating            field     data       with design      parameters



As the students arrived for class Brady                             engaged                them in conversation                    and seemed to have good                     rapport

with the students                    During      the lecture       he     asked questions to address                               key   pointsespecially           on material

that      had been         covered        in    previous    lectures               He made very effective                      use of the board              His notes        on the

board      were well organized and could                           be    seen clearly by all students                           Including       those    in the    far   corners of

the    room



I   did   not review any homework or exams                                 Since           this       is   Bradys first      semester at         UT there are no
teaching evaluations available                            However         it       is   apparent from the syllabus                       for   the course that           he is

extremely well             organized             his   expectations            are clearly                 stated    and the material to be covered                  in the


laboratory         and the lectures is well                 laid    out



Based on Bradys personality and                            his   teaching               style     I
                                                                                                       expect       he will be one of the best teachers                       in our



department            It    is    impossible to suggest                 how he could                       or should    improve his teaching                 based on the

observation         of one lecture
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                                            Peer Observation of TeachingBrady                                Cox F12


Context or Background                Information Describe                 the   setting in     which the lesson took place relevant

information       about the makeup of the class and any other descriptive characteristics                                         that    would

provide    appropriate        context to the observation



Description        CE 357 met in ECI 6406 with about 30 CE undergraduate students present



Observation Area 1 Instructor                    GoatsIntentions             for Class Session



Focus your comments on whether the goals were                                   1 clearly stated or portrayed in an obvious                       fashion      2
appropriate       to the focus of the            course     3 explicitly connected                  to   the flow of previous       or future classes



Comments          Dr Cox reviewed               material   from previous              lectures regarding the strength of soils as

determined by laboratory tests and discussed the purpose                                      time and cost of various tests                  The focus of

the   lecture   was on the shear strength                  of   granular        soilshigh permeability no cohesion                        He discussed

test procedures         for   such      soils   and the use         of   penetration        tests   in the   field     The focus of the lecture          was

clearly   stated    and key points were             clearly         stated



Observation        Area 2 Student engagement with the subject matter



Examine     the    degree     to   which student engagement occurred                           1 over a substantial portion of the class
meeting time 2 by a broad segment                      of students attending the class                        3 in appropriate forms such as
discussion      listeningprocessing                performing reading reflecting                         speaking or writing


Comments Brady            asked questions            regarding key points               in   the    lectureespecially           during the review         of


previously      presented material                He used       a   bag of rocks to demonstrate                   a    key aspect   of   soil   behavior

He drew out the class regarding the meaning of conservative                                          in   a design     sense   and explained       it   very

well    A substantial number of students responded                               to   his questions        but he did not address             questions to a


particular student            He concluded          the lecture with an               example problem covering                 concepts    discussed


during the lecture        and      in   previous lectures                He asked     for   student input as          he discussed      the   example


Observation        Area 3 Examination of student achievement of goals


Focus your comments on how the instructor developed                                     an understanding of student                 achievement          of


goals by methods such as 1 questioning students on course material 2 observing                                                   student


performances             3 student student discussion 4 informal assessment                                     techniques        5 quizzes or 6
other   methods


Comments His questions were used to assess class understanding                                               of important      points    in the   lecture

and resulted       in   him making specific           comments to emphasize these                          points after hearing their           answers        I




did not attend the laboratory                   session that        accompanies         this   course        nor did   I   assess student       homework

or exams
                      Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 92 of 183




                                       Peer Observation of Teaching       Conversation Synopsis




Summary of conversation        What    are the   peer observers   specific   recommendations and instructors   planned   future


actions   related to setting goals   actively   engaging   students   and assessing student achievement of goats


No specific recommendations      by peer observer




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Brady R Cox


Instructor     Name Printed
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                                                                                   Date
                                                                                                       4t724




Instructor     Signature




James     0   Jirsa




Observer Name Printed                                                               Date




      rver Signature
 COX
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                   BRADY                                                                                                                                          Engineering                                                                                                                                          090214
                                                                                                                                          Architectural




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                                                                                                                     Civil                                              Environmental                                      Engineering




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Semester                            Course                  Course                       Title                                                            Enrollment                                            Instructor                  Averages                     CollegeSchool             Averages
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Prepared                                                                                                                                                                                                                                                                                                                    Page
                                                                                                                                                                                                                                                                                                                                      Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 93 of 183
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         UNIVERSITY        OF    TEXAS      AT     AUSTIN                                   COURSE INSTRUCTOR SURVEY                                     Spring    2014       DEPARTMENT         tOPY
         Cox    Brady      R                          C     E351         15960              GEOTECHNICAL  ENGINEERING                                    Enrollment               43

         8000   ealie                                                                                                                                    Surveya       Returned            34

         SURVEYED     WITH            15965      15970      15975    15980    15985


                                                                                                                                                                                           NO    REPLIES

                                                                                                           NUMBER        CHOOSING          EACH    RESPONSE                                 THIS     ITEM       AVG

                                                                                       Str    Di sag     Disagree                Neutral            Agree          Str    Agree
     1    COURSE    WELL ORGANIZED                                                             1                  a                    1                 10               22                       34           45
     2    COMMUNICATED           INFORMATION          EFFECTIVELY                              1                  0                    2                  9               22                       34           45
     3    SHOWED    INTEREST           IN    STUDENT        PROGRESS                           1                  1                    4                 11               17                       34           42
     4    ASSIGNMENTS           AND    TESTS       RETURNED        PROMPTLY                    1                  0                    3                 10               20                       34           44
     5    STUDENT     FREEDOM          OF    EXPRESSION                                        1                  1                    2                  7               23                       34           45
     6    COURSE    OF     VALUE       TO    DATE                                              2                  1                    3                 14               14                       34           41

                                                                                       Vry    Unsat         Unser            Satisfact            Very    Good     Excalent
     7    OVERALL       INSTRUCTOR           RATING                                            0                  0                    4                  9               21                       34           45
     8    OVERALL     COURSE          RATING                                                   0                  0                   10                 14               10                       34           40

                                                                                       EXCOSSiVe             High                Average            Llghr              Insuffie
     9    STUDENT     RATING          OF    COURSE    WORKLOAD                                 0              12                      22                  0                   0                    34


                                                                                       Less    200        200249             250299               300349           350400
    10    OVERALL     UT       GRADE       POINT    AVERAGE                                    0                  2                    5                 14               12                       33



                                                                                              A               B                       C
    11    PROBABLE       COURSE        GRADE                                                  12              10                       2                  0                   0                    32


                           For    the       computation of averages               values       were      assigned       on   a    5   point   scaA4       so    that    the       most   favorable

                                 response      was assigned  a value              of    5    and   the    least       favorable        response      was       assigned       a    value    of   1

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         UNIVERSITY        OF    TEXAS       AT    AUSTIN                                    COURSE INSTRUCTOR              SURVEY                          Spring       014        EPARTMENT          COPY

         Cox   Brady       R                          C     E311K          15730             INTRO    TO    COMPUTER        METHODS                         Enrolleent                  27
         B300 Basic                                                                                                                                         Surveys          Returned            25
         SURVEYED     WITH            15735


                                                                                                                                                                                                 NO    REPLIES

                                                                                                              NUMBER        CHOOSING          EACH   RESPONSE                                     THIS     ITEM       AVG

                                                                                        Str    Disag        Disagree                Neutral           Agree              Str Agree
     1   COURSE     WELL ORGANIZED                                                              0                    0                  0                       9            17                          25           47
     2    COMMUNICATED           INFORMATION             EFFECTIVELY                              0                  0                  I                       4               20                       25           48
     3   SHOWED       INTEREST         IN    STUDENT        PROGRESS                            0                    0                  1                       7               17                       25           46
     4    ASSIGNMENTS           AND    TESTS       RETURNED     PROMPTLY                          0                  0                  0                   12                  13                       25           45
     5    STUDENT     FREEDOM          or    EXPRESSION                                         0                    0                  0                       2               23                       25           49
     6    COURSE    OF     VALUE       TO    DATE                                               0                    I                  0                       9               15                       25           45

                                                                                        Vry    Unsat           Unsat            Satisfact            Very       Good     Excellent
     1   OVERALL      INSTRUCTOR             RATING                                             o                    o                  2                       4               19                       25           41
     8   OVERALL      COURSE          RATING                                                      0                  1                  2                   12                  30                       25           42

                                                                                        Excessive               High                Average            Light                 insuflic
     9    STUDENT     RATING          OF    COURSE       WORKLOAD                                 0              10                    15                 0                         0                    25


                                                                                        Less      200       200249              250299               300349              350400


                                                                                                                 Elc
    10 OVERALL        UT       GRADE       POINT    AVERAGE                                       0                  1                   3                  10                  11                       25



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    II    PROBABLE       COURSE        GRADS                                                   10                12                     3                       0                   0                    25


                           For    the       computation        of   averages       values       were        asetgood       on   a    5 point     scale          so    that    the       most   favorable

                                 response          was    assigned     a   value   of    5    and     tho    least       favorable       response       was          assigned       a    value    of   1

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          UNIVERSITY        OF    TEXAS       AT     AUSTIN                                         COURSEINSTRUCTOR             SURVEY                       Fall    2013         DEPARTMENT            COPY

          C0x    Brady      R                              C    E397              16100             OECTECHNICAG      ENGR       SEmINAR                      Enrollment               10

          8000   Basic                                                                                                                                        Surveys       Returned            9




                                                                                                                                                                                                NO       REPLIES
                                                                                                                    NUMBER       CHOOSING          EACH    RESPONSB                                 THIS     ITEM       AVG

                                                                                               Str    Oiaag      Disagree                Neutral           Agree        Str    Agree
     1     COURSE     WELLORGANIzED                                                                                       2                                    3                   0                                    29
     2     COMMUNICATED            INFORMATION             EFFECTIVELY                                                                                                                                                  42
     3     SHOWED     INTEREST           n4    STUDENT          PROGRESS                                                                                                                                                47
     4     ASSIGNMENTS           AND     TESTS       RETURNED          PROMPTGY                                                                                                                                         46
     5     STUDENT     FREECCM           OF    EXPRESSION                                                                                                                                                               49
     6     COURSE     OF    VAGUE        TO    DATE                                                                                                                                                                     40

                                                                                               Vry    Ormat         Unaat            Sat1nEact            Very Good     Excellent

     7     OVERALL     INSTRUCTOR              RATIND                                                  0                  0                    2               5                   2                                    40
     El    OVERALL     COURSE           RATING                                                         0                  1                    6               2                   0                                    31

                                                                                               Extepolve             High                Average            Light           Innuffic
     9     STUDENT     RATING           OF    COURSE       NORIMOAID                                   0               0                       7               2                   0


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    10     OVERALL     UT       URADE        POINT    AVERAGE                                          0                  0                    0               3                   6




           PROBABLE        COURSE        GRADE
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                                  response           yam       assigned     a   value     of    5    and   the    least       favorable        response      was    assigned       a    value       of   I

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               UNIVERSITY        OF    TEXAS       Al   AUSTIN                               CAURSEINSTRUCTCA              SURVEY                   StarIng   2013    DEPARIVENT      COPY
               Cox    Brady      R                            C E387A      15719             MOIL          AND   ROCK    DYNAMICS                   Enrollment            26
               8000   Basic                                                                                                                         Surveys    Returned        23


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                                                                                                                 hINGER    CHOSING       EACH       PONSE                          IS    ITUm       AVG


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       2        COWNICATED  INFCAMATICN                    EFFECTIVELY                          0                   o                2                9              15                             451
       3        S004ED INTEREST              IN    STUDENT   PROGRESS                           0                   0                2                8              18                 28          40
           4    ASSIGWENTS   AM              TESTS      RETURNED    PROMPTLY                    o                    t              o               12               13                             44
       5        STUDENT     FREEDOM          OF    EXPRESSION                                   o                   o               o                 0              20                             48
                CCuRSE    OF   VALUE         TA    DATE                                         O                   0                i              10               15                             45

                                                                                        Vry    Unsat             Unsat        SatIsfact         Very Gocd     Excellent
           7    OVERALL     INSTRUCTOR             RATING                                       O                   o                1              14               11                             41
       8        OVERALL     COLASE       RATIkO                                                 O                   0               6               12                e                             4   1




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       9        STUDENT     RATING       OF       COURSE      MORmLOAD                              O               4               19                2               1                 25



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      10        OVERALL     UT       GRADE    POINT      AVERAGE                                    O               0                1              12               13                 ze



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                    Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 98 of 183




         UNIVERSITY         OF   TEXAS       AT     AUSTIN                                   COURSE INSTRUCTOR            SURVEY                       Fall       201     DEPARTMENT       COPY
         Cox    Brady       R                             C   E351            15110          GEOTECHNCAL         ENGINEERINC                           Enrollment                43
         0000   Basic                                                                                                                                               Returned          34
                                                                                                                                                       Surveys
         SURVEYED     WITH             1515       15720        15725   15730    15735



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                                                                                                               NUMBER     CHOOSING       EACH    RESPONSE                              THIS    ITEM       AVG

                                                                                           Str    Plisse     Disagree        Neutral              Agree            Str   Agree
     1    COURSE      WELL ORGANIZED                                                               0              0                  2                 19                13                   34          43
     2    COMMUNICATED            INFORMATION             EFFECTIVELY                              0                  1              2                 13                18                   34          44
     3    SHOWED      INTEREST          IN    STUDENT          PROGRESS                            0              0                  2                 11                21                   34          46
     4    ASSIGNMENTS            AND    TESTS       RETURNED         PROMPTLY                      0              0                 2                      9             23                   34          46
     5    STUDENT      FREEDOM          OF    EXPRESSION                                           0              0                  1                 14                19                   34          45
     6    COURSE      OF    VALUE       TO    DATE                                                 0              3                  6                 14                11                   34          40

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     7    OVERALL      INSTRUCTOR             RATING                                               0              0                  6                 12                16                   34          43
          OVERALL      COURSE          RATING                                                      1              4                13                      9              7                   34          35

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          STUDENT      RATING          OF    COURSE       WORKLOAD                                16              13                 5                     0              0                   34


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    10    OVERALL      UT       GRADE       POINT    AVERAGE                                                          1              3                 17                13                   34




    11    PROBABLE         COURSE       GRADE
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PROGRAM     GSPBFRP3                                                     OFFICE     GRADUATE   STUDIES




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                                                                    COMMITTEE REPORT     MASTERS       DOCTORAL




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BURKETT      TERRY      BRYCE         tbb535                              MEMBER                                          CIVIL   ENGINEE   20132




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ELLIS     TRENTON       BLAKE         tbe89                               CHAIR




                                                                                                     MSE




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FAKER      JEREMY      STUART         jsf835                              MEMBER                                          CIVIL   ENGINEE   20142




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GRIFFITHS        SHAWN       CURTIS   sg36832                             CHAIR




                                                                                                     MSE




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HALL     TAYLOR     QUINN             tqh79                               MEMBER                                          CIVIL   ENGINEE   20132




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HWANG      SUNGMOON                   sh34963                             MEMBER                                          CIVIL   ENGINEE   20146




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KWAN     WING    SHUN                 wk3547                              MEMBER




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 LEE
       BDHYOUNG                       b12286                              MEMBER




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MARTIN      JONATHAN         GRANT    jgm2443                             MEMBER                                          CIVIL   ENGINEE    20142




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                                                                                     D
PEHLIVAN        MENZER                mp28239                             MEMBER                                          CIVIL   ENGINEE    20132




                                                             149
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PLAISTED        MICHAEL       DAVID   mp25555                             MEMBER




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2 Teaching                                                      Cox Brady R



                            Postdoctoral   Fellows Supervised


Postdoctoral Fellow Supervisions



       None
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                       Research                Publications                        Other Evidence of ScholarshipCreativity

                                                                       Budget Council Assessment


                                                                                     Prepared         by




      This   Budget                  Council        Assessment was developed                                   based       on the following                      information            the

candidates             statement              on research                   the     candidates          current           vitae         annual           reports and selected

publications            by the candidate                       Dr Cox spent                 6 years as an Assistant Professor at the University

of Arkansas              before joining                      the    faculty         at    the    University            of Texas               in     September            2012          His

scholarly      record during                       his    time         at    Arkansas       and Texas            are       evaluated            collectively              although      his

specific     accomplishments                       at    the       University         of Texas         over      the       last    two years are highlighted                            The
standard for           this      assessment              is   other         Assistant      Professors           in the      Department               of Civil            Architectural
and Environmental                      Engineering at the                         University      of Texas           at    Austin         who        have      been       successfully

promoted      to Associate                  Professor          over the            last   10 years

      Dr Cox              is     predominantly                     a    field       experimentalist               who            uses         surface       wave          methods        to

characterize           the      shear wave               velocity            ie shear stiffness of                        soil    and rock               His research         seeks to

improve       surface                 wave         methods              to        more     accurately            measure            properties              as       well     as     their


uncertainty            and           variability               The           quantification           of       measurement uncertainty                              is    particularly

important         for      surface            wave        testing           because        the   measurements                     are   used         to   infer      the    properties
rather     than    measure                  them directly                     Surface      wave methods                    also    can provide               a    measure          of   the

natural      spatial            variability             in    the       properties          across         a    site        These             issues      of     uncertainty            and

variability        are           important               in    geotechnical                earthquake             engineering                   because          seismic         hazard

assessments            attempt          to     incorporate              all       sources of variability and uncertainty                                    Dr Cox is making
advances       in        these         areas        through                 his    CAREERPECASE                           award         from         NSF            Although            this

research      is       still     in     its    beginning               stages        the    CAREER                award           was         received         in    2011      and      the

PECASE            in      2012              preliminary                results       are    already            gaining        attention              from      the       geotechnical

engineering            community                    For example                     Dr Cox organized a session                                  at   the 2014            ASCE Geo
Congress in which different researchers                                            including          himself presented                       their analysis             of a common

set   of surface          wave data collected                          in     New Zealand              Given the same data set it was eyeopening
to   see   the differences                    in   the inferred               shear wave          velocity        profiles          from           the    different        researchers

results      described                 in     conference                paper        33    in    CV             In     his        analysis           of the         data     Dr Cox
demonstrated                   the    importance               of using             all    available           data       eg Rayleigh wave                                Love     wave
horizontal        to vertical               ratio to constrain the velocity                            profile        results described                   in conference            paper
32    in   CV Through                       this    session            Dr Cox demonstrated                      the       measurement uncertainty                           associated

with velocity             profiles            measured              by       different      researchers              which         was a           surprise         to    many in the
engineering            community                   They are now                     looking      to   Dr Cox as the expert to provide guidance                                           on
how best to analyze                    and interpret surface                        wave data
      Dr Cox             also         has     distinguished                   himself within            the      earthquake               reconnaissance                   community
through his research                    that investigates                     earthquake         damage and relates                      it    to in situ        measurements of
the soil     and rock properties He has been involved                                                 in   four significant                   earthquake            reconnaissance

efforts      including               the      2010 Haiti earthquake                         the 2011            Christchurch                   New Zealand                 earthquake
and    the   2011 Tohoku                      Japan earthquake                        These      efforts        have involved                  more than simply visiting
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sites    to    identify           damage            after       an earthquake                    but     rather         they          have        involved              significant          data

collection          using surface               wave methods                       and    detailed       interpretation                    of the data             to   understand            the


relationship              with the observed                damage
        Dr Cox is an active                     researcher     who                 has published             22 peer reviewed                       journal papers                   with      an

additional          2 under review                  and 33 conference                         papers over his career                         Six of the 22 journal papers

have     been published                   since      arriving            at   UT         in   September 2012                          These numbers are                         larger       than

typical       for a        faculty       member            in    CAEE              going up for promotion                             to   Associate Professor                        median
equal     to    11        for cases       over the past 10                    years             The journal papers                     are       being published in the top

journals       in     the       field    such as the             J of Geotechnical                     and Geoenvironmental                               Engineering                 ASCE
and Earthquake                   Spectra       J of        the       Earthquake               Engineering Research                          Institute         EERI              Only three
of the journal papers                    are related to              work          that   he performed during his                                PhD studies              Therefore he
has     developed               a publication             record         that      is    independent          and separate                       from the work he did                        as   a

PhD      student            Ten of his 22 journal papers                                  are related to           earthquake                    reconnaissance                 efforts        At
first   glance            some may discount these papers as less                                         significant              or less technical                     than the others

but     these papers              include        significant              data          collection          interpretation                  and         analysis         such        that    they

represent        research               that   is    as    complex                 as    the     other      research              he       has     performed                In       fact     the


analyses        and         interpretations               included            in     many of           these       reconnaissance                       papers          could        not    have
been     done          without          the field         measurements made                            by Dr           Cox during                  the       reconnaissance                   An
example of the                   significant         integration              of data           involved      in       this
                                                                                                                                  type      of work           is    his
                                                                                                                                                                           paper       Shear
Wave       Velocity                and     Geology based                       Seismic            Microzonation                       of    PortauPrince                    Haiti            CV
journal paper               12         Before this work there had been no information                                                      on     the   shear wave              velocity          of

soils    and rocks               across        PortauPrince                        and the        available            geologic             map was            at       a coarse            scale

However              it    is   well     known        that       these factors                  influence         the        distribution               of earthquake                 damage
With      a limited budget                     Dr Cox lead the effort to collect                                   the           required          information to develop                         a

high quality               high resolution                 geologic            map        and     integrate            it    with          measurements of shear wave

velocity        across           the    city        This        was important                   information                 to   understand              the       observed           damage
patterns       in      PortauPrince                  from the 2010 earthquake                                and       it    was used              to    guide re development
efforts        His ability              to collect         and       integrate this              type of unique data                        is   one reason              that    Dr Cox is
in   high demand when performing earthquake                                                   reconnaissance

        Dr Cox has been                    involved             in   research            projects        totaling           $37M            with        $19M            under his direct

supervision since arriving                           at   UT in 2012                    he has received            $619k              in   research funding with $408k

under his direct                 supervision                This         level          of funding          for   a candidates                     share      is    somewhat                larger

                                                                                                                                 CAEE Department median $15
M
than     typical           for   promotion            to    Associate               Professor within the

         Of his           16     funded        research          projects           3 obtained since arriving at UT he was sole PI on 5
and the other               11    projects involved                   8 different               Pls    This       distribution                   indicates         a healthy balance

of collaborative                  and independent      work and his collaborative work is taking place with many
different       colleagues                He has received a significant amount of funding from the National Science
Foundation                and has also received                       funding             from the       US       Department of Homeland                                   Security            US
Department of Transportation                                    Arkansas                 Highway         and Transportation                         Department                   as    well       as

private        industry          ie Tonkin and Taylor                               in    New      Zealand                   As noted             earlier      three       of his grants

have      been            awarded        since       joining             UT        in    2012         which        indicates               that     his      success            in    securing

funding         has continued                  at    UT              A   notable              grant    is    the       NSF CAREER                            Award         in        2011     and

subsequent                PECASE Award                     in    2012              The        PECASE         Award               is    given       to    a   subset        of CAREER

awardees            to     recognize           those        early         career          researchers             in        science         and engineering                      who show

exceptional               potential       for       leadership                It    is    the    highest honor given                         by     the      US government to
outstanding researchers                        beginning             their      careers
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      It   is   clear   from his record and his external                   letters that    Dr Cox has a strong reputation within
the   geotechnical         engineering community                 It   is
                                                                           noteworthy      that    one   letter writer     Prof S Kramer
Univ       of Washington           believed that         Dr Cox was already tenured                      and was being considered              for


early      promotion        to   Professor        Some    other examples of statements                     from the       external    letters are


given below

      Prof Jonathan              Bray    UC Berkeley states Brady                     is   already       recognized        as one of the       top
researchers          in   the    area of applied          geophysical          methods       liquefaction          effects     and post event
reconnaissance

      Prof Ricardo Dobry                 RN NAE says Professor Cox                                has produced          brilliant    innovations

and refinements in these surface wave techniques has tried them                                           all    over the world after some

of the          strongest    and       most      destructive     recent       earthquakes          and      is    now     in   the   process    of

revolutionizing           them as part          of his 2011     NSF CAREER          Award
      Dr Pierre Yves             Bard University          of Grenoble           There       is   no doubt for me that he has a              rich


scientific        and human potential               to   lead    innovative       developments            in     the   field   of geotechnical

engineering in general                  and geotechnical earthquake               engineering    particular
                                                                                                     in


      Finally       Dr William Marcuson USACE                          NAE       states 1 believe Brady Cox to be one of the

top 2 or 3 academics              in    Civil   Engineering      in   the    USA given       his   age and career stage
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3 Research           Publications          Other Evidence       of ScholarshipCreativity                               Cox Brady R



                                          List of Five         Most Significant Works

A listing of my five most significant              works while in rank as an assistant professor             is   provided   below Note
that the        publication    serial   numbers match those       from my CV and           that underlined        names indicate   either

myself or my          current    and former graduate students         Also my         contribution    to   each of these     publications

was primary in terms of both                intellectual   content   and production       Additional       information   may be found
in the   list    of CoAuthored          Works Section      1

4   Cox          BR Stokoe II KH Rathje EM 2009 An In Situ Test Method for Evaluating the Coupled
    Pore         Pressure     Generation     and   Nonlinear     Shear Modulus         Behavior      of Liquefiable      Soils ASTM
    Geotechnical           Testing Journal         321 pp 1121

7   Cox          BR Beekman AN 2011 IntraMethod                        Variability      in ReMi      Dispersion    and Vs Estimates     at


    Shallow          Bedrock     Sites Journal of Geotechnical              and Geoenvironmental            Engineering       1374 pp
    354362


12 Cox           BR Bachhuber J Radije E Wood CM Dulberg R Kottke A Green RA Olson S
    2011 Shear Wave                     Velocity and Geology based          Seismic Microzonation          of PortauPrince Haiti

    Earthquake Spectra              27S1 S67 S92

17 Cox           BR Wood CM Hazirbaba K 2012 Frozen and Unfrozen Shear Wave                                           Velocity   Seismic

    Site Classification          of Fairbanks      Alaska Journal of Cold Regions Engineering                     263 118145

19 Cox           BR Boulanger RW Tolcimatsu K Wood CM Abe A Ashford S Donahue J
    Ishihara      K Kayen R Katsumata K Kishida T Kokusho T Mason B Moss R Stewart J
    Tohyama            K      Zeklcos    D 2013 Liquefaction           at    Strong    Motion Stations in the 2011            Great East

    Japan         Earthquake Earthquake Spectra                29S1   5580
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3 Research           Publications                    Other Evidence                 of ScholarshipCreativity                                             Cox Brady R



                                                                    Research                    Statement


Deprem means earthquake                               in   Turkish This was one of the                               first    words       I    learned    while visiting

Turkey       for
                    my Masters                      degree     research            following          the     1999 Kocaeli               Earthquake            However          I


came close           to    never      learning             that    word            as    I    nearly terminated               my formal education                   after    my
undergraduate degree                       I   did well in school                       but I      was ready to end the monotony                              of classroom

work and enter the real world of engineering                                                       practice         My educational perspective changed
when        a professor          invited             me to        help        him work               on an undergraduate research                             project      That

undergraduate research                         experience was the                       single most important                  factor     that led       me to graduate
school       and    my current academic                       career          It    opened          my eyes to the challenge of solving                             problems

that   no one        else    had solved before                      Research                 was a world where the answers were not provided
in the      back of text books                      research      was about experimenting and often times about                                           failing         before

you found success                Fifteen years later                        Im      still     hooked       on earthquake             engineering research                  only

now     I   am trying           to   use        my own            research           projects        as    tools     to      get   undergraduate and                 graduate

students          excited about            their       education              My ideas and efforts                       on   this    front     have     been validated

through           reception          of    the        US          National              Science        Foundation              NSF Faculty                Early        Career

Development CAREER                                   Award and               the    Presidential            Early Career              Award       for Scientists             and

Engineers PECASE



The     CAREER              Award              is    NSFs most prestigious                                award       in     support          of junior faculty              who
exemplify the role of teacher scholars through                                                outstanding           research        excellent education               and the

integration         of education               and research                    NSF selects                up to 20 nominees for the PECASE Award
from among                the    most meritorious recent                                CAREER             awardees                The   White      House Office              of

Science       and Technology                     Policy makes                 the       final      selection        The      PECASE            award     is   the    highest
honor bestowed              by the         US Government on outstanding science and engineering professionals in
the early stages of their independent research                                                     And it comes with an invitation to meet
                                                                                             careers
the    POTUS         President of the United                            States          in the White House  I am honored to have received


these prestigious research awards                                 Let       me tell          you about      my research journey and future goals

My Research Foci                      Geotechnical                  Earthquake Engineering and Subsurface                                           Imaging


My     undergraduate                 research              involved          a     non intrusive             method           of subsurface              imaging          called

surface      wave         testing Essentially                     surface          wave         testing     can be used to determine                      the depth          and

thickness          of various             soil       layers    without             the        need    to    drill    boreholes            These     subsurface             layer

profiles      are     then      used           in    earthquake              studies          as   a means          to     predict       such    phenomena            as     soil


liquefaction         and     soft     ground amplification of seismic waves Near the end of my senior year my

professor          received      a grant              to   perform           surface           wave       testing     at     strong      motion     stations         and     soil


liquefaction          sites     shaken              by the     M74            1999           Kocaeli       Turkey          Earthquake            which        had recently
killed      more      than       17000               people         I       was     excited          to    continue           my     research      and        to    have     the

opportunity          to    travel         to    Turkey         so       I   decided           to   commit to a Masters degree While                                   visiting

Turkey the devastating                         effects      of earthquakes                    became personal to me and before I even                                 left   the

country       I    had made up                 my      mind        to       pursue a           PhD with the ultimate goal of trying to help
mitigate damage               from future earthquakes


Since       that    undergraduate                    research       project             nearly       15    years      ago my research                  foci        have    been

inseparably          linked          to    subsurface             imaging               and geotechnical                 earthquake            engineering           In these
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3 Research           Publications                 Other Evidence              of ScholarshipCreativity                                                        Cox Brady R



years     surface       wave        methods              SWMs have become                            fully     entrenched                 as        powerful              tools     in


geotechnical          site   investigations               and        their   end      result     a subsurface                 profile         of small strain shear

modulus as a function                   of depth          typically indicated by a shear wave velocity                                        Vs          profile          is   used

as a key        input    parameter                in
                                                       many         forward      engineering           analyses               The        expanding                 use of these

methods is driven by the challenging and economically                                                prudent    desire to                 use surface type stress

waves     to    reach          deeper             and     deeper         within       the    earth    and     retrieve              accurate             and           meaningful

engineering design parameters layering and modulus without the need for exploratory                                                                                      borings



My career path has made one entire revolution                                         in    regards to       SWM research for                             I   now        regularly

take    my own students              into         the field to study the devastating                     effects          of earthquakes                      using       SWMs
In fact     a few       years      ago        I    took    my        first   PhD student with me to Haiti where we performed
surface     wave      testing       in   an       effort to         provide      a seismic microzonation                           for   the rebuilding of Port

auPrince following the devastating                                  M70 earthquake              that    killed       approximately                        300000            people
in    January       2010 While collecting and                            analyzing          data from Haiti               I   realized          the       critical         need     to

address        some important                 issues       in       surface      wave        testing    that    led           to    the       development                   of    my
CAREERPECASE research proposal

The DIPS Plan                 from Deterministic                         and Incoherent to Probabilistic                             and Standardized


The main        thrust       of   my CAREERPECASE                                proposal and            much of my current                               research            focus
addresses       a major impediment                        regarding          future         use and accurate                  development                     of       SWMs        for


engineering analyses                namely the                 quantification          of uncertainty          and development of standards                                        for

these methods                            been involved                   with surface          wave                       for                                                     the
                         Having                                                                         testing                    many years                      I   realize

future potential         of these methods                          but also have        an appreciation             for        the uncertainty                         involved     in

the    process       required       to   evolve           field      measurements of surface                   wave                dispersion             into         subsurface

profiles    of shear         stiffness            The current            state   of practice         may well be described                               as one where no

firm standards           exist      for this            type       of testing         and     where a single                   deterministic                   Vs        profile    is


generally       provided           as    the       end     result         of a    highly       nonlinear            ill
                                                                                                                          posed               and        mixdetermined

inversion       analysis          without              quantification            of uncertainty          in    the        dispersion                measurements or
establishment of confidence                        intervals         for either layer thicknesses               or velocities



As     our profession          moves toward                    probabilistic           design and performance based                                      engineering              the

inability      to   provide       direct          meaningful             quantification        of uncertainty                 in   Vs profiles obtained from
SWMs           has   been exposed                  as    a major impediment                    for    future    progress                  For example without

meaningful           estimates          of epistemic uncertainty                       and aleatory                                       a   Vs profile                  used     for

                                                                                             + 2030
                                                                                                              variability

seismic site response               is   often arbitrarily varied by                                            in        an attempt                to    blindly account

for    these    uncertainties            While performed                     with the goal           of being conservative                                     this      approach

may actually be unconservative                            as the problem               is   one of predicting                 resonances             at the            site which

may be      diluted      by such a wide range of input                                 profiles that         do not meaningfully represent                                        site

conditions          These     issues         must be addressed                   to   advance        our profession and                        it    is       one of the key

goals in my future research                        plans       I   have proposed to address                  this    problem by advancing                                 SWMs
from deterministic                and        incoherent             to   probabilistic         and     standardized                 DIPS                 The           DIPS      plan

aimed      at   smoothing out the dips in SWMs                                         involves        1     quantification                   of measurement and

dispersion uncertainty                  in   SWMs so that Monte Carlobased inversions can be used to provide a
suite   of acceptable             Vs profiles fit              to    the experimental            data thus advancing                          the state of practice

from a     single deterministic                    Vs profile to a probabilistic                      Vs profile with meaningful                                       confidence
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3 Research         Publications                 Other Evidence            of ScholarshipCreativity                                                     Cox Brady R



intervals    on    layer   thicknesses                and velocities and              2 development                        of standards           for    SWMs thus
advancing       the state of practice from incoherent to standardized



Earthquake Recon                 and International                    Research              Bringing the Lessons Back                                 Home

Over the past           eight    years           I    have    been very         active        in       the       NSF funded            Geotechnical               Extreme

Events      Reconnaissance                     GEER           Association             Through                this    organization                 I     have      received

invitations       to                            in     reconnaissance               efforts       with           engineers          and         earth       scientists     to


                                                                                                                                                  M 80
                        participate

immediately document geotechnical                               aspects of the 2007 Pisco Peru Earthquake                                                     =           the

2008 IwateMiyagi Japan Earthquake                                   M = 69             the    2010           Haiti       Earthquake             M = 70             and the
2010 Darfield           New Zealand Earthquake                       M = 71                   These reconnaissance                        missions           have given

me a unique perspective on the diverse and devastating                                                 effects      of earthquakes               around the globe

During these trips I have been able to utilize                                 SWMs to collect critical data to aid in interpreting
damage      patterns
                     from these events To                             my knowledge                 I    was the          first
                                                                                                                                 person to use light weight
and highly portable surface                          wave equipment            to collect          subsurface              profiles       on a GEER mission
SWMs have now become                            a powerful         tool   used on        many recent GEER missions                                    for    quickly     and

non intrusively          profiling             the     subsurface         in   an     attempt               to    collect        perishable           data     and      piece

together complex structural damage                            patterns



As mentioned above                    I   used       SWMs to collect subsurface                             profiles that          were extremely valuable
in the    immediate aftermath of the 2010                             Haiti    earthquake These                      profiles         proved to be almost the

only source       of engineering                 data on subsurface                 conditions              available        for interpretation               of unusual
structural        damage         patterns             attributed        to     possible           soil           layering         effects        and         topographic

amplification           These        initial     efforts     on the GEER mission led to subsequent                                      NSF funded                research

to   perform      a rapid        seismic              microzonation            of PortauPrince                        This        seismic         microzonation            is


currently     the only source                  available      to   aid Haitian         engineers             in     implementing                code based seismic

design for reconstruction                      of hospitals schools                 and government                       facilities     Following              this     work
my    colleagues         and     I     worked          with     the     United       Nations            to       train    Haitians       on these            code based

procedures        in    order to determine                   seismic         site   classifications                 and design ground motions                            The
American Museum                 of Natural             History compiled               a scientific               documentary            of our work               in Haiti

which was played            in       the    halls      of the      museum as a tool                    to   educate        visitors     on the importance of
local    site effects     during           earthquakes Just type                    on shaky             ground Haiti               into        Google or Youtube
to   find the video       link



Over the past two years                         my UT         colleagues        and     I     have been              heavily          involved          in    earthquake

research     in   New Zealand                  In    20102011           the city of Christchurch                           New Zealand was devastated
by a     series   of powerful              earthquakes             which       ultimately led to                    181      deaths        the        abandonment of

approximately           7500 residential                properties        and closure of the                     entire central         business         district       while

approximately           2400 of the 3000 downtown                                   commercial                   structures        were demolished                     These

were shocking outcomes                         for   a country        with high        seismic design standards                             I    received         two   NSF
RAPID Awards one                      as PI and one as                Co PI with Professor Kenneth                                H Stokoe as PI                  to    study
these earthquake           effects             help the      people of New Zealand build a more                                        resilient         Christchurch

and     bring     the    lessons learned                 back      to    the    US          for        implementation                  One        project         involves

collecting      and analyzing the most extensive sets of surface                                             wave data ever compiled using ultra

deep      active source              and        passivewavefield                surface           wave            profiling           This       project          dovetails

perfectly     with      my CAREERPECASE                                 research       and has               challenged            me     to     make        huge       leaps
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3 Research           Publications              Other Evidence              of ScholarshipCreativity                                                      Cox Brady R



forward       in   my abilities        to    extend        surface    wave derived Vs profiles deeper than ever and quantify

uncertainty         in   the    results       These        research     efforts          will   directly        help         Christchurch                    mitigate such

extreme losses            in future         earthquakes        Furthermore the additional                          understanding                        of site response
in    deep    sediments             will    benefit        seismically active               areas      of the       US              underlain                by     deep     soil


deposits        such as Los Angeles Seattle                     and the       New Madrid Seismic Zone

The     other      NSF RAPID                New Zealand              research          project     involves         investigating                       shallow        ground

improvement              techniques          for mitigating soil             liquefaction           damage          to       residential                construction           In

this   project a new liquefaction                     testing        method        I    developed        during my PhD research                                      has been

relied   upon       to   evaluate          the effectiveness          of various           shallow ground improvement                                        techniques       for

remediating          liquefiable           soils   beneath     homes         in    Christchurch             My colleagues                        and     I    have    literally

spent    months          in    New Zealand            over the past           year utilizing             this     in situ          liquefaction                test    to    help

determine which                ground improvement                   methods work best                  at   inhibiting              soil         liquefaction          so that

they    may be sanctioned                   by the     New Zealand                Earthquake Commission for use in a $20 billion

residential         housing          rebuild        program          This     research          also     has      implications                         for    the     US       as

residential        properties        are currently          not subject to liquefaction                     evaluation and mitigation measures

in our   seismic design codes



Sustainable             Funding            Past Present and Future


As an assistant professor I have been involved                                    in generating          over     $37 million dollars of external
research      funding with over $19 million dollars                                    directly    under        my control                       Approximately              65
of my funding             has       come from the National                  Science         Foundation            via seven successful                              proposals

Approximately              25 of my funding                     has     come            from     state      sources               with           the    remaining           10
coming from a combination                          of other federal and private company funding                                          I       am pleased           with    my
success       thus       far   in    securing        funding         through           NSF      and      believe         I       can     continue              to     be very

competitive         in writing         research       proposals to them in the future                         However                I   also understand                    that   I


will   not be able to sustain                 my     research        program            exclusively         with    NSF funding Thus I plan to
continue to seek funding                    from other federal and                 state    agencies         eg the US Geological Survey
the    Department              of    Energy          the    Department             of     Homeland              Security               the         Federal           Highway
Administration                the    Texas         Department         of Transportation                     the   Arkansas                       State       Highway         and

Transportation            Department               etc However               in   order to be truly balanced                                 I   believe       I    must also
look for opportunities                 to   increase       my funding             from the private sector and plan on                                         investigating

industry        funding        more         intensely       over     the     next       few     years as          a means                to        further          develop        a

sustainable research program



Collaborative             Research


The nature of my experimental                         field    research       has led me to interact with engineers                                          and     scientists

from     various         universities              companies          countries           and     disciplines                I    enjoy            these       interactions


immensely           I    believe that         each successful              researcher           must find         their          own         identity          and become

recognized          as a leading expert               in    their    field    Thus a certain                level    of distinction                      and separation
must     be        maintained          in     collaborative           research            However             I    also            believe              that       significant

advancements             can be made by compiling teams                                of bright individuals                     with different                perspectives
and    skills      There is no         better      place     for fostering         these collaborative                 teams             than the University of

Texas     I   look forward to continual research                           progress with our community                              in the             future
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3 Research       Publications         Other Evidence              of ScholarshipCreativity                          Cox Brady R



            Research           Publications                      Other Scholarship                 Summary Tables

                                                 Table          1 Research Summary

                                            Metric                                                       Value


         Peer Reviewed     Journal Publications             in Rank                                        22


         Peer Reviewed     Conference       Proceedings          Publications     in   Rank                33


         Total   Citations of all Publications        career                                              234

         h index    career

         Google     Scholar Total    Citations of all       Publications    career                        274

         Google     Scholar h index    career

         Research    Funding    Raised      total share                                                 $3757677

         Research    Funding    Raised      candidate          share                                    $1919183

         Total   GrantsContracts      Received                                                             16


         PI on GrantsContracts        Received


            Source    Publish or Perish Software            on May 29 2014



                           Table      2 Grants and Contracts Awarded While in Rank

      Co                                                                                       Grant    Candidate        Grant
                                    Title                               Agency
  Investigators                                                                                Total      Share          Period


                         CAREERPECASE
                       Revolutionizing Surface
                                                                    The National
                          Wave      Methods    for
                                                                        Science                                        July 2011
     None            Engineering     Analyses        from                                     $421600    $421600
                                                                       Foundation                                      June   2016
                     Deterministic    and Incoherent
                                               and
                                                                         NSF
                          to Probabilistic

                         Standardized       DIPS
                        Field Investigations         of

                           Shallow     Ground                       The National
  K H Stokoe          Improvement       Methods       for               Science                                        June   2013
                                                                                              $197966    $98983
      PD                Inhibiting   Liquefaction                      Foundation                                      May 2015
                      Triggering      Christchurch                       NSF
                               New Zealand




                                                                                LtdMa
                        Field Investigations         of

                           Shallow     Ground

  K H Stokoe          Improvement       Methods       for              Tonkin and                                      June   2013
                                                                                              $223518    $111759
      PD                Inhibiting   Liquefaction                      Taylor                                                 2015

                      Triggering      Christchurch

                           New Zealand
                      RAPID Deep Shear Wave
                                                 for
                         Velocity    Profiling

                      Seismic Characterization            of        The National

                     Christchurch     NZ      Reliably                  Science                                        Dec 2012
     None                                                                                     $197684    $197684
                        Merging Large Active                           Foundation                                      Nov    2014
                         Source and      Passive                         NSF
                       Wavefield     Surface Wave

                                 Methods

                                                                                                                    continued    below
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3 Research          Publications           Other Evidence            of ScholarshipCreativity                       Cox Brady R



         Co                                                                              Grant         Candidate       Grant
                                        Title                           Agent
 In N   etigaturs                                                                         total          11are         Period


         A
                        NEESCR Topographic
                                                                        ScienceOct
  Rodriguez
                                                                     The National
  Marek      PI         Effects    in   Strong    Ground
                                                                                                                            2009
 D Assimalci          Motion       From Physical           and                          $1144593       $211857
  M Pando                Numerical        Modeling to
                                                                      Foundation                                     Sept 2013

  W      J
                                                                            NSF
        Silva                       Design

   Wartman

                                                                    USDOT Mack
                                                                    Blackwell Rural

                                                                    Transportation
                          Site Specific         Seismic

                      Ground Motion Analyses                  for
                                                                    Center   MBTC
                                                                     and Arkansas                                    July 2011
        None          Transportation        Infrastructure                               $88592         $88592
                                                                    State    Highway                                 June   2012
                       in the    New Madrid Seismic
                                                                             and
                                        Zone
                                                                    Transportation

                                                                      Department

                                                                       AHTD
                        RAPID CPT and SASW
                                                                     The National
                         Testing    at   Seismograph
                                                                        Science                                      July 2011
                                                                                                   I




        None            Stations    with Liquefiable                                    $120253        $120253
                                                                      Foundation                                     Dec 2012
                          Soils    Affected       by the
                       loholcu
                                                                            NSF
                                   Earthquake           Japan



                      Development          of a Geologic

                       and Geotechnical           Database          United    Nations
   E Rathje
                                of PortauPrince                                                                     Nov     2010
        PD J                                                         Development         $50000         $16667
                      Metropolitan Area           for   use   in      Programme                                      June 2011
  Bachhuber
                         Seismic Microzonation                         UNDP
                                    Studies



                         RAPID          Geotechnical                 The National
                      Driven Damage Patterns               and          Science                                     May 2010
 S Olson PI                                                                              $40000         $20000
                                          in the                      Foundation                                     April 2011
                       Liquefaction                 January
                         2010     Haiti   Earthquake                        NSF
  J Cothren           Collaborative       Research The
         A            M80 Pisco Peru Earthquake
                                                                     The National

                           A Benchmark            Ground
                                                                        Science                                     Aug 2009
  Rodriguez                                                                             $325178        $177065
                                                                      Foundation                                      Jan 2011
   Marek J             Failure Event        for Remote
                                                                            NSF
   Wartman            Sensing and        Data     Archiving


                                                                    USDOT Mack
                                                                    Blackwell Rural

                                                                    Transportation
                      Practical    Recommendations                  Center   MBTC
                            for Evaluation         and               and Arkansas                                    July 2009
        None                                                                             $79524         $79524
                            Mitigation          of Soil             State    Highway                                 Dec 2010
                        Liquefaction       in    Arkansas                    and

                                                                    Transportation

                                                                      Department

                                                                       AHTD
                                                                                                                   continued       below
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3 Research       Publications         Other Evidence      of ScholarshipCreativity                      Cox Brady R



     Co                                                                           Grant     Candidate      Grant
                                 Title                       Agenc
 Investigators                                                                    1 otal      h arc       Pc rind


                                                             Alaska
                                 of Screw
 K Hazirbaba
                   Utilization              Piles   in

                                                           University                                   July 2009
                     High Seismicity Areas of                                    $190424     $33242
     PI                                                  Transportation                                  June 2011
                    Cold and Warm Permafrost
                                                         Center    AUTC
      K
                         Structural    Health

                   Monitoring and Assessment             US Department
Grimmelsman                                                                                             Jan 2009
                       of Critical Intermodal             of Homeland            $225000     $75000
    PI E            Transportation    Infrastructure     Security    DHS
                                                                                                         June 2011

 Heymsfield
                             Elements


                                                         Arkansas        State

  N Dennis                                                Highway        and
                    Resistance Factors                                                                  Jan 2009
   PD J
                                            for Pile
                                                         Transportation          $105817     $35272
                            Foundations                                                                  June   2010
  McCartney                                                Department

                                                            AHTD


                                                          HighwayJuly
                                                         Arkansas        State
                        Evaluation    of Basal
                                                                         and
                    Reinforcement      of Flexible                                                              2008
 I McCartney                                             Transportation          $263459    $175639
                          Pavements with                                                                 June   2011
                                                           Department

                                                            AHTD
                           Geosynthetics




                                                         USDOT Mack
                                                         Blackwell Rural

                                                         Transportation
                   Accelerated   Characterization        Center    MBTC
                     of Full Scale Reinforced             and Arkansas                                  July 2008
 J McCartney                                                                     $84069      $56046
                    Flexible Pavement       Models       State    Highway                                Dec 2009
                         using a Vibroseis                        and

                                                         Transportation

                                                           Department

                                                            AHTD

                                                                 Total
                                                                                 S3757677   S1919183
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3 Research           Publications              Other Evidence                of ScholarshipCreativity                                     Cox Brady R



                         Relative Division of Labor for CoPI Research                                                       Projects


A listing     of all research projects                    with   co investigators     is    provided       below Note         that   I   was    the   Principal

Investigator        PI     on the project            unless otherwise           indicated     by    the    letters    PI   next   to a   co investigators

name     For each          project    I   have        indicated       the    contribution     I   made     to   the   proposal       writing     and    project

execution          using    a    three level          scale       primary        significant        and     supportive            Additionally          all      co
investigators       are identified        at   the    time of the award as faculty colleagues                        consulting     engineers         etc




         Co                                                                                          Grant             Candidate               Grant
                                          Title                               Agency
 Investigators                                                                                        Total                Share               Period

                            Field    Investigations              of

                                 Shallow Ground
                            Improvement Methods                             The National
 K H Stokoe                         for Inhibiting                            Science                                                      June 2013
                                                                                                    197966                 98983
         PI                         Liquefaction                            Foundation                                                         May 2014
                                     Triggering                                NSF
                                Christchurch               New
                                     Zealand



Stokoe   is    a faculty        member     at       the    University       of Texas and served           as PI   on the project Cox is a faculty

member        at   the   University       of Texas and served as a Co PI                          Stokoe    made primary contributions                      to   the

proposal      writing      and project execution                  Cox made significant             contributions       to proposal        writing      and also

made primary contributions                     to   execution         by helping to plan the field work                design sensors          analyze        data

etc


         Co                                                                                          Grant             Candidate               Grant
                                          Title                               Agency
 Investigators                                                                                        Total                Share               Period

                            Field    Investigations              of

                                 Shallow Ground

                            Improvement Methods
 K H Stokoe                         for Inhibiting                          Tonkin   and                                                   June 2013
                                                                                                    223518                 111759
         PI                         Liquefaction                             Taylor Ltd                                                        May 2014
                                     Triggering
                                Christchurch               New
                                      Zealand



Stokoe   is    a faculty        member     at       the    University       of Texas and served           as PI   on the project Cox is a faculty
member        at   the   University       of Texas and served as a Co PI                          Stokoe    made primary contributions                      to   the

proposal writing and project execution                            Cox made significant             contributions       to proposal        writing      and also

made primary contributions                     to   execution by helping to plan the field work                        design sensors          analyze        data
etc
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               Grant
3 Research              Publications                  Other Evidence              of ScholarshipCreativity                                        Cox Brady R



         Co                                                                                                                    Candidate              Grant
                                                 Title                             Agency
 Investigators                                                                                               Total                  Share            Period


                                    Development               of a

                                         Geologic and                                United

      E Rathje               Geotechnical                Database                  Nations                                                         Nov      2010

       P1 J                         of    PortauPrince                        Development                   50000                  16667                  June
  Bachhuber                    Metropolitan Area for                              Programme                                                           2011

                                      use       in    Seismic                       UNDP
                               Microzonation Studies



Rathje    is    a    faculty    member           at    the    University      of Texas and served                as PI on the         project     Cox is a faculty
member         at   the    University of Arkansas and served                          as a      Co PI Bachhuber           is      a consultant     and served        as a

Co PI      Rathje          made primary                contributions          to   the    proposal        writing      and        project    execution         Cox and
Bachhuber           made supportive                   contributions         to proposal         writing    and    also   made primary             contributions        to

execution       of the work



         Co                                                                                                 Grant              Candidate              Grant
                                                 Title                             Agency
 Investigators                                                                                               Total                  Share            Period

                               RAPID            Geotechnical

                                     Driven           Damage                  The National
                                          Patterns       and                       Science                                                         May 2010
 S Olson PI                                                                                                 40000                  20000
                                    Liquefaction in the                           Foundation                                                       April 2011

                                    January 2010 Haiti                               NSF
                                          Earthquake



Olson    is    a faculty       member            at   the University          of Illinois       and served       as PI   on the       project     Cox is a faculty
member         at   the    University of Arkansas                    and served          as a   Co PI Olson made primary contributions                             to the

proposal writing and project execution                                Cox made significant                contributions           to proposal     writing      and also

made primary contributions                           to execution         of the work



         Co                                                                                                 Grant              Candidate              Grant
                                                 Title                             Agency
 Investigators                                                                                               Total                  Share            Period

                                           NEESCR
 A Rodriguez
 Marek PI D
                                    Topographic              Effects
                                                                              The National
                                          Strong Ground
 Assimaki M
                                     in
                                                                                   Science                                                         Oct 2009
      Pando         W                     Motion         From
                                                                                  Foundation
                                                                                                          1144593                  211857
                                                                                                                                                   Sept 2013
                                  Physical and
       Silva J
                               Numerical Modeling
                                                                                     NSF
                                                                      to
      Wartman
                                                Design



RodriguezMarek                 is   a faculty         member         at   Virginia   Tech       and served as overall project                 PI Cox is a faculty
member         at   the    University           of Arkansas          and served        as a     Co PI     Assimalci      is    a faculty      member      at   Georgia
Tech     and served          as senior          personnel        Pando       is   a faculty     member      at   the   University           of North Carolina        and

served    as a       Co PI      Silva      is   a consultant           and served        as senior   personnel           Wartman        is    a faculty   member       at


the University             of Washington               and served          as senior     personnel        All    team members with the exception                       of

Silva    made primary                    contributions          to the      proposal       writing      Investigators          RodriguezMarek              Assimalci
Wartman and Cox also made primary contributions                                            to project      execution         by leading major segments of
the   work plan For example Cox spent four weeks                                          in the   field    collecting        a    unique database        of mining

induced        seismicity for             experimental           studies      of topographic         amplification                Cox also graduated           a   PhD
student on          this   research project
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3 Research             Publications               Other Evidence                 of ScholarshipCreativity                                         Cox Brady R



          Co                                                                                                  Grant            Candidate                Grant
                                                Title                                Agency
 Investigators                                                                                                Total               Share                Period

                                         Collaborative
                                   Research         The M80
 J Cothren             A                   Pisco    Peru                        The National
      Rodriguez                      Earthquake                 A                    Science                                                         Aug 2009
                                                                                                             325178              177065
      Marek J                      Benchmark            Ground                   Foundation                                                        Jan 2011
      Wartman                        Failure Event            for                        NSF
                                  Remote Sensing                and
                                         Data   Archiving



Cox is faculty member                    at   the University            of Arkansas and served               as overall       project   PI Cothren        is   a faculty

member       at   the    University of Arkansas                      and served            as a   Co PI RodriguezMarek                  is   a faculty    member      at


Virginia Tech           and served            as a Co PI Wartman                    is   a faculty      member     at   the University         of Washington        and

served    as a     Co PI Cox and Wartman made primary contributions                                                to the     proposal       writing     Cothren and

RodriguezMarek made                        significant        contributions              to proposal       writing      Cox Wartman            and     Cothren made

primary contributions                    to project      execution            For example     Cox Wartman and RodriguezMarek spent two
weeks     Peru collecting                data   for the      project          while      Cox Wartman and Cothren processed and synthesized
the   data



         Co                                                                                                   Grant            Candidate                Grant
                                                Title                                Agency
 Investigators                                                                                                Total               Share                Period

                                  Utilization       of   Screw
                                                                                      Alaska
                                         Piles in
 K Hazirbaba                                        High
                                                                                    University                                                     July 2009
                                  Seismicity Areas                 of                                        190424              33242
          PI                         Cold and           Warm                   Transportation                                                        June 2011

                                          Permafrost
                                                                               Center       AUTC


Hazirbaba         is   a faculty         member         at   the     University          of Alaska         Fairbanks     and served          as project     PI Cox is

faculty      member          at    the    University         of Arkansas             and     served       as project     Co PI Hazirbaba made primary
contributions           to   the     proposal       writing           and     project       execution        Cox made supportive                  contributions       to

proposal      writing        and     also made           significant           contributions         to    execution     of the project work            by spending
three weeks        in   Alaska collecting               field      data followed by subsequent                  data     analysis    and synthesis



          Co                                                                                                  Grant            Candidate                Grant
                                                Title                                 Agency
 Investigators                                                                                                 Total              Share                Period

                                     Structural          Health

          K                              Monitoring          and                          US
                                  Assessment of Critical                        Department           of                                              Jan 2009
 Grimmelsman
                                              Intermodal                            Homeland                 225000              75000                    June
       PI E                                                                                                                                              2011
                                         Transportation                              Security
  Heymsfield
                                         Infrastructure                                  DHS
                                              Elements



Grimmelsman is                a    faculty      member          at      the   University          of Arkansas        and    served      as   project    PI Cox and

Heymsfield             are   faculty          members           at      the    University          of     Arkansas      and     served       as   project      CoPIs
Grimmelsman made primary contributions                                         to    the    proposal        writing     and     project      execution         Cox and

Heymsfield made supportive contributions                                      to proposal         writing    and    also made        supportive contributions
to execution of the work                   by helping to design and execute                        field    experiments
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3 Research         Publications             Other Evidence           of ScholarshipCreativity                             Cox Brady R



         Co                                                                                    Grant      Candidate          Grant
                                          Title                       Agency
 Investigators                                                                                 Total          Share         Period

                                                                     Arkansas
                                                                   State    Highway
      N Dennis
       nJ                Resistance
                              Pile   Foundations
                                                Factors    for             and

                                                                   Transportation
                                                                                           105817             35272
                                                                                                                          Jan 2009
                                                                                                                          June 2010
  McCartney
                                                                    Department

                                                                       AHTD

Dennis    is    a faculty    member        at   the University      of Arkansas      and served as project PI Cox and McCartney

arc   faculty    members at the University of Arkansas and served                        as project    CoPls Dennis and McCartney
made primary contributions                 to     the   proposal   writing     Dennis made primary contributions           to    the   project

execution       Cox made supportive contributions                   to proposal      writing    and execution of the work



        Co                                                                                     Grant     Candidate           Grant
                                          Title                       Agency
 Investigators                                                                                 Total          Share         Period

                                                                     Arkansas
                             Evaluation          of   Basal        State    Highway
                              Reinforcement of                             and                                            July 2008
 J McCartney                                                                               263459             175639
                             Flexible      Pavements               Transportation                                         June 2011
                             with Geosynthetics                     Department

                                                                      AHTD

Cox is    a faculty     member       at    the University        of Arkansas       and served    as project   PI McCartney      is   a faculty

member     at    the   University of Arkansas              and served      as project   Co PI Cox and McCartney           made primary
contributions      to the proposal         writing      and primary contributions         to the project      execution



         Co                                                                                    Grant      Candidate          Grant
                                          Title                       Agency
 Investigators                                                                                 Total          Share         Period

                                                                   USDOT      Mack
                                                                     Blackwell
                                                                           Rural
                                 Accelerated
                                                                   Transportation
                             Characterization of
                            Full Scale      Reinforced
                                                                   Center    MBTC
                                                                                                                          July 2008
 J McCartney                                                       and Arkansas            84069              56046
                             Flexible       Pavement                                                                       Dec       2009
                                                                   State    Highway
                               Models           using a
                                                                           and
                                     Vibroseis
                                                                   Transportation
                                                                    Department
                                                                       AHTD

Cox is a faculty member              at    the University        of Arkansas       and served    as project   PI McCartney      is   a faculty

member     at    the   University     of Arkansas          and served      as project   Co PI Cox and McCartney           made primary
contributions      to the proposal         writing      and primary contributions         to the project      execution
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      4 ACADEMIC ADVISING COUNSELING                                          AND OTHER STUDENT SERVICES

                                                     Budget Council Statement


                                                     Prepared by Robert        B Gilbert



While     in    rank    as   an   Assistant         Professor      Dr Coxs record          of academic          advising    compares
favorably with others in our department at a comparable stage in their careers



Dr Cox has         taken      an active       role    in    advising   and counseling      both      undergraduate      and graduate
students        Dr Cox       participates      in   the undergraduate         advising   process      that   provides   counseling      to

both    Civil    Engineering      and    Architectural          Engineering     undergraduate        students       This effort occurs

twice     a year       in   conjunction        with        pre registration   of   courses      He    has    also    supervised    three


undergraduate          research    assistants          At the      graduate    level     Dr Cox       has    supervised    one     PhD
student    who     graduated      and    is    now    an     Assistant Professor at the University             of Arkansas        He   has

also graduated         one   MS student from The University of Texas                       at   Austin   and six      MS students       in


his six years at the         University of Arkansas



In   my own observations Dr Coxs is a great                         mentor to his graduate        students      He motivates them
is   demanding of them and              is    patient with      them




Brady Cox                                                                                       Department of Civil Architectural
                                                                                                  and Environmental        Engineering
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4 Academic          Advising Counseling and Other Student                                          Services                                               Cox Brady R



                                         Academic Advising                                     Counseling Statement


Interacting         with the young people                            we have the               privilege      of teaching         advising           and counseling            is


one of the most enjoyable                              parts      of being a faculty            member Looking back                     over the opportunities                  I


have had       to   both formally and informally advise                                        and counsel           students     over the past eight years a

number of memories stand out providing                                           an opportunity               for    a new graduate            student          to fly   on an

airplane for the             first       time celebrating with students                            I   helped       to    obtain a much desired internship

or fellowship            receiving                 thank       you notes from former students                             for helping        them determine               their

career       path counseling                       with students            who have been                caught           copying      homework             assignments
preparing       PhD students                           for    careers      in   academia           providing             a funded      research           opportunity        for


undergraduates               who          could          use the          experience and the extra                        cash      the      list
                                                                                                                                                     goes       on    Let    me
elaborate       on a few                 of these             as a means             to       demonstrate       my philosophy                 and commitment                  to

academic       advising          and counseling


Near the end of my first                               year in academia                   a senior undergraduate student                            came    to    my office
expressing          interest         in       going          to   graduate       school          After listening            to   his   strong         rural      accent     and

reviewing          his   resume               I    learned he grew up on a farm in a small town                                        was the valedictorian                  of

his    high    school          had a near perfect                          undergraduate               GPA and knew how to weld and drive a
backhoe        I    agreed           to       support him                 for   his    Masters          degree           and asked          him      if    he could         start


immediately after his graduation                                    That    summer just prior to sending him to the Nevada                                           Test Site

for   nearly a month to help collect field data                                           I   learned he had never               flown on a plane before or
lived    away from home Needless                                    to   say he needed some mentoring                            in the      beginning This same
student      worked with me for six full years eventually moving with me to the University of Texas
where he graduated                       with his            PhD During this time he traveled with me to Haiti Japan New
Zealand        Alaska California South                                   Carolina and elsewhere                      I   watched       him try Thai and Indian
food for the         first     time and laughed                          as his eyes watered               he now           orders     it    extra        hot He was an
incredible         student           and       I   thoroughly             enjoyed helping              him on        his journey in          life    just   as much as I

enjoyed mentoring                    him to become                       a tenure track faculty               member Indeed                  he helped me greatly

as    well     for       together                  we    have        published            nine     journal          articles     and        twelve         peer reviewed
conference          proceedings                    I   honestly feel I could not have done more to prepare him for a career                                                   in

academia           My goal               is    to      be able       to    say the        same thing           in    regards     to    every one of               my PhD
students       of which              I    currently               have four          They each have                 had similar opportunities                     for travel

associated         with their research                         and   I   always try to have meaningful                         mentoring            conversations with

them during          this     oneonone time


Just within the past eight months                                    I   have had the opportunity                    to    support three            UT undergraduate
students       with      funds           from the              NSF Research                   Experience       for Undergraduates                    REU program
This    is    a true joy to               me As discussed                       in    my Research              Statement          an undergraduate research

experience was the single most important                                             factor     that    led   me to graduate                school        and    my current
academic       career          Therefore                 I    am committed             to      providing      these experiences               to     my own students
A couple of weeks ago I was able to take one of these REU students to Southern California for
some fieldwork Coming from a somewhat humble background he was excited that he would

get $41day for meal per diem and exclaimed        can eat steak for every meal He clearly did We
not understand            the expense                    of traveling           to    Southern California                  During this trip                he had a very

unique opportunity                   to       spend          several      days questioning and                 interacting        with       my PhD student and
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4 Academic              Advising Counseling and Other Student                        Services                                            Cox Brady R



me          He    worked        extremely         hard        and     thanked     me several           times     for    such    a        great        research

experience

Sometimes mentoring experiences                               are not so full     of joy    However            that    does not make them less

                                                                                                                                years I have
important          in   a young persons                life    Nearly    every semester over
                                                                                             the                 past eight                                  had

the    unfortunate             opportunity        to    counsel        a few     students    involved          in    minor academic                   integrity

infractions        such        as copying         work from a classmate              or a past     homework solution                      It    is   tempting

to    let   these minor infractions               slide not wanting to dedicate                  time to the matter and believing                            that

the student         will   ultimately suffer the consequences                      when     they are unprepared for an examination

Yet         I    have      found        that      these        situations       provide      one       of    the       best     opportunities                for


reinforcingteaching                   the   importance           of professional         integrity      within        our   engineering               code    of

ethics          Almost without          exception             these   students    acknowledge           their    mistakes       often           shed a few

tears and commit to not doing this again no matter what the circumstance                                                    While these               oneon
one     interactions           can be time consuming                  and uncomfortable            I   strongly feel that           it    is    my duty as
an academician                 to   reinforce     the   principles       of academic        integrity       in      the hopes    that          this   counsel

will    help students           throughout        their careers




The great educator                  Robert   H Shaffer said We must view young people not as empty                                                   bottles to

be    filled      but     as    candles      to   be lit         I    couldnt    agree    with     this     statement       more and hope                    my
actions show my commitment to the principle As faculty it is our privilege to be surrounded

every day by candles we can light through advising and counseling       These young people are the
future of our professions and society and I feel the future will be bright if we all make the effort
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4 Academic    Advising Counseling and Other Student                        Services                               Cox Brady R



Academic Advising Counseling and Other Student                                            Services        Summary Tables


                                          Table     1 Summary of Academic          Advising


                                               Metric                                               Value

        Student Organizations             Advised                                                   None

        Undergraduates              Supervised                                              3    NSF REU    Students


        PhD Students Completed

        MS Students Completed

        PhD Students in Pipeline as of 092014

        MS Students in Pipeline as of 092014
         count     1   if   sole    advisor   05 if co advised




                 Table 2 List of Completed Graduate Students                          Under My Supervision


                                        Co                         Start       DissertationMS
             Student                                    Degree                                             Placement
                                     Supervisor                    Date          Thesis   Date



                                                                                                        University of

                                                                                                     Arkansas     Tenure
        Clinton   Wood                  None            PhD      062009            082013
                                                                                                       Track   Assistant

                                                                                                           Professor


                                                                                                     UT PhD      Student

        David    Teague                 None             MS      082012           052014               NSF Graduate
                                                                                                     Research     Fellow


              Taylor
                                        None             MS      082010            122011
                                                                                                           Consulting

             Goldman                                                                                       Engineer

       Shawn Griffiths                  None             MS      082009            052011            UT    PhD Student

                                                         MS
             Christina                                                                                     Consulting
                                        None                     082008            052010
             Trowler                                                                                       Engineer


       Jeremy     Brooks                None             MS      082008            122009
                                                                                                           Consulting

                                                                                                           Engineer

        Clinton   Wood                  None             MS      052007            052009            UT    PhD Student
             Andrew
             Beekman
                                        None             MS      012007            082008
                                                                                                           Consulting

                                                                                                           Engineer

         o    thesis        fully   funded his research resulted   in   two peer reviewed conference    papers
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                     Service to the University and to the Nation                                         State and        Community
                                                         Budget          Council        Assessment



                                                                         Prepared           by




      Dr Cox is           active     in   his      service      commitments                  to    the    profession           the    University              and       the

Public

      Dr Cox is very active in service                         to   the       profession           He currently           serves an         Associate Editor

for the  ASCE Journal of Geotechnical                           and Geoenvironmental                          Engineering            This      is    one of the top

journals       in   the   field    of Geotechnical              Engineering                  As Associate Editor he                       must identify              and

solicit   reviewers        from the broader community and review                                         the paper       himself           He has dedicated
himself to these efforts                and   is   spending         a    significant         amount of time making sure the reviews                                     are

done well           Dr Cox is also active                 in    two          technical       committees              within the       ASCE GeoInstitute
and   has organized           several         conference            sessions           through         his    participation          in   these          committees

Organizing          these sessions does not only represent                              a service        to the      community but as noted                        in the


Budget Council Research                   Assessment it                 also    provides         Dr Cox an opportunity                    to raise his profile

within the profession

      Dr Cox         is   adequately          engaged          in       service        to   the    University           through       his      participation             in

various        committees           within         the    Department                   of    Civil            Architectural           and        Environmental

Engineering           He was        similarly        engaged            at     the    University         of Arkansas            He currently                serves      on
the   Curriculum Committee                      within       CAEE which                     is    an   important         committee             that       shapes        the

curriculum requirements                    He also serves on the Distinguished                                 Lecture    Committee which affords
him the opportunity               to identify leaders           in      our field       to invite        as a Distinguished               Lecturer

      Dr Cox is active             in   service      to the     general              public through            his   presentations          to       K12 students
about     earthquakes             He has      presented        to       both high school               students       and elementary students                      in   an

effort    to   get    young       students         interested           in    STEM          fields       It    is    notable    that      he        is   focusing       on
students       at   both the elementary               and secondary                   stage of education                 Through          these          efforts   he    is



trying to      improve      interest in        STEM fields and make a difference in the lives of young people
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5 Service to the University Nation                            State        Community                                                                Cox Brady R



                                                                   Service Statement


The     national         and        international        academic          systems cannot                be sustained             without           faculty      service

contributions                The    success          of everything         in   academia           from administration                       committee          work        to


scholarly      peer review hinges on the willingness                              of faculty members to volunteer                                  quality time and

                                                                                                          has been
effort    Thus          far    in
                                     my career my commitment                          to    service                         demonstrated primarily in

scholarly      peer review committee work international                                          national and university                      level and outreach

to the local community




In their Science              paper       Battling           the Paper     Glut Siegel and Baveye 2010 Vol 329 pg 1466
question       whether              or    not    the    current       state     of scholarly             publishing         and          peer       review       can       be
sustained



           The          top journals        now are flooded with numbers of manuscripts                              beyond most editors capacity to
          handle Reviewers are solicited to scrutinize not just manuscripts                                           but also research proposals and

          governmental                reports Yet peerreviewing                  is   rarely       if ever   valued by academic institutions as a

          fruiOul way for researchers                        to   spend their time so finding good reviewers                             has become           more and
          more difficult                  Journals should demand that for every paper submitted                                        an author provide three

          reviews of other manuscripts



After reading this paper                        in   2010 my views on the                       peer    review    process          were forever changed
Since    every piece               of scholarly         work papers             and proposals must be scrutinized                                  by 2 or 3 other
qualified              we must on average be serving as reviewers for 23 times the number of
               academics

papers    and proposals we submit If we are not doing this we are contributing to a system that

cannot    sustain itself




I    have been serving as an associate                            editor   for the         American        Society of Civil                   Engineers         ASCE
Journal     of Geotechnical                     and Geoenvironmental                       Engineering            JGGE since                    2012       From this
experience          I    have learned that the task of securing three reviewers who                                                    will    provide      a quality

timely    review             for each           submitted         manuscript          is   daunting          Indeed         it    is     absolutely         the       most

challenging             and    frustrating            part    of the    job      The       chief editor           for      JGGE          has       now     asked       that

associate      editors         serve as reviewers for each manuscript                                  assigned    to      them A quick                  check       on the
JGGE website reveals                      that I     have completed 31 reviews with one                            still    outstanding because of my

current     focus            on tenure documents                    Additionally            I    have    reviewed          numerous manuscripts                            for

these     other         journals          as    well         EERI     Earthquake                Spectra      Soil       Dynamics                and       Earthquake

Engineering             ASTM Geotechnical                         Testing Journal Canadian                   Geotechnical                 Journal Bulletin of
the     Seismological                Society          of America              Geophysics               Journal     International                    and     Soil       and
Foundations              I   work hard to provide good peer reviews because                                   I   believe         it    is    important and            I   do
it   because    I   know           that   unless       every scholar provides                   this    service our peer review                     system cannot
be sustained            There        is   nothing more frustrating than                         inviting an author to review a conference                                  or

journal manuscript                  for a      venue    they recently submitted to then                       hearing back from them that they

are too busy to provide a review                         for another paper



I    am a member               of both the             ASCE        GeoInstitute            Earthquake         Engineering                    and    Soil   Dynamics
Committee and the                        Geophysical          Engineering         Committee Through                         these         committees             I    have

organized           two        conference             sessions       and      chaired           three    conference              sessions           at    our    annual

GeoCongress meetings over the past four years                                          These       activities      are enjoyable                   but also require



                                                                                  1
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5 Service to the University Nation                                State            Community                                                        Cox Brady R



coordinating          the        peer    review             of     1020           papers       submitted          to    each    session           Nonetheless       this

committee         work           has    allowed             me to         work        closely          with   a    wide    range           of junior and         senior

colleagues       that       I   would not have been able to meet otherwise                                         And     it    is   nice to see that       many of
these colleagues                are similarly committed                       to serving our profession




I   have served on various                    university               committees at both               my former institution and the University
of Texas         At   UT         I   currently         serve       on the          CAEE Curriculum Committee and the Distinguished
Lecture Committee Serving on the Curriculum Committee has provided                                                                     me with an opportunity
to   more rapidly learn a curriculum                               that      is   quite    different      than     the one       I    taught under previously

Serving     on        the       Distinguished                   Lecture       Committee has allowed                       me to            help   select   and     meet
influential      colleagues             who          can        serve    as       external     reviewers          for   promotion           and tenure       Both    of

these experiences                have been valuable                     to   my career

Providing        professional            service to the community                          has been very fulfilling                    While at the University

of Arkansas           I   served       on the Arkansas Governors Earthquake Advisory Council                                                       AGEAC This
gave     me the opportunity to interact with various agencies concerned about emergency response
in the    event of a large New Madrid Seismic Zone earthquake in the state of Arkansas and share

firsthand        knowledge              about the chaos                   following          destructive          earthquakes          around the          world    My
experiences        garnered on earthquake                              reconnaissance            missions have given                  me a unique perspective
to   share with those concerned                        about           earthquake         preparedness



My favorite community outreach involves serving as a guest lecturer on earthquake effects for
K12 students My resume includes a fairly long      of these oral presentations For example      list


during     the    2013          Spring       Semester              I    spoke       to    high    school      students          at    St    Stephens       Episcopal

School     and    3rd
                          grade        students            at   Elsa England Elementary Apparently                                    my talk at St Stephens
may have helped UT                     secure as least one prospective student



          Hi Brady


           Thank you so much for speaking to my class last Thursday The students really enjoyed your talk

           and had some great things to say about you One student says she is trying to decide between UT
          and Boston College and you influenced her decision in favor of UT She said that she thought

          you were dynamic
                            and engaging and she looks forward to taking classes from you


           Thank you again for taking the time to visit                                   us
          Danielle



          Danielle Horton

          Physics and Engineering                          Instructor

          St Stephens Episcopal                       School



However          my absolute favorite                           feedback          comes from elementary school kids They often write

me the greatest             letters      I   still    have 2030 of them                      sitting     on   my desk in response to my lecture at
Elsa England              They remind me of how                               cool we             UT faculty members look to these young
minds and how important                         it    is   for    us to use that influence to bring about positive                                  change    One of

my favorite letters reads in all its 3rd grade spelling glory
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5 Service to the University Nation                           State      Community                                              Cox Brady R



            Dear Mr Cox


            Thank you for your time                     we were       actuley    learning      about   earthquakes     The presentation         was

            really   good         You are realley lucky you got to meet the presedent                      Was it   true or   not What are the
            things that       can   detect   vibration called           again My third option ofjob is a earth quake                  engineare     it



            is   a realley cool job traveling around the world must be fiin


            Sincerely

            Sid



I    am so touched                who would have thought                  that   my talk would have             inspired this young       man to
move earthquake                  engineer    into       third   place    on    his   list   of job   options    Seriously these notes are

the best         What       great feedback          I    am happy to be able to serve                  in the   capacity   of helping         young
people become excited about the science technology                                          engineering and math      STEM           fields




In    summary           I   believe    service          to    the    community          university      state   and   nation    is   a critically

important        part of scholarly           work Not only is             it    requisite     for   us to maintain    our academic       system
it   is   paramount         to   influencing    the career           paths of the next generation of scientists and engineers
who will advance                 our society    I   am happy to play a small role in this grand effort
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                                           Honors and other Evidence of Merit or Recognition

                                                                    Budget       Council        Assessment



                                                                                 Prepared        by




                                                                              Ellen      M     Rathj



       Dr Cox has been successful                                 in obtaining        research        funding             from a wide range of sources                                He
has    received           several           competitive             grants
                                                                                 from the National                    Science           Foundation                 including          the

CAREER Award        PECASE Presidential Early Career Award for Scientists and Engineers
                                 and

Award In particular the PECASE Award is very competitive because recipients are selected
from the CAREER Award winners across all the NSF and represent only a small percentage of

the total    CAREER                   Award winners                      Since arriving at            UT he has also been able to leverage some
of the      NSF grants                to    obtain funding                from industry such                   as    the grant in 2013                      from Tonkin               and

Taylor       in    New       Zealand              to    support the             research       being performed                        after      the   Christchurch                 New
Zealand           after    the        earthquakes                 there       While       at    Arkansas              Dr Cox                was        also       able    to       obtain

competitive          research               funding          from       the   Arkansas          Highway              and Transportation                          Department           and

Department of Homeland Security
       The        most     significant                 award        that      Dr Cox           has    received             is    the        PECASE               Award         2012
described         above          It    is   the    highest         honor given           by the      US government to outstanding researchers
beginning          their     careers               He    has       also    received        the    CAREER Award 2011                                     from NSF and                  the


Hogentogler             Award from the ASTM                               Geotechnical           Testing            Journal in          2010           This       award     is     given

to    the   best paper           published              in    the    ASTM         Geotechnical             Testing              Journal over the previous                           year
While        at   the     University              of Arkansas                 UA Dr Cox                   received             a research          award           from the           UA
Department              of   Civil              Engineering               and    another         research             award            from        the       UA         College        of

Engineering               Another               indicator         of recognition           within the community                             is   Dr Coxs invitation                    in

2012        to    participate              in    the    Inter Pacific           Inter comparison                     of methods                  for    site
                                                                                                                                                                  parameter           and

velocity          profile        characterization                       benchmarking             project             in    France                He         is    the    sole       US
representative             on    the        international               technical     committee of the project which                                        demonstrates that

Dr Cox is wellknown                             and well respected                in the     area of shear wave velocity                               characterization

       Dr Cox           has been invited                     to    give presentations                at   various workshops                        and conferences                    Of
note are his presentations at a Liquefaction                                         Workshop             at    the       University             of California             Berkeley

oral presentation                A4         in   CV          at the      Liquefaction          State      ofthe Art Forum organized by the Deep
Foundations               Institute             oral     presentation               A6    in     CV            at    the        2012         Earthquake                Engineering

Research           Institute           Annual           Meeting            oral     presentation               A7         in    CV          and        at    the       International

Conference           on Recent                  Advances           in    Geotechnical          Earthquake                 Engineering             and Soil             Dynamics        in

2010        oral     presentation                 Al2        in    CV         More       recently          Dr Cox was                       invited         to    give    a plenary

presentation along with colleague                                   Dr Kenneth H Stokoe U during the Awards Luncheon                                                               at the

10th    National           Conference                  on Earthquake              Engineering                  This        presentation was                      focused         on   the

research          they     are        performing              in    Christchurch               New        Zealand              that    is    helping             re build      a    more
resilient        Christchurch                   Additionally              at the conference               Dr Stokoe              and Cox jointly received                           from

the    NSF supported                   Network               for    Earthquake           Engineering                Simulation              NEES                 the   Outstanding

Contributor Award                     for the          Most       Influential       Geotechnical               Research Project
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6 Honors             Other Evidence              of    Merit or Recognition                                                                Cox Brady R



                                     Honors and Other Recognition                                         Statement


I   have been privileged             to     receive      several     awards and honors                   in   my time as an assistant professor
A    list    of some of these honors and awards                         may be found                in
                                                                                                          my curriculum            vitae       Below      I   will

elaborate          on a few        of these awards and discuss                         some additional                 items    not    included         on     my
resume


PECASE Award


My most memorable and special                            award is the     Presidential              Early Career Award                for Scientists          and

Engineers           PECASE             Prior to          being      considered         for the      PECASE              Award       a young           National

Science        Foundation           NSF investigator                  must     first        be selected            for the     Faculty         Early    Career

Development               CAREER                Award        The    CAREER         Award            is    NSFs most prestigious                       award     in


support        of junior faculty                 who     exemplify       the     role        of teacher scholars                through          outstanding

research           excellent       education           and the      integration        of education                and research            I    received       the

CAREER Award                  based        on my NSF proposal titled Revolutionizing                                   Surface     Wave Methods                for

Engineering              Analyses           from Deterministic and Incoherent                                 to   Probabilistic      and Standardized

DIPS               As     detailed         in
                                                 my     Research       Statement             this        research       topicproject            has    been      a

springboard for international                     collaborations        and personal advancement                         in   my   field       of study       NSF
selects       up    to    20 nominees            for   the   PECASE Award from among the                                  most meritorious recent
CAREER             awardees          The         White       House    Office     of Science               and Technology              Policy makes             the

final       selection      The     PECASE          award       is   the highest         honor bestowed                by the    US Government on
outstanding              science    and         engineering         professionals           in   the      early      stages    of their         independent

research        careers and           it    comes       with an invitation             to   meet the           POUTS      President of the United

States        in   the White       House As you will                 notice    in the        picture      below President Obama is quite a
bit taller     than      me
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6 Honors                 Other Evidence            of    Merit or Recognition                                                                          Cox Brady R




During his speech                    to   us President         Obama said Discoveries                          in    science         and technology                   not only

strengthen our                economy         they inspire us as a people                       The impressive accomplishments                                   of todays

awardees            so early in their careers promise even                            greater advances                 in      the years ahead                   I   certainly

feel    I    have much              to    contribute      in   advancing            my field          of study       in     the    future         I   cant think                of a

better place            to    collaborate with other great scholars than the University of Texas



Inter Pacific Technical                       Committee


I   am the sole US representative invited to participate on the international                                                             technical committee of

the     Inter Pacific                Intercomparison                 of       methods           for     site     orameter                 and         velocity          profile

characterization                   benchmarking            project        The   Inter Pacific             project         is
                                                                                                                                part
                                                                                                                                     of the           Sigma Seismic
ground motion assessment                           project       initiated      by the French energy company                                EDF Electricite                      de

France The                 objective         of the Sigma project               is   to    improve knowledge                      on European particularly
France         and        Italy       ground         motion data              and    seismic           hazard        assessments                 to    better         quantify

uncertainties              in     design ground motion estimates                           The        Inter Pacific            project      is   part       of this effort

and     is    aimed          at   establishing         a set of test      sites      where invasive and noninvasive                                   methods can be

benchmarked                  against one another                 The objectives of the                  Inter Pacific             project         perfectly           dovetail

with the goals of my PECASE                              research     and will enable a truly international                                impact


Hogentogler                Outstanding            ASTM Journal Paper Award

During an earthquake a phenomenon known as soil                                                 liquefaction           can cause untold damage                             to   our

built       environment                                             multistory                                                       houses                 sink                the
                                      literally        causing                            buildings        to    tip      over                        to              into

ground bridges to collapse due                            to   foundation           movements             dams to burst from slope failures and
buried sewer                 water and gas lines to rupture During                               my PhD research                      I    developed             an   entirely

new         test    method and associated                      instrumentation              for       evaluating          the     fundamental                   behavior         of

liquefiable             soils      in situ    A journal article           I   published          on    this    topic        An In Situ Test Method for
Evaluating              the       Coupled     Pore Pressure Generation                          and Nonlinear               Shear         Modulus            Behavior            of

Liquefiable              Soils appearing                 in   the   January 2009                edition       of the      ASTM Geotechnical                            Testing

Journal was selected                        as the       recipient    of the Hogentogler                       Award           for   2010         The        Hogentogler

Award          is    the      most prestigious                 technical        award           given     by    ASTM Committee D18                                      and       is


presented           to   the authors of an               ASTM paper of outstanding                             merit My new liquefaction                               testing

method has been                      further      refined      and    relied        upon        heavily        over       the     past     year        to    evaluate           the

effectiveness                of shallow           ground         improvement               techniques           for       remediating                 liquefiable           soils

beneath            homes in Christchurch                  New Zealand discussed                        further       below


NEES Outstanding Contributor Award                                             Most Influential                 Geotechnical                Research Project


Over the past two years                           my UT        colleagues            and    I    have     been heavily                involved             in    earthquake
research           in   New        Zealand        In   20102011           the city of Christchurch                        was devastated                   by a       series     of

powerful            earthquakes              which      ultimately led to             181       deaths         the     abandonment of approximately

7500           residential            properties          and       closure          of    the        entire        central          business              district        while

approximately                     2400 of the 3000 downtown                          commercial                structures          were demolished                         These

were shocking outcomes                         for     a country      with high            seismic design standards                         I    received            two    NSF
RAPID Awards one                          as PI and one as            Co PI with Professor Kenneth                                H Stokoe as PI                      to   study
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6 Honors             Other Evidence             of   Merit or Recognition                                                               Cox Brady R



these earthquake                effects      help the     people of New Zealand build a more                               resilient        Christchurc

and bring the lessons learned back                       to   the   US for implementation

One      of    our        research          projects     titled      RAPID            Field       Investigations            of       Shallow          Ground

Improvement               Methods          for Inhibiting         Liquefaction            Triggering             Christchurch           New        Zealand
involves      investigating            shallow        ground improvement               techniques           for    mitigating         soil    liquefaction

damage        to    residential            construction        In    this       project    the     new        liquefaction           testing       method         I



developed          during       my PhD          research      refer to the Hogentogler                  Award        discussed        above         has been

relied                    evaluate         the effectiveness        of various       shallow ground improvement                                             for
         upon       to                                                                                                                      techniques

remediating          liquefiable           soils   beneath    homes        in   Christchurch           My colleagues            and     I    have     literally

spent    months           in   New Zealand            over the past         year    utilizing      this     in    situ   liquefaction          test   to   help

determine which                 ground improvement                methods work best               at   inhibiting        soil   liquefaction           so that

they    may be sanctioned                   by the     New Zealand Earthquake Commission for use in a $20 billion
residential         housing           rebuild      program        This      research       also     has       implications           for     the      US     as

residential        properties         are currently      not subject to liquefaction                   evaluation and mitigation measures

in our   seismic design codes



For this work Professor Stokoe                          and   I   were selected           for the      Outstanding          Contributor             Award
Most     Influential            Geotechnical          Research       Project        by the    Network             for Earthquake              Engineering

Simulation          NEES              We      have     also   been        invited    to
                                                                                speakers  at the
                                                                                           serve       as   the     lunchtime

upcoming              US
                   10th  National Conference on Earthquake Engineering where we will present the

findings      from our research               projects in     New Zealand


NSF Awards                for   My Graduate Students

Two of my graduate                    students       have received        prestigious awardshonors                       from   NSF that are worth
mentioning          here        First after writing a research                  proposal one of my                PhD students Clint Wood
was selected          as a recipient           of an    NSF National             Center for Airborne Laser Mapping                                 NCALM
Seed Grant          for his dissertation             research on topographic               amplification of seismic waves                           NCALM
only awards           10       of these      grants annually         to    graduate       students       in   the field        of geosciences              This

grant provided
               him with a set of LiDAR                              data of his field site in the mountains of Utah that would

have cost about                $30k   to   obtain otherwise           Second one of my                 MS students David Teague was
recently      selected          for the      NSF      Graduate        Research        Fellowship            Program        I    cant        tell
                                                                                                                                                   you how
excited    we were He has decided                       to stay     here at     UT and work on his PhD under my supervision
Seeing        my     students          receive        these    highly       competitive           awardshonors                 has    been         extremely

rewarding
                                                                                                                                                                                                                                                                        of
                                                                                                                                                                                                                                        Chart                                        External Reviewers




                                                                                                                                                                                                                                                                                                                           Cox
                                                                                                                                                                                                                                                                                     Brady




                                                                                                                                                                                                     of
                                                                                                                                                                                                                                                                                                                           and
                                                                                                                                                 Department                                                            Civil                    Architectural                                                                                Environmental                                                     Engineering




                                                                                                                                                                                                                                                                                                                                                                            Chosen                                                                              Date




                                                                                                                                                                                                                                                                                                                                                                                                                     By
                        Title                                                                                                                       Institution                                                                                                                                                                                                                                                                                         Received                                                                      Reason                                                  Declination




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Name                                                                                                                                                                                                                                                                                                                                                           CandidateBC
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                        Ingenieur                  General                                   Pontset




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Bard Pierre Yves        Chaussees                                                                                                                University                                   Grenoble                                                                                                                                                               Budget                    Council                                                  8102014




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                        Pierre Yves                        Bard                       senior research                                          scientist                        ISTERRE Grenoble                                                                                                                                             Earth          Science                                                                                                                                                                        IFSTTARR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        a
                                                                                                                                                                                                                                                             formerly LGIT                                                                                                                    laboratory                                         Univ Grenoble                                                                                                                                             engineering




                                                                                                     has
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                                                                                                                                                                                                                                                                                                                                                 Grenoble                                     work




                                                                                                                                                                                                                                                                                                                                                                                   His




                                                                                                                           PhD



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                        between                   seismologists                                                 earthquake                             engineers                                                        supervised                                       over                                                                                                                 coauthored over                                                               papers                                          peer                reviewed




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Bray Jonathan           Professor                                                                                                               Iunlverslty                                       California                                   Berkeley                                                                                                                          Candidate                                                               652014




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                        Jonathan                  Bray                                Faculty                                                  Earthquake                        Engineering                                                                                                                  University                                     California                               Berkeley                                                        authored                                      more than                                                                               publications
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                        earthquake                         reconnaissance                                                              Bray                  Fellow                        ASCE                                                                         received                             several                         honors                  including                                             ASCE Peck Award                                                  BSSA Joyner Lecture                                                                    Prakash                   Award




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                        ASCE Huber Research                                                  Prize Packard                                     Foundation                        Fellowship                                                                                                                                 Young                  Investigator                                Award                                                                                         because                                                     leading




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Dobry   Ricardo         ProfessorNAE                                                                                                            IRensselaer                                Polytechnic                                         Institute                                                                                                                         Candidate                                                              7222014




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                                             keynote               speaker                                                                                   meetings                                                                                                                                                                                                                                                          Society                                           Engineers




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Frost       David       Professor                                                                                                               Georgia Tech                                                                                                                                                                                                         Budget                    Council                                                  7252014
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                                                             World Trade Center complex                                                                              following                                                                                                                                                                     member                                                                                                                                                                                            report                                                Collapse




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                                World Trade Center Towers                                                                                      Frost                       been recognized                                                                               teaching                                                 research                         including                            being                         recipient                                                                     National                      Young                  Investigator                             Award
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                        reconnaissance                                                              evaluate                                   Coxs contribution                                                         these                        activities




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Hashash      Youssef    Professor                                                                                                               University                                                                                Urbana Champaign                                                                                                                       Candidate                                                              7172014
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                                                                                            Professor                                                                                                                                                                                                                                                                                                                                                                                                                                                              research                          interests                                include




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                           Youssef Hashash                                                                                                                  Department                                                                                                     Environmental                                                                 Engineering                                                                 University                                                                                     Hashashs                                                                                                                           deep




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                           excavations                             earthquake                                     engineering                                               numerical                                      modeling                                                                                 structure                                  interaction                                                     Hashash                                                    recipient                                  numerous                        awards                     including                                     Fellow




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                           American                 Society                                      Civil             Engineers                                                             active                                                        Earthquake                                               Engineering                                         Research                              Institute                                             American                                   Underground                             Association                                                                          International




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                           Tunneling                 Association                                                                            GeoInstitute                                                            ASCE                                                             selected                                             because                                      area                             research                           involves                        simulations that                                        make                                                           mesaurements                                               made
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Kramer Steven              Professor                                                                                                                                         University                                                       Washington                                                                                                                                                                                      Candidate                                                            7252014




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                           Steve                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  interests                     include




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                                             Kramer                            Prof                                                              Environmental                                                            Engineering                                                                                University                                          Washington                                                             primary research                                                                                                                         liquefaction                                                           response




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                           analysis seismic                                         slope                 stability                                             hazard analysis                                                                             Kramer                                                                   author                                             book                Geotechnical                                           Earthquake                                     Engineering                                         most commonly used textbook




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                                   subject                                                  numerous                                  technical                                                                                       reports                                                                        been                                  recipient                                                          Presidential                                   Young                         Investigator                         Award                from                                                         Arthur                  Casagrande



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                           Professional                            Development                                               Award                    from ASCE                                                     Walter                             Huber                     Research                                                   Prize from                            ASCE                                                          2009 Norman                                          Medal from ASCE                                                                            selected                                 because




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                                   William                                                                                     served                                   director                                                                  Geotechnical                                                                                                                                                                                                                                                                                                                               Station




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                           liquefaction                                                                                                                                           Honorary                                       Member                                          ASCE                                                                                                                                                             Medal                                                                                           Karl Tarzaghi                                                                                ASCE




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                           design analysis                                                                                                                      dams                                                                                                       because                                                                                   experience                                                 geotechnical                                        earthquake                                      engineering




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Pender Michael             Professor                                                                                                                                         University                                                     Auckland                                                                                                                                                                                          Candidate                                                            7122014
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                           Michael                 Pender                                        Professor                                                                                                                                                                                                                                                      Auckland                                                                      served                               Head                                                                               received




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                           Rock              Mechanics                                                     President                                                                                     Zealand                                   Society                                              Earthquake                                             Engineering                                              Prof                  Pender                                      selected                       because                                     research                                           geotechnical                                    earthquake




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                           engineering                                                           ability                             provide                                       international perspective                                                                                                                                      Coxs              research




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                           International Society                                                                                     Mechanics                                                                                                                      Engineering                                                                         gave                            1997 ASCE                                             Terzaghi                                                                                     named                      Honorary                                   Member                                               ASCE                  2004




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                                                                                                                                            Academy                                                 Engineers                                                 2003                                                                                                                                                                              expert                                                                               testing                                             provide                                    thorough assessment




                           of
                                  Dr
                                             Coxs            work




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Youd     Leslie            Professor                 EmeritisNAE                                                                                                             Brigham Young                                                             University                                                                                                                                                                    Budget                     Council                                            7102014




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                           primarily concerned                                                   with                                 phenomenon                                                           soil                  liquefaction                                               lateral                                  spreading                                                                                                field         observations                                                  geotechnical                               damage                          during                         earthquakes                                     Youd




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                           because                                         expertise                                         geotechnical                                         earthquake                                                  engineering                                                                                                                                                       impact                                             Coxs                     work
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 129 of 183




DECLINED

None




NO
       RESPONSE
None
                  Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 130 of 183




                         COCKRELL                     SCHOOL OF ENGINEERING
                         THE UNIVERSITY                                 OF TEXAS AT AUSTIN


                                  Department           of Civil          Architectural         and Environmental Engineering                               ECJ 4200
                                  301   E Dean Keeton Street C 1700                                Austin Texas 787122100                         512 4714921




Example of Letter Sent




June    2 2014


Dr Jonathan             Bray

University       of California Berkeley


Department          of Civil        and Environmental                    Engineering

453 Davis        Hall


Berkeley         CA 947201710


Dear Professor Bray



      The    Department                 of    Civil    Architectural               and      Environmental               Engineering        is   considering       Dr      Brady Cox

for   tenure      and        advancement               in   rank        to   the     position      of    Associate          Professor      at   the   University       of      Texas      at


Austin       We would               appreciate         your candid              assessment of              his      scholarly   contributions         to   assist   our decision

making process                   Excellent     teaching           is   an important criterion for promotion                          but    our evaluation          of teaching           is



being      carried       out      separately           and        we     are   asking       you only        for        information      about     his    scholarly     distinction


Copies of Dr Coxs curriculum                          vitae       and several recent papers are enclosed for your review



       Tenure track faculty                   members in our department                            are   normally considered               for promotion to associate

professor        after       a   probationary period                    of five    full    years   in    rank as assistant        professor           Some faculty members
who served on the faculty                      of     other institutions prior to joining the University                                of Texas        are   considered            for

promotion to associate professor                             in    less      than five years             This    is   true of   Dr Cox As you prepare your review
please      consider         his   career      accomplishments                     as well    as   his    continued          performance         at the    University          of   Texas      at


Austin



       We would          appreciate           your opinions              regarding         Dr Coxs major engineering andor scientific                             contributions                In


preparing        your assessment                   please      consider        the following questions



       1    Do you know Dr Cox and                           if
                                                                  so for how long and under what circumstances
       2    What        are the original              innovative             andor important contributions                       that   he has made           in his field      of

            research              Have       his   publications           influenced         the thinking             of or the methods          used by others           in   your field
       3    How would              you assess Dr Coxs development                               compared with others                 in his     cohort     at research intensive

            universities

       4    What        is
                             your perspective               on Dr Coxs promise for further professional                                 growth        and leadership



            We would              be grateful         for any          additional         comments you might have                  The more specific you can be in your

comments the more                    helpful        your evaluation                will    be


            Under the laws of the State                           of Texas         Dr Cox has the           right      to   request to see any          materials    in     his


personnel        file    including           your letter           Members           of our faculty         and internal        review committees              who see your letter
as part of the          promotion process will hold the comments                                        you make in confidence                  however


         For your comments to receive full consideration we will need to receive  a signed letter from you no later

than July 15 2014 It is not necessary for you to send us a hard copy of your letter an electronic or scanned

version     is   sufficient          However           we would              appreciate       receiving         a   copy that includes your institutional letterhead
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          In   addition   please   enclose   a   copy   of a short version of your curriculum   vitae or   résumé preferably   no

longer than two pages         or the   URL   for your  website where we may obtain this information            If
                                                                                                                    you have
questions please      call   me at the number       given on the letterhead



        We thank you for your time and assistance with this important matter                    We realize that the amount     of

time required to do a thoughtful review is considerable



Very truly yours



Richard   L Corsi PhD         PE
Chair and      ECH Bantel Professor for Professional Practice

Department       of Civil Architectural      and   Environmental    Engineering
           Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 132 of 183



3 Research           Publications          Other Evidence        of   ScholarshipCreativity                               Cox Brady R



                         List of Five         Most         Significant         Works Sent to Referees

A listing of my five most significant              works while in rank as an assistant professor                is   provided   below Note
that the        publication    serial   numbers match those           from my CV and          that underlined        names indicate     either

myself or my          current   and former graduate students             Also my         contribution    to   each of these     publications

was primary in terms of both                intellectual    content    and production Additional              information   may be found
in the   list    of CoAuthored          Works Section       1

4   Cox          BR Stokoe       II     KH Rathje EM 2009 An                    In Situ    Test Method for Evaluating           the   Coupled
    Pore         Pressure     Generation     and   Nonlinear     Shear Modulus            Behavior      of Liquefiable      Soils ASTM
    Geotechnical          Testing Journal          321 pp 1121

7   Cox          BR Beekman AN 2011 IntraMethod                           Variability      in ReMi      Dispersion    and Vs Estimates      at


    Shallow          Bedrock     Sites Journal of Geotechnical                 and Geoenvironmental            Engineering       1374 pp
    354362


12 Cox           BR Bachhuber J Rathje E Wood CM Dulberg R Kottke A Green RA Olson S
    2011 Shear Wave                     Velocity and Geology based             Seismic Microzonation          of PortauPrince Haiti

    Earthquake Spectra                27S1 S67 S92

17 Cox           BR Wood CM Hazirbaba K 2012 Frozen and Unfrozen Shear Wave                                              Velocity     Seismic

    Site Classification          of Fairbanks      Alaska Journal of Cold Regions Engineering                        263 118145

19 Cox           BR Boulanger RW Tolcimatsu K Wood CM Abe A Ashford S Donahue J
    Ishihara      K Kayen R Katsumata K Kishida T Kokusho T Mason B Moss R Stewart J
    Tohyama            K Zekkos D 2013               Liquefaction         at    Strong    Motion Stations in the 2011            Great East

    Japan         Earthquake Earthquake Spectra                 29S1    5580
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                                                                                                                                                                                      Professor                 Richard               L Corsi
                                                                                                            Chair          and ECH Bantel Professor for Professional                                                              Practice


                        ISTerre                                                      Department                       of Civil Architectural                           and Environmental                                 Engineering
                                                                                                                                                                     The University                    of Texas                 at Austin
      Institut    des Sciences       de la Terre
                                                                                                                                                               301 East Dean Keeton                                       Stop C1700
                                                                                                                                                                                            Austin TX 787121056

Pierre Yves         BARD
Ingenieur         General    Pants Eaux
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Telephone          +330 4 76 63 51 72
Telecopie         +330 478 63 52 52
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                                                   Object                      Assessment of scholarly                                                contributions                         of       Dr Brady Cox



                                                   I       am very pleased and honoured                                          to       recommend                 Dr     B Cox for promotion                             on     the basis

                                                   of his significant                          scholarly         contributions



         Mixte de Recherche                                started        to        hear       very                              about him                2   years        ago through one young colleague
                                                                                                      C Cornou who met
Unite                                                                                                      positively
                                                   I




UMR 5275                                           from        my          laboratory                                                                     and    exchanged                  with      him        on       noninvasive

UJFCNRSUdSIRDIFSTTAR                               shear        wave                velocity         measurements Such               exchanges proved rapidly very fruitful and                                                                     it




                                                   was         decided                   to    include           Dr    B    Cox as one of the core scientists in an international

                                                   benchmarking                           project         dedicated              to   the       comparative                assessment                 of    invasive              and non
                                                   invasive               measurements launched by                                             the    French          nuclear          industry            The          first    workshop
                                                   of this           Interpacific                    project          took       place          in   Torino         Italy           last   May and that                         was for me
                                                   the       first        opportunity                to     meet and             discuss             with       him Thus               until
                                                                                                                                                                                                    very recently                     I    did    not

                                                   have         the            opportunity                 to    work                           with          him     in   the       same           project             The       following
Grenoble                                                                                                                     directly

Adresse gEographlque                               comments                     are therefore                   mainly based                   on my thoughts                   derived from                reading              some of
1381 rue de la Piscine                             his        papers                and        CV      complemented                        by        my    feelings         from           the      few     recent              exchanges
38400     SaIntMartinD118res                       within          the framework                       of the Interpacific                     project

Adresse postale
                                                   He        obtained                    his    PhD         only       8   years          ago but              his    academic              records             are        already               very
BP 53
38041     Grenoble     cedex     9                 significant                  in       terms not only                of   peer reviewed                      publications                22 already published                                   but

                                                   also        of        awards and                    of invited           technical               presentations               at   the    national             and        international

Chamber                                            levels            I
                                                                         was         also       impressed              by    the      list     of invited           technical         presentations                     at the            regional
                 de Savoie
Universita
                                                           state           local           scale           within$A          a     broad             range       of      institutions             going         from            elementary
73376    Le Bourget     du Lac       cedex
                                                   schools                to    universities                or   high rank                technical           committees together                          with         the      number            of

                                                   media             articles              and interviews                    this         is    a    witness          of    very          good       communication                           skills

                                                   which             is    not           so usual           especially            when coupled                       with       a    high      level       of     expertise                 for    so

                                                   young a scientist


                                                           was also impressed                               by the         number              of    public funded                  research                               he     has        been

                                                                                                                                               7
                                                       I
                                                                                                                                                                                                     projects

                                                       involved                     either      as a        P18 or Co PI                              this      witnesses             his ability          to              funding               from

                                                                                                                           6
                                                                          in                                                                                                                                      get

                                                   various               agencies               at   the     local               national            8     or international                 1 levels As a                        PI       only     he

                                                       succeeded                    in    raising         over        15 M$           public         funding          over the             last     8 years               ie since his
                                                       PhD defense                        He    is    deeply involved                     in   a     large      number          of    professional                committees                     and
                                                       associations                      and         has     carried         out          several         consultancy                 activities           in     relation                with    his

                                                       expertise               in    shallow           to    deep          geophysical                investigations                  He       is   thus        fully      integrated              in


                                                       the    academic                     and        professional                communities                   at    local          and       national           scales                  and     his

                                                       international                     integration             is
                                                                                                                       growing             as       witnessed              by       his    activities            in      New Zealand
                                                       Japan             Haiti       and now Europe


                                                       A striking              feature          in   his activities  concerns his indepth involvement in post earthquake

                                                       reconnaissance                          surveys        and investigations he had already     participated   before his

                                                       PhD     defense                    in   field      surveys and measurements    following the  Kocaeli    Turkey 1999




                                                                                                                       IFS            1    EAR                                                                          INSU
                                                                                                                                                                                                                  Observer            comprendm
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Nisqually             Washington                          2001 and Hawaii 2006 events                                                   and since                 his        PhD            he    added        four           events                Pisco        Peru
2007 PortauPrince                                Haiti           2010 Christchurch                                  New Zealand                             2011       and     Tohoku                  Japan 2011                        This provides                  an

invaluable            field     experience                      in   the     actual                effects         of    earthquake                    in   various           soil      and       development                       contexts



His    scientific             activities                  deal       mainly               with           geotechnical                   earthquake                     engineering                      with        a    focus            of    near           surface

investigations                in     relation             to site amplification                            and liquefaction                            I    could       not    find          time      to     read       in    detail          the 22          already

published             papers              he         coauthored                       The          5paper               selection              provided                in    addition             to    his     CV            corresponding                      to    the

papers       he       is   the          first    author              of     is       a representative                         one        with          two papers                  related             to    liquefaction                out         of    a    total       of

10 and three to S wave velocity measurement                                                                             with    noninvasive active                                 or       passive techniques                            out        of    a    total       of

8 Rather than commenting                                              each            of       them            I    feel       more appropriate to                                     highlight            some         scientific             qualities              that

             in these              studies
appear
             As already mentioned Cr Cox activities are deeply                                                                                 relying            on    in   situ measurements                                with       a broad range of

             techniques                     at       a vast          diversity             of       sites he             has accumulated                           a very              rich      and invaluable experience                                       which

             qualifies               him as a                fully        reliable             expert          who can              emit trustworthy                          comparative                     assessments                      on    all       kinds of

             invasive                and         noninvasive                         geophysical                    techniques                 That          was one                   of   the reasons                  why he was enrolled                                in

             the       core group                     for    supervising                       the       Interpacific           project
             In
                      particular                     he    is    able        to        implement                    expensive                 techniques                    requiring              heavy            logistics             such            as     In    situ


             testing               of      liquefiable                soil           under           heavy              loading               and lowcost                              techniques               as       well        MASW                      ambient

             vibrations                         His adaptability                      to       a    wide range                 of       techniques                 also       stands for the technological  level some

             are        highly             innovative                either               for technology                      or for      post processing                        some other are older but he applies
             them             with         the        same wisdom accounting                                             for   their         advantages                     and keeping their limitations in mind This

             qualifies                  his     expertise              for           a broad             range           of    applications                      from        site specific                  studies           for    critical         facilities            in


             highly developed                                countries                    to       themapping of site conditions                                              for       microzonation                     studies              in    lowincome
             areas              such as the work done                                       in      PortauPrince Haiti
             I
                  particularly                   appreciate                 the       mixture              of      openmindness                             sincerity          and           very       solid       common sense He does
             not           hesitate              to       emit       strong                   ReMi one which in my
                                                                                          criticisms               to    largely          used              techniques                  such       as        the


             opinion    much oversold and has a high risk to provide misleading results or to outline the limitations of
                                   is


             the liquefaction studies based on limited information   SPT Vs and the need for more refined site
             characterization                              including                 geological                     geotechnical                    information                    I    could          also     appreciate                    these            qualities

             during the                    Interpacific               workshop                     last    May in Torino Brady Cox is able to listen                                                           to       various           arguments pros
             and cons before formulating convincing summary arguments on the best directions to follow This open
             mindness and capacity to listen is thus associated with an acute spirit of synthesis which is very
             precious                   for team             work
             His capacity                        to       work       within           groups              is       witnessed             by the              number            of       coauthors               in       most        of       his    papers            the
             average                 is    between 6 and                             7 for his 23                  papers


My personal                feeling              is    thus       that       Dr        B Cox has already made significant                                                       contributions                   to       geotechnical                 earthquake

engineering                either          by        developing                      or    contributing                  to    develop                     innovative           technologies                    or       by mastering                     enough a
wide    variety            of   geophysical                      tools       to       put      them together                       in   an        optimal          way for a broad                          variety           of    applications             and to
issue       very       welcome                   warnings                  on        the       limitations               of     some              of       the    presently                  used           tools       or    engineering                  practice

Despite          his       relatively                young           age only 8 years                               after       his      PhD                he    has an               impressive               experience                     at    the       national

and     international                    levels His                  openmindness and                                    capacity             to       consider             other techniques                            has allowed                  him        to    build

his   own        specific                 profile            with      significant                   originalities              with          respect             to    his     initial          formation               it    is    not so          common                 to

see     a    young              North American                             scientist               so      open          to     ideas             from           outside           US            namely         Japan                New Zealand                       and

Europe           There               is     no         doubt           for           me        that        he       has        a        rich        scientific              and             human            potential              to        lead        innovative

developments                    in       the         field      of    geotechnical                        engineering                   in     general              and        geotechnical                    earthquake                      engineering                  in


particular            to      bring             new        viewpoints                     and collaborations                             to       the already                 well           established                 team            in    Austin            and        to

conduct          projects                useful            for       the    whole                  society              not    only          in     the      US         but        also          worldwide                Would                he    apply            for    a

position         in   my University and lab                                      I   would           definitely            support             it




I   therefore         deeply               recommend                       him        to    your consideration                            for       tenure         and advancement                              to       associate professorship

at the      Department                     of Civil           Architectural                        and Environmental                            Engineering                   at       the       University             of Texas               at   Austin




                                                                                                                                                                                                                                    Pierre          Yves BARD
                                                                                                                                                                   Group               leader Risks                     Team ISTerre                      Grenoble
                         Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 135 of 183




Peoples Hortensia D

From                                   bardpiujf rasa9ble fr
Sent                                   Monday Augustil 2014 337 AM
To                                     Peoples       Hortensia      D
Cc                                     bardobsujfgranobtefr
Subject                                Re Reminder On Behalf of Richard            L Corsi Letter of Reference for Dr Brady Cox
Attachments                            referencebcoxpybpdf                   CVPYBpdf



Dear Professor            Corsi




Here   is   at last      my assessment of Dr Cox contributions                  and     a short       CV
With my deepest apologies                    for   the delay and the hope         it   will    help



Best regards

pyb

Peoples        Hortensia       D <hoeoplesmaiLutexasedu>                        a ecrit



> Dr Bard



> The Department              of Civil Architectural             and Environmental        Engineering

> at the University           of Texas at Austin           is   considering   Dr Brady Cox for
> promotion to Associate Professor                         As part of this process we would
> appreciate        if   you would provide your candid                    assessment of his

> scholarly contributions                I   have attached electronic           copies of our




    n
> formal letter           Dr Coxs current CV and five of his papers                       If   you
> would      like   to receive      any other information               or a hard copy of the

> documents              please let   me know


> We would appreciate                 receiving your letter by July 15            2014 Thank you
> in advance        for your       assessment



> Sincerely

> Richard      L Corsi PhD             PE
> Chair and ECH Bantel Professor                     for   Professional Practice        Department of
> Civil Architectural             and Environmental              Engineering The University           of

> Texas at Austin corsimailutexasedu<mailtocorsimalLutexasedu>




> Hortensia

>

> Hortensia Peoples

> Civil Architectural             and Environmental              Engineering Cockrell School of

> Engineering The University of Texas                       at   Austin

> 301 East Dean            Keeton      Stop C1700

> Austin TX 787121056

> Phone       512 2321704 or 512 4714921                            images
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                                                                                                  Pierre Yves                        BARD

                                                                         60 yeas             born        11   041954           in   Valence         26 France

SHORT BIOGRAPHICAL                           SKETCH
Dr      Pierre Yves                Bard        is    a     senior         research                 scientist             at     ISTERRE         Grenoble              formerly               LGIT an Earth Science
laboratory                and      at    IFSTTAR           a     civil     engineering                   laboratory                 formerly        LCPC From                 2008           to 2011 he also had a
parttime                activity        20          at        ANR        French           National             Research              Agency          as     program           manager                Natural          Risks         Haiti

disaster           Great        Tohoku         earthquake
After     a       basic         education           in     Science         at     the            Polytechnic              School        in    Paris        he    received           a    Civil       Engineering              diploma
from      the           Bridges          and        Roads         School         in       Paris              and     a        PhD      In     Geophysics           at    the        Joseph           Fourier       University          in

Grenoble             Since        then         he    has         been       working                Mainly          as     a    researcher           in
                                                                                                                                                           engineering              seismology                 trying    to     bridge

the     gap        between             seismologists               and earthquake                            engineers
His    research            is    related        with          estimation             of      strong           ground           motion           with        a   special        emphasis              on    any        kind     of    site

effects       related           with      near surface                  heterogeneities                       including             those      related          with    soil   structure              interaction
A     member of                 the      editorial         beard          of    Several                geotechnicat             and         earthquake            engineering                 journals           he     is    actively

involved           in    the      French        Association               of Earthquake                        Engineering and                      served       as    an expert              for     various      projects          and

review         panels             Recent            achievements                during                 the     last        decade            were         the    SESAME             and        NERIESJRA4                 European

projects             dedicated            to    the        use      of    ambient                 vibrations for               site     characterization                      and       the    propositions             for     a   new
seismic       zonation            in    France with               new spectra
He     has         supervised            about           35      PhD      students                     taught            in    post graduate                    courses        at       several        French          Universities

Grenoble                 Strasbourg Paris                       and       international                      training          courses        GFZ          Potsdam              UNESCO                  coauthored             around
100     papers            in     peer        reviewed            international                     journals               twice        more         in    Conference           Proceedings                     and      many        grey
reports        for the           engineering             community




    PRESENT        POSITION

    ingemeur General des Pants                           Eaux et Forets               Senior           Scientist      at      IFSTTAR        Institut      Francais     des Sciences                et Technologies           des

    Transports          de Amenagernent                  et    des Reseaux                formerly LCPC                    Laboratoire Central des                 PontsetChaussees
    Affecte    a   1STERRE         Institut des Sciences                  de    la    Terre            Observatoire de              Grenoble
             Professional              address           1STERRE          Malson          des Geosciences                     BP 53 X         F38041         Grenoble      Cedex
                   TEI                       04 76 63 51 72                                                                                                      Fax                         04 76 63 52 52

                   Email                     pierreyvesbardwjfgrenoblefr                                                                            We      page       wwrwsterrefr


    EDUCATION              ACADEMIC            DEGREES
             Ecole Polytechniqae                    Paris      1973       1976
             Civil      Engineering          Ecole Nationale               des Pants              et   Chaussees              Pans     1976     1978
             Doctorat           es Sciences         Physiques University                     of    Grenoble           1977          1983


    PAST POSITIONS

              19781984            Engineer          Ministry        of   Equipment fellowhsip for doctorate                                   studies       LGIT Grenoble
              1984        present         Research            scientist    LCPC Paris LGIT Grenoble
             19861987                  Visiting     scientist        at    Office            of    Strong          Motion       Studies        du        California     Division        of    Mines       of    Geology
             Sacramento            California            NATO        fellowship

             2008         2013 In charge              of      the Natural         Risks            Hafti2010             and    Tohoku 2011 Research                    programs          at   ANR      French        National

             Research           Agency       part time           20
    RESEARCH FIELDS
             Wave        propagation in heterogeneous                           media
             Engineering           seismology            and seismic           hazard

             Site    effects and seismic                 microzonation
             Soil structure             Interaction

             System        identification           and vibrations of                civil       engineering          structures



    TEACHING AND TRAINING

      Teaching

             Post graduate               courses              Sesimic hazard                 and        Risk within            several                           and                           schools           Ecole       Nantionale
                                                      in                                                                                     universities               engineering
             des Pants           et Chaussees            Paris           Ecole Centrale                de Paris          University Louis            Pasteur      Strasbourg              University Joseph              Fourier

             University          MarnetaVallee                  INSA     Lyon
             In    charge        of    the     Engneering            seismology                  module        for    the      Erasmus mundus European                         Master          in    Earthquake          Engineering

             and     Engineering          seismology            MEEES           see    httpwwwmeeesorg
             Lecturer           19932012        for      the     International            Training            course       on Seismology and Seismic                     hazard         Assessment

              GeoForschungZentrum                        Potsdam            UNESCO                     Potsdam            Roorkee           Managua         Nairobi      Beijing         ConcepcionAntofagasta

             Pretoria           Bishkek        Herediai           San    Jose     Izmir           Wane
             Lecturer           within    several        Erasmus          intensive              programmes              and    summer schools Thessaloniki                         1990 1991              Udine      1991      Cairo

              1994       Thessaloniki          1997        Kefallinia       1999

      Supervising          of students

             PhD     thesis        30    defended            C Boutin 19841987 J C Gariel 19851988 FJ Chavez
                                                                 5 ongoing         L Geli 19831985
             Garcia       1987           1991       H        1992 A M Duval 1991
                                                           Afra    1988           1994 M Hammoutene 1989
                                                                                 1991 V Caillot 1988
              1994 M Kahan 1993  1996 C Lachet 1993  19961 M     1993   1996 1     1994   1997 M Zare 1996                     Farsi                                  Riepi

              1999 P Gueguen 1997 2000 P Lussou 119982001 C Cornou 19982002 C Beauval 20002003 M Kham 2000
             2004 0 Sebe 20002004 S BonneloyClaudet 20012004 F Dunand 20012005 E Haghshenas 20012005 H Cadet
             20042007 C Michel 20042007 F Renalier 20062010 A Mikael 20072011 M Hobiger 20072011 B Derras
             20072011 m Brax 20062013 A Senouci 20092014 A Sandikkaya 20102014 J lobat 2008 present A Imtiaz
             2011 present                 C     Salameh           2013 present                     V Perron          2013 present
             Master       2DEA           15 Engineering                 diplomas             9
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SCIENTIFIC    ANIMATION               VARIOUS         RESPONSABILITIES                A FEW REFERENCES

  French level

      in   charge    of the national working                   group   for    the    new french          seismic    zonation       map 20022004
      Member        of   the working           group    for establishing            guidelines for a correct accounting                   of seismic       hazard       for        safe dam      and dyke

      design    20092011
      Scenario      studies      for    the    city    of Nice   4200120041

      Vice President            of AFPS       French       Association       of Earthquake             Engineering      20042006           20082012
      Chairman of the Scientific and Technical                           Committee of AFPS                 20002004
      Chairman of the Evaluation                      Committee on Microzonation                       studies   20072012
      Chairman of          the    Committee             on Natural       Risks       and Climate          Change     for   Overseas       Territories       French       Ministry of             Research

      2009     2010

      Member        of various          evaluation       committees           on     research          programmes INSUPNRN                    working      groups       Dams and Earthquakes
      and    boards       RAP     French           Accelerometric        network



  International level

      Expert seismic            actions        liquefaction        for   the     seismic design           of the Vasco      tie   Game     bridge       Lisbon     Control           side
      Member of the Evaluation                      Committee      for   GNDT         Gruppo       Nazionaledi        Difesa      del   Terremoti        Italian   Civil       protection             2001
      2004

      Site   effect expert             for   the    PFGASOS      projects       probabilistic           seismic    hazard       reevaluation      for   Swiss nuclear               power     plants     2001
      2004 and       20032011
      Member        of    the    Technical            Advisory    Board        of    Turkish      projects        Microzonation         for   Earthquake         Risk    Mitigation              20022004
      and Compilation             of    National        Strong Ground          Motion Database              in   Accordance       with International Standards                      200620101
      Coordinator          of the European              project    SESAME 20012004                        httpSESAMEFP5obsolcirenoblefri                                NERIES             JRA4       2006
      20010      and      NERAJRA1             20102014          research           projects

      Scientific     Committee of the SIGMA Rfxr project                                  EDFCEAAREVAENEL 201120151
      Member        of    the    Editonal          Board    of   various       Journals          Soil Dynamics        and        Earthquake       Engineering             Journal           of    Seismology
      and    Earthquake          Engineering             Bulletin of Earthquake                  Engineering


PUBLICATIONS
         International          peer        reviewed     journals        referenced         in   151    Wo5 95      Other         30    Citation index           2917         ti   index         31   Google
         Scholar         68201431
      Book     chapters          15

      Proceedings           International             Conferences         137         National         Conferences         57


AWARDS       INVITED       CONFERENCES
      AFPS     award      1991    coaureat              with   A Pecker
      Conference          Keynote            lectures      European      Seismological            Commission         1998       Tet Aviv       2002      Genoa           2010         Montpellier
      ESG19913      Yokohama                 and 2011      Santa Barbara               Italian     Association       of Earthquake         Engineering           2001      PotenzaMatera
      250th     Anniversary            of    the Lisbon     earthquake          Lisbon 2005                Portuguese       National      Geotechnical       Conference                2006       Lisbon
      Spanish       Conference          on     Earthquake        Engineering 2007              Girona
      Other     invited     conferences               international          conferences          or workshops          stateoftheart                 25   Alger AlnTemouchent
      Bratislava         Bucarest            Caracas Cuernavaca                En   cc    Istanbul        Hatay Kyoto            Lisbon    Nice    Oxford     Seeheim Sapporo Taipei
      Tehran        Tokyo       Trieste        San     Francisco Tunis              Vienna
      Invited Seminars            in    various       institutions     France        10     Foreign        institutions     35
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UNIVERSITY                                   OF CALIFORNIA                                           BERKELEY

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                                                        41A   Arstcrtt        A   1
                                                                                      Yr AtInt        SAN    117111C         SAN IlltANIEV1r                                               3   AVIA        SARSAllA          4ANTC1141t




Geotechnical                   Engineering                                                                                                                                                     Phone              510 6421262
Department of Civil and                                  Environmental                    Engineering                                                                                          FAX                510 6427476
440 Davis Hall
Berkeley               California                 947201710



                                                                                                                                                                                               June        5 2014

Richard               L Corsi PhD PE
Chair        and           ECH Barite               Professor for Professional                               Practice

Department of Civil Architectural                                             and Environmental                         Engineering

University                  of Texas              at Austin

301     E Dean Keeton                             Street       C 1700
Austin Texas                     787122100




Dear Prof Corsi



             I    strongly support                      the    advancement                    of Dr Brady Cox to the rank of Associate Professor with

tenure           at   the University                    of Texas         at   Austin             I   have known               of Dr Cox for over nine years                                    I   am keenly
aware of the research he has performed                                                    because           it   has    been so well done and meaningful                                           I   became

familiar with                   his      research while                Dr Brady Cox was completing his PhD The results of his PhD work
were shared through several                                     research reports                      and his work was presented                           at   an international

conference                  that     I   attended             Dr Coxs PhD work was firstrate and important                                                            I    have continued                    to   keep
track        of Dr Coxs research as he began                                             at   the University                 of Arkansas because                          his   research continued

to   be      of high quality and of great importance                                                  Recently he joined your Department                                         at    the University                   of
Texas                 Austin He is a tremendous                                                  and was a great addition
                 at                                                               talent                                                       to   your already strong program                                        in


geotechnical                    engineering                   He is most deserving                      of this advancement                     In    fact       Prof Brady is worthy of

an acceleration     He is on par or better than most young full professors                                                                          in civil          engineering

        Professor Coxs intelligence   personality and drive were apparent                                                                            at   our first             meeting Brady                     is


confident              and careful                when describing                       the   conduct            of    his    research    and        what       its       potential impacts are to

the profession                       He      is   confident           in that          he answers             questions          with ease          on specific             details            and on the

broad            implications of the research He understands                                                     the underlying           mechanics               required             in his research


Professor Cox                      is    a   conscientious               researcher                  who     takes care          in   presenting          the findings of his research

Brady            is   an excellent                communicator                        One cannot            help       but get excited              about       his       research         after           listening

to   him
        It   is       clear that Professor Cox has a thirst for lifelong                                                      learning and          a commitment                      to   excellence              that

is   second to none Dr Cox has already made several significant contributions                                                                                      to      the    field        of earthquake

engineering                    and he possesses outstanding                                   potential           for   making future contributions                               to    our profession

Dr Cox                is   a   gifted researcher                   He starts              with the          sound grasp of the fundamentals                                     in his     area of study

He first              focuses        on understanding                     and characterizing the governing phenomena                                                      and     then         he looks           for

ways to apply                    his deeper               understanding                  to   solve        problems of importance to the profession
        His           PhD        research           while        at   the University                  of Texas           at    Austin focused              on an innovative                            use of in

situ    geophysical                      methods          for assessing                 the liquefaction                resistance        of soils Brady developed                                     a   new
method for dynamically assessing the liquefaction resistance                                                                       of soils in situ He employed shear wave

measurement techniques                                   to    develop         some of the best insights from                              the       obtained              data    that        I   have found

in   this        important               and active            area    of study Bradys PhD research                                       required a thorough understanding of

soil    mechanics geophysical                                   methods earthquake                            engineering             and electrical             engineering                       among          other

disciplines Preparing the fieldwork                                               installing           instruments               conducting          the     experiments and then
                                     measurements                         among the most challenging tasks required of a PhD                                                                                   The
interpreting                   the                                 are                                                                                                                         student
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PhD         student    needs          to   know        so    much and is responsible for so much                                 that    one develops            a     keen

understanding          of the         phenomenon                  one      is   modeling

       Through        his   research          in this         area Dr Cox developed                          many     important insights on                     this   important

problem some of which are described                                       in his excellent         paper           entitled      An      In Situ         Test    Method for

Evaluating the          Coupled Pore Pressure Generation and Nonlinear Shear Modulus Behavior of

Liquefiable         Soils        ie Cox                et    al 2009            which was published                 in   the    ASTM Geotechnical                      Testing

Journal        This paper earned                       Professor Cox the                Hogentogler Award from the American                                      Society      for


Testing and Materials as the best paper published                                           that   year in this            important journal                    Brady
demonstrated           his excellent               research          skills      through    this line         of research

       Professor       Cox is an active                     researcher           in   geotechnical           earthquake          engineering              and    his   work is well

respected        He has served                on       several     NSF sponsored               Geotechnical                Extreme Events                 Reconnaissance

GEER post earthquake reconnaissance                                             teams and       he has         made important contributions                            in this       area

Professor Cox has                 become           a   leader      in     post earthquake            reconnaissance                    which is a demanding and

critical     area   of research He has always made timely and important contributions                                                                    of the GEER          reports

such    as   those    on the recent Haiti and                          New Zealand             earthquakes               He is one of two                funded        Principal

Investigators         investigating geotechnical                                aspects of the       great     Tohoku            Japan        M9 earthquake
Importantly he has followed                             up    his reconnaissance               activities           with   longterm NSFfunded                          research

projects       such    as    his work          following the                    2007    Pisco Peru earthquake                     and          effects      on
                                                                                                                                         its
                                                                                                                                                                  very    large


liquefaction induced                   lateral         spreads
       Professor Cox              was recently awarded                           a Presidential Early Career Award                             for   Scientists and

Engineers       PECASE award which                                   is   a prestigious grant                awarded        to   only twenty             of our Nations top

young professors Previously                                 he had     earned          a NSF   CAREER award He has clearly earned the respect
of his colleagues                In   terms        of research publications                    funding             and honors Professor Cox has already

established         himself as             one of the top young professors                           in      the   field   of civil      engineering              Professor           Cox
has    risen   quickly       in stature            in   our profession                 and Brady         is   already       recognized              as   one of the top

researchers         in the       area of applied geophysical                            methods liquefaction                     effects       and post event

reconnaissance              Within           his   peer       group         Professor Cox          is    one of the best geotechnical                           earthquake

engineering professors at this time                               in      his    career Professor Cox                 is
                                                                                                                           definitely          worthy of this advancement
to   Associate        Professor            with tenure

       In   summary          Professor Brady Cox                           is   one of a select group of researchers                            who       are conducting              the

type of work he             is
                                 doing and making the impact that                               he      is
                                                                                                              making        He is by          far    the youngest         of the top

people       in his   innovative             area of research                    and he has the potential                  to    make lasting significant impacts                           in


many disciplines of engineering                                There        is   no one    in his
                                                                                                      peer group
                                                                                                                            who        possesses          his combination              of

intellect      knowledge               and skills            in   applied engineering                geophysics Brady                    is
                                                                                                                                               already      a leader      in civil


engineering           He is a great ambassador of our profession He is one of the kindest                                                                people      whom        I   have

met He is someone                     that   people          want to work with because he treats                                 all    people       fairly     and gets the most

from everyone           with          his    positive attitude

       Thank     you


Sincerely




Jonathan       D Bray PhD PE
Faculty Chair          in    Earthquake                Engineering Excellence
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Peoples Hortensia D

From                                                     Jonathan Bray <jonbrayberkeleyedu>
Sent                                                     Wednesday June 04 2014 349 PM
To                                                       Peoples             Hortensia       D
Subject                                                  Re On Behalf of Richard                   L Corsi Letter of Reference        for   Dr Brady Cox
Attachments                                              CoxUTAustinpdf

Follow Lip Flag                                          Follow         up
Flag Status                                              Flagged




Dear Hortensia



This   is   a   very       easy    letter     to write              Brady is one of the very best            in his   peer group He has earned         this   promotion plus an

acceleration               Thank         you


Jonathan



On 05 Jun 14 636                     AM Peoples Hortensia D wrote
                Dr Bray



                The Department                       of Civil           Architectural            and Environmental      Engineering at the University            of Texas

                at   Austin        is    considering Dr Brady Cox for promotion to Associate                                      Professor        As part of this

                process           we would                 appreciate            if
                                                                                      you would      provide your candid      assessment           of his scholarly

                contributions                   I    have attached                    electronic    copies   of   our formal letter    Dr Coxs current           CV and
                five     of his      papers                If
                                                                 you would            like   to receive   any other information        or a hard copy of the

                documents                 please            let    me know


                We would appreciate                                receiving your letter by July 15 2014                   Thank you        in   advance   for your


                assessment




                4
                Sincerely

                Richard           L Corsi PhD                       PE
                Chair and ECH Bantel                              Professor for Professional Practice

                Department                 of Civil Architectural                        and Environmental          Engineering

                The University                of Texas at Austin

                corsimailutexasedu




                Hortensia

                Hortensia       Peoples

                Ovil Architectural         and Environmental             Engineering

                Cockrell    School      of Engineering

                The University       of Texas       at   Austin

                301 East    Dean     Keeton         Stop        C1700

                Austin     TX   787121056

                Phone      512 2321704          or       512 4714921
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Jonathan            D Bray PhD P




Faculty    Chair in Earthquake        Engineering       Excellence

jonbrayberkeleyedu
510 6429843
510 6427476          fax

453 Davis Hall




BIO     SUMMARY

Jonathan     Bray   is   the Faculty Chair in Earthquake                Engineering          Excellence             at   the University    of

California    Berkeley       He earned engineering            degrees         from West         Point Stanford                   and

Berkeley      Dr Bray is a registered          professional        civil   engineer         and has served as a consultant                      on
several    important     engineering    projects      and peer review panels He has authored                                 more than 250
research    publications      His expertise includes              the   seismic performance                  of earth structures

seismic site response liquefaction              and   ground failure and              its   effects    on structures              earthquake
fault   rupture   propagation      and post event        reconnaissance                Dr Bray         is   a   Fellow      in   ASCE     and he

has received      several    honors    including      the   Peck     Award Joyner              Lecture Prakash Award                    Huber
Research      Prize Packard        Foundation      Fellowship and             NSF Presidential                  Young      Investigator

Award



AWARDS


Ralph     B Peck Award American               Society   of Civil    Engineers 2013

Fulbright Award          US Fulbright Scholarship            to   New Zealand 2013
William B Joyner Lecture Award                 Seismological         Society     of America                 Earthquake            Engineering
Research      Institute    2012

Thomas      A Middlebrooks         Award American           Society        of Civil    Engineers 2010

Fellow     American      Society   of Civil   Engineers 2006
Shamsher Prakash Award              for International       Contributions         to Geotechnical                 Earthquake

Engineering       1999

Walter    L Huber Civil Engineering            Research      Prize American                 Society of          Civil    Engineers 1997
Forensic Engineering         Outstanding        Paper Award American                    Society       of    Civil    Engineers 1995

David and Lucile Packard           Foundation         Fellowship        for   Science and Engineering                       1992

Trent    R Dames and William W Moore Award American                               Society        of Civil        Engineers 1992
Presidential Young         Investigators      Award     National        Science       Foundation 1991
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RESEARCH


RAPID       Liquefaction        and     Its   Effects   on   Buildings       and Lifelines   in   the   20102011 Canterbury
New Zealand Earthquake Sequence                           National         Science   Foundation         1113123113             $101916
Co Principal Investigator


Collaborative     Research Geotechnical                      Extreme        Events Reconnaissance            GEER Association
Turning     Disaster     into   Knowledge           National      Science      Foundation         08130718           $415733
Principal    Investigator




Evaluating     Fully Nonlinear            Effective      Stress   Site      Response      Computer Programs using Records
from the Canterbury             Earthquake        Sequence           US Geological Survey National Earthquake
Hazards     Reduction       Program            060113053114 $89985                      Principal       Investigator




Liquefaction     Impact on Critical              Infrastructure       in   Christchurch      US Geological             Survey   National

Earthquake      Hazards         Reduction        Program       1221112112                 $85000        Principal    Investigator




RAPID       Liquefaction        and     Its   Effects    on Buildings        and Lifelines   in   the 22    February     2011

Christchurch      New      Zealand        Earthquake          National        Science     Foundation       711163013
$99554       Piincipal    Investigator




Earthquake Surface              Fault    Rupture        Interaction    with    Building   Foundations          National    Science

Foundation      08090913              $297800            Principal    Investigator




NEESRSG           Seismic        Perfomiance            Assessment in Dense Urban Environments                          National

Science     Foundation          1008314 $1734665                      Principal      Investigator




Liquefaction Induced             SFSI         Damage     due to the 2010 Chile Earthquake                    Pacific    Earthquake
Engineering      Research         Center Project 2422004                   06110514 $129979                 Principal    Investigator




Study of Slope Stability in Relation to Roots and Seepage                                  Levee Failure        Forensic     Study
The Sacramento Area Flood Control Agency 10090313                                         $614282        Principal     Investigator




improved      Description        of the       Seismic     Response of Deep Soft Clay Deposits                       National    Science

Foundation      09090813                $277114          Co Principal Investigator
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        Roisselael                                                                            CIVIL   AND
                                                                                              ENVIRONMENTAL                   ENGINEERING




July        21 2014



Dr Richard               L Corsi Chair
Department               of Civil Architectural and Environmental                                          Engineering
EC1 4200
301     E Dean Keeton Street C 1700
The University of Texas at Austin

Austin Texas 787122100




This        is    in    answer           to     your   letter          asking          for    my     assessment                of the        scholarly    distinction          and

professional              accomplishments                    of Dr Brady Cox as you consider                                          him for promotion to the rank

of Associate              Professor             with tenure



1   first    became           aware of Bradys work                           from his remarkable                       2006 PhD           thesis     where he developed

under            Prof     Stokoes               direction          a    new           method         for       direct         measurement            of the      liquefaction

resistance             of soils in the field obtaining excellent                                    results        I   made a point at the time to follow                      his

career       as    I    am interested             in   the    related            subjects of field geophysical                           techniques      and liquefaction

of sands during earthquakes                             As a result               I    have    read a number                  of his papers over the years and                       I




have        interacted             a few times with               him on technical                   subjects mostly by telephone                         and email plus

a   couple of personal encounters



Based on               this   plus       reviewing of the               CV and papers you sent me let me say that he has fulfilled
and exceeded                  my expectations                 The career of Dr Brady Cox                                      first    as a faculty     member at the           U
of Arkansas               and        U of Texas and                    in   the       last   two     years as a faculty member at                         UT     Austin has

been        remarkable              by any measure and has                            placed        him at the              forefront     of earthquake        engineering
The impact of his work                              especially
                                                                            in   the    area    of noninvasive                    measurement          of relevant    ground

properties             using       portable        instruments              that      can be deployed                  shortly after          an earthquake          is
                                                                                                                                                                          really

quite        incredible              considering          his      youth              and      he    is    poised            to       make    even     greater    innovative

contributions                 in   the   near future          In   numerical                 terms his activity has been quite                         intense    both    at   the

U of Arkansas and                         at    UT 22 published                       refereed       journal           papers seven            MS and one PhD             with
four        PhDs         in    the    pipeline         and        he has secured                or helped               secure almost $ 3 million dollars                        in


external          research           support       including several                    prestigious and very                      competitive        NSF grants




                                                                        Renhselaer Polytechnic                 Institute

                                          110   8th Street    I
                                                                  Troy      NY    121303590         USA    I
                                                                                                                Jonsson Engineering           Center

                                                  Phone   518          27663601         Fax    518    2764833           1
                                                                                                                            wwwcerpletitt
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It    is   important                 to   consider           the        state   ofthe art of the measurement                              of the shear wave                    velocity       of

soil       at   depth which                     is    important              to quantify the               effect       of future earthquakes                  While       we do have
reliable             techniques                to    do this they tend to be invasive                                   involving        drilling    in    the      soil expensive
and timeconsuming                                   This     is   fine       for some projects               but      is   not well suited        for    many others
Professor              Cox has                  focused            on     a     family of surface                   wave          technologies       that       does          not   require

drilling
                     has        produced              brilliant          innovations             and       refinements            in   these    techniques           has       tried    them
all    over          the        world          after    some of the                      strongest     and        most      destructive         recent     earthquakes                 and    is



now         in   the        process of revolutionizing                                    them    as part of his 2011                   NSF CAREER Award                            and      his

2012 Presidential                         Early Career Award for Scientists                                       and      Engineers       PECASE In addition                           he    is



accelerating                    the       impact        of these              developments                 worldwide             by    personally       training          personnel           in


both        developed                     and        underdeveloped                       countries         in    the       use     of these      technologies                 especially

through              his    visits        to    Haiti Peru Japan                         and    New    Zealand             immediately after strong earthquakes



Another area where he has done outstanding                                                        work       is    in     the    development        of very         innovative          field


testing          techniques                    and      associated               equipment             to     develop             liquefaction      of saturated                sands        by
vibrations                 in    the      field        This        is    a    continuation             of his        PhD work            which      also       holds      a     very    high

promise                Liquefaction                    is    a     complex                phenomenon              still
                                                                                                                            poorly       understood            and       Bradys new
                 techniques                offer       good hope                for better                                        of the physics        of liquefaction                in    the
testing                                                                                              understanding
field           during           strong             seismic         events                The    importance                and     excellence       of     one       of        these      new

techniques                 was recognized                         by the prestigious Hogentogler                                 Award         awarded     in       2010       to a    paper
coauthored by Professor                                     Cox by the American Society                                   for Testing     and Materials



The         quality              amount               and         impact         of        his   research           since         he   started    his     academic              career        is


outstanding                      whether               measured                 by         publications             in      prestigious         journals            and        conference

proceedings                     a     high          level    of external                  research         support         including       a    number         of   NSF         grants        or

prizes such                 as the         Hogentogler CAREER                                  and   PECASE awards


In    summary                   Professor              Brady Cox                is       an outstanding            young         researcher      who      is   at   the       forefront       of

his        peers       and           has       conducted                very     innovative            and high impact                   research         which          is
                                                                                                                                                                               starting       to


revolutionize                    a    very          important            area        of earthquake                engineering             Furthermore               he    is    having        an

immediate impact                               in    those        parts       of the           world       that    are      in   most    need     of the new              technologies

through              his    field         research and personnel                           training        after destructive             earthquakes           He would             have      an

extremely strong case                                for promotion                   and tenure        in    our Dept here at RPI



Based on               the          considerations                 above             I
                                                                                          strongly     support             the    promotion of Dr              Brady           Cox to the
rank            of    Associated                     Professor            with           tenure       in    the      Department            of    Civil         Architectural                and

Environmental Engineering                                         of the University of Texas                         at     Austin




Sincerely              yours




Ricardo              Dobry
Institute            Professor
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Peoples Hortensia D

From                                 Ricardo Dobry <dobryrrpiedu>
Sent                                 Monday July 21 2014 324 PM
To                                   Peoples   Hortensia   D
Subject                              RE On Behalf of Richard L Corsi Letter of Reference for Dr Brady Cox
Attachments                          Brady Cox promotion and tenure    U Texas pdf Dobry 2 page Blo      for   recommendation   letters


                                     2014pdf



Dear Ms Peoples and Dr Corsi



As requested       I   am enclosing my signed letter of evaluation    for the   proposed tenure   and promotion of Or Brady Cox



I
    am also enclosing     a 2 page   CV


Best   regards



Ricardo    Dobry
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                                                    RICARDO              DOBRY


PRESENT POSITION
Institute    Professor Dept of Civil and Environmental Engineering

Rensselaer Polytechnic              Institute


Troy NY        121803590
Phone 5182766934

dobryripiedu
wvvwrieesapiedu




EDUCATION
Massachusetts        Institute      of Technology       ScD Civil Engineering 1971
National      University     of Mexico          MS    Soil    Mechanics      1964

University     of Chile Structural            Engineer     1963



ACADEMICPROFESSIONAL                                HISTORY
2007                       Institute      Professor   Rensselaer Polytechnic        Institute       Troy     NY
1981                       Professor        Dept    of Civil      and    Environmental         Engrg      Rensselaer     Polytechnic

                           Institute Troy NY

1988                       Director        Geotechnical      Centrifuge      Research      Center      since      2005    Center   for


                           Engineering       Simulation       CEES Rensselaer Polytechnic                  Institute   Troy   NY
1984        1985           Visiting       Professor   Civil    Engineering       University        of Texas    at   Austin    Austin
                           TX
1977        1981           Associate        Professor     Civil    Engineering      Department            Rensselaer     Polytechnic

                           Institute      Troy NY
1974        1976           Senior Project Engineer Woodward Clyde Consultants                             San Francisco       CA
1971        1973           Professor       and   Head     Soil    Mechanics      Group         University     of Chile     Santiago

                           Chile

                           Director       Masters     Program     in    Soil Mechanics     19721973

HONORS
J James Croes Medal American Society of Civil Engineers                                 1985

Member National Academy of Engineering 2004
Outstanding        Civil   Engineering        Achievement         of ASCE as part of the team that

  designedreviewed                foundations      of RionAntirion Bridge Greece                 2005

Outstanding        Project       Award of the Deep Foundations              Institute    as part   of the team that

   designedreviewed                foundations     of RionAntirion Bridge Greece                   2007
William II         Wiley Distinguished Faculty            Award RPI 2008
Ishihara     Lecturer      5th    Intl   Conf on Earthquake Geotechnical            Engineering Santiago Chile 2011

Carrillo Lecturer          National       Meeting Mexican         Society of Soil Mechanics            and Geotechnical

   Engineering Cancun Mexico 2012
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SELECTED             GUEST LECTURES
State   of the Art         report        on     Dynamic            Response          of         Soft       Clay        International      Symposium on
       Geotechnical        Engineering              of Soft Soils Mexico City 1987

Guest Lecture         on Soil Properties and                      Earthquake         Response                   10th   European Conference                    on Soil

       Mechanics        and Foundation               Engineering              Florence Italy 1991
Guest     Lecture       on         The        Properties
                                                                 of    Soils     and        Their          Behavior       During        Earthquakes               9th

       Panamerican         Conference               on    Soil     Mechanics           and          Foundation          Engineering           Vifta       del    Mar
       Chile 1991

Keynote        Speaker        at    International          Symposium on                 Soil         Behavior          and    Ground     Damage               During

       Earthquakes         Japanese           Society      of Soil Mechanics                and          Foundation      Engineering              Tokyo Japan
       November         1995
State   of the Art          Speaker            on      Soil        Dynamics                 I   1   th     World        Conference        on            Earthquake

       Engineering         Acapulco            Mexico June              1996
State   ofthe Art Speaker on Post Triggering Response of Liquefied Sand in the Free Field and
       Near Foundation ASCE Specialty Conference on Geotechnical Earthquake Engineering and
       Soil   Dynamics        III    Seattle        Washington August 1998
           State of the Art Lecturer                                                                                                                   Panam
                                                                                                                                                  lh
Invited                                                on Soil Dynamics                 and Earthquake Engineering                        I   I




       Conf on     Soil    Mechanics and Geotechnical                          Engineering Iguassu                     Falls Brazil      August           1999
Invited       Keynote Speaker            on Recent Developments                        in   the      Understanding           of Earthquake Site

       Response      and Associated             Seismic Code Implementation                                 GeoEng 2000          Intl   Conf on
       Geotechnical            Geological           Engng Melbourne                    Australia            November          2000
Invited       Keynote      Speaker         on Pile Response                   to Lateral        Spreading          Field      Observations             and Current

        Research        4th   Intl    Conf on Earthquake Geotechnical                                    Engineering Thessaloniki                      Greece    June

        2007
15th    Buchanan        Lecture       on      Pile        Response        to    Lateral         Spreading          Field     Observations              and    Current

        Research        Texas        AM U November 2007
State   of the Art Speaker               on     Seismic Response                  of Deep                Foundations         Subjected    to       Liquefaction
        Induced Lateral             Spreading 51h               Intl   Conf on          Recent            Advances       on Geotechnical                Earthquake

        Engineering        and Soil Dynamics San Diego                            CA May 2010
Third     lshihara      Lecture       on      Investigation            into    Why      Liquefaction              Charts      Work       5        Intl       Conf on

        Earthquake         Geotechnical             Engineering           Santiago              Chile January 2011

 XXI      Carrillo      Lecture       on      Simplified Methods                   in    Soil        Dynamics            National       Meeting              Mexican

        Society of Soil Mechanics                    and Geotechnical              Engineering Cancun Mexico November 2012




RESEARCH INTERESTS
His     main     research          interests        are    in    the    areas     of    soil         dynamics          and     geotechnical             earthquake

engineering          and                            in                                                   sand                      seismic                          of
                              specifically                cyclic       soil    properties                       liquefaction                           response

embankments             effects       of       soils      on    earthquake         ground                motions        building     seismic             codes    and

microzonation             dynamic          soil   structure            interaction          machine             foundations        seismic             response     of

offshore       structures      seismic response of bridge foundations                                      and geotechnical          centrifuge           testing
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      Georgiaino                                                                                  artitff

                          Technoogy
                                                                                                                                                                                                                   072814
Richard     1 Corsi PhD                            PE
Chair and      ECH        Eiantel         Professor for Professional Practice

Department of Civil Architectural and Environmental Engineering

301 E Dean Keeton                    Street                  C 1700

University       of Texas            at   Austin

Austin TX 787122100



Re Evaluation                 of Scholarly Contributions                                          of Dr      Brady Cox


Dear Professor Corsi



Further     to    your          letter              dated           June            2    2014           I
                                                                                                            am         pleased             to    provide           you        with   this      appraisal             of    the

significance        of        Dr Coxs scholarly opus                                        in     light     of        him being                considered             for    promotion             to the          rank        of

Associate      Professor with                            tenure           My        evaluation               is       based on information                         appended           to your            letter      as well

as other    interactions                  I        have had with                        him       at    professional                  meetings over the past few years                                         I   have    not

collaborated            with     him on                      any        research              projects            however              I    have had the opportunity                               to    observe           him

make     technical            presentations                         at    a    number of meetings                                In    addition             I    serve    as    Co Chair of GEER and as

summarized              in     his    dossier                   he        has       participated                      in    a    number           of      NSF funded              GEER         post earthquake

reconnaissance                activities                 thus       I   have good                 knowledge                 of   his field         research             study skills          Comments on                       his


contributions            are    summarized below



Research       Contributions                            In    his       time as         a   faculty         member at the University of Texas at Austin Dr Cox has

developed                 research                                            that          has        involved             predominantly                        PhD     graduate            students               He     has
                    a                                   program

graduated one PhD student and one MS student and he is currently advising four PhD students                                                                                                                        This    is    in


contrast to         his       performance                       at      his    previous                institution              where he predominantly                            advised           and graduated

MS students              It    appears                  that the           PhD          student             who he              graduated            at     UTA        likely    began        his       studies       at   the

previous institution                          It    is    not clear from                      his   dossier what stage                           of their studies the current                           PhD students

are    although          it    seems                likely      that          they          all
                                                                                                    began             after      his       arrival     at        UTA     There        is    no evidence               of        BS

students participating                             in    research             activities               Accordingly                I
                                                                                                                                      see elements of his maturing as                                    a   researcher

associated       with          his transition                   from his previous institution                                         to    UTA and believe                   that   this     may position him
better    for continued                       success               and contributions                             as       he moves              towards the next                    stage         of    his       academic

career    He     has          been        quite successful                          in      securing              research            funding        from both state and federal agencies

including    a    number             of        prestigious                    awards from NSF All these                                     metrics             attest   to a    maturing of his research

portfolio      as       well    as        the            quality          of    his         proposal              development                    and      also      bodes        well       for     his      future        as     a

researcher           His       research                      success           is       complemented                        by    the        fact      that        he    is     publishing              in   both        peer
reviewed       journals          and conference                               proceedings



In    reviewing the             papers                  appended               to       his   dossier             I    would summarize the approach                                    that        Dr Cox takes                  in



his   research       work and resulting manuscripts as one that seeks to utilize                                                                                  high quality             field    measurements

and observations together with basic science to understand observed                                                                                              macro scale phenomena and then
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using       this   understanding to                             better evaluate           field        performance                 of systems This                   approach             will    serve        him

quite well         and will allow him to make useful contributions



At the       same time                    I   would note that his journal paper publication record                                                   is    somewhat different                      than that

of     many        individuals                  being          considered         for     promotion                   and       tenure         He         has    authoredcoauthored                               22

journal          publications                  over an          11 year period dating                    back         to    his    time       as a   graduate           student             Equally           well
50 of those                      journal             publications         were published                     in    one       year       2011          and        he    is    averaging             2 journal

publications                a   year since               then Further 10 of                 his journal               publications             involved           1 student              the graduated

PhD and only 1 other student an MS at his former institution                                                                           has published             a   journal           publication            with

him While               I   realize his              overall journal             publication            record             may be reasonable                     these        somewhat variable

and different                   publication               metrics are       likely   at    least        partially           reflective         of his      change of institution                           and the

fact      that    his       involvement                   in    reconnaissance            following              the       Haiti       and New Zealand                 earthquakes was time
critical     and consuming                            Equally      well     I    believe     it    would be good                       for    him to focus on developing a more

balanced           and           broader based                    research        program              in    terms          of students              advised          PhD MS and                           BS and
publication             record                number            of journal papers           per year and greater student involvement                                                     in this       activity

Development of                        a       more consistent and stable research                                     portfolio         would better underscore                             his        ability    to

effectively mentor graduate students through                                                 all
                                                                                                       aspects         of the research                    enterprise              In    summary while
his       productivity             in         the    past       four    years     may      be      somewhat variable                           I   believe           that    overall             his       funding

record evolving                   student                advising       record    and journal publications                              attest     to a trajectory                that     is
                                                                                                                                                                                                 positive



Professional Contributions                                      As with    his    research             contributions                   Dr Cox has           enthusiastically                    participated

in    a    range    of          professional               activities      and my own                  observations                    as    well as those             of     others are that                     his


contributions                   are       always          thoughtful        and valuable                    Despite          the challenges                 of being          a    young untenured
faculty          member            developing their own                         academic           dossier and simultaneously                               expending                  effort    to        develop

core       capabilities            for         his   department             he has      clearly worked                     to   develop            professional             visibility          and become

engaged           in a variety                 of ways




Peer Recognition                          and Overall Assessment There                                  are       many ways                 to achieve           recognition             amongst ones

peers        I    believe             that          Dr Cox         has    worked          hard         to     develop              a   well    rounded               academic             dossier            He    is



publishing          the          results            of    his    research       activities        In    peer          reviewed           journals          and conference                   proceedings
His research                performance provides                          him with the basis to continue building a solid research                                                          program and
making           solid      technical                contributions          in    the   future              He    has       demonstrated                   the   ability       to       be successful              in


securing          research                funds          from various agencies and                       this will          allow       him to continue making                            contributions

Accordingly                 based on                his   performance to date and equally importantly                                                 his       current       trajectory               I   believe

that       Dr Cox               has           developed           the    necessary          dossier              to    deserve              promotion            to    the        rank      of     Associate

Professor with                   tenure



Sincerely




J David Frost PhD                               PE PEng FASCE
Professor of Civil                            Environmental              Engineering



790 Atlantic Drive

Atlanta           GA 30332 USA
Phone 4048942280                                     Fax 4048942281
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Peoples Hortensia D

From                                        Frost   James D <davidfrostcegatechedu>
Sent                                        Monday    July 28 2014 112 PM
To                                          Peoples   Hortensia   D
Cc                                          davidfrostcegatechedu
Subject                                     RE Reminder On Behalf of Richard L Corsi Letter                   of Reference         for    Dr Brady Cox
Attachments                                 CoxPromoAssocDFpdf



Dear Dr Corsi



     apologize for being late        in submitting this letter however my daughter  was in hospital ICU     last week  and now that
                                                                                                                             all
I




she    is   back    home    I   am able to catch up on overdue correspondence      hope the attached letter
                                                                                           I                        of value to youis    still




Sincerely




David



J David Frost PhD                PE PEng FASCE
School      of Civil      Environmental       Engineering

Georgia      Institute   of Technolog

Phone 4048947280                  Fax 4044942281
Email davidfrostcegatechedu



From Peoples              Hortensia        D mailtohpeoplesmaiLutexaSedul
Sent Thursday              July    17 2014     1029 PM
To davidfrostcegatechedu
Subject            Reminder        On    Behalf of Richard   L Corsi Letter of Reference            for Dr   Brady Cox

Importance               High



Dr Frost



The Department                  of Civil   Architectural     and Environmental       Engineering at the University of Texas at Austin                           is



considering Dr Brady Cox for promotion to Associate                            Professor       As part of this process we would appreciate

if
     you would provide your candid                    assessment of his scholarly contributions                  I   have    attached            electronic   copies

of our formal letter                Dr Coxs current CV and five                                     you would




5
                                                                         of his papers         If                    like   to receive           any other

information            or a hard copy of the documents                please   let   me know


We would appreciate                     receiving your letter by July 15       2014    Thank you in advance                 for your         assessment



Sincerely

Richard       L Corsi PhD                PE
Chair and ECH Bantel Professor for Professional Practice

Department             of Civil Architectural         and Environmental        Engineering

The University            of Texas at Austin

corsimaikutexasedu




of4t4rek



Hortensia Peoples
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J David    Frost        PhD PE PEng FASCE

Biography


J David Frost is a Professor of Civil                   Environmental     Engineering          at   the Georgia         Institute     of Technology

He worked for several            years    in Canada       on a range of natural resource              projects         before receiving        MS
1986 and PhD 1989 degrees                     in Civil   Engineering    from Purdue          University           He   is   a   Registered

Professional Engineer            in   Canada and US and         a   Fellow of ASCE       His    research          focuses       on the development

and implementation           of digital data       collection       systems   for   studying subsurface                problems related to

earthquakes        at   multiple      scales and   he has received       two US patents             for   multisensor subsurface

characterization         systems He has graduated 30 PhD students                       40 of whom have gone on to academic
careers   themselves         He is currently advising          7 PhD    students       He has served on or led NSF supported post

disaster study teams following                earthquakes      in   US Turkey        India   China Chile and Japan                   as   well as   at   the

World Trade Center complex following the                      911 attacks           He has organized          numerous workshops and

conferences        on the applications of spatial analysis              tools to study both regional effects                       and damage

patterns   from earthquakes              and well as the micro scale response                  of liquefiable          soils     under various

loading conditions          He has received         a    number of awards       for his research            work including an NSF National

Young Investigator Award                the   ASCE Huber      Civil   Engineering Research                Prize   and the ASTM            Hogentogler
Award He      is   an   active   and engaged        member      of a   number of professional organizations including ASCE

ASTM CGS CUREE              EERI GEER and IGS
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                                                    UNIVERSITY OF ILLINOIS
                                                AT URBANACHAMPAIGN

                                                                                  Department of Civil                Environmental Engineering

                                                                                  RM 2230C NCEL MC 250
                                                                                  205     N Mathews           Ave
                                                                                  Urbana         IL   61801

Wednesday            July       16 2014


Richard       L Corsi PhD PE
Chair and ECH Bantel                   Professor       for Professional      Practice

Department           of Civil Architectural                and Environmental Engineering

The University of Texas at Austin




Re Dr Brady Cox tenure and promotion

Dear Prof Corsi



In
      response to your             letter   of June    02 2014         please find       below        my review          which    addresses        the


points you have requested



       1     Do you know Dr Cox and if so for how long and                                      under what circumstances



I    have    known Dr Cox over                 a period        of many years as a colleague Our interaction                           included

professional conferences                    and meetings Over the            last    three years            Dr Cox was a collaborator on a
NSF project          I   am leading          related   to a    deep    excavation        for the      Transbay       Transit      Center    in


downtown           San Francisco             The largest excavation           in    soft      soil    in   San Francisco         to build    the
Grand        Central Station          of the    West My evaluation                  is   based        on interactions       with     Dr Cox his
professional         reputation        through        third parties      and the promotion package                       provided    to    me for
review



             What        are the    original        innovative        andor important contributions that                     he   has made          in   his

             field   of research             Have    his publications       influenced          the thinking         of or the methods used

             by others in your field


Dr Cox has established                      himself as     a   leading   authority       in   the area      of geophysical          and    in    situ


testing      in   the geotechnical            field    He has developed        a strong reputation                  in   his field   His leadership

is   evidenced       by the national            professional       awards he has received the competitive grants

especially        the    NSF CAREER award                      and the publications            in     major journals He has clearly

distinguished himself amongst                        his   colleagues and     is    well      regarded as an authority               in   the area       of

in    situ   geophyscial         testing



Dr Coxs work has focused on the development                                  and application                of tools for reliable

measurement              of shear wave velocity                Vs     of geologic        material Vs          is   a fundamental          soil


parameter         for evaluating            nonlinear response of soils under static and dynamic                                 conditions        The
tools       and procedures           that    Dr Cox has developed            in    his    papers has helped the profession                        in


understanding             the   reliability     of the various         measurement            techniques           eg REM1 Surface


                                       Telephone2173336986    Fax 2172658041
                                 Email hashashillinoisedu httpwwwillinoiseduhashash
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                                                 UNIVERSITY OF ILLINOIS
                                               AT URBANACHAMPAIGN

                                                                                    Department of Civil            Environmental Engineering

                                                                                    RM 2230C NCEL MC 250
                                                                                    205   N Mathews Ave
                                                                                    Urbana       IL 61801


methods      I   have seen            firsthand       the application         of these approaches to develop                      reliable   estimates

of changes       in   Vs due to large            scale   soil   removal       in    a major urban excavation




    3 How         would you assess Dr Coxs development                                    compared with others               in   his cohort    at


          research intensive              universities



Dr Cox has a demonstrated                      record of research accomplishments                         and the ability to develop

funding streams to continue                    supporting his research                 His ability       to win   an NSF CAREER award

places him in a small group of highly accomplished                                             career     professionals In examining                 in
                                                                                       early

detail   his biosummary I                am impressed           by   his   accomplishments               and qualifications           He is

definitely   on par with peers at his current                        career   stage       He is amongst          the top     of his peers at

similar academic             institutions        He is a sought            after collaborator for           understanding           ground

response and failure after eartquakes                      New Zealand Japan Haiti


    4     What        is   your perspective           on Dr Coxs promise for further professional growth and

          leadership



Dr Cox is well positioned                  for   continued       growth        in   his research         program in the coming years                  He
has chosen areas of research that are expected to continue                                     to   grow     His demonstrated           research

and pioneering work puts him at the forefront of researchers                                        in   these   areas   I   would expect him to
become     a leader         in   these areas




I am impressed by the overall record of Dr Cox He brings into the academic work strong
practical approaches This practical background appears to help Dr Cox to focus on research

problems that are important and relevant                         to the       engineering        community          He has        strong     research

and service      record          I   believe   that   he will    continue         to   be an active        and productive          faculty    member
and in the geotechnical                engineering        profession         at   large    I   believe     he has satisfied the criteria for

tenure and promotion                  and would endorse such                  action     without any hesitation



Feel free to contact             me should you have              additional         questions




Best regards




Youssef Has hash                 PhD PE
Professor Geotechnical                  Engineering


                                       Telephone2173336986    Fax 2172658041
                                 Email hashashillinoisedu httpwwwillinoiseduhashash
                          Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 154 of 183




Peoples Hortensia D

From                                              Corsi Richard                L

Sent                                              Wednesday                July      16 2014 354 PM
To                                                Peoples            Hortensia

Subject                                           FW On Behalf of Richard                          L Corsi Letter of Reference                                    for   Dr Brady Cox
Attachments                                       Coxhashashletterpdf




Richard       L Coi si    PhD PE
Chair and       ECH Bantel Professor              fc        Professional       Practice


Department         of Civil   Architectural                and    Environmental           Engineering

The    University    of   Texas     at      Austin




Civil Architectural         and Environmental                     Engineering             httowwwcaeeutexaseduf                                     Twitter       LIICAEE


Co Director Center            for Sustainable               Development              httosoautexaseducsd                                     Twitter   lrlSoACSD




From Hashash                Youssef           M A mailtohashashaillinoisedul
Sent Wednesday                    July       16 2014 346 PM
To Corsi Richard              L

Subject RE On                 Behalf of Richard                   L Corsi Letter              of    Reference               for       Dr Brady Cox


Dear Dr Corsi



Please     find    attached        is       the requested               letter




Best regards




TOUSSefgraShiLSIL           PhD PE rAsur
1remor John Uurkin            VS   1th      Eirdosvoilhocniiy       Srlinlar




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Home Page                                            hashash

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From Peoples              Hortensia            D imailtohpeoplesmaiLutexaseduj

Sent Wednesday                June           4 2014 140 PM
To Hashash Youssef M A
Subject On Behalf of Richard                           L Corsi Letter of Reference                            for     Dr Brady Cox

Importance           High




Dr Hashash
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Youssef Hashash


Professor
John Burkitt         Webb Endowed                  Faculty     Scholar




A key ingredient of our research and education                                 is   the strong         linkage   between theory and
practice



2230c Newmark              Civil    Engineering              Laboratory


205     N Mathews Ave Urbana                          IL    61801



hashashillinoisedu                    1
Phone

217 3336986
Fax
217 3339464
Research        Website         2
Youssef Hashash              holds        a   BS Massachusetts                 Institute         of Technology      1987          MS MIT 1988
and     PhD MIT 1992                  all     in   civil    engineering       He has been on             the faculty   of the          department      of

Civil   and Environmental                 Engineering          at   the    University      of Illinois    since    1998   Dr Hashash worked
as a Staff Engineer for the                    PBMK TEAM              in   Dallas Texas              on the Superconducting              Super
Collider Project          construction              In     1994 he joined      the       Geotechnical         and Underground                Engineering

group     at   Parsons      Brickerhoff            in    San Francisco         California            and was involved        in   many        tunnel   and
deep excavation            projects           around the        US   and Canada



Dr Hashash has taught graduate                               and undergraduate             courses       in   geotechnical        engineering
numerical       modeling         in   geomechanics              and geotechnical                 earthquake      engineering


Dr Hashash           is   a Fellow of the American                   Society        of   Civil    Engineers      and a member of the

Earthquake           Engineering          Research            Institute     the American             underground     Association             and the

International        Tunneling        Association              He also serves on Earth                  Retaining    Structures          Committee of
the     GeoInstitute        of   ASCE and Performance                        of Structures           during construction          of   SEI


In   2002 Or Hashash was named a Beckman                                     Fellow       at   the   Center fo Advanced            Studies at the

University      of   Illinois      He is a 20012003 American                      Bridge Faculty scholar               UIUC             In   2000 Dr
Hashash        was     the recipient           of the       Presidential      Early Career Award for Scientists                    and Engineers

PECASE and the Arthur Casagrande                                    Professional          Development          Award from the GeoInstitute
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of   ASCE In 1999 he was a Notional                   Center   for   Supercomputing         Application    Fellow   UIUC He
received     the   James Crose Medal           ASCE        1994 and Thomas                Middlebrooks    Awards    ASCE
1997      for journal publications




His   work   in   computer    modeling        in   collaboration      with other    CEE faculty       has led to the issue
of two    patents   3   related    to the determination             of the properties      of materials by testing     the

structural   systems of which they are a part



Research      Overview


Dr Hashashs research              interests    include    deep excavations           earthquake        engineering numerical

modeling and        soil structure     interaction       He    is   also involved    in   the   use of visualization   and virtual

reality   techniques    in   geotechnical          engineering       applications



Links of Interest
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                                                                     UNIVERSITY OF WASHINGTON
                                                                       SEATTLE                WASHINGTON        98195


132E More    Hall                                                                                                                                              Phone 206 6852642
Box 352700                                                                                                                                                       Fax 2066853836


Department of Civil and Environmental                  Engineering




                                                                                                                                 July    25 2014



         Professor                Richard       L Corsi
         Department                     of Civil Architectural               and Environmental Engineering

         301        E Dean Keeton Street C 1700
         University                of Texas

         Austin        TX 787122100



         Dear Prof Corsi



                      I       am writing           as   requested       in   your        letter    of June   2 2014 to report on my evaluation                       of the

         scholarly record                      of Dr Brady         Cox who          is    being considered          for promotion to              Associate    Professor

         in    the Department                   of Civil Architectural                   and Environmental Engineering                        at the University       of

         Texas            I   am        well    aware of Dr          Coxs work                due to our shared         interests      in soil    dynamics     and

         geotechnical                   earthquake engineering



                      I       must admit to being somewhat                         surprised          to   receive this request since              I   did not realize

         that       Dr Cox had                 accepted       the University            of Texas position without tenure                         My first   thought

         upon seeing the subject matter of the letter was that he was being considered                                                             for early promotion

         to    Professor                 Given    the fact that       he     is   being considered            for promotion to            Associate         Professor a

                                   consider him to be overwhelmingly well qualified for
         position             I                                                                                             I   will   keep      my remarks
                                  brief and      focused on the four questions                                                         consider
         relatively                                                                                   you requested that           I




                Do you know Dr Cox and if so for how long and under                                                     what circumstances



         I   first   met Dr Cox when he was a graduate student working with Professor Stokoe performing

         SASVs        tests             in   the Seattle      area    Over the next couple years                    I   came to realize           the high    regard

         with which                 he was held          in   various    conversations               with Professor        Stokoe         Since the time he joined

         the University                      of Arkansas       I   have met and interacted                  with   Dr Cox at various               professional

         meetings workshops                            and conferences              I    have      read many of his papers               and have        heard him

         present          his research            on    several      occasions            I   have    not worked        directly with         Dr Cox on any
         specific             research         project



         2       What are                the   original innovative                andor important contributions                        that   he has made       in   his


                field         of research Have his publications                                influenced     the thinking        of or the methods used by
                others             in
                                        your field


         Dr Cox has established                          himself as a leader                  in   geotechnical    site   characterization              particularly       for

         the    purposes of seismic hazard evaluation                                         Working      with Professor         Stokoe         he has become a

         leader       in          the   development           and application             of geophysical        testing     techniques           to geotechnical       site
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characterization              and has developed           novel procedures                    for    insitu         measurement of stiffness

damping and                liquefaction        behavior     He has done                 original work               on the merging of site

characterization             from active and passive sources                        and performed novel experiments oriented

toward     identifying             topographic      amplification         behavior              His greatest contributions to date

however have been                   in   his site characterization             work following                      large   earthquakes                Dr Cox has
been    a key member of almost every                      significant post earthquake reconnaissance                                            effort      in   recent


years and with strong earthquakes                      in       Haiti Japan             and    New            Zealand          there     have       been a lot of

sites   that    have       required       characterization          His efforts on those                          projects      however have gone well

beyond simply performing                       SASW    and other tests and have                               included     interpretation                 of soil

behavior         site   response          and damage patterns              I    know          the other            members of the groups he has

participated          in   these    studies     with and they        are       unanimous                 in    their praise         for his     broad and deep

contributions           to   the    reconnaissance and analysis                     efforts         Dr Coxs publication list has a number
of papers resulting from post earthquake                           investigations               with many authors                         it   is    important to

recognize        that these         investigations        let   alone the papers they have                             produced          would not have

gotten    off the ground without the contributions of Dr Cox and his students



3      How would you assess Dr Cox s development compared                                                      with others          in   his cohort           at

       research intensive                universities



He is certainly the top untenured                     geotechnical         engineering                       faculty     member in the country                       and

                one of the top few that have                    not yet   been promoted                        to full    Professor            His receipt of both
probably
the    CAREER and PECASE                        awards from         NSF is unique                    to      my knowledge among geotechnical
engineering           faculty      both    within   and outside his immediate cohort                                     He has an excellent

publication           record an outstanding            record       of funding             and           a   very strong reputation                   both nationally

and internationally



4      What     is    your perspective           on Dr Coxs promise for iiirther                                  professional growth and

       leadership



Dr Cox is already a very well respected researcher                                         he       is       recognized        as   one of the worlds

leading        authorities         on seismic     methods         of site characterization                          and has broadened his research

into    other    related       areas       He has been          extraordinarily           active             in   post earthquake              investigations              and

defining advances               and research needs              coming from those investigations                                     He has shown                  that   he

can     work     effectively         and productively with large groups of researchers                                           both domestically and

internationally              Dr Cox has been quite active                      in   a   number of professional                         organizations

particularly          ASCE and           the   Earthquake        Engineering             Research                 Institute and has been                    invited       to

make     presentations              at   many professional          meetings            and conferences                    I   believe         his   promise for
further professional                growth      and leadership       is   outstanding



           I    can recommend fully                 and without hesitation that                              Dr Cox be promoted                      to   Associate

Professor        at   the University           of Texas         Please feel free to contact                         me if you should                 have any

questions



                                                                                          Sincerely




                                                                                          Steven              L Kramer
                                                                                          Professor                of Civil     and Environmental

                                                                                              Engineering
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Peoples Hortensia D

From                                                      Steve   Kramer <krameruwashingtonedu>
Sent                                                      Friday July 25 2014 557 PM
To                                                        Peoples Hortensia D
Subject                                                   RE Reminder On Behalf of Richard             L Corsi Letter of Reference for Dr Brady Cox
Attachments                                               CoxLetterpdf KramerBioonepagepdf




Dear          Ms Peoples


Attached                is       a letter    with     my assessment of Dr Brady Coxs qualifications                      for   being promoted              to   Associate

Professor                    I

                                 apologize        for     missing the July 15 deadline and hope that this letter                      is   not too late to be useful             I




have also attached                           a   one page         bio for   myself   Please    let   me know     if
                                                                                                                      you need anything else


Best regards



Steve           Kramer




Dr Kramer


The Department                            of Civil Architectural             and Environmental        Engineering at the University                of Texas at Austin       is




considering                      Dr Brady Cox for promotion to Associate                       Professor    As part of this process                 we would       appreciate

if
          you would provide your candid                                 assessment of his scholarly contributions              I   have attached           electronic   copies

of our formal letter Dr Coxes current                                       CV and   five   of his papers   If
                                                                                                                 you would         like    to   receive   any other

information                       or a hard copy of the documents                     please   let   me know


We would appreciate                              receiving your letter by July 15              2014     Thank you       in   advance        for your      assessment



Sincerely

Richard            L Corsi PhD                     PE
Chair and ECH Bantel                             Professor for Professional Practice

Department                       of Civil Architectural                 and Environmental      Engineering

The University of Texas                              at   Austin

corsimaiLutexasedu




iltepeefeti


     ix




Hortensia Peoples
                    iti
           Architectural          and   Environmental
Civil                                                     Engineering

Cockrell       School    of Engineering

The        University of Texas at Austin

301 East       Dean     Keeton          Stop C1700
Austin TX         787121056
Phone         512 2321704               or 512   4714921
U
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Bio


Steve Kramer received                his      I3S MEng                and        PhD degrees from the University of California
Berkeley      in   1977         1979 and 1985 respectively                         Between his Masters and PhD studies he

worked      for a geotechnical                consulting        firm       in   the    San Francisco               Bay Area concentrating                 on

seismic     problems and problems involving                             soft clay settlementstability                         His   PhD research                at


Berkeley      supervised          by the        late    H Bolton Seed dealt with flow slides caused by                                       static


liquefaction



Kramer joined            the geotechnical              group     in   the       University            of Washington          Department           of Civil

Engineering         in   1984 He has             taught a       wide range                 of undergraduate           and graduate courses                in


geotechnical        engineering and advised numerous graduate students on                                                  Masters and        PhD
research projects           His    primary research interests include                                 soil   liquefaction       site   response analysis
seismic     slope stability         and hazard analysis Much of his current research work                                               is   in   the    area        of

performance based earthquake engineering                                        specifically the             integration     of probabilistic            response

analyses     with probabilistic seismic                    hazard analyses                    He has conducted               research for the           National

Science Foundation                the Pacific           Earthquake          Engineering                Research       PEER Center the
Washington          State       Department           of Transportation                 WSDOT                 the   California       Department           of

Transportation           Caltrans            and the     US Geological                      Survey


Kramer has been             the   recipient of the Presidential                            Young       Investigator     Award from            the      National

Science     Foundation            the    Arthur Casagrande Professional                                Development           Award from ASCE a
Walter      Huber Research              Prize        from ASCE the Norman Medal                                from ASCE and was named 2012

Academic       Engineer           of the Year by the Puget Sound Engineering                                        Council He also held the John

R Kiely Professorship in Civil Engineering                                      at   the    University        of Washington            from 1997              2006
Kramer was          a    Senior Research               Scientist      in   the       International           Centre for Geohazards                at   the

Norwegian Geotechnical                       Institute    NG1         in    2003 and             is   also a   member of the           faculty         of the

European      School for Advanced                       Studies    in      the       Reduction         of Seismic       Risk the        ROSE School                   at


the University           of Pavia       in    Italy



Kramer is the author of the book Geotechnical                                        Earthquake          Engineering and co developer                          of the

computer      programs ProShake and EduShake                                         He    has   served on the Executive                Research          and

Executive      Management               Committees of the Pacific                           Earthquake          Engineering         Research           PEER
Center He has participated                           several                                     reconnaissance                                        and is a
                                                                post earthquake
                                                in                                                                           investigations

member of the Advisory Panel for the GeoEngineering Earthquake                                                          Reconnaissance                 GEER
A ssociation


Kramer has served as News Correspondent                                     for the         Geotechnical            Division of ASCE chaired                         the

organizing committee for the 1998                          Geotechnical                    Earthquake         Engineering and Soil Dynamics
conference         held    in   Seattle       and served on the editorial board of the                                ASCE Journal of
Geotechnical            and Geoenvironmental                     Engineering                 He currently chairs              the   GeoInstitutes

Conference         Coordinating Council                    He is also active with the Earthquake                                Engineering            Research

Institute    and the Seismological Society                         of America



Kramer has served                as a consultant           to   private         firms       and government             agencies      on projects          in    the

US and abroad He has consulted on highrise structures and bridges                                                          in   the Seattle area             and

served on consulting               boards for nuclear                 waste treatment plants                       nuclear    reactors dams seawalls

underground         structures          and offshore            structuresfacilities
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                                      DEPARTMENT           OF THE ARMY
                      ENGINEER RESEARCH AND DEVELOPMENT CENTER CORPS OF ENGINEERS
                                GEOTECHNICAL AND STRUCTURES LABORATORY
                           WATERWAYS EXPERIMENT STATION 3909 HALLS FERRY ROAD
                                          VICKSBURG   MISSISSIPPI   391806199
        REPLY TO
        A T1 EM1ON   OF

                                               July     12     2014




Richard      L        Corsi     PhD PE
Chair and            ECH    Bantel    Professor         for
     Professional            Practice
Department of Civil Architectural
  and Environmental Engineering
TheUniversity of Texas at Austin
301East Dean Keeton   Stop C1700
Austin TX   787121056

Dear    Professor            Corsi

   I understand that  the Department of Civil  Architectural   and
Environmental Engineering at the University of Texas at Austin is
considering  Assistant Professor Brady    Cox                for      R           PhD PE
promotion to  Associate  Professor The purpose of this letter is
to  strongly support Bradys promotion By way of background     I

first  met Brady in about 2004 when he was a doctoral graduate
student at the University of Texas       working with Professor UT
Kenneth  Stokoe  I have followed his career reasonably closely
since       then          Admiral Jack        Buffington            US      Navy    Ret     at   the   Uni
versity of Arkansas and I are friends and would talk                                      regularly
about research at Arkansas while Brady was there We                                       discussed
Bradys activities    contributions and impact at the                                      University
of    Arkansas            because
                       was an outstanding
                                     he   faculty member I am
also close friends with Professor Russell Green at Virginia Poly
technic Institute and Russell and I interact frequently   We have
discussed Russells and Bradys                              significant          field   investigations
both in Haiti and New Zealand


   In my opinion  there are at least three critical  talents that
one needs to make real contributions  and impacts especially   with
students and in research These include        technical capabil             1
ities        2
           human relationship skills and      leadership and                3
vision        Itclear that Brady has the technical skills
                      is                                   to solve
critical  civil  engineering problems particularly those that lend
themselves  to nondestructive   investigations of the sub surface
He    has    demonstrated            this     talent       through publications             by prepar
ing    successful            research        proposals         and by speaking at           technical
and professional meetings here and abroad Additionally   he has
excellent human relationship skills that allow him to work and
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communicate            well      with    others
                                          These skills are particularly
important         in    an academic environment  where students are a criti
cal product             These have been amply demonstrated  by the teams he
has      either    worked       on or headed up and the coauthors with whom he
has      published           Rarely have I seen such extensive collaborations
at    this point            in a young career Lastly and probably most impor
tantly  Brady               is   a    visionary      leaderJust so you know    I  define
leadership as               the ability         to see the future  and to talk   about it
in such a way               that others         can also see it   Leaders talk about the
future      they see in such a way as to motivate others to move in
that      direction with them not because they have to but because
they      want to All Civil and Environmental Engineering Departments
badly need         faculty with leadership skills as I think teaching
leadership         is one area where most of our universities could
improve          Brady is truly one of the young academics who has out
standing         leadership            skills

     I    am aware of the recent investigative studies in New Zealand
that       Professor Cox has conducted and would like to briefly
discuss        their        importance

     a     Deep    profiling of Christchurch
                  seismic                       Given the
complexity of the geologic  profile 400   m of inter bedded gravel
and sand layers as well as basin topography this work is
extremely important for proper accounting   for site effects in
determining   the design ground motions as the city is rebuilt You
may not  know   that BOW of the buildings in the central business
district         of    Christchurch           were
                                       beyond economical
                                                      damaged
                                                         repair
during the 20102011  Canterbury Earthquake   Sequence Brady is not
only making unique contributions to the rebuilding of
Christchurch but is                    among the leading        academicians       investigating
this important area                    in the world


      b    Evaluation            of            liquefaction mitigation techniques
                                       competing
in       Christchurch             Liquefaction was pervasive and many of the
eastern suburbs                  have been abandoned   The government has purchased
the land and is                  evaluating options  for remediating it  Brady and
his      UT     colleagues have been using T Rex     one of  kind a            a
vibroseis            to shake areas that have been remediated For the
first         time ever    pore water pressure responses have been
evaluated         in situ under               carefully   controlled    shaking conditions
This      work    is    critical        understanding the
                                         to                           path forward in
mitigating            the    liquefaction problem The work               involved      developing
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and installing unique sub surface instrumented arrays The work
is    innovative
               the results are having a direct and important
impact in the rebuilding efforts of Christchurch  and the results
will have a significant impact worldwide


      cComparison of various shear wave velocity       profile                 Vs
techniques  and  quantification of their uncertainty  The
quantification of the uncertainty   is the focus of Professor  Coxs
NSF       CAREER    proposal Vs profiling of the sub surface has become                                   a
key       factor  in designing critical  structures  like nuclear power
plants        bridges and high rise buildings New Vs profiling
techniques          have      proposed for performing these measurements
                            been
However           the validity limitations and uncertainty of these new
techniques          are unknown   Brady is the first person to do detailed
comparisons of the techniques  as well as establishing their
limitations and quantifying uncertainties in the results He has
quickly risen to a leadership position in this area which is
extremely important as the profession has moved to probabilistic
quantification             of    the   seismic     hazard

      In         believe Brady Cox to be one of the top 2 or 3
            summary
               I

academics    Civil Engineering in the USA given his age and
                   in

career stage While it   is difficult  to see the future clearly
let me predict that Brady will   be elected to the National Academy
of    Engineering          in    the   next   20   years     If    I   could   write      a    stronger
letter        I    would    Thanks for asking               He    surely deserves             promotion
to    Associate         Professor at Texas


      If    you have       any   questions         please   either      email        me   or call   me
at    6016342234

                                                      Sincerely




                                                      W F         Marcuson     III
                                                      Director Emeritus
                                                      Geotechnical Laborato
                           Case 1:19-cv-00877-RP Document 69-11 Filed 02/23/22 Page 164 of 183




Peoples Hortensia D

From                                     Marcuson      William       ERD   <WilliamF Marcuson©usacearmymil>
Sent                                     Thursday      June 19 2014         136 PM
To                                       Peoples Hortensia D
Cc                                       Marcuson Att Email Marcuson               William    ERD
Subject                                  Reference Brady Cox Letter UNCLASSIFIED
Attachments                              Brady Cox Letterodf Marcuson Introductory Bio Mar 2014doc                          WFM Bin Mar 2104doc


Classification              UNCLASSIFIED

Caveats NONE




Young Lady
As requested see attached                   for    my letter   ref Brady        Cox   Please pass this info

to     Prof Corsi



Now         I   think you     also   wanted   a    short bio     I
                                                                     have attached     2   bios    One      is       a


paragraph and other is a page

Use either



Did     I   miss anything             Do you need      a   hard copy       in   the mail As    I   recall    you do

not Correct

If   so come back to            me
Thanks          for   asking



Bill




Dr Marcuson




The Department                of Civil   Architectural      and Environmental              Engineering at the

University            of   Texas at Austin    is   considering       Dr Brady Cox for promotion to
Associate          Professor         As part of this process we would appreciate                     if   you

would provide your candid                  assessment of his scholarly contributions                             I   have

attached electronic              copies    of our formal letter            Dr Coxs current         CV and
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                             William       F Marcuson      Ill   PhD PE Hon MASCE
                                                 2007 President        ASCE



William    F Marcuson        III   was President of the American Society of Civil Engineers ASCE and
is   one of the nations leading civil engineers             He holds degrees in civil              engineering from The

Citadel Michigan        State      University and North Carolina                State   University    He has received     five

national   awards from ASCE including the Norman Medal                              civil   engineerings     oldest honor In

1995 he was honored by the National               Society of Professional Engineers as their Federal                     Engineer

of the Year His career          included research and administrative                 positions     at the   U S Army
Engineer Waterways           Experiment Station where he served                    as   Director   of the Geotechnical

Laboratory      for nearly    20 years prior to his retirement             in   2000 He is the only         engineer to be

named     the   Corps of Engineers Engineer of the Year twice 1981                           and   1995     and he was honored

by the Corps as their Civilian of the Year in 1997                   He was        elected   to the National    Academy of
Engineering      in   1996   for his contributions    to   the design       and analysis of embankment            dams
Marcuson delivered           ASCEs        Karl Terzaghi    Lecture    in    1999 and was elected National           Honor

Member of Chi Epsilon              in   2014
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                                                                                                                                                            JANUARY                 2014




William              F Marcuson                 III




Director              Emeritus Geotechnical                               Laboratory
US Army Engineer Research and Development Center
US Army Corps of Engineers
Attn       CEERDGS                           3909      Halls Ferry              Road

Vicksburg                   MS 391806199
Phone 6016342234
Fax 6016344656



W F Marcuson                           III    was      born on           June 16 1941                   in   Winston Salem North                          Carolina           He received          a   BS      from

the Citadel                  an       MS from Michigan                          State        University               and    a    Ph    D from North              Carolina          State       University        all


in civil         engineering


He joined                  the    staff       of the        US Army Engineer Waterways Experiment Station                                                              in   1970    and was director of
the    geotechnical                          laboratory               from       1981          until        his       retirement         in    2000        Marcuson               was      responsible           for

research                   development                     and     analytical             studies           from both            the    theoretical         and         practical     viewpoints           in    the

fields           of    soil       mechanics          engineering geology   rock mechanics    earthquake engineering  geophysics
military             pavements                 and Army mobility His work responded to problems inherent in dam and levee design
and     structures                     drainage                 design         and        construction                design        construction             evaluation              maintenance                and
rehabilitation                   of     both          permanent                and        expedient               military        pavement           systems                combat        engineering           and
theater               of    operations                construction                   soil      stabilization                and    other        related          physical          sciences           Marcuson
worked                in   the     United             States          and overseas                 as       required         by    the      activities      of    the       Corps of Engineers                   the

Department of the Army and other agencies


Marcusons                    research             activities             focused          on      experimental               and       analytical         studies of soil            behavior         related     to


geotechnical                     problems                  seismic            design         and        analysis            of    embankment               dams             and     seismically         induced

liquefaction                  of      soils           Much        of      his    research              has         been      on     the       application             of    work     in    these      areas       to

remediation                      of      sites         susceptible                   to     failure              during          earthquakes               He      has         authored           more          than

100 publications                             including           several            stateoftheart                     publications            on     in    situ        testing      and      sampling            soil


dynamics seismic                              design and  analyses                          of    embankment dams and                               seismic        rehabilitation           of earth       dams
Marcuson                   serves            as a consultant on geotechnical                                      problems and                projects of         many types               especially      those

involving              seismic               remediation                 to    numerous               governmental                and     private         organizations             both     nationally         and

internationally



He     is        a     licensed              professional                engineer            in   Mississippi               and     Louisiana             and     a     chartered      engineer in the
United           Kingdom He                     is     a    member             of a       number            of    professional           and       technical       societies         and is most active
in   the     American                  Society             of    Civil    Engineers               ASCE Marcuson                          is   an    Honorary Member and Fellow of the
ASCE                  Marcuson                 has         served             ASCE          in    many            capacities             secretary           vice           chair     and       chair    of      the

Geotechnical                      Engineering                    Division           chair        of    the        Committee            on     Soil    Dynamics                and    the    Committee             on

Publications                     president             of the          Mississippi               Section              District    14     representative                 on the      Board of Direction
Zone        II       vice     president               and       2007          president           Additionally              he served as chair                    of    the    United States            National

Committee                   for    the        International               Society           for   Soil       Mechanics             and Geotechnical                     Engineering             ISSMGE            as
well   as their Committee                              on Publications


Marcusons                    contributions                      and      leadership              have        been         widely recognized   For example he received the

Walter           L         Huber Research                       Prize         the     Government                  Civil     Engineer of the Year and the Norman Medal all
from        ASCE                 the     Federal            Government                    Engineer               of   the    Year from the                National            Society      of    Professional

Engineers                   the       Presidential               Rank          Award of Meritorious                         Executive          from the Federal              Government and                      the

Silver           de        Fleury Medal                from           the     Army Engineer                      Association             He    is   the    only         engineer to be named                     the

Corps            of        Engineers  Engineer                           of     the       Year twice               1981          and     1995        and     the        Corps        recognized          him as
Civilian             of the    Year in 1997 He was                                    elected          to    the      National         Academy            of Engineering              in   1996       delivered

ASCEs                 Karl       Terzaghi             Lecture            in    1999         and        was        elected        the    National          Honor Member                    of Chi      Epsilon      in


2014
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DEPARTMENT           CIVIL           ENVIRONMENTAL        ENGINEERING                                          Ur THE UNIVERSITY
                                                                                                               or OF AUCKLAND
          of
Faculty         Engineering


Professor      Michael      Pender                                                                                       NEW ZEALAND
e E Worm       PhD PIPENZ    MASCE
                                                                                                               is   Wham Wananga          o Tamaki   Makaurau
Professor of 6eotechnIcal       Engineering




                                                                                                               le Floor Faculty of Engineering               building

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                                                                                                               wwwceeaucklandacnz


                                                                                                               The    University     of   Auckland

  11 July 2014                                                                                                 Private   Bag 92019

                                                                                                               Auckland     1142

                                                                                                               New    Zealand




   Professor Richard                         L Corsi

   Chair Department                           of Civil        Architectural

                          and Environmental                     Engineering
   University                of Texas         at Austin




   Dear Professor Corsi


   Re          Dr Brady Cox                     tenure          and advancement                  to Associate        Professor


   In reply to your request                           of June          02   I   am pleased            to provide      my
   assessment of the tenure and promotion case for Dr Cox I think I                                                                  first

   met Cox after the Darfield earthquake of 2010 when he was in NZ                                                                   as      part
   of the international                       reconnaissance                team          His outgoing      friendly manner

   Impressed                  me immediately                   Clearly he establishes                  relationships         with           ease
   and         can       mix with a range of people                         graciously           I   have   seen     him     in      NZ on
   subsequent                   occasions           and also at international                    conferences         of the

   Earthquake Geotechnical                             Engineering communities Despite having                                             met
   him on several occasions                             have never had the pleasure of working
                                                          I                                                                               with

   him directly


   Some years ago                        I   suggested          to one      of   my young             colleagues here at the
   University                of Auckland            that developing               skill    in   geophysical         methods               of site

   investigation                     could    be a worthwhile               investment               Many geotechnical
   engineers of my generation                                  will    say that they tried geophysics and                              it   did

   not         work However                    in   the       last    decade     or two there           has been a renaissance
   in     geophysical                 methods         of site investigation                 one       of the leaders         in      this

   development                       being Prof Ken Stokoe                       so   that      these techniques            are now
   able         to provide              high quality           soil       data Among the reasons for this
                                                                       profile

   coming                of age       are     better          instruments more capable data logging
   equipment and sophisticated software facilities                                                   for analysis     of data

   obtained The appearance of Dr Cox in NZ was                                                   perfect    timing for my
   colleague and as consequence                                       of working          alongside Cox and              his team             he
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gained invaluable                    insights              and     skills    in    this type        of site investigation               I


have     been very              impressed                   with     the generosity               in   which      this knowledge

was transferred during joint                                  site    work         emails telephone                  conversations
and Skype meetings I view                                     this    as a very significant                     piece   of international

collaboration             and        I    am most grateful for the part Cox played in this
process       of technology                 transfer I am pleased to be able to say that my

colleague     now doing independent
                   is                                                        high     quality          geophysical       site


investigation  work around Auckland


I   think    the area that Dr Cox                             is   researching           is     a very      important facet of
geotechnical              engineering                      Geotechnical             engineering             has advanced            to the

state    where we have                            a   good understanding                    of the       fascinating       properties        of

soil   as an engineering                              material We           now have amazingly                       capable    software
facilities    so that           it       is   possible to perform three                           dimensional nonlinear
dynamic        response analyses of soil masses and                                                soil structure        systems The
limiting factor            is    our          ability        to arrive       at reliable           values for soil property
data       This     limitation in                     being      addressed          in   the work being done                   by Dr Cox
and colleagues


Dr Cox has a most impressive                                       cv which         lists       a considerable          number        of

refereed       journal publications                              since      completing            his    PhD      not to mention            an
extensive          list   of conference                       publications          and         invited     addresses          His   list   of

referred      journal publications                               demonstrates               a   real    skill   at   teamwork        and
successful          interaction                   with      a wide       range of researchers


I   have     looked        in    detail               at three       of the       papers that accompanied                      your
letter       In situ test method                            for evaluating            coupled               Frozen and unfrozen
shear wave              velocity                      and Intramethod                variability



To     my eye the first                   of these            reports        on a truly innovative                   test technique

To be able to measure the                                   cyclic    pore pressure                response          of soil   in   situ    has

long    been a wish                  of people               working         in   earthquake             geotechnical
engineering


The second              presents very interesting                                 information about shear wave

velocity      profiles          in       ground To me the result that the
                                         frozen            and     unfrozen
effect of ground freezing is very shallow was somewhat unexpected    But
the thoroughness with which this investigation was done and reported
leaves       me in no doubt                           about the validity of the conclusions


The     third evaluates                       a   method           for obtaining            site   data based           on passive
noise         so    useful           work             is   possible without              the services of a T Rex


I   am aware of another                               important piece              of research             undertaken          by Dr Cox
his    measurement of the deep wave                                         velocity            profile beneath         the Canterbury
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plains      I    was    in    the audience       when      these results were presented                            at a

conference         in   Istanbul     in   June    2013

I    commented          above about the               quality of Dr Coxs              cv       In an   environment
where research funds                are difficult        to obtain       the   list       of grants        Dr Cox has
obtained or been a partner to                     is   most creditable               It   seems to me that this
bodes    well for the future career of Dr                    Cox and supports                    my assessment                  of

him as a most promising                   young        geotechnical          academic           who        in   time      I


expect to become                a prominent professor              and       internationally recognised
leader     in    geotechnical       engineering


You asked   how Cox compares with other early career academics I find
             to answer because I do not know other young academics at a
this difficult

similar stage in their careers in US universities At the University of

Auckland         there are three components                   to assessing                promotion         applications
research teaching                 and service          to the University              and the profession                       In

our system         someone would expect                   to be    promoted               from lecturer            to senior

lecturer        6 or 7 years       after completing           a   PhD        There        is   then    a   bar     in    the
senior    lecturer        scale   reached        after 5 years          of automatic             increments
advancement              across this bar         is    regarded    as a very substantial                        promotion
If   we had      an applicant for a position                with a cv          such that of Dr Cox                   I   would

expect an offer to be              made above            the bar        in   our senior lecturer                 scale

Futhermore              his   contribution       explained above               to transferring                  skills   to    my
young colleague would be considered favourably                                       as an aspect               of service



Yours sincerely




Michael         Pender




                                           18832014       Celebrating    131 years
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Peos Hortensia D
From                                Corsi Richard L
Sent                                Thursday    July   10 2014 800 PM
To                                  Peoples    Hortensia   0
Subject                             Fwd   Promotion application report
Attachments                         Brady Cox July 2014doc ATT00001htm NZ RST MJP cv November 2013doc
                                    ATT00002 htm




Sent from my iPad



        forwarded
Begin                message


          From Michael       Pender <moenclerPaucklandacnz>

          Date July 11 2014 at 54318 AM GMT 18
          To corsimailutexasedum                <corsiPmailutexasedu>

          Subject Promotion application           report



          Dear Prof Corsi



          Attached   is
                          my letter assessing    the   promotion application   of   Dr Brady Cox   As requested   I   have also

          included   a brief   cv


          Yours sincerely



          Michael Pender
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Michael Pender

httpsunidirectoryaucklandacnzprofilempender

Professor       The University of Auckland                       Civil         Environmental Engineering



Contact details



          +64        0        9 923 7919

          +6499237919
          mnenderaucklandacnz


ENGINEERING BLOCK                              1



Level 11 Room 4011102

20 SYMONDS                        STREET



Biography

Professor       of Geotechnical                Engineering       Staff member at The University of Auckland                        since   1977
Professor of Geotechnical                      Engineering       since    1985
Served as Head of Department

In the   University Research Committee Scholarships                                   Committee and Discipline Committee
Received a Sustained Excellence                          in   Teaching    Award from the university in 2005


After completing my                       PhD at the University of Canterbury                1
                                                                                                 spent a period of 18 months as a

post doctoral                fellow      at Cambridge University           in   England Before coming the university I was
with the Ministry of Works and Development                                 working     at   their Central     Laboratories      in   Lower
Hutt There               I   was    in   charge of the Geotechnical             Laboratory providing laboratory testing                services

for designers                and interpreting the data so obtained



Whilst with this university I have done various consulting                                   work through       Auckland       Uniservices

Examples            being peer review work for the Northern                        Gateway        project   extending   SI11    through     the

hill   behind Orewa                 to Puhoi       and supervision       of laboratory       testing   for Contact   Energy     related     to

the extraction               of geothermal          energy at Wairakei          and Tauhara



Since 2003           1       have been appointed          as   a visiting professor         to the   European School     for    Advanced
Studies    in       the      Reduction       of Seismic        Risk   ROSE School University of Pavia                   In   the     middle 90s

I   was the   Australasian                 Vice    President    of the International         Society   for Rock   Mechanics           For 2006

and 2007        I   was the President of the New Zealand Society                             for Earthquake     Engineering


Over     the years            I   have received 7 IPENZ               awards including the IPENZ             Supreme Technical             Award
for    Engineering                Achievers         Building Construction           and Amenities in 2005 and the IPENZ

Turner    Award               for Professional        Commitment          in   2006
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Currently    I   have       several   PhD students doing experimental projects related to the design of
foundations       to   resist   earthquake     loading   It   is   intended   that these will   contribute    to   advances    in


foundation       design methods



Qualifications



BE Hans
PhD


Responsible       for the       Geomechanics       Laboratory        Member of the University Honours Committee



Research                I
                            Current

Limit state design of foundations



        Earthquake            resistant   design of foundations
        Soilfoundationstructure                Interaction

       Characterisation               of the geotechnical      properties     of New Zealand      soil   and rock masses

        Behaviour            of closely jointed rock masses



Research         groups


        Geotechnical             Engineering      Research     Group Leader an informal grouping of staff and
        graduate students from the Faculty of Engineering                         and the Institute      for Earth   Science   and

        Engineering
        Technical            Committee 4 Earthquake Geotechnical                  Engineering      of the International

        Society         for Soil      Mechanics    and Geotechnical         Engineering



        Earthquake              Resistant   Design of Foundations           An EU funded Masters programme at the
        ROSE School EU Centre Pavia Italy                            July



CommitteesProfessional GroupsServices

Professional affiliations



        Fellow          New Zealand Institution of Engineers NZIE
        Fellow          New Zealand Society for Earthquake Engineering NZSEE
           Member New Zealand Geotechnical Society
        Life

        Member American Society of Civil Engineers
        Affiliate           International   Society    for Soil Mechanics         and Geotechnical        Engineering
        Affiliate           International   Society    for Rock      Mechanics
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                                                                                                                                 CIVIL      AND ENVIRONMENTAL               ENGINEERING

      4   Mid LIGAN ENGINEERING                                                                                                  2340      Gt BROWN
                                                                                                                                    HAYWARD STREET
                                                                                                                                 2350

UNIVERSITY      of   MICHIGAN               COLLEGE         of   ENGINEERING                                                     ANN ARBOR MICHIGAN                481092125



                                                                                                                                 July        10 2014




          Professor            Richard        L Corsi
          The     University of Texas                            at   Austin

          Cockrell School of Engineering

          Department                 of Civil Architectural and Environmental Engineering

          301     E Dean Keeton Street C1700
          Austin Texas                     787122100


          RE              Dr Brady Cox Promotion Review


          Dear Prof Corsi



                          I   have     been        following                the career         of Dr Brady Cox from the time he started his dissertation

          research            on seismic           wave propagation                       mid2000s                 because       of my own long standing interest                             and

          research in this                 area         I    had many conversations                          with his thesis advisor Prof Kenneth                                   Stokoe

          during his dissertation research keeping                                              track      of Bradys directions and accomplishments                                           His

          accumulated                 research            at     the    Universities            of Arkansas          and Texas on applications                              of surface    wave
          methods             SWM has moved                                 the   understanding              measurement and                       application         of seismic waves

          for engineering                  purposes              a giant          step forward             A specific          outstanding            example          is   that research       in

          which        he for the            first      time measured                     insituP         excess    pore pressure development                          and the nonlinear

          shear        modulus             behavior              of soil          simultaneously by applying                            large      cyclic    shearing          forces    at    the

          ground surface
                          Dr Cox in concert                           with other geotechnical                    engineers and seismologists has used                                 SWM to
          determine properties of the earth immediately or soon after devastating                                                                    earthquakes without having
          to employ             expensive intrusive and timeconsuming                                              drilling      methods              An example              of this type of

          work was              started      immediately                     after      the    earthquakes          and    is   still       underway         at   sites     associated       with

          the    Christchurch                 New           Zealand               2010        earthquakes            Some features                  of the ground             are   perishable

          after      an       earthquake             and quick                evaluation            is    necessary       to best           understand           the   impact of ground

          shaking               I    think    it   is       significant and laudatory                       that    Dr Cox was chosen                       to    participat        in five site

          reconnaissance                                       in     the    aftermath         of recent earthquakes                       four    of these as a participant              in the
                                           surveys

          prestigious                Geotechnical                   Extreme Events                   Reconnaissance                  Association            GEER             site   evaluation

          teams               These        have      been         exceptional             experiences            for an    assistant professor

                          For two of the team efforts Haiti                                         and    New Zealand                it    is   important to realize that Brady
          Cox has been                                                                                                            papers resulting from this work
                                       the    de facto                principal author               of the technical                                                                         His

          leadership                role   has     been          conveyed            to   me by          other     team members who were                           listed as coauthors

          But beyond                 that he has parlayed                         the   knowledge            gained       in    those       reconnaissance efforts along with

          new methods of image                              analysis to Microzonation                            Mapping in                the PortauPrince                 Haiti as well as

          to    site   improvement                   at     a New            Zealand          location       At home            in    USA he has performed unique field
          studies         of the       New         Madrid Earthquake                          zone using         SWM       for seismic              site    characterization

                          Dr Brady Cox has established                                        himself as the leader of his national                              and   international          peer

          group           engaged            in      research               designed           to    reduce        geotechnical                  consequences           to    man      and     the

          environment from earthquakes                                            The international              attribute       is   appropriate           as    he has performed
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Prof Corsi July                 102014 page 2


significant      work in at least five countries                      in addition          to   USA namely Japan Turkey New Zealand
Haiti and Italy                 During these international                  operations he has worked                          with local       leaders in their

fields as well as           USA leaders who participated                         in these         efforts       furthermore he was lead author                   on
multi authored              papers         that   included           international          leaders        Dr        Kenji    Ishihara         from     Japan    for


example and            USA        senior     leaders      in   the    earthquake engineering                    field

          While            much       of Bradys           research         has     been          focused        on seismic             site   characterization

including      earthquake              hazards       mitigation            and remodiation                 he    has     established           strong    research


interests      experience             and funding         in   other areas         as   well        He has explored             the     use of geosynthetics

in flexible      pavement             bases where he garnered                    initial        funding    to start the        research direction          in    one

grant and later was successful with an award                                to   continue that research direction amounting                               to more

than three times the value of the                       initial      contract

          As      a    logical         extension      of Bradys             use        of   SWM           for   seismic        site     characterization          he

broadened the scope                   of his research and included                      contributions            from geology             and seismology in

the   development               of microzonation mapping for two urban areas                                          Fairbanks Alaska            and    Portau

Prince Haiti           Applications of image analysis were incorporated                                          in   those    microzonation exercises

           Brady has established                   a superior         record      in
                                                                                        peer reviewed            publications           numbering 22 while

an    assistant       professor             He has       published         in    four       highly    respected          and       leading      peer reviewed

publications          in   their      fields   of coverage             ASCE ASTM                    Earthquake           Spectra         and    Soil    Dynamics
and    Earthquake               Engineering          as    well       as    in    two       other     widely           read    journals          Geosyrithetics

International         and TRB           Journal     of Transportation                  Research           The peer reviewed journal papers and
the    reviewed         conference             publications           represent         research          completed           in    four      major     arenas    of

research       earthquake hazsrds mitigation                          and ground characterization shear wave methods                                      SWA
in                              engineering                                     reinforcement                    flexible                          design        and
      geotechnical                                   geosymthetie                                          in                      pavement

applications          of imaging and              geotechnical           site    characterization               in    microzonation mapping                     This

broad     base    of interests             coupled      with               impressive research funding                          and                       records
                                                                  very                                                                   publication

bodes well for continued                    success       by Dr Cox
           Based           on   his    research      and publications                   Prof       Cox has           received       three      highly    regarded
awards         NSF Career Award                   and     NSF PECASE Presidential Award and                                      the     Hogentogler       Award
of    ASTM        The       first     two for high quality and competitive research proposals                                           and the third for and

outstanding           journal         paper       He was also honored                      with the University                of Arkansas          Outstanding
Researcher        in   Civil      Engineering           Award and Imhoff Award for Research                                   of University of Arkansas

College of Engineering                     while on the faculty at the University of Arkansas                                       Overall an impressive

group     of awards             for   an   assistant      professor             His     research      has       also    led to     a    ntunber    of local      and

regional       populous             exposures       including           local      schools          Arkarms Highway                      and    Transportation

department            and   ASCE branch and Section meetings
           A combination of international research exposure and recognition                                                         engineering         extension

activities     at local          and    state     levels       and awards           of national           attention       demonstrates            an unusually

strong    dedication            by Brady Cox but also reflects well on his academic                                           home
           Prof Cox as contributed                        to   his profession               as    a member of four important                       professional

organizations ASCE ASTM GEER and EERI   His membership and active participation in two

committees of ASCE ASTM Committee 118 and four GEER earthquake reconnaissance teams

attests   to   his    commitment and                interest      in the     important role of these                    organizations             his Associate

Editor    membership on the                    ASCE Journal             of Geotechnical              and Geoenvironmental                      Engineering
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Prof Corsi July 10 2014 page 3




editorial      board    is   also indicative     of his desire to contribute          to the profession                     but also reflects a level
of confidence          in his abilities    by the GeoInstitute            of ASCE       It   is   also very significant                   and important

from my viewpoint that he has achieved registration as a Professional                                                Engineer
           I   have been closely following             the careers of two individuals                   who are pursuing similar paths
in CivilGeotechnical              engineering      as Brady     Cox One Associate                   Professor               Dimitrios Zekkos was

promoted         in   June 2014 to associate professor               with tenure        at   the    University               of Michigan         and the

other     Professor          Russell    Green was promoted               to associate professor with                        tenure    and then       to   full


professor        at   Virginia Technological           Institute     and State      University              in       2013           These    individuals

came    to     my attention        in   2002    and   2005 respectively           because         they were performing                       research       in

areas that      overlapped        my own       research interests        and   at the time        of their hires promotion and tenure

reviews        were employed at the University                of Michigan from which                        I    retired in        2001       Professors

Zekkos         and    Green     both had    outstanding       records       and   had    some        limited               professional       experience
before promotions but Assistant Professor Brady Coxs research                                       funding            and publications          records

eclipse        both    of these    excellent      engineers        and    tenured    faculty        members                    1    believe    Assistant

Professor        Brady Cox would be promoted                  to   Associate      Professor         with Tenure                at   the University          of

Michigan based               on his established record
           Brady       is    well funded       well published        and well positioned to have an exciting and highly

successful career in academics                   His broad range of interests ability to attract research funding and

graduate students and to publish in highly regarded outlets                                  paint      a       glowing picture             of the   future

for   Dr Brady Cox                Consequently         I   enthusiastically       support         and       recommend               the   promotion of
Assistant Professor              Brady Cox to Associate             Professor       with     tenure             at   the    University       of Texas at

Austin




Very truly yours




  6a404264

Richard        D Woods PhD PE NAE DistMASCE DGE
Professor        Emeritus

University           of Michigan
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Peoples Hortensia D

From                         Richard   Woods <rdwumichedu>
Sent                         Thursday   July 10 2014 323 PM

To                           Peoples    Hortensia    D
Subject                      Dr Brady Cox Letter
Attachments                  Cox Promotion Letterpdf




Ms Peoples

  My letter from Prof Corsi did not contain an email address for my reference letter for Dr Brady
Cox Because have received data from you in the past about this promotion review am sending my letter to
                   I                                                                                   I




you with   expectation that you can forward         to   Prof Corsi   If this   is   an incorrect assumption   please   tell   me how
to   address   my email so it would reach Prof Corsi

RD Woods
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Richard       D Woods University of Michigan                               Emeritus Professor



Office       2350 Hayward            2360 GG Brown

Phone        734 7644303
Fax        734 7644292
Email rdwiPumichedu



Department         of Civil and Environmental                     Engineering

2350 Hayward 2360              GO Brown
Ann Arbor Michigan              481092125



Richard      D Woods PhD professor of                              civil     and   environmental                 engineering     in   the    College of

Engineering retired            from active         faculty        status    on    May 31 2002


EDUCATION


Professor     Woods      received      his       BSCE and MSCE degrees from the University of Notre Dame
in   1957    and    1962 respectively and                   his   PhD degree from the University of Michigan                                     in   1967

Before      beginning     his career at the University                     of Michigan             Professor      Woods served as a lieutenant

in   the   US Marine Corps conducted                         research        at   the    Air Force Weapons Laboratory                       at   Kirkland

Air Force Base           and    taught      at   Michigan          Technological               University           Professor   Woods joined               the


University     of Michigan           faculty      as   an    assistant professor                   in   1967     He was promoted            to associate


professor     in   1971 and professor             in   1976



During his tenure Professor                 Woods           taught     15    different         courses      at   the   University      7 of which          he

developed          His   research      focused         on    soil     dynamics            foundation             engineering      and       engineering

geophysics         and   he authored        over       80 refereed publications                         Professor      Woods    also chaired          or   co
chaired 21     PhD theses and served as associate                            chair      198794              interim chair    199496 and chair
19962001           of the Department              of Civil and Environmental                            Engineering



HONORS


Among Professor Woods                 numerous awards are the Col ingwood                 I
                                                                                                            Prize      from the American          Society

of Civil      Engineers        and    the    Terzaghi             Lectureship           from        the    ASCE        Geotechnical         Engineering

Division He was chair                of the American Society                       of Civil             Engineers Geotechnical              Engineering

Division      Executive         Committee              president            of     the    United           States      Universities         Council        on

Geotechnical         Engineering            Research          and          president          of    the    Environmental         and        Engineering

Geophysical        Society
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The   Richard    D Woods Award      is   named after   the researcher     and educator    whose contributions      to

the   development     of soil dynamics   and geophysical    methods have         longlasting    impact on   the


practice   of civil   engineering and who educated       students   at   the University   of Michigan    between

the   1960s and the early 2000s      This award was established           at   the University   of Michigan   in


2009
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                         ENVIRONMENTAL ENGINEERON




July    102014



Richard     L Corsi PhD PE
Chair and ECH Bantel                    Professor       for Professional                 Practice


Department         ofCivil            Architectural           and Environmental Engineering

The     University           of Texas     at   Austin

301    E Dean Keeton                  Street   C 1700

Austin Texas            787122100



Re Evaluation            of Dr Brady             R Cox for advancement                            to Associate           Professor




Dear    Professor        Corsi




In response        to   your request           for an     evaluation              of scholarly contributions                   of Dr Brady               R Cox who            is
                                                                                                                                                                                   being     considered          for


advancement             in    rank     to Associate       professor           I

                                                                                   provide        the    following          comments           It    is   a pleasure         to    do so       1   have   known

Brady for the past               13    years as a student a fellow researcher                               and professional            colleague                I   served       on Bradys         PhD

examination committee and am very                               familiar           with his dissertation                 research    and   several         of his other            research     projects




Awards

Dr Cox has received                    three   prestigious        national          research            awards      in   his young career                  He was the Earthquake                    Engineering

research     Institute         EERT        Graduate           Fellow     for 2004            a very        competitive          and prestigious                student      award      he received         a National


Science     Foundation                NSF Faculty              Early Career           Development                 CAREER             Award          in    2011 and received                  a Presidential       Early


Career     Award         for Scientists         and Engineers             PECASE Award in 2012                                    These awards                 indicate      Dr Cox is highly respected

among his peers



Research

Dr Cox      is   a lead researcher         nsionalb and           in                         in   the development of accurate               methods to               guar uncertainty               in shear   wave

                                         Shear wave                                                                         by geotediniail                                                     of 9oilstiffness and
                                                                                                    property used
           measurerrusts                                                      a prime        soil                                                   engineers         in   the calculaticn
velocity                                                      velocity   is




seismic ground response                    Shear wave velocity                is   era factor used by strucazal engineers                           in   dyriarnic analyses          ofbuilding        and bridges


Dr Coxs research               focuses     on development of statistically                    realistic     confidence         irtervals   for calculation            of soil layer mreh dii and soil            layer


boundary         depths        Confidence        intervals are      needed          to overcome uncertainties                   in soil modulii          and                 calculations          these unoertainties
                                                                                                                                                               response


have    plagued use of this information                   by engineers              In   particular        those    who do not understand                 uncertainty also          do rot generally understand

that                     often    leads to erroneous calculated                    results              the past when shear wave velocity                                   did not agreed         with   soil   layers
       uncertairty                                                                                                                                              profiles
                                                                                                  lin




noted    on borehole logs many                  invstigators       mistakenly            assumed that             lateral   soil variability   was the reason              for    the lack   of agreement


However          analyses      that    incorporate uncertainty are capable                        ofgreatly       reducing these past errors and can provide                         more =irate          values


Thus Dr Coxs study of uncertainty in shear wave                                     velocity       measurements is providing               new tools for making                    aicetrate   and more certain


detennhatbns            of soil       modulit soil layer boundaries                  and calculated              seisnic ground response             values




                                                                                                  TY       368   CLYCEBUILDNG              PROVO UTAH                kW
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Dr Cox was the first member of postearthquake damage reconnaissance                                                     teams to take      liweight and highly portable surtacewave

measurement equipment on NSF sponsored GEER                                               kivestigations         Dr Coxs work            has shown that shear wave velocity                       measurements

are critically     important to these missions                          For example            dieing   geotechnical       invWigations          following          the 2010 Haiti earthquake               Dr Coxs

team measured shear wave                      velocity       profiles at          a number     of sites in PortauPrince                 No other equipment or procedtres were available in

                               type of subsurface
Haiti to collect        this                                  information                 These measurements were then used                     to dieds      the    =redness           of an    interpretative



tdrainslopebased               seismic site classification                    model suggested          by petsonnel       frern   the    US Geological Survey                     Surprisingly          the measured


shear wave                        indicated                 the seismic site classification              model was                         for calailation           of seismic ground                              This
                   velocities                        that
                                                                                                                           inadequate                                                             iswonses

finding    led    to a followup          RAPID          proposal by Dr Cox and his team his team to produce mace of seisnic                                               parameters        for use     by Haitian

and   other engineers           for   design       ofbuildings              and   other facilities     in reeonseuetion       ofthe      PortauPrince           arim        Dr Coxs team waked with

United Nations personnel                 to       train Haitian        and    other engineers         to use the seisrnic parameter             maps
                                                                                                                                                         in
                                                                                                                                                              performing          code based seismic desigt

for the   PortauPrince            area            Dr Cox reported                 that this
                                                                                              application     was a very revzrding          inapect ofhis research


design and        in
                       meeting     societal         reel ofthis devastated mirmunity



Another     sigrificent         piece    of weak was              Dr Coxs investigations and shear wave velocity meastrernents on the Big island ofHawaii der a

2006 earthquake            his acrurate            shear wave velocity                measurements changed               site classification                         used    in    strudural design             Ptior to
                                                                                                                                                  categories


Dr Coxs work much of the island was classified inoorrectly and unconserva6vely                                                          as rock lice Site Class             B      Shear wave velocity


measurements prayed that                  very few locations                   were Site Class B and            that   most location were site soil like classes C or                       D         This axrection


has   a significant      impact       on local seisinic design and                        seismic safety




Dr Cox      is   also currently         involved        with a major project                  in   New Zealand      that will     have   equally    significant           impede   on the design ground

motions     for the      rebuilding      of Christchurch                      He has measured shear wave velocities to depths                          greater than         400 musing a novel approach


ofcombining a large active spurcc                           with passive           wave field surface wave methods                       With   this   procedure Dr Cox is pushing the limits of


ptofiling pelt and              how confidently              such       measurements can be made                   This infamafien is critical             to   understanding the grotind motions                       ti   at

were recorded during              the Christchunth earthquakes                          as scientists   cannot      explain     some frequincyidependent                    amplifications            trmi Ise they do

not know         the depth      ofbedrock           nor the thickne                 and   wale of overlying soil layers                  As such       they are not able to                                      soil
                                                                                                                                                                                        hilly   incorporate


effects   into    design ground motions                     for   rebuilding         more than       1000 strucezes       in the   downtown         area        Dr Coxs           shear wave velocity


measurements should answer many                              questions            concerning subsurface            conditions     and seismic response               in   Christdnich




Another inijkn1 ofDr Coxs research                                is   on surface         wave methods           SWMs           for measurement                 of shear wave             velocity       that   have

become       entrenched            as powerful tool                    in   geotechnical            engineering        practice         The output of an              SWM          is   a subsurface        profile       of

smallstrain shear               moduli        i    and shear wave velocities                        for use   in   engineering          analyses       and design               The expanding             use of


SWMs        is    driven       by the desire            to retrieve            accurate       and meaningful            engineering        soil   parameters              without the installation of


costly     and sometimes                environmentally                     destructive        boreholes           Traditionally          SWMs have been used to provide                                a single


deterministic           velocity        profile       for each tested site                     The profiles are often             constructed          without        consideration              of


                                                                                                                                                                           process and
                                                                       that    leads to errors being                                              the inversion                                  into the
measurementdispersion                         uncertainty                                                        propagated        through


shear     wave         velocity       profile           in addition               an ever      increasing      number of researchers and practitioners                              are using          SWMs
without adequate                understanding                how of how parameters such as spatial sampling interval                                            array aperture source                    proximity

and signaltonoise                 ratio influence                 the uncertainty             of the resultant         profiles          Also only anecdotal                 recommendations                often

conflicting            have been         available           as guides            for the selection         of these parameters                 As the profession                 moves toward             with



probabilistic design               and performance                     based engineering the                   inability to quantify uncertainty                     from       SWMs will be a major
impediment             to future        progress              Dr Coxs ongoing and                       future     research       is positioned        to analyze           uncertainties          in   SWMs and

                                                                                                      rigorous use of modem technology
provide      more definitive              methodologies                      that will     allow                                                                to   facilitate         future   seismic analyses


and structural           design
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Publications

Dr Cox lists 23          refereed journal publications               in   his   resume of which        he is    lead author       on five       those five are        provided for

evaluators    to   read         These      five publications         cover a wide range of scholarly work conducted                             by Dr      Cox including

development         of new       testing      techniques     field   work       at a frozen   sites use of field            velocity    measurements          to define       soil   stiffness


categories    for building         code       design   procedures         and leadership      of post earthquake              investigation         teams    including        compilation     of


geotechnical       information           including additional          data     from team     field   tests    that    is   essential    to geotechnical           analysis    of liquefied

and non liquefied sites                  In   addition    Dr Cox has been active              in
                                                                                                   attending    conferences            with    33             in   conference
                                                                                                                                                    papers


proceedings of which               Dr Cox is lead author             for six       This body of work            demonstrates            technical     transfer      of Dr     Coxs research

his ability   to   work with        research      teams and a quantity of publication                  and     level    of stature      that   is   consistent     with the     rank of

Associate     Professor




In   summary       I   believe    that    Dr Cox meets the scholarly                level   expected of an Associate               Professor         at   a major research       university


I   recommend          that   he be awarded        that   advancement




Sincerely     yours




T Leslie Youd
Professor     Emeritus          Brigham Young             University


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Phone         801       226 2667

Email         youd       I
                              32com castnet
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Peoples Hortensia D

From                                        tyoudetbyuedu
Sent                                        Friday July 112014  106 PM
To                                          Peoples Hortensia D
Subject                                     Re On Behalf of Richard          L Corsi Letter of Reference       for   Dr   Brady Cox
Attachments                                 CoxUTevaldoc


Importance                                  High




Dr Corsi


My letter          of evaluation        for   Dr Brady Cox       is   attached    If
                                                                                       you have questions or comments please correspond
further with         me Phone           801 226 2667or email youd1132comcastmet



Les      Youd



>   Dr Youd


> The Department                 of Civil     Architectural      and Environmental         Engineering
> at the        University       of Texas at Austin        is
                                                                considering      Dr Brady Cox for
>   promotion to Associate                  Professor      As part of this process         we would
> appreciate          if
                           you would provide your candid                 assessment of his scholarly

>   contributions            I   have   attached electronic           copies   of our formal letter

>   Dr Coxs current CV and five                      of his papers      If
                                                                             you would    like   to

>   receive      any other information                 or a hard copy of the documents                please

>   let   me know


>   We would appreciate                 receiving your letter          by July   15 2014         Thank you

>   in    advance     for   your assessment



> Sincerely

>   Richard        L Corsi PhD PE
>   Chair and ECH Bantel                Professor for Professional Practice               Department of
> Civil     Architectural          and Environmental             Engineering The University           of

>   Texas at Austin corsimaikutexasedu<mailtocorsimaiLutexasedu>




> Hortensia

>

> Hortensia          Peoples

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>   Austin TX         787124056
>   Phone        512 2321704              or   512 4714921            images
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                                                          T Leslie Youd




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EDUCATION

T Leslie Youd received         his   BES   in   civil
                                                        engineering   from Brigham              Young University     in   1964 He then

attended Iowa State University where he received                       his   PhD   in   civil   engineering    in   1967 He performed

post doctoral study       in soil    mechanics          and engineering seismology from 1975 to 1976                      at   Imperial College

of Science   and Technology          in   London



RESEARCH


Youds research      has    been primarily concerned                with the   phenomenon of soil liquefaction and the
associated    lateral                 which        can   occur Youd has published                over 140 research                   Youds
                        spreading                                                                                         papers
bestknown      papers are on the prediction of the magnitude of lateral spreading



HONORS

Youd was elected        to the National         Academy      of Engineering        in   2005


Youd was made an honorary member of the American Society of Civil Engineers                                                    in   2006 an
honor bestowed          upon   less    than     02 of        its   membership He received                the   Distinguished          Alumni
Award   in   2011   at    Iowa   State     University
